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                 Exhibit C
              Declaration of Joni Ostler
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 6
                                UNITED STATES DISTRICT COURT
 7
                                       DISTRICT OF NEVADA
 8
 9   SECURITIES AND EXCHANGE
     COMMISSION,
10                                              Case No.:
                   Plaintiff,
11   v.
                                                 DECLARATION OF JONI OSTLER IN
12   MATTHEW WADE BEASLEY; BEASLEY               SUPPORT OF PLAINTIFF
     LAW GROUP PC; JEFFREY J. JUDD;              SECURITIES AND EXCHANGE
13   CHRISTOPHER R. HUMPHRIES; J&J               COMMISSION’S EX PARTE
     CONSULTING SERVICES, INC., AN               APPLICATION FOR ENTRY OF
14   ALASKA CORPORATION; J&J                     TEMPORARY RESTRAINING ORDER
     CONSULTING SERVICES, INC., A                AND ORDERS: (1) FREEZING
15   NEVADA CORPORATION; J and J                 ASSETS; (2) REQUIRING
     PURCHASING LLC; SHANE M. JAGER;             ACCOUNTINGS; (3) PROHIBITING
16                                               THE DESTRUCTION OF
     JASON M. JONGEWARD; DENNY                   DOCUMENTS; (4) GRANTING
     SEYBERT; and ROLAND TANNER;                 EXPEDITED DISCOVERY; AND (5)
17
                                                 ORDER TO SHOW CAUSE RE
                 Defendants,                     PRELIMINARY INJUNCTION
18
     THE JUDD IRREVOCABLE TRUST; PAJ
19   CONSULTING INC; BJ HOLDINGS LLC;
     STIRLING CONSULTING, L.L.C.; CJ
20   INVESTMENTS, LLC; JL2
     INVESTMENTS, LLC; ROCKING HORSE
21   PROPERTIES, LLC; TRIPLE THREAT
     BASKETBALL, LLC; ACAC LLC;
22   ANTHONY MICHAEL ALBERTO, JR.; and
     MONTY CREW LLC;
23
                  Relief Defendants.
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 1          I, Joni Ostler, do hereby declare, under penalty of perjury, in accordance with 28 U.S.C.

 2   § 1746, that the following is true and correct to the best of my belief and, further, that this

 3   declaration is made on my personal knowledge, and that I am competent to testify as to the

 4   matters herein stated.

 5          1.      I am over the age of 21 and a resident of the State of Utah.

 6          2.      I make this declaration in support of the United States Securities and Exchange

 7   Commission’s (“Commission” or “SEC”) Ex Parte Application for Entry of Temporary

 8   Restraining Order and related relief.
 9          3.      I am presently employed as a staff attorney in the Division of Enforcement by
10   the Commission working from the Commission’s Salt Lake Regional Office located at 351
11   South West Temple, Suite 6.100, Salt Lake City, Utah, 84101. I have been employed as an
12   attorney with the Commission since December 2021. My official duties as an attorney in the
13   Commission’s Division of Enforcement include participating in fact-finding inquiries and
14   investigations to determine whether the federal securities laws have been, are presently being,
15   or are about to be violated, and assisting, as requested, in the Commission’s litigation of
16   securities laws violations.
17          4.      As part of my duties, I was assigned to the Commission’s investigation entitled
18   In the Matter of J&J Consulting Services, Inc., matter number SL-02855 (“Investigation”). I

19   learned the information set forth in this declaration from my personal knowledge and

20   experience, documents I reviewed in the course of the Investigation, including bank records,

21   witness interviews and testimony that I or other members of the investigative team conducted,

22   witness and investor declarations that I or other members of the investigative team obtained,

23   and other information provided to me by other SEC staff.

24          5.      I have redacted or directed the redaction of all documents attached to this

25   declaration where necessary to protect the privacy of investors and confidential sources.

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 1                                  Matthew Wade Beasley Confession

 2          6.      During the SEC Investigation, I obtained from the FBI the recordings of various

 3   calls between Matthew Beasley (“Beasley”) and an FBI agent negotiator on March 3, 2022,

 4   recorded during a stand-off between Beasley and FBI agents who attempted to execute a search

 5   warrant at Beasley’s home. SEC staff employed a court reporting service to create certified

 6   transcripts of those calls. True and correct copies of the transcripts of two of the calls for which

 7   the FBI provided recordings to me are attached hereto as Exhibit 1 and 2. In the recordings of

 8   these calls, Beasley states to the FBI negotiator that, since 2016 or 2017, he ran a Ponzi scheme

 9   related to personal injury settlements, which he started because he had gambling debts. See Ex.

10   1, Beasley Tr. at 6:14-15; 19:23-22:9, 33:10.

11          7.      In the recording of another, longer conversation with the FBI negotiator during

12   the standoff of March 3, 2022 (Exhibit 2), Beasley states that investors were promised that

13   their investment money would be given to someone who had settled a personal injury case but

14   had not received their settlement money yet. Ex. 2 at 33:9-23. Beasley states that he “got

15   names of attorneys” for the scheme but “I never actually talked to them.” Id. at 32:19-20.

16   Beasley states that as Jeffrey Judd found more investors, “I made up more attorney’s deals and

17   just kept growing it.” Id. at 14:21-23. Beasley states that investors “would give their money to

18   me, and I would supposedly send it to a bunch of attorneys” but actually “I kept it and used it

19   to pay, basically pay them back to pay off gambling debts,” including to Anthony Alberto, Jr.

20   Id. at 15:5-16:13.

21                        Intended Liquidation of Assets by Judd and Beasley

22          8.      On Friday, March 25, 2022, I and others from the SEC spoke to John Sellers, an

23   attorney representing Jeffrey Judd. Mr. Sellers informed us that Judd was liquidating his assets

24   to purportedly place into two new accounts he established at US Bank: one account being a

25   “Potential Victim Fund” for victims of the fraud, and the other being an “IRS Account” to pay

26   Judd’s 2021 taxes. Mr. Sellers sent me an email on February, March 25, 2022, which provided

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 1   a list of properties and luxury vehicles that Judd plans to imminently sell, and stated that Judd

 2   already sold two homes. Attached hereto as Exhibit 3 is a true and correct copy of Mr.

 3   Sellers’s email to me.

 4          9.      I obtained and reviewed a copy of the sale listing for one of the homes that Mr.

 5   Seller indicated Judd had sold. It shows that Judd and his wife sold a home at 599 N. Red Ct.,

 6   Heber City, Utah, for $2,895,000, on March 24, 2022. A true and correct copy is attached as

 7   Exhibit 4.

 8          10.     On Friday, April 8, 2022, I participated in a WebEx telephone call hosted by the

 9   SEC staff, in which Kevin Anderson, an attorney representing Jeffrey Judd, appeared. Also

10   participating in the telephone call were, inter alia, attorneys from Schwartz Law, PLLC

11   (attorneys representing the petitioning creditors of J&J Consulting Services, Inc., the alleged

12   debtor in Case No. 22-10942 pending in the U.S. Bankruptcy Court for the District of Nevada,

13   as well as the plaintiffs in an adversary proceeding, Case No. 22-01061, pending in the same

14   court) and attorneys representing March A. Murphy and Mark A. Murphy, Ltd., the plaintiffs

15   in a state court action, Case No. A-22-849806-B, pending in Clark County District Court in

16   Nevada, in which a receiver was appointed on March 30, 2022. Also with me on the call were

17   other members of the SEC staff.

18          11.     During the call, another of Judd’s attorneys, Kevin Anderson, stated that Judd

19   intended to sell at least one property owned by one of Mr. Judd’s various trusts, and that the

20   transaction was to close on or around Saturday, April 16, 2022. Judd’s attorney indicated that it

21   was his position that the trust and the properties held by it were not subject to any receivership

22   or present encumbrance, and that Judd intended to put the cash income from property sales into

23   an account for a so-called “victims fund,” and that Judd did not intend to provide the income to

24   the receivership estate. Judd’s attorney stated on the call that he was unsure at which bank the

25   purported “victims fund” was held, who was the signatory on the account, or the account

26   number.

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 1          12.     Through my investigative work, I have learned that there are at least four

 2   accounts held in the names of various Judd trusts at US Bank, including the “Judd Family

 3   Trust,” the “Judd Nevada Trust,” and the “Judd Irrevocable Trust,” collectively holding cash

 4   and assets worth close to $4 million as of April 11, 2022.

 5          13.     Through my investigative work I have also learned that Judd recently sold a

 6   piece of real property and tried to transfer at least $1 million into an account at US Bank,

 7   which US Bank refused to accept, and which was then sent back to the title company.

 8          14.     I learned from a confidential source that Matthew Beasley and his wife Paula

 9   Beasley filed a joint petition for divorce on March 17, 2022. According to a snapshot of docket

10   information I obtained from a confidential source and reviewed, the case is sealed, and the

11   Decree of Divorce was granted on March 21, 2022. On the April 8, 2022 conference call

12   referenced in paragraph 10 above, an attorney from Schwartz Law, PLLC stated that Matthew

13   Beasley may have transferred at least one home and one vehicle into Paula’s name as part of

14   the divorce.

15          15.     I have reviewed the results of a search conducted by SEC staff of certain

16   properties on Redfin.com that the SEC staff believes to be held in the name of a “Judd Nevada

17   Trust” of which Jeffrey Judd and Jennifer Judd are purportedly trustees, and I reviewed

18   information concerning those properties from the following websites: https://www.redfin.com/.

19   That information is attached hereto as Exhibit 5 and it includes:

20          16.     Multiple Listing Service #2381991, 9 Sky Arc Court, Henderson, NV 89012,

21   which lists 9 Sky Arc Court for sale at $6,700,000 and indicates that “[t]he seller has accepted

22   an offer, and this property is now pending or under contract.” The listing indicates that it has

23   been active since on or about March 28, 2022.

24          17.     Multiple Listing Service #2381992, 8 Twisted Rock Court, Henderson, NV

25   89012, which lists the property (an empty lot) for sale at $2,700,000 and states that the “[l]ist

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 1   price was lowered by $250K.” The listing indicates that it has been active since on or about

 2   March 28, 2022.

 3    Information and Documents Provided by Investors, Potential Investors, and Confidential

 4                                                Sources

 5          18.     Attached hereto as Exhibit 6 is a true and correct copy of the Declaration of

 6   Douglas S. Saeltzer. Mr. Saeltzer is an attorney and is a supposed counterparty to one of the

 7   J&J Consulting Services, Inc. “Purchase Agreements” for a slip and fall settlement for a client

 8   named Renee Crawford. Mr. Saeltzer attests that he has no client by that name and that he

 9   never entered any agreement with J&J Consulting Services, Inc. (“J&J”). A colleague of mine,

10   another SEC staff attorney at the Salt Lake Regional Office in Enforcement, obtained this

11   declaration from Mr. Saeltzer.

12          19.     The fake Purchase Agreement that is attached to Mr. Saeltzer’s declaration was

13   obtained by SEC staff through a tip received from a local attorney who stated he received the

14   Purchase Agreement from a friend who was approached to invest in the J&J scheme.

15   Documentation provided to the local attorney by his friend reveals that it was Christopher

16   Humphries who solicited the friend’s investment in the scheme. Attached as Exhibit 7 and

17   Exhibit 8 are true and correct copies of the other documents provided to the SEC staff by the

18   attorney.

19          20.     As reflected on the Purchase Agreement attached to the Declaration of Douglas

20   S. Saeltzer (Ex. 6 hereto), Beasley of Beasley Law Group PC purports to represent J&J

21   Consulting Services, Inc. with respect to the fake Purchase Agreement. I have reviewed several

22   similar Purchase Agreements that the SEC staff has received from investors and they likewise

23   show Beasley of Beasley Law Group PC purporting to represent J&J Consulting Services, Inc.

24   with respect to the Purchase Agreements. Attached hereto as Exhibit 9 is another example of a

25   Purchase Agreement. I obtained Exhibit 9 pursuant to a subpoena issued to investor Taylor

26   Richards.

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 1   Testimony and documents provided by investor Taylor Richards

 2          21.     Attached as Exhibit 10 is a true and correct copy of the transcript of

 3   investigative testimony I took of investor Taylor Richards on April 7, 2022, as well as certain

 4   of the accompanying exhibits.

 5          22.     Mr. Richards also provided a screenshot of a text conversation he had with

 6   Jeffrey Judd on February 19, 2022, a true and correct copy of which is attached as Exhibit 11.

 7   In the text Judd appears to be telling his promoters that they have to “increase the effort” to get

 8   more investments, and he says, “Right now I’m placing about 80 contracts a week.”

 9   Information provided by a confidential source

10          23.     As part of the Investigation, I spoke to a confidential source who stated that he

11   was solicited by Christopher Humphries to invest in the scheme and was promised 13% returns

12   every 90 days, and Humphries said Humphries earned 5% of all the money he brought in. The

13   confidential source conveyed the following information: Humphries provided him copies of

14   the Purchase Agreements in which he was supposedly investing. Despite Humphries telling

15   him that he was prohibited from contacting the attorneys whose names were on the Purchase

16   Agreements, the confidential source looked up the attorneys listed on the Purchase Agreements

17   and telephoned them. The attorneys or their law firm staff were unable to locate any record of

18   having the clients whose names were stated on the Purchase Agreements, or of the agreements

19   themselves. In essence, the attorneys indicated that the Purchase Agreements were fake.

20   Information and documents provided by investor Todd Sansom

21          24.     As part of my investigative work, I spoke with investor Todd Sansom via

22   WebEx on March 25, 2022. Mr. Sansom stated that he learned about the J&J Consulting

23   investment sometime in 2021 from his cousin. Mr. Sansom and his father Michael Sansom

24   both invested through Roland Tanner. Mr. Sansom told us that Mr. Tanner instructed Mr.

25   Sansom where to wire the investment money and also sent documents for Mr. Sansom to sign,

26   which Mr. Sansom then provided to SEC staff.

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 1            25.    One of the documents that Mr. Sansom produced to the SEC staff is a copy of

 2   the “Buyer Agreement” between an entity that Mr. Sansom owns, MTWE Investments LLC,

 3   and J&J Consulting Services, Inc., which I have reviewed. A true and correct copy of the

 4   “Buyer Agreement” produced to the SEC staff by Mr. Sansom is attached hereto as Exhibit

 5   12. The “Buyer Agreement,” signed by Jeffrey Judd on behalf of J&J Consulting Services, Inc.

 6   on October 19, 2021, states:

 7            J&J Consulting Services, Inc./Jeffrey Judd has a business where he purchases
              contracts (Purchase Agreements) for attorney’s clients once a settlement has been
 8
              reached and an award has been granted. Jeffrey Judd uses his own money and
 9            money from friends and family to purchase these contracts. Jeffrey Judd uses the
              services of Matthew Beasley Esq. to assist him in finding these agreements and
10            also to write the contracts. The Purchase Agreement act [sic] as a lien on the
              client’s settlement.
11
              26.    Mr. Sansom also stated that he and his father knew various other investors,
12
     including friends and neighbors. Mr. Sansom heard that people were causing problems by
13
     trying to contact the attorneys on the Purchase Agreements and trying to verify things, and that
14
     the actual settlement information was being withheld from investors to prevent investors doing
15
     this.
16
     Recordings provided by Mark Holt and a confidential source
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              27.    Mark Holt, a source who posed as a potential investor in early 2022, provided to
18
     the SEC staff a video of a meeting he had on February 17, 2022 in a private jet at the
19
     Henderson, Nevada FBO (private airport) with Shane Jager, Jason Jongeward, and a
20
     confidential source who also posed as a potential investor using the alias “Mike.” At my
21
     direction, my office obtained a certified transcript of that video, a true and correct copy of
22
     which is attached as Exhibit 13.
23
              28.    Mr. Holt informed me that he and “Mike” worked together with Nathan
24
     Anderson of Hindenberg Research to hire private investigators to place hidden cameras inside
25
     the private jet, which allowed Mr. Holt and “Mike” to capture the video of Jager and
26
     Jongeward. Attached hereto as Exhibit 14 is the affidavit of one of the private investigators
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 1   who placed the hidden cameras that captured the video of Shane Jager and Jason Jongeward

 2   speaking with Mark Holt and “Mike”.

 3           29.    Mr. Holt and “Mike” also provided to the SEC staff a recording of a telephone

 4   call they had with Jeffrey Judd and Shane Jager on February 24, 2022. Mr. Holt and “Mike”

 5   told me that Mr. Holt announced himself on the call, “Mike” remained silent, and “Mike”

 6   recorded the call using his smartphone. At my direction, my office obtained a certified

 7   transcript of that recording, a true and correct copy of which is attached as Exhibit 15.

 8           30.    “Mike” informed the SEC staff that he recorded telephone calls with Shane

 9   Jager on January 25, 2022, January 26, 2022, and February 1, 2022, in which he posed as a

10   potential investor with the alias “Mike.” “Mike” recorded those calls using an app on his

11   smartphone. “Mike” provided those recordings to SEC staff. At my direction, my office

12   obtained certified transcripts of those recordings. A true and correct copy of the transcript of

13   the recorded call on January 25, 2022 between “Mike” and Jongeward is attached as Exhibit

14   16. A true and correct copy of the transcript of the recorded call on January 26, 2022 between

15   “Mike” and Jongeward is attached as Exhibit 17. A true and correct copy of the transcript of

16   the recorded call on February 1, 2022 between “Mike” and Jongeward is attached as Exhibit

17   18.

18   Declaration and documents provided by investor Marshall Gibbs, D.D.S.

19           31.    Attached as Exhibit 19 is a true and correct copy of the Declaration of Marshall

20   Gibbs, D.D.S. and its accompanying exhibits. Dr. Gibbs invested with J&J after being solicited

21   by Jason Jongeward.

22   Information and documents provided by investor Elizabeth Lewis

23           32.    During the course of the Investigation, I spoke with investor Elizabeth Lewis.

24   Lewis stated that Denny Seybert and another individual told her and her husband about the

25   investment opportunity in personal injury settlement claims with Jeffrey Judd in or around

26   January 2020. She stated that Seybert arranged a meeting with Judd for her and her husband.

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 1          33.     Lewis stated that she and her husband met with Judd and Seybert in person on

 2   January 16, 2022, at which meeting Judd explained the investment opportunity. Judd stated,

 3   among other things, that Matthew Beasley suggested to Judd that they go into business

 4   together in the settlement contract business. Judd said the investment had almost zero risk, and

 5   described how the business enabled him to purchase two brand new Porsches and a $6 million

 6   home. Judd said Lewis’s money would be invested with injured parties who had settlements

 7   from insurance companies, who would then repay the investment plus interest in 90 days. Judd

 8   told Lewis and her husband that they could invest in settlement contracts for $80,000 or

 9   $100,000, and would receive a return of 12.5% in 90 days. Judd said that their principal would

10   then be reinvested in a new settlement contract, such that they would receive 12.5% returns

11   every 90 days, for an annual return of 50%.

12          34.     Lewis stated that she and her husband invested through Seybert and Simmons.

13   At the instruction of Seybert and Simmons, she and her husband wired their investment funds

14   to the Beasley Law Group PC account at Wells Fargo Bank. Attached as Exhibit 20 is a true

15   and correct copy of a wire transfer confirmation that Lewis provided to SEC staff, showing the

16   wire transfer from Lewis and her husband to the Beasley Law Group PC account.

17          35.     Lewis stated that on two occasions Seybert told her to write a check for her

18   investment funds to Rocking Horse Properties, LLC, which she understood to be an account

19   under Seybert’s control. Seybert told her that he would forward her funds from there to the

20   Beasley Law Group PC account. Attached as Exhibit 21 is a true and correct copy of one of

21   the checks that Lewis wrote to Rocking Horse Properties, LLC to invest in the scheme, which

22   Lewis provided to SEC staff.

23          36.     Lewis stated that she and her husband had an employee named Max who also

24   invested, and that Max wrote his investment check directly to Seybert. Lewis provided SEC

25   staff with a copy of Max’s check to Seybert, a true and correct copy of which is attached as

26   Exhibit 22.

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 1          37.     Lewis stated that on another occasion, Max sent his investment money to

 2   Rocking Horse Properties LLC at the instruction of Seybert. Lewis provided SEC staff with a

 3   copy of one of Max’s wire transfer confirmations showing transfer of investment funds to

 4   Rocking Horse Properties LLC, a true and correct copy of which is attached as Exhibit 23.

 5          38.     Lewis provided SEC staff a copy of an email that Jeffrey Judd wrote, which

 6   Seybert then forwarded to Lewis and her husband on February 7, 2022. A true and correct copy

 7   of the emails is attached as Exhibit 24. In the email Judd writes, in part:

 8

 9          I had another conversation with the attorneys that helped me set up the private money

10          placement documents up [sic]. They asked me if I was still sending out the contracts

11          and if I was to stop.

12          39.     Taylor Richards also received this same email from Jeffrey Judd directly. It is

13   attached to his testimony transcript (Exhibit 10) as Exhibit 12.

14          40.     Lewis provided SEC staff a copy of an email that Jeffrey Judd sent to Warren

15   Rosegreen, Shane Jager, Christopher Humphries, Chris Madsen, Larry Jeffery, and Denny

16   Seybert dated March 30, 2022, which Seybert then forwarded to Lewis and her husband. A true

17   and correct copy of the emails is attached as Exhibit 25.

18          41.     Lewis provided SEC staff a copy of an email dated January 4, 2022 that Seybert

19   sent to Lewis and her husband, copying Judd, in which Seybert asked Lewis’s husband to sign

20   several documents: a Mutual Confidentiality and Non-Disclosure Agreement, a Non-Compete,

21   Non-Disclosure and Non-Solicitation Agreement, a PPM, and a J and J Purchasing

22   Confidential Subscription Agreement. A true and correct copy of this email is attached as

23   Exhibit 26. The documents attached to the email are substantially the same documents that Dr.

24   Gibbs received from Jason Jongeward, copies which are attached to Dr. Gibbs’ declaration

25   (which is Exhibit 19 hereto).

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 1          42.     Lewis stated that Seybert informed her and her husband that he was earning

 2   $1,500 for each contract he sold to investors he brought in.

 3                                            Business Entities

 4          43.     As part of the Investigation, SEC staff endeavored to identify the owners of the

 5   business entities that are named as Defendants or Relief Defendants in the Commission’s

 6   action. In this section I describe the business entity searches I conducted, what the records

 7   showed, and additional information about the bank records of PAJ Consulting Inc., one of the

 8   Relief Defendants

 9          44.     Beasley Law Group P.C.: I conducted a business entity search on the State of

10   Nevada Secretary of State’s website and retrieved information concerning Beasley Law Group

11   P.C. from the following website: https://www.nvsos.gov/sos/. A true and correct copy of the

12   information is attached hereto as Exhibit 27. The entity information for Beasley Law Group

13   P.C., last updated May 30, 2019, shows that Matthew Beasley of 1872 Shy Albatross Avenue,

14   North Law Vegas, NV 89084 is the President, Secretary, Treasurer, and sole Director of

15   Beasley Law Group PC.

16          45.     J&J Consulting Services, Inc. (Alaska): I conducted a business entity search on

17   the State of Alaska Department of Commerce, Community, and Economic Development,

18   Division of Corporations Business & Professional Licensing website and retrieved information

19   concerning J&J Consulting Services, Inc. from the following website:

20   https://www.commerce.alaska.gov/cbp/main/search/entities. A true and correct copy of the

21   information I obtained from the website is attached hereto as Exhibit 28. The entity

22   information of J&J Consulting Services, Inc. shows that Jeffrey Judd of 9 Sky Arc Court,

23   Henderson, NV 89012 is the President, Treasurer, and Director of J&J Consulting Services,

24   Inc. and that Jennifer Judd of the same address is a Director and the Secretary, and that both

25   Judds are the sole owners of J&J Consulting Services, Inc. and that the entity was formed on

26   November 20, 2019.

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 1          46.     Information I adduced during the Investigation using certain proprietary search

 2   tools available to the SEC staff indicate that Jennifer Judd is Judd’s spouse.

 3          47.     J&J Consulting Services, Inc. (Nevada): I conducted a business entity search on

 4   the State of Nevada Secretary of State’s website and retrieved information concerning J&J

 5   Consulting Services, Inc. from the following website: https://www.nvsos.gov/sos/. A true and

 6   correct copy of the information I obtained from the website is attached hereto as Exhibit 29.

 7   The entity information of J&J Consulting Services, Inc., last updated on May 20, 2021, shows

 8   that Jeffrey Judd of 9 Sky Arc Court, Henderson, NV 89012 is the President, Treasurer and

 9   Director of J&J Consulting Services, Inc. and that Jennifer Judd of the same address is the

10   Secretary.

11          48.     J AND J Purchasing LLC: I conducted a business entity search on the State of

12   Florida’s Division of Corporations website at https://www.dos.myflorida.com/sunbiz/search

13   and retrieved information concerning and J Purchasing LLC from that website. I downloaded J

14   and J Purchasing LLC’s Articles of Incorporation from that website, a true and correct copy of

15   which is attached as Exhibit 30. The Articles of Incorporation for J and J Purchasing LLC,

16   filed October 13, 2021, show that Jeffrey Judd of 9 Sky Arc Court, Henderson, NV 89012 is

17   the sole person authorized to manage the entity.

18          49.     PAJ Consulting Inc.: I conducted a business entity search on the State of

19   Nevada Secretary of State’s website and retrieved information concerning PAJ Consulting Inc.

20   (“PAJ”) from the following website: https://www.nvsos.gov/sos/. I have reviewed that

21   information and it is attached hereto as Exhibit 31. The entity information for PAJ indicates

22   that it was formed on October 22, 2019 and that Preston Judd is the President, Secretary, and

23   Treasurer of the entity.

24          50.     Information I adduced during the Investigation using certain proprietary search

25   tools available to the SEC staff indicate that Preston Judd is Jeffrey Judd’s child. Those

26   proprietary search tools showed, inter alia, that Preston Judd is 22 years old and has resided at

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 1   several of the same addresses where Jeffrey Judd has resided, including 9 Sky Arc Ct.,

 2   Henderson, Nevada.

 3            51.   SEC staff obtained records of the business account for PAJ from U.S. Bank

 4   pursuant to subpoena. I have reviewed those records, which included the signature card and

 5   accompanying Resolution of Corporation, and addendums thereto, true and correct copies of

 6   which are attached as Exhibit 32. The documentation shows that Preston A. Judd was the sole

 7   signatory on the PAJ account until April 9, 2021, at which point Preston A. Judd added Rachel

 8   E. Utley as a second signatory.

 9            52.   SEC staff obtained the monthly statements for the business account of PAJ from

10   U.S. Bank pursuant to subpoena. I have reviewed those records. Between June 2020 and

11   February 2022, PAJ received incoming transfers from J&J Consulting Services, Inc. totaling

12   over $1 million. The PAJ account also received $824,500 from the Beasley Law Group IOLTA

13   account. The PAJ account records show extensive spending on consumer goods (including

14   several large purchases at Neiman Marcus, Louis Vuitton, Saks, and Balenciaga), travel,

15   entertainment, restaurants, purchases of cryptocurrencies through Coinbase, gaming, and

16   gambling. It also showed donations to the Church of Jesus Christ of Latter Day Saints of over

17   $60,000.

18            53.   BJ Holdings LLC: I conducted a business entity search on the State of Nevada

19   Secretary of State’s website and printed the information retrieved concerning BJ Holdings LLC

20   from the following website: https://www.nvsos.gov/sos/. A true and correct copy of that

21   information is attached hereto as Exhibit 33. The entity information indicates that BJ Holdings

22   LLC was formed on March 25, 2021, that Matthew Beasley is the entity’s registered agent, and

23   that its sole managing members are J&J Consulting Services, Inc., 9 Sky Arc Court,

24   Henderson, NV 89012, and Beasley Law Group P.C., 5475 Ruffian Road, Las Vegas, NV

25   89149.

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 1             54.   Stirling Consulting LLC: I conducted a business entity search on the State of

 2   Nevada Secretary of State’s website and printed the information retrieved concerning Stirling

 3   Consulting LLC from the following website: https://www.nvsos.gov/sos/. A true and correct

 4   copy of the information I obtained from the website is attached hereto as Exhibit 34. The

 5   entity information indicates that Stirling Consulting LLC was formed on April 20, 2018 and

 6   that its sole managing member and registered agent is Shane Jager, 6785 S Eastern Ave Unit 8,

 7   Las Vegas, NV 89119.

 8             55.   CJ Investments LLC: I conducted a business entity search on the State of

 9   Nevada Secretary of State’s website and printed the information retrieved concerning CJ

10   Investments LLC from the following website: https://www.nvsos.gov/sos/. A true and correct

11   copy of that information is attached hereto as Exhibit 35. The entity information indicates that

12   CJ Investments LLC was formed on November 21, 2019 and that its sole managing members

13   are Christopher Humphries and Jessica Humphries of 726 Glowing Horizon Street, Henderson,

14   NV 89052. Information I adduced during the Investigation using certain proprietary search

15   tools available to the SEC staff indicate that Jessica Humphries is Christopher Humphries’s

16   spouse.

17             56.   JL2 Investments, LLC: I conducted a business entity search on the State of

18   Washington Secretary of State’s website and retrieved information concerning JL2

19   Investments, LLC from the following website: https://www.sos.wa.gov/corps/. A true and

20   correct copy of the information I obtained from the website is attached hereto as Exhibit 36.

21   The entity information for JL2 Investments, LLC indicates that it was formed on November 21,

22   2019 and that its sole registered agent and Governor is Jason Jongeward of 6311 Crestview

23   Lane, Cheney, Washington 99004.

24             57.   Rocking Horse Properties, LLC: I conducted a business entity search on the

25   State of Nevada Secretary of State’s website and retrieved information concerning Rocking

26   Horse Properties, LLC from the following website: https://www.nvsos.gov/sos/. A true and

27

28                                                   14
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 1   correct copy of the information I obtained from the website is attached hereto as Exhibit 37.

 2   The entity information indicates that it was formed on January 30, 1997 and that its sole

 3   manager is Denny Seybert of 10424 S. Eastern Ave., Suite 200, Henderson, Nevada, 89052.

 4          58.     Triple Threat Basketball, LLC: I conducted a business entity search on the State

 5   of Nevada Secretary of State’s website and retrieved information concerning Triple Threat

 6   Basketball, LLC from the following website: https://www.nvsos.gov/sos/. A true and correct

 7   copy of the information I obtained from the website is attached hereto as Exhibit 38. The

 8   entity information indicates that Triple Threat Basketball, LLC was formed on April 30, 2009

 9   and its managers are Warren Rosegreen and Priscilla Rosegreen. Information I adduced during

10   the Investigation using certain proprietary search tools available to the SEC staff indicate that

11   Priscilla Rosegreen is Warren Rosegreen’s spouse.

12          59.     ACAC LLC: Counsel for Christopher Madsen informed me via email that Mr.

13   Madsen used a bank account in the name of ACAC, Llc [sic] for “all of his dealings with J &

14   J”. Attached was Exhibit 39 is a true and correct copy of the email.

15          60.     Monty Crew LLC: I conducted a business entity search on the State of Nevada

16   Secretary of State’s website and retrieved information concerning Monty Crew LLC from the

17   following website: https://www.nvsos.gov/sos/. A true and correct copy of the information I

18   obtained is attached hereto as Exhibit 40. The entity information indicates that Monty Crew

19   LLC is a revoked entity that was formed on January 14, 2009 and its sole manager was

20   Anthony Alberto Jr.

21                            Securities and Exchange Commission Records

22          61.     I conducted a search of Commission records on the Commission’s EDGAR

23   database and retrieved information concerning J&J Purchasing LLC from

24   https://www.sec.gov/edgar/. A true and correct copy of the information I obtained from the

25   search is attached hereto as Exhibit 41. The Form D (Notice of Exempt Offering of

26   Securities), filed on December 13, 2021 on J&J Purchasing LLC’s behalf by attorney Michael

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 1   D. Peters, Esq., states that Jeffrey Jason Judd of 9 Sky Arc Court, Henderson, NV 89012 is the

 2   sole related person and Executive Officer of J&J Purchasing LLC, and that J&J Consulting

 3   LLC’s address is the same as Judd’s.

 4             62.    During the course of the Investigation, I conducted a search to see if Jeffrey

 5   Judd Christopher Humphries, Shane Jager, Jason Jongeward, Denny Seybert, or Roland Tanner

 6   had ever been registered as a broker-dealer. I searched the database located at:

 7   https://brokercheck.finra.org for those who have been registered as either a broker or dealer.

 8   None of Jeffrey Judd, Christopher Humphries, Shane Jager, Jason Jongeward, Denny Seybert,

 9   or Roland Tanner appeared in my searches as individuals who had been registered as a broker-

10   dealer.

11   I declare under penalty of perjury that the foregoing is true and correct.

12             Executed this 12th day of April, 2022 in Salt Lake City, Utah.

13
                                             __/s/ Joni Ostler__________ _________________
14                                           Joni Ostler
15

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                   Exhibit 1
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                                                                  Page 1
       UNITED STATES SECURITIES AND EXCHANGE COMMISSION


       In the Matter of:                     )
                                             )   File No. SL-02855-A
       J&J CONSULTING, INC.                  )   Amended: 4/11/2022


       SUBJECT:    Call between an FBI negotiator and
                   Matthew Beasley - March 3, 2022
       PAGES:      1 through 35




                              AUDIO TRANSCRIPTION




                   Diversified Reporting Services, Inc.
                                 (202) 467-9200
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                                                   Page 2                                                          Page 4
  1                   CONTENTS                                   1   what's going on. How are you?
  2                                                              2          MR. BEASLEY: Oh, I need to talk with the one
  3    AUDIO FILE:                                   PAGE        3   that was the door (inaudible) and I want to apologize
  4    3 1st Contact MB                               3          4   because that was never my intent for him to have him
  5    4 Continued contact 2 MB                          7       5   shoot me. I was (inaudible).
  6    5 Continued contact 2 MB                         11       6          FBI AGENT ADAM: Well, we can -- we can
  7    6 Continue contact 4 MB                          15       7   certainly get to what happened, Matthew. But first off,
  8    7 Continued contact 5 MB                         19       8   I need to ask --
  9    8 Continued contact 6 MB                         22       9          MR. BEASLEY: I know -- all I need to know is
 10    9 Continued contact 7 MB                         25      10   the facts and I'm done.
 11    10 Continued contact 8 MB                         29     11          FBI AGENT ADAM: What do you mean you're done,
 12    11 Continued contact 9 MB                         33     12   Matthew?
 13                                                             13          MR. BEASLEY: I need to tell him the facts.
 14                                                             14          FBI AGENT ADAM: I heard you say you want to
 15                                                             15   tell him the facts. What do you mean you're done?
 16                                                             16          MR. BEASLEY: Well, I don't -- (inaudible)
 17                                                             17   negotiated with. I just want to talk to the guy, one, to
 18                                                             18   apologize because it was never my intent for them to have
 19                                                             19   to shoot me.
 20                                                             20          FBI AGENT ADAM: Okay.
 21                                                             21          MR. BEASLEY: And two, the facts of what's
 22                                                             22   going on to make sure they know that I'm the only one
 23                                                             23   responsible for every single thing that (inaudible).
 24
                                                                24          FBI AGENT ADAM: Okay, Matthew. It sounds like
 25
                                                                25   you go to talk about, and I am here to talk to you about


                                                   Page 3                                                          Page 5
  1             PROCEEDINGS                                      1   whatever you need to talk about, okay.
  2   3 1st Contact MB                                           2          But first off, I have to ask you --
  3          FBI AGENT ADAM: Receiving call from subject,        3          MR. BEASLEY: (Inaudible.)
  4   Matthew Beasley, March 3, 2022.                            4          FBI AGENT ADAM: Say what?
  5          His, this is Adam.                                  5          MR. BEASLEY: I just want to talk to the
  6          MAUREEN: Hi, this is Maureen with Metro             6   gentleman that came to the door.
  7   Dispatch.                                                  7          FBI AGENT ADAM: So right now he's not
  8          FBI AGENT ADAM: Yes.                                8   available, but he asked me to talk to you.
  9          MAUREEN: This is the FBI (inaudible), correct?      9          MR. BEASLEY: Oh, are you outside?
 10          FBI AGENT ADAM: Yes, this the FBI negotiators.     10          FBI AGENT ADAM: No, I'm not outside.
 11          MAUREEN: Hi. So I have Matt Beasley on the         11          MR. BEASLEY: Okay. Well --
 12   line and I'm ready to connect to you. Do you want me to   12          FBI AGENT ADAM: Hey, Matthew, are you there?
 13   stay on and record it?                                    13          MR. BEASLEY: Is this recorded? Is this
 14          FBI AGENT ADAM: We're recording.                   14   recorded at least?
 15          MAUREEN: You're recording, so you don't need       15          FBI AGENT ADAM: I'm sorry, you were breaking
 16   me to?                                                    16   up a little bit. What did you say, Matthew?
 17          FBI AGENT ADAM: You're good.                       17          MR. BEASLEY: Is this recorded?
 18          MAUREEN: Okay, all right. Matt, I have the         18          FBI AGENT ADAM: We are recording this for our
 19   FBI on the line for you.                                  19   own documents, yes. But just to let you know, hey, we're
 20          MR. BEASLEY: Thank you.                            20   just here to help, Matthew, okay?
 21          FBI AGENT ADAM: Hi, Matthew.                       21          MR. BEASLEY: I know. I don't blame anybody.
 22          MR. BEASLEY: Are you the one that was at my        22          FBI AGENT ADAM: Okay. Well, that's good.
 23   door?                                                     23   Hey, before we get talking about what you want to talk
 24          FBI AGENT ADAM: No, sir. I'm actually just a       24   about I need to ask are you -- are you okay? Do you need
 25   negotiator. I'm here to help and talk to you and see      25   medical attention?



                                                                                          2 (Pages 2 to 5)
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                                                    Page 6                                                              Page 8
  1          MR. BEASLEY: I do not want any medical                1   a wife, kids? Who are we talking about?
  2   attention.                                                   2          MR. BEASLEY: I have a wife and four kids.
  3          FBI AGENT ADAM: Okay.                                 3          FBI AGENT ADAM: You have a wife and what? I'm
  4          MR. BEASLEY: I just need to make sure everyone        4   sorry, you broke up a little bit, sir.
  5   knows exactly what happened and why. Not why, why is         5          MR. BEASLEY: Four kids.
  6   stupid, but know that I'm the only one involved.             6          FBI AGENT ADAM: Four kids, okay. What's your
  7          FBI AGENT ADAM: Okay.                                 7   wife's name?
  8          MR. BEASLEY: Nobody else was involved in the          8          MR. BEASLEY: Paula.
  9   scheme.                                                      9          FBI AGENT ADAM: Olive.
 10          FBI AGENT ADAM: Nobody else was involved.            10          MR. BEASLEY: Paula.
 11          MR. BEASLEY: Nobody even knew. Nobody even           11          FBI AGENT ADAM: Paula, P-a-u-l-a?
 12   knew.                                                       12          MR. BEASLEY: Yeah.
 13          FBI AGENT ADAM: Nobody even knew what?               13          FBI AGENT ADAM: Okay. Four kids. What are
 14          MR. BEASLEY: That I was running a Ponzi              14   their names?
 15   scheme.                                                     15          MR. BEASLEY: Matthew,                 ,    and Jordan.
 16          FBI AGENT ADAM: Okay, a Ponzi scheme.                16          FBI AGENT ADAM: Matthew,                        and
 17          MR. BEASLEY: They didn't know.                       17   Jordan?
 18          FBI AGENT ADAM: Who didn't know, Matthew?            18          MR. BEASLEY: Yes.
 19          MR. BEASLEY: They had no idea. If they did,          19          FBI AGENT ADAM: Well, those are all really
 20   they would have called you guys.                            20   pretty names. I like that you we kept the Ms in the
 21          FBI AGENT ADAM: Okay.                                21   family for a while there.
 22          (End of audio file.)                                 22          MR. BEASLEY: Don't patronize me, please.
 23                                                               23          FBI AGENT ADAM: Oh, I'm not, I'm not. I'm
 24                                                               24   sorry, I'm not trying to patronize you, sir.
 25                                                               25          MR. BEASLEY: I just want to clear everything


                                                    Page 7                                                              Page 9
  1   4 Continued contact 2 MB                                     1   up and make sure nobody else besides me gets in trouble.
  2          MR. BEASLEY: Part of it that the FBI was at           2          FBI AGENT ADAM: Okay. And I understand that,
  3   their house today.                                           3   Matthew. How old are your kids? We're trying to just
  4          FBI AGENT ADAM: Okay. So the FBI was at some          4   sort through everything right now.
  5   other people's houses today to talk to them about maybe      5          MR. BEASLEY: 27, 22, 11 and 9.
  6   something you were involved in.                              6          FBI AGENT ADAM: 27, 22, 11 --
  7          MR. BEASLEY: They did search warrants, they           7          MR. BEASLEY: And 9.
  8   did search warrants today.                                   8          FBI AGENT ADAM: And 9. Jordan is 9?
  9          FBI AGENT ADAM: Okay. They did a search               9          MR. BEASLEY: George, I don't have a George, I
 10   warrant today and you might have some involvement in it.    10   have a Jordan, and she's 27.
 11          MR. BEASLEY: They -- they knew nothing. I            11          FBI AGENT ADAM: Okay.
 12   lied to them. I ran the entire thing and the only thing     12          MR. BEASLEY: Matthew is 22.              is 11 and
 13   those individuals did wrong is believe me, that was it.     13             is 9.
 14   They knew nothing. They believed that I was actually a      14          FBI AGENT ADAM:                    okay. Thank you for
 15   good person and not a piece of shit.                        15   telling me that. Where are they? Are any of them in the
 16          FBI AGENT ADAM: Well, I don't -- I don't think       16   house?
 17   you're a piece of shit, Matthew. You're talking to me       17          MR. BEASLEY: Nobody is here, just me.
 18   now and you've already apologized.                          18          FBI AGENT ADAM: Nobody else is in the house?
 19          MR. BEASLEY: I'm a very intelligent person, I        19          MR. BEASLEY: Well, and two dogs that are
 20   will tell you that also, but I don't -- I understand what   20   really friendly and really small. But please don't --
 21   your job is to do but I just want it to be known that       21   they're not mine, they're my associates dogs, so please
 22   nobody besides me not -- my family has no idea. They're     22   don't shoot them. One is a puppy, and one is only like
 23   going to be so fucking disappointed in me.                  23   eight months old.
 24          FBI AGENT ADAM: Okay. Well, speaking of your,        24          FBI AGENT ADAM: Well, you're talking to a dog
 25   speaking of your family, Matthew, how many -- do you have   25   lover, so I certainly don't want to see anything happen



                                                                                              3 (Pages 6 to 9)
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                                                 Page 10                                                           Page 12
  1   to you or the dogs, Matthew. Thank you for telling us        1   there's people out here including all of us who don't
  2   about that, though. That's good information for us to        2   want to see that happen to you. So that's why I'm hoping
  3   have. Thank you for telling me that.                         3   you'll talk to me.
  4         MR. BEASLEY: This wasn't how it was supposed           4           MR. BEASLEY: That's (inaudible), but I
  5   to happen.                                                   5   appreciate that, but you can't help it.
  6         FBI AGENT ADAM: How what wasn't supposed to            6           FBI AGENT ADAM: Well, I think there's plenty
  7   happen, Matthew?                                             7   of ways to help you, Matthew. We can certainly talk
  8         MR. BEASLEY: I can't think -- I can't --               8   about what's happened today and, in the past, and we
  9         (End of audio file.)                                   9   don't want -- we don't want to have to tell your kids
 10                                                               10   about something bad happening to you. We want to
 11                                                               11   hopefully have your kids see you at the end of today, you
 12                                                               12   know, when the sun goes down and all that.
 13                                                               13           MR. BEASLEY: They already know.
 14                                                               14           FBI AGENT ADAM: They already know?
 15                                                               15           MR. BEASLEY: They don't know yet. I wrote
 16                                                               16   them all letters. And please tell the people in charge
 17                                                               17   if they go up to my office everything they need, there's
 18                                                               18   a letter to the FBI and to my family --
 19                                                               19           FBI AGENT ADAM: Okay.
 20                                                               20           MR. BEASLEY: -- that explains everything and
 21                                                               21   tells them how much I love them.
 22                                                               22           FBI AGENT ADAM: Well, Matthew, you did write
 23                                                               23   letters but there's also the opportunity for you to tell
 24                                                               24   the FBI what happened and for you to tell your family you
 25                                                               25   love them.


                                                 Page 11                                                           Page 13
  1   5 Continued contact 3 MB                                     1          MR. BEASLEY: I'm trying to tell you guys right
  2          FBI AGENT ADAM: Okay. Well, before we kind of         2   now, please put the guy that investigated me the phone so
  3   talk about everything that happened in the past I want --    3   he can -- so he can write this stuff down and make sure
  4          MR. BEASLEY: I just don't want -- I just don't        4   he understands that this is -- this is not something that
  5   want to -- I don't want to talk about me anymore, I want     5   wasn't intended. It turned really bad and nobody else
  6   to talk about what happened and I want to explain.           6   was involved except for me.
  7          FBI AGENT ADAM: Yeah. Matthew, that's what I          7          FBI AGENT ADAM: Uh-huh. Except for you.
  8   want to. I want to hear about what happened today.           8          MR. BEASLEY: Nobody. Nobody knew anything.
  9          MR. BEASLEY: Oh, I don't care about what              9   If they did, they would have all turned me into the
 10   happened today, except I apologize. They should never       10   police long ago, even if it meant risking themselves. It
 11   have had to shoot me.                                       11   was me.
 12          FBI AGENT ADAM: Okay. Well, did you -- were          12          FBI AGENT ADAM: Okay. So let me just
 13   you shot, Matthew, were you hit?                            13   understand what you're saying so far, okay, Matthew? Do
 14          MR. BEASLEY: Twice, yeah.                            14   you mind if I, if I do that?
 15          FBI AGENT ADAM: Okay. Where were you hit?            15          MR. BEASLEY: If you do it quick.
 16          MR. BEASLEY: Once in the chest and once in the       16          FBI AGENT ADAM: Okay. So some agents came to
 17   shoulder.                                                   17   your door to talk to you today. When you opened the door
 18          FBI AGENT ADAM: Okay. If you were to come            18   you had a firearm in your hand, it was pointed at your
 19   out, you could have somebody look at those.                 19   head.
 20          MR. BEASLEY: I don't -- I'm not coming out,          20          MR. BEASLEY: But I didn't ever -- I didn't
 21   outside. I'm not coming out, no.                            21   ever open the door, but yeah.
 22          FBI AGENT ADAM: I'm sorry, it's a little hard        22          FBI AGENT ADAM: Okay.
 23   to hear you. Say that again please, Matthew.                23          MR. BEASLEY: I unlocked the door, but the
 24          MR. BEASLEY: When I come out, I'll be dead.          24   door -- the door is unlocked so they don't need to break
 25          FBI AGENT ADAM: Well, I can tell you, Matthew,       25   it down. It's unlocked.



                                                                                        4 (Pages 10 to 13)
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                                                  Page 14                                                          Page 16
  1         FBI AGENT ADAM: Okay, the door is unlocked.            1   talk to the agents about what happened so you can make
  2   They came to talk to you. You had a weapon to your head,     2   sure they have all the details.
  3   and they fired at you, striking you twice.                   3          Because let me tell you, Matthew, I've been
  4         MR. BEASLEY: Yes.                                      4   investigating cases for a couple of years and letters
  5         FBI AGENT ADAM: In the chest and -- Matthew?           5   don't always take into account everything that needs to
  6         MR. BEASLEY: The shoulder.                             6   be said. That way there's follow up questions and things
  7         FBI AGENT ADAM: In the shoulder, okay. Thank           7   like that.
  8   you. In addition to that --                                  8          MR. BEASLEY: Well, that's what I was hoping we
  9         (End of audio file.)                                   9   could accomplish but they -- they just kind of shot me
 10                                                               10   and I apparently took -- I probably -- I didn't really
 11                                                               11   know the process very well. I should have waited, I
 12                                                               12   should have. But now we're where we are, so that's why I
 13                                                               13   just want to make sure everybody understands.
 14                                                               14   Jeff Judd, Shane Jager, Chris Humphries,
 15                                                               15   Warren Rosegreen, Chris Madsen, my family, Jeff's family,
 16                                                               16   nobody knew anything. It was all me.
 17                                                               17          FBI AGENT ADAM: It was all you. Well,
 18                                                               18   Matthew, I appreciate that you want to tell the agent
 19                                                               19   that. He's actually answering some questions right now,
 20                                                               20   so I can't get him so we're talking together. But I can,
 21                                                               21   I can promise you that if you come out and we get you
 22                                                               22   some medical attention you'll have every opportunity in
 23                                                               23   the world to talk to that agent.
 24                                                               24          MR. BEASLEY: I don't want -- I'm not coming
 25                                                               25   out.


                                                  Page 15                                                          Page 17
  1   6 Continue contact 4 MB                                      1          FBI AGENT ADAM: Okay. But you do want to talk
  2          FBI AGENT ADAM: -- about a Ponzi scheme that          2   to the agent, and I want to get you in front of that
  3   you were telling me about.                                   3   agent because I can tell from the way you're talking that
  4          MR. BEASLEY: I know they were, yes.                   4   you have regret over what happened earlier today.
  5          FBI AGENT ADAM: Okay. Matthew, let me ask you         5          MR. BEASLEY: I have regrets about everything
  6   why do you feel it's necessary to take this step?            6   I've done. If I could --
  7          MR. BEASLEY: Because I -- all I -- what I             7          FBI AGENT ADAM: Okay. But this is only one
  8   really thought was going to happen when they showed up is    8   day, Matthew, and there's plenty of time ahead of us to
  9   they would let me tell my story and then I could do what     9   where --
 10   I needed to do. But they decided to shoot me, and I wish    10          MR. BEASLEY: (Inaudible) in the last five
 11   they would have at least killed me, but they didn't so --   11   fucking years. I'm sorry to cuss.
 12          But I do apologize to them for making them do        12          FBI AGENT ADAM: No, that's okay. I can tell
 13   that. That -- I did want that.                              13   you're stressed out. You're emotional about what happened
 14          FBI AGENT ADAM: Okay. And --                         14   earlier. It didn't go the way kind of you maybe intended
 15          MR. BEASLEY: I didn't want them to get hurt          15   it to go.
 16   or --                                                       16          MR. BEASLEY: No, I -- I am not emotional about
 17          FBI AGENT ADAM: Well, thank you for saying           17   what happened earlier. The only thing I wish is they
 18   that. I can tell from what you're saying about your         18   would have killed me instead of just shot.
 19   concern for the agents that came to your door is you're a   19          FBI AGENT ADAM: Well, why do you wish they
 20   good person who doesn't want to see anybody get hurt.       20   would have killed you, Matthew?
 21   And that's exactly what we want, Matthew. We                21          MR. BEASLEY: Because I'm going to do it.
 22   don't want to see anybody get hurt. So just because         22          FBI AGENT ADAM: Well, Matthew, if you do that
 23   something happened earlier doesn't mean any further         23   you've got four kids that don't have a dad.
 24   action needs to be taken. We want to get you some           24          MR. BEASLEY: But they're not going to have a
 25   medical and we want you to be able to tell your kids and    25   dad anyway.



                                                                                        5 (Pages 14 to 17)
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                                                  Page 18                                                          Page 20
  1           FBI AGENT ADAM: Well, what makes you say that,       1   please ask me questions about the Ponzi scheme that I can
  2   Matthew?                                                     2   answer questions.
  3           MR. BEASLEY: Because it's obvious I'll be in         3           FBI AGENT ADAM: Okay.
  4   jail forever because of what I've done. They won't want      4           MR. BEASLEY: That's what I want to --
  5   to -- they want to have anything to do with me.              5           FBI AGENT ADAM: Okay, okay, Matthew. Okay,
  6           FBI AGENT ADAM: Hey, Matthew, can you -- hey,        6   Matthew, that's what we'll talk about. Okay?
  7   can you put the phone back? Let's --                         7           MR. BEASLEY: Yeah.
  8           (End of audio file.)                                 8           FBI AGENT ADAM: All right. When did it start?
  9                                                                9           MR. BEASLEY: 2017.
 10                                                               10           FBI AGENT ADAM: 2017 or 15? I'm sorry.
 11                                                               11           MR. BEASLEY: '17.
 12                                                               12           FBI AGENT ADAM: Okay, 2017. You described it
 13                                                               13   as a Ponzi scheme started.
 14                                                               14           MR. BEASLEY: It wasn't -- it wasn't -- I --
 15                                                               15   basically I was taking -- I lied and I was getting a
 16                                                               16   bridge loan because I have a gambling problem or had. I
 17                                                               17   was taking a bridge loan, but I just explained it as
 18                                                               18   all -- this type of deal related to lawsuits.
 19                                                               19           FBI AGENT ADAM: Related to what, Matthew? I'm
 20                                                               20   sorry.
 21                                                               21           MR. BEASLEY: Lawsuits.
 22                                                               22           FBI AGENT ADAM: Lawsuits.
 23                                                               23           MR. BEASLEY: Personal injury settlements.
 24                                                               24           FBI AGENT ADAM: Okay. So I'm going to just
 25                                                               25   recap, though, so I make sure I understand it all, okay?


                                                  Page 19                                                          Page 21
  1   7 Continued contact 5MB                                      1         Okay, Matthew, are you -- are you feeling okay?
  2          MR. BEASLEY: All right.                               2   It sounds like you're getting a little soft spoken. Are
  3          FBI AGENT ADAM: That's okay, there you go.            3   you okay?
  4   Much better. Thank you.                                      4         MR. BEASLEY: Yeah, I'm fine.
  5          MR. BEASLEY: (Inaudible) collarbone has been          5         FBI AGENT ADAM: Okay. Well, thank you for
  6   shot.                                                        6   confirming that for me. Okay. So in 2017 you took out a
  7          FBI AGENT ADAM: Okay. Your collar hurts, like         7   bridge loan, right?
  8   they hit you in the collarbone?                              8         MR. BEASLEY: (Inaudible) I didn't tell him it
  9          MR. BEASLEY: I think it's (inaudible). It's           9   was a bridge loan, I told him it was a deal to --
 10   fine.                                                       10         (End of audio file.)
 11          FBI AGENT ADAM: Okay. Hey, Matthew, where's          11
 12   the gun?                                                    12
 13          MR. BEASLEY: It's on my chest. I'm going to          13
 14   put it on my forehead here in a second.                     14
 15          FBI AGENT ADAM: Okay. Well, please do me a           15
 16   favor. While we're talking if you put that gun to your      16
 17   forehead, we might not have the opportunity to hear your    17
 18   entire side of the story. So you can do me a favor and      18
 19   please put the gun next to you on the floor at least, off   19
 20   your chest?                                                 20
 21          MR. BEASLEY: No. It's on my chest.                   21
 22          FBI AGENT ADAM: Okay.                                22
 23          MR. BEASLEY: But go ahead. I -- please ask me        23
 24   questions about -- I don't care about today, I don't care   24
 25   about the police officer or the FBI, I just feel bad, but   25



                                                                                       6 (Pages 18 to 21)
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                                                  Page 22                                                          Page 24
  1   8 Continued contact 6 MB                                     1          FBI AGENT ADAM: Okay. Well, earlier you said
  2          MR. BEASLEY: Okay.                                    2   you wanted to tell me about what was going on, so I'm
  3          FBI AGENT ADAM: Okay. So in 2017 you                  3   trying figure out what was going on. That way I can --
  4   contacted Jeff Judd about getting money through personal     4          MR. BEASLEY: I know, I know. But I just
  5   injury lawsuits, right, because --                           5   didn't want to get sidetracked, I just didn't want -- I
  6          MR. BEASLEY: Yeah.                                    6   just really want to concentrate on making sure the people
  7          FBI AGENT ADAM: -- as you said --                     7   that get in trouble need to get in trouble and the people
  8          MR. BEASLEY: Funding -- I wanted him to fund,         8   that don't, that didn't do anything wrong, don't get in
  9   but it was really I just needed a loan.                      9   trouble.
 10          FBI AGENT ADAM: Okay. You needed a loan              10          FBI AGENT ADAM: Thank you for telling me that
 11   because of gambling?                                        11   and, honestly, Matthew, from everything we've talked
 12          MR. BEASLEY: Yeah.                                   12   about so far, I know what happened happened and I know
 13          FBI AGENT ADAM: What did you like to gamble on       13   you're trying to take accountability for what happened,
 14   back in the day?                                            14   not just today but in the past five years, and I really
 15          MR. BEASLEY: Sports betting.                         15   appreciate that. That takes a stand-up guy to do that.
 16          FBI AGENT ADAM: Okay.                                16   And from literally everything you've said,
 17          MR. BEASLEY: And there's some -- and before I        17   Matthew, you care about other people a lot. You have a
 18   get there let me tell you that there's some on my           18   very big heart. And listen, as somebody who also likes
 19   computer I was being extorted by someone that I lost a      19   to throw a couple bucks down on the game sometimes I
 20   lot of money to and I have -- before I gave him the last    20   totally see how things can get out of control really
 21   bit of money I gave, the last $40,000, in desperation he    21   quickly. Matthew? Matthew are you there? Matthew?
 22   basically admitted he was extorting me and threatening my   22          (End of audio file.)
 23   family and me. And, I mean, you're talking about 15 to      23
 24   $20 million dollars so --                                   24
 25          FBI AGENT ADAM: Your family was extorted for         25


                                                  Page 23                                                          Page 25
  1   15 to $20 million, Matthew?                                  1   9 Continued contact 7 MB
  2          MR. BEASLEY: No, my family wasn't, I was. No,         2           FBI AGENT ADAM: Okay, that's okay. Thank you
  3   I wasn't extorted for the whole thing. I was extorted        3   for -- thank you for talking back to me. That's -- you
  4   for part of it and the rest of it were gambling losses.      4   know, I got a little worried there for a second that you
  5          FBI AGENT ADAM: Okay. What sports did you             5   had done something.
  6   like to gamble on the most?                                  6           MR. BEASLEY: No, not yet.
  7          MR. BEASLEY: I gambled on everything, that's          7           FBI AGENT ADAM: No. Well, thank you for not
  8   (inaudible). Yeah, there is a message in my voicemail,       8   doing anything.
  9   when you get my phone there's a message in my voicemail      9           Hey, as we continue to talk, I've got people
 10   that says it's from an unknown caller --                    10   kind of asking me some questions about what's going on in
 11          FBI AGENT ADAM: Uh-huh.                              11   there, and I know it would make them --
 12          MR. BEASLEY: -- there is a guy supposedly -- I       12           MR. BEASLEY: (Inaudible.)
 13   think it's Philadelphia that showed up in town because of   13           FBI AGENT ADAM: I know it would make them and
 14   unpaid gambling debts.                                      14   me feel a lot more comfortable if you would just put that
 15          FBI AGENT ADAM: So you -- so you were going          15   gun off from your chest onto the ground. That way we can
 16   through a bookie, Matthew?                                  16   continue talking. Can you do that for me while I
 17          MR. BEASLEY: Yeah.                                   17   continue to hear about what you're doing?
 18          FBI AGENT ADAM: Okay. Where was -- the bookie        18           MR. BEASLEY: No, because I don't want them to
 19   was located in Philly?                                      19   come in here.
 20          MR. BEASLEY: Well, that's where these guys           20           FBI AGENT ADAM: Okay. Well, no one is coming
 21   were. The guy that I was dealing with was here.             21   in there, Matthew. I promise you, Matthew, no one is
 22          FBI AGENT ADAM: Okay. What's that guy's name,        22   coming in there. You have -- you have my word.
 23   Matthew?                                                    23           MR. BEASLEY: (Inaudible) FBI agent
 24          MR. BEASLEY: It's all written down upstairs.         24   (inaudible).
 25   I don't want to get too (inaudible) on that. But --         25           FBI AGENT ADAM: I know. And Matthew, he's



                                                                                       7 (Pages 22 to 25)
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                                                 Page 26                                                          Page 28
  1   still answering questions to a lot of the people out         1   it would last this long.
  2   here.                                                        2         FBI AGENT ADAM: Okay. Why didn't you think it
  3           MR. BEASLEY: That was so fucking stupid.             3   was going to last this long?
  4           FBI AGENT ADAM: Which part was stupid,               4         MR. BEASLEY: It got to the point -- it got to
  5   Matthew?                                                     5   the point where -- because Jeff, Jeff Judd, I mean he's a
  6           MR. BEASLEY: Me. Me, putting the gun to my --        6   great person, and he was like, "Man, this is a great
  7   I honestly didn't think they'd shoot but I should have       7   idea. Do you know any other attorneys that we could
  8   never put them in that position.                             8   continue to grow this??
  9           FBI AGENT ADAM: Well, see again you're just          9         FBI AGENT ADAM: Okay.
 10   giving me another example of how kind of -- I mean,         10         MR. BEASLEY: And in a way -- in an effort to
 11   you're selfless, Matthew. You're trying to apologize to     11   get more money I said yes. I started making up shit.
 12   all these people you've wronged. You're trying to clear     12         (End of audio file.)
 13   people's names and I want to give you that opportunity,     13
 14   and you can do that face-to-face. You can tell your kids    14
 15   you're sorry. You can tell everybody involved in this       15
 16   that you're sorry.                                          16
 17           MR. BEASLEY: My family will have nothing. My        17
 18   family is going to have nothing.                            18
 19           FBI AGENT ADAM: Why do you say that?                19
 20           MR. BEASLEY: (Inaudible.)                           20
 21           FBI AGENT ADAM: Sorry, Matthew, you broke up.       21
 22   What did you say?                                           22
 23           MR. BEASLEY: They're -- they're not going to        23
 24   have a dad, or they'll have nothing.                        24
 25           FBI AGENT ADAM: Well, I certainly want them to      25


                                                 Page 27                                                          Page 29
  1   have a dad and I think you want them to have a dad. Your     1   10 Continued contact 8 MB
  2   youngest is even a teenager yet, Matthew.                    2          MR. BEASLEY: And, I mean, it's not his fault.
  3          MR. BEASLEY: (Inaudible) 15 years, no thank           3   He didn't -- he didn't know it was all bullshit. He
  4   you.                                                         4   thought it was the greatest business in the world. And
  5          FBI AGENT ADAM: You know, Matthew, the legal          5   then, you know, started bringing in friends and it just
  6   system has to play out. There's a lot of things still to     6   grew, and grew, and then -- I mean, probably in '17 I
  7   figure out. Nothing has been decided.                        7   realized there's no going back --
  8          MR. BEASLEY: No, it's not.                            8          FBI AGENT ADAM: We have -- we have --
  9          FBI AGENT ADAM: Nothing has been decided.             9          MR. BEASLEY: -- with a bridge loan. The bridge
 10          MR. BEASLEY: It's my letters. I've admitted          10   loan turned into the flat-out Ponzi scheme and there's no
 11   to everything, and I've admitted on here. There is          11   going back so --
 12   nothing to play out.                                        12          FBI AGENT ADAM: How much was the original loan
 13          FBI AGENT ADAM: Well, I mean, between you and        13   for, Matthew?
 14   me, Matthew, you've only admitted to taking out a loan so   14          MR. BEASLEY: I think -- I think either like 10
 15   far. We haven't really gotten into everything yet.          15   or 25 grand.
 16          MR. BEASLEY: Oh, well, okay. Well, whatever          16          FBI AGENT ADAM: Okay. Who did you get that
 17   you want to call it, but nobody else did anything wrong.    17   from?
 18   It was me.                                                  18          MR. BEASLEY: I got it from Jeff.
 19          FBI AGENT ADAM: Hey, Matthew --                      19          FBI AGENT ADAM: Okay, you got that from Jeff.
 20          MR. BEASLEY: (Inaudible) single week.                20   Okay, I understand now. I got you. How much were you in
 21          FBI AGENT ADAM: Matthew, you know who goes to        21   debt to the bookie at that point?
 22   prison for a long, long time? Pedophiles. You're not a      22          MR. BEASLEY: Oh, at that point I don't know.
 23   pedophile. Murderers, you're not a murderer.                23   I don't have any idea. At that point it was probably
 24          MR. BEASLEY: I'm not -- I'm not going to             24   around whatever I got.
 25   prison so -- this is -- they would come -- I didn't think   25          FBI AGENT ADAM: Makes sense. What do you do



                                                                                       8 (Pages 26 to 29)
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                                                  Page 30                                                          Page 32
  1   for a living, Matthew?                                       1   maybe 10, 20, 25,000 worth of debt to a bookie. You were
  2           MR. BEASLEY: I'm an attorney. That's how I           2   still trying to pay that off and provide for your family
  3   was able to pull the whole thing off.                        3   like a good dad and husband does, and so you went to
  4           FBI AGENT ADAM: So you're a smart guy who            4   Jeff, and you had an idea for making some money.
  5   understands the law.                                         5           MR. BEASLEY: Well, I told him, yeah.
  6           MR. BEASLEY: I'm not smart. No, obviously I'm        6           (End of audio file.)
  7   not so --                                                    7
  8           FBI AGENT ADAM: Matthew -- Matthew, let me           8
  9   tell you this, I disagree with that only because I see       9
 10    -- see people try to pull different Ponzi schemes, and     10
 11   frauds, and scams off and they're not very good at it.      11
 12   So to even get people to listen to you that far it takes    12
 13   a level of intelligence that I'm very impressed with.       13
 14           MR. BEASLEY: Really. Thank you for the              14
 15   compliment, but it -- it's not needed. I'm not a good       15
 16   person. I'm not a smart person.                             16
 17           FBI AGENT ADAM: You know, Matthew, one or two       17
 18   decisions doesn't necessarily define who we are as          18
 19   people.                                                     19
 20           MR. BEASLEY: Yeah, at this point it does so --      20
 21           FBI AGENT ADAM: Well, I mean, they certainly        21
 22   can, decisions certainly can decide that.                   22
 23           MR. BEASLEY: If I walk out of here, I'm going       23
 24   to jail and I'm not going to jail. So --                    24
 25           FBI AGENT ADAM: Well, there's still a lot to        25


                                                  Page 31                                                          Page 33
  1   be determined about what happens when you walk out of        1   11 Continued contact 9 MB
  2   there, but I look forward to hearing you say you are         2          MR. BEASLEY: I told him that, hey, I got a
  3   walking out of there. Thank you for saying that.             3   client. I settled a personal injury case. They just
  4           MR. BEASLEY: No. No, I said I'm not walking          4   need some money, I think it was Christmas or something,
  5   out of here. I said I'm not.                                 5   and they need some money for Christmas, and if you, you
  6           FBI AGENT ADAM: You're a guy who -- Matthew,         6   know, give it to them, that you get, whatever, like -- if
  7   I'm going to recap what we talked about so far, okay?        7   you give them 25, they'll give you 35 back, something
  8           MR. BEASLEY: It doesn't matter. Oh, as long          8   like that.
  9   as -- as long we're just talking about what I did and how    9          FBI AGENT ADAM: And this was in 2017 or 2018?
 10   it's nobody, nobody else even knew. Nobody else was         10          MR. BEASLEY: It might have been '16 or '17.
 11   involved.                                                   11          FBI AGENT ADAM: Okay. 2016 or 2017.
 12           FBI AGENT ADAM: Yeah, that's what we're             12          How are you feeling? How much pain are you in?
 13   talking about. I'm just trying to make sure I               13          MR. BEASLEY: No, pretty good.
 14   understand, okay?                                           14          FBI AGENT ADAM: Yeah?
 15           MR. BEASLEY: Okay.                                  15          MR. BEASLEY: Yeah. I've never been shot
 16           FBI AGENT ADAM: Okay. So you were an                16   before (inaudible). I need to apologize to that guy.
 17   attorney. What kind of law did you practice?                17          FBI AGENT ADAM: Okay. Well --
 18           MR. BEASLEY: Just a bunch of different things.      18          MR. BEASLEY: I didn't want to (inaudible)
 19           FBI AGENT ADAM: Okay. Any TV ads I would have       19   nobody. Do not bring my family here to the home.
 20   seen?                                                       20          FBI AGENT ADAM: Okay, we won't bring your
 21           MR. BEASLEY: I'm sorry?                             21   family there, Matthew. But I've heard -- I've heard you
 22           FBI AGENT ADAM: Any TV ads or billboards I          22   say a number of times you want to talk to the agent that
 23   might have seen?                                            23   fired at you and --
 24           MR. BEASLEY: No, no.                                24          MR. BEASLEY: I just want to apologize. I just
 25           FBI AGENT ADAM: Okay. So you -- you were into       25   want to apologize.



                                                                                        9 (Pages 30 to 33)
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                                                     Page 34
  1          FBI AGENT ADAM: Okay. So what we're going to
  2   do, Matthew, is -- here's what I would ask of you. Would
  3   you mind hanging up with for no more than five minutes
  4   and I'm going to go see if I can track that agent down to
  5   start to talking to you, okay?
  6          MR. BEASLEY: Okay, thank you.
  7          FBI AGENT ADAM: Okay. Hey, Matthew, do me a
  8   favor, though, I promise you that I'm going to go try to
  9   find him. Will you promise me that you'll put the gun on
 10   the floor?
 11          MR. BEASLEY: I'll just leave it on my chest
 12   where it's at. I won't touch it.
 13          FBI AGENT ADAM: Okay, you're not going to
 14   touch it, though?
 15          MR. BEASLEY: Yeah.
 16          FBI AGENT ADAM: Okay, thank you. I'm going to
 17   call you back in five minutes. Okay?
 18          MR. BEASLEY: Try to make it quicker, please,
 19   if you can.
 20          FBI AGENT ADAM: Okay, I will work to make it
 21   quicker. Thank you, Matthew. We'll call you back.
 22          MR. BEASLEY: Thank you.
 23          FBI AGENT ADAM: All right, bye.
 24          (End of audio file.)
 25          (End of recordings.)


                                                     Page 35
  1             TRANSCRIBER'S CERTIFICATE
  2
  3   I, Cheryl Shifflett, hereby certify that the foregoing
  4   transcript is a complete, true and accurate transcription
  5   of all matters contained on the recorded proceedings in
  6   the matter of project name:
  7   Call between an FBI negotiator and Matthew Beasley -
  8   March 4, 2022.
  9
 10
 11
 12
 13
 14
 15            ______________________________________
 16            Transcriber
 17
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 23
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                   Exhibit 2
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                                                                  Page 1
       UNITED STATES SECURITIES AND EXCHANGE COMMISSION


       In the Matter of:                     )
                                             )   File No. SL-02855-A
       J&J CONSULTING, INC.                  )   Amended: 4/11/2022


       SUBJECT:    Phone Call on 3.3.2022
                   FBI Negotiator and Matthew Beasley
                   22030206.mp3
       PAGES:      1 through 113




                             AUDIO TRANSCRIPTION




                  Diversified Reporting Services, Inc.
                                (202) 467-9200
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                                                  Page 2                                                          Page 4
  1               PROCEEDINGS                                   1          FBI AGENT ADAM: Well, just to let you know
  2   22030206.mp3                                              2   they're still talking to some of the people out here to
  3           FBI AGENT ADAM: March 3, 2022, 2:57 p.m.          3   try to figure out what happened and give their side of
  4   Calling Matthew Beasley at 913-486-9975.                  4   the story. So they can't -- they can't come talk to
  5           (Phone ringing.)                                  5   you right now, but --
  6           MR. BEASLEY: Hello.                               6          MR. BEASLEY: Are you out here now?
  7           FBI AGENT ADAM: Hey, Matthew. It's Adam.          7          FBI AGENT ADAM: There are some people out
  8           MR. BEASLEY: Hello.                               8   here because we're worried about you.
  9           FBI AGENT ADAM: Hey, thank you for giving me      9          MR. BEASLEY: Are you outside?
 10   Paula's number. We're going to try to contact her now.   10          FBI AGENT ADAM: I'm not outside your home,
 11   Thank you for doing that.                                11   but I'm nearby, yes.
 12           MR. BEASLEY: No, she had nothing to do with      12          MR. BEASLEY: Oh, okay.
 13   it.                                                      13          FBI AGENT ADAM: Yes, there's a whole bunch
 14           FBI AGENT ADAM: Well, yeah, and you've said      14   of people out here who just want to see you come out
 15   that multiple times, but we just want to be able to      15   healthy and safe, and that way you can see the four
 16   give her somebody to talk to while all this is going     16   kids and Paula again.
 17   on. So thank you for doing that.                         17          MR. BEASLEY: No. Okay. Well, let's get
 18           MR. BEASLEY: If you could -- okay. Anything      18   back to getting the story over so I can be done with
 19   else you need to know?                                   19   this pain. This is a lot of pain.
 20           FBI AGENT ADAM: Yeah, I think we got a lot       20          FBI AGENT ADAM: It's a lot of pain. Well,
 21   of the story still to tell.                              21   Matthew, we can help you with the pain if you would
 22           MR. BEASLEY: No, I don't -- there's not much     22   just allow paramedics to come inside or even --
 23   to tell.                                                 23          MR. BEASLEY: No.
 24           FBI AGENT ADAM: Well, if we want to get all      24          FBI AGENT ADAM: -- come outside.
 25   the facts, we're going to need to hear it from A to Z.   25          MR. BEASLEY: No, I'm sorry.


                                                  Page 3                                                          Page 5
  1   But first off let me ask you how are you feeling?         1           FBI AGENT ADAM: That way you have more time
  2          MR. BEASLEY: Aw, I feel like shit.                 2   to tell your story and you can tell your story to the
  3          FBI AGENT ADAM: Yeah.                              3   agents who came to talk to you earlier. Because,
  4          MR. BEASLEY: This is my first time being           4   Matthew, like we talked about I don't work this, this
  5   shot so --                                                5   matter and I didn't really know what was going on today
  6          FBI AGENT ADAM: Right, you said that. Well,        6   until I got here.
  7   we have medical out here for you if you want it.          7           If you want to talk to the two --
  8          MR. BEASLEY: No, I don't want it.                  8           MR. BEASLEY: Okay.
  9          FBI AGENT ADAM: Okay. Why don't you want           9           FBI AGENT ADAM: -- individuals you saw
 10   it?                                                      10   earlier who have deep, detailed knowledge of this case
 11          MR. BEASLEY: Because I'm not -- I'm not           11   that's really easy to do. We just need to get you out
 12   coming out first off so -- and I'm not going to -- I'm   12   of there and safe to tell that story.
 13   not going to jail but -- so --                           13           MR. BEASLEY: Well, then it's probably not
 14          FBI AGENT ADAM: We -- I understand you don't      14   going happen and I'm very, very sorry that I'm not
 15   want to come out and you don't want to go to jail, but   15   going to be able to talk to them then.
 16   like we talked about previously there's plenty of time   16           FBI AGENT ADAM: Well, those are the guys
 17   to figure out what's going on. But we do have --         17   with the expert knowledge on the case and they are here
 18          MR. BEASLEY: No, there's not, no. I'm             18   to talk to you. I know they came to talk to you
 19   admitting to everything.                                 19   earlier because they wanted to talk to you, and they
 20          FBI AGENT ADAM: I know, and we're going to        20   still want to talk to you, Matthew.
 21   get to, we're going to get to that whole rest of that    21           MR. BEASLEY: Well, yeah. I guess I
 22   story here in just -- here. I promised you I would go    22   shouldn't have approached it the way I did then.
 23   try to find the agents that came to your door. I         23           FBI AGENT ADAM: Well, hey, we all make
 24   promised you that, right?                                24   decisions.
 25          MR. BEASLEY: Yes.                                 25           MR. BEASLEY: Is somebody coming in my house?



                                                                                         2 (Pages 2 to 5)
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                                                  Page 6                                                          Page 8
  1          FBI AGENT ADAM: What do you hear, Matthew?          1         MR. BEASLEY: I can go fucking to prison, I'm
  2          MR. BEASLEY: Somebody is coming in my house.        2   going to go to prison, and leave my kids with nothing.
  3          FBI AGENT ADAM: Nobody should be coming in y        3   That's great. What an accomplishment I've done.
  4   our house, Matthew.                                        4         FBI AGENT ADAM: Well, Matthew, why do you
  5          MR. BEASLEY: Something happened to one of my        5   think you're going to leave your kids with nothing if
  6   doors. I'm not going to shoot them, you can tell them      6   you take this step that we're talking about?
  7   that, but I'm going to finish me right now.                7         MR. BEASLEY: Because at least there's life
  8          FBI AGENT ADAM: Well, okay, nobody wants            8   insurance.
  9   that so let me figure out what's going on, okay? Just      9         FBI AGENT ADAM: Well, Matthew, life
 10   stay on the phone with me.                                10   insurance don't pay out with suicide, I'm sorry to tell
 11          MR. BEASLEY: Somebody just came to one of my       11   you that.
 12   doors or something.                                       12         MR. BEASLEY: Yes, it does after two years.
 13          FBI AGENT ADAM: No one is coming in,               13         FBI AGENT ADAM: Two years is a long time for
 14   Matthew. No one is coming in the house. I hear the        14   a nine-year-old to go with nothing, Matthew.
 15   dogs barking, and my dogs bark too when somebody comes    15         MR. BEASLEY: No, no, no. I mean, if you've
 16   to --                                                     16   had the policy for longer than two years.
 17          MR. BEASLEY: It's in the backyard. They're         17         FBI AGENT ADAM: Well, I trust your guidance
 18   in the backyard. Somebody touched the door or did         18   on that because you're a lawyer who know those kinds of
 19   something to the door.                                    19   things. But I can -- Matthew, your four kids need you
 20          FBI AGENT ADAM: Okay. Well, somebody --            20   around in any capacity.
 21          MR. BEASLEY: Tell them not to fucking blow         21         MR. BEASLEY: In what, in prison? They need
 22   it up. They can come in the front door when I'm done.     22   me around in prison?
 23   Jesus Christ, it's unlocked.                              23         FBI AGENT ADAM: Matthew, you've got a
 24          FBI AGENT ADAM: Okay, Matthew. You don't           24   nine-year-old at home. As somebody who is getting
 25   want anybody coming in your house. No one is going to     25   ready to go through fatherhood, Matthew, let me tell


                                                  Page 7                                                          Page 9
  1   come in your house right now.                              1   you I want to be there for every single step of the way
  2          MR. BEASLEY: Well, what they just hit my            2   no matter what capacity I can be.
  3   door with or put on my door?                               3          MR. BEASLEY: You're right, and I did too.
  4          FBI AGENT ADAM: Okay. I'm not really sure,          4          FBI AGENT ADAM: And you still can be,
  5   Matthew. I'm sitting here talking to you. I can go         5   Matthew. You still can be.
  6   find out that answer and give you a call back in just a    6          MR. BEASLEY: I fucked this all up.
  7   minute if you want. No one is coming in there, okay?       7          FBI AGENT ADAM: Matthew, you fucked this --
  8          MR. BEASLEY: Well, somebody was.                    8          MR. BEASLEY: I fucked it all up.
  9          FBI AGENT ADAM: Well, we do have people who         9          FBI AGENT ADAM: Matthew, you made a bad
 10   are trying to figure out if they can help you out, if     10   decision today and we're --
 11   we can get you medical. So there might be people          11          MR. BEASLEY: And I'm not even talking about
 12   around you, but nobody is coming in your house while      12   today. This was not even close to my worst decision
 13   we're talking. We want to see you come out so we can      13   today. My worst decisions happened many years ago.
 14   get you that help and so you can tell the agents that     14          FBI AGENT ADAM: Hey, like we talked about,
 15   came to your door what happened with this whole Ponzi     15   these kinds of crimes, jail time is not always assured.
 16   scheme.                                                   16   Like we talked about, the people who go to prison --
 17          And, you know, you said you didn't want            17          MR. BEASLEY: Oh, I'm going to jail.
 18   anybody else to get in trouble.                           18          FBI AGENT ADAM: Well, and jail --
 19          MR. BEASLEY: I'm sorry, I can't do that.           19          MR. BEASLEY: If I -- if I come out of here,
 20          FBI AGENT ADAM: Why can't you do that,             20   I'm going to jail so --
 21   Matthew?                                                  21          FBI AGENT ADAM: And what's your concern with
 22          MR. BEASLEY: I can't. Because there's              22   going to jail, Matthew?
 23   nothing for me when I come out. I'm dead so --            23          MR. BEASLEY: There's -- I don't do it. I
 24          FBI AGENT ADAM: There's medical, there's           24   don't do anything for -- it does nothing for my family
 25   your four kids, there's Paula.                            25   if I go to jail.



                                                                                          3 (Pages 6 to 9)
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                                                  Page 10                                                      Page 12
  1          FBI AGENT ADAM: It gives you them the               1          FBI AGENT ADAM: They want to hear that from
  2   opportunity to still see you, still talk to you, still     2   you in person. They want to see you come out of there
  3   be around you, still celebrate birthdays and               3   healthy. They love you, Matthew.
  4   Christmases, and weddings, and grandkids. It gives         4          MR. BEASLEY: And now I -- now I wish -- I
  5   them all that opportunity with you if you just come        5   mean, I wish I could have just done it and been done
  6   out. You can get out of jail, Matthew. People bail         6   with it because, fuck, now my kids are going to be
  7   out and bond out all the time.                             7   traumatized by being a part of this.
  8          MR. BEASLEY: No, no, no.                            8          FBI AGENT ADAM: You're right, the kids --
  9          FBI AGENT ADAM: Well, you're saying no,             9          MR. BEASLEY: (Inaudible.)
 10   Matthew, but you know that's true. You're a lawyer.       10          FBI AGENT ADAM: Well, I think they're just
 11   You've seen people not get prison sentences or get very   11   trying to make sure that -- they're trying to be --
 12   diminished time; I know you have. Tell me you haven't.    12          MR. BEASLEY: Somebody just threw something
 13          MR. BEASLEY: Yeah, I have, but that has            13   in here.
 14   nothing to do with me.                                    14          FBI AGENT ADAM: Nobody should -- nobody is
 15          FBI AGENT ADAM: It has everything to do with       15   coming in the house, though, Matthew.
 16   you, Matthew, because you understand how the legal        16          MR. BEASLEY: Somebody threw something in my
 17   system works and you have the knowledge to do that.       17   house.
 18          MR. BEASLEY: No, I don't.                          18          FBI AGENT ADAM: Where did they throw it?
 19          FBI AGENT ADAM: Well, what makes you say           19   Where are you in the house, Matthew?
 20   that? You do have the knowledge.                          20          MR. BEASLEY: I'm in the entry where I was
 21          MR. BEASLEY: No. I'm real sorry about this,        21   shot.
 22   I really am.                                              22          FBI AGENT ADAM: Okay, you're still in the
 23          FBI AGENT ADAM: Well, I appreciate you             23   entryway of the house.
 24   apologizing for me, and I do want to hear your side of    24          MR. BEASLEY: Yes. But somebody in the back,
 25   the story.                                                25   in the door that they (inaudible). Please tell me they


                                                  Page 11                                                      Page 13
  1          MR. BEASLEY: No, that's all right. I'm done         1   didn't break the fucking door.
  2   telling the story. Hopefully the letter and what I've      2          FBI AGENT ADAM: We're going to try make sure
  3   told you so far --                                         3   nobody busts up your house, okay, Matthew?
  4          FBI AGENT ADAM: Matthew, I still want to --         4          MR. BEASLEY: Well, they're -- they just --
  5   Matthew, I want to hear the rest of the story because      5          FBI AGENT ADAM: Matthew --
  6   the letter is not going to clarify --                      6          MR. BEASLEY: -- broke the back door.
  7          MR. BEASLEY: The bank records --                    7          FBI AGENT ADAM: Matthew, I'll you this, as
  8          FBI AGENT ADAM: -- everything.                      8   long as we're talking no one is going to come in the
  9          MR. BEASLEY: The bank records will. It will         9   house, but if we -- if we stop talking --
 10   be all clear as soon as they go through my emails and     10          MR. BEASLEY: They threw something in the
 11   my bank records. They will know.                          11   house.
 12          FBI AGENT ADAM: Matthew, Paula is here with        12          FBI AGENT ADAM: Matthew, if we stop talking
 13   us in the area, and she's trying to meet with us, and     13   they're -- something else might happen. I'm trying to
 14   she's worried about the kids and she's worried about      14   keep that from happening, okay? I'm trying to get you
 15   you. Paula and the kids need you.                         15   safely out of there --
 16          MR. BEASLEY: And I don't -- I'm sorry,             16          MR. BEASLEY: Well, if --
 17   though. I'm really sorry. I'm sorry.                      17          FBI AGENT ADAM: -- and your property in one
 18          FBI AGENT ADAM: I know you're sorry,               18   shape so the kids can continue enjoying the beautiful
 19   Matthew. I can hear your --                               19   home you provided for them and your wife. But I need
 20          MR. BEASLEY: I'm so fucking sorry.                 20   you to stay on the phone with me.
 21          FBI AGENT ADAM: I know you're sorry,               21          MR. BEASLEY: Let me tell you -- just tell
 22   Matthew, but you have a chance to tell them that          22   them to leave me alone, please.
 23   yourself if you just -- let us get you some medical       23          FBI AGENT ADAM: Well, we can't do that now,
 24   attention.                                                24   Matthew. We're here to get you out safely.
 25          MR. BEASLEY: I'm sorry.                            25          MR. BEASLEY: You're not -- I'm not coming



                                                                                     4 (Pages 10 to 13)
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  1   out. I apologize to you, I apologize to my family, I      1          MR. BEASLEY: Like I said, on a zip drive in
  2   apologize to everyone that I hurt, I'm not coming out.    2   my office on top of the letters I wrote there is a --
  3   I can tell you all I wanted to do is tell my story and    3   there is his declaration where he admits he extorted
  4   now I think I've told it enough.                          4   me, he fricking threatened my family. They don't know
  5          FBI AGENT ADAM: No, we really only have the        5   this of course but --
  6   beginning. I have literally only heard about 2017,        6          And then on my phone there's the voicemail
  7   Matthew. There's plenty of story to tell.                 7   from somebody that -- apparently from Philadelphia.
  8          So you said you talked to Jeff, and you got        8          FBI AGENT ADAM: So --
  9   the loan, and you guys were --                            9          MR. BEASLEY: That I had to end up paying
 10          MR. BEASLEY: It just kept going. It just          10   money to.
 11   kept growing and growing and growing, it did.            11          FBI AGENT ADAM: So Anthony was your bookie
 12          FBI AGENT ADAM: How did it -- how did it          12   here in Las Vegas?
 13   grow?                                                    13          MR. BEASLEY: Yes.
 14          MR. BEASLEY: Because --                           14          FBI AGENT ADAM: Okay. Thank you for telling
 15          FBI AGENT ADAM: If you want to tell the           15   me that. So what I'm hearing is, you know, you had
 16   story, Matthew, you're going to tell it the right way    16   enthusiasm for gambling on sports. I'm a sports fan
 17   and you're going to tell me the details. So how did it   17   myself. I totally understand that.
 18   keep growing?                                            18          MR. BEASLEY: No, I was a degenerate.
 19          MR. BEASLEY: It just kept growing.                19          FBI AGENT ADAM: Well, and it sounds like you
 20          FBI AGENT ADAM: What does that mean?              20   pulled yourself out of that because you said you
 21          MR. BEASLEY: Jeff had more people that were       21   weren't really doing that anymore.
 22   interested in getting in, so I made up more attorney's   22          MR. BEASLEY: Well, yeah, because I didn't
 23   deals and I just kept growing it.                        23   have a choice when I got to this point.
 24          FBI AGENT ADAM: How would they get involved       24          FBI AGENT ADAM: Right. So, Matthew --
 25   with this scheme?                                        25          MR. BEASLEY: All I was worried about -- all


                                                Page 15                                                         Page 17
  1          MR. BEASLEY: They weren't involved with the        1   I was worried about keeping this fricking thing going
  2   scheme, they would --                                     2   so I could spend more time, and now that's come to an
  3          FBI AGENT ADAM: No, I mean, with their             3   end.
  4   money.                                                    4          FBI AGENT ADAM: Well, that hasn't come to an
  5          MR. BEASLEY: They would give their money to        5   end at all. There's still plenty of time to spend with
  6   me, and I would supposedly send it to a bunch of          6   your nine-year-old.
  7   attorneys. And then when --                               7          MR. BEASLEY: What are they doing? Are they
  8          FBI AGENT ADAM: And what did you actually do       8   sending a fucking robot in here?
  9   with it?                                                  9          FBI AGENT ADAM: No, they're just going to
 10          MR. BEASLEY: I kept it and used it to pay,        10   fly a drone around the outside to see what's going on.
 11   basically pay them back to pay off gambling debts.       11   That's for their safety too because there's a weapon on
 12          FBI AGENT ADAM: Who was involved in the           12   you.
 13   gambling debt, Matthew?                                  13          MR. BEASLEY: I'm telling you what's going
 14          MR. BEASLEY: What?                                14   on. I promise I'm not here to hurt anybody.
 15          FBI AGENT ADAM: Who was involved in the           15          FBI AGENT ADAM: And we appreciate that and
 16   gambling debt?                                           16   we're taking your word for it, but the guys that are
 17          MR. BEASLEY: I told you.                          17   over there are just doing their own due diligence,
 18          FBI AGENT ADAM: Well, you told me it was          18   okay. No one is coming in the house.
 19   some guys from Philly. That's the most Rocky             19          MR. BEASLEY: I appreciate that. Okay. But
 20   sounding --                                              20   just don't tear up my house, please.
 21          MR. BEASLEY: Oh, okay. Anthony Alberto,           21          FBI AGENT ADAM: Okay. We're not going to
 22   Junior.                                                  22   tear up your house as long as we're talking, okay.
 23          FBI AGENT ADAM: Say it again.                     23   Keep talking to me and everything is fine. We're going
 24          MR. BEASLEY: Anthony Alberto, Junior.             24   to keep the house in good shape for your kids and your
 25          FBI AGENT ADAM: Okay. Is he here in Vegas?        25   wife.



                                                                                    5 (Pages 14 to 17)
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                                                 Page 18                                                        Page 20
  1          MR. BEASLEY: Fuck me. This turned out to be        1   pretty heavy stuff in there. So what I'm hearing is
  2   a fucking nightmare.                                      2   that you were trying to provide for your family. You
  3          FBI AGENT ADAM: Well, it can still end well.       3   got a little out of control with your gambling, and
  4   We can still get you medical and you can still tell       4   then Anthony provided you, you know, more and more, a
  5   your story the agents. The kids can have you around       5   bigger line of credit. And he's actually extorting you
  6   for the upcoming summer break.                            6   now.
  7          MR. BEASLEY: No, they're not going to have         7          You're just a guy who had a bad habit and was
  8   me around.                                                8   trying to get out of it. And he's actually the guy,
  9          FBI AGENT ADAM: Well, how -- how do you            9   the bad guy here.
 10   think that's going to make them feel, Matthew, that      10          MR. BEASLEY: No.
 11   they're -- that this is going to happen to them?         11          FBI AGENT ADAM: You were just trying to get
 12          MR. BEASLEY: That's (inaudible) part of this      12   out of it.
 13   whole thing. Hello?                                      13          MR. BEASLEY: Well, he's a piece of shit,
 14          FBI AGENT ADAM: Yeah, I'm still here,             14   yeah. He's a piece of shit. But what I did is my
 15   Matthew. I'm just letting you talk.                      15   fault. It's not his fault I fucking turned this into a
 16          MR. BEASLEY: The worst part of the whole          16   fucking disaster.
 17   thing. My wife and my family are --                      17          FBI AGENT ADAM: Well, nobody got hurt as a
 18          FBI AGENT ADAM: And your wife and your            18   result of what you did, and extortion is a crime.
 19   family -- you don't think your wife and your family      19   Anthony is the criminal here. He's the bad guy here.
 20   would care more to see you come out of this than to      20   You were -- but you were a good guy in a bad situation,
 21   know that you did something to hurt yourself or kill     21   and we see that all the time. Good guys in bad
 22   yourself in their own home, in the home they live in,
                                                               22   situations make a bad choice, but it's not the end.
 23   Matthew?
                                                               23   Matt, there's plenty going on. Can I call you Matt, do
 24          MR. BEASLEY: I wasn't intending to do it
                                                               24   you mind?
 25   here, but this thing went down pretty quick this
                                                               25          MR. BEASLEY: Yeah, that's my name, Matt.


                                                 Page 19                                                        Page 21
  1   morning.                                                  1           FBI AGENT ADAM: Matt, okay. Matt, this
  2         FBI AGENT ADAM: Well, why did you decide            2   is -- Matt, one bad decision or a couple of bad
  3   today was the day?                                        3   decisions does not mean the end of everything. You
  4         MR. BEASLEY: I didn't. The FBI decided              4   were the victim here. Anthony was the one who --
  5   today was the day.                                        5           MR. BEASLEY: No, no. No, no, no, no. Don't
  6         FBI AGENT ADAM: Did you hear about the FBI          6   even try that. I'm not the victim. I'm the fucking
  7   talking to other people today?                            7   one that -- everybody else is the victim, honestly.
  8         MR. BEASLEY: Well, they raided Jeff Judd's          8   Everybody else. I am not a victim. Please don't, no.
  9   house, yes.                                               9           FBI AGENT ADAM: Why don't you -- why don't
 10         FBI AGENT ADAM: When they -- when they             10   you think we should Anthony accountable for putting you
 11   raided Jeff Judd's house, okay.                          11   in this position?
 12         MR. BEASLEY: Yeah.                                 12           MR. BEASLEY: Oh, I hope you do, I hope you
 13         FBI AGENT ADAM: Okay. So you heard that            13   do. But, you know, it's not -- I did what I did
 14   they raided Jeff's house and you decided --              14   obviously and, yeah, that was a large part of it, but
 15         MR. BEASLEY: Well, I knew they were coming         15   it had nothing to do with -- it had nothing to do with
 16   here sooner or later.                                    16   this, this whole how this turned into this freaking
 17         FBI AGENT ADAM: And they came just to talk         17   huge, freaking Ponzi scheme.
 18   to you, right?                                           18           FBI AGENT ADAM: I got you, I got you.
 19         MR. BEASLEY: Yeah, they didn't do anything         19           MR. BEASLEY: That's my fault.
 20   wrong.                                                   20           FBI AGENT ADAM: I got you.
 21         FBI AGENT ADAM: Okay. Well, I appreciate           21           MR. BEASLEY: He's a piece of shit and that's
 22   you saying that, and again they've received your         22   why I wrote --
 23   apologies and thank you for saying that.                 23           FBI AGENT ADAM: You still there, Matthew?
 24         You know, so I'm going to recap because            24           MR. BEASLEY: Yeah, can you hear me?
 25   you've told us a lot and you kind of told -- said some   25           FBI AGENT ADAM: Yeah, I got you.



                                                                                    6 (Pages 18 to 21)
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                                                  Page 22                                                       Page 24
  1           MR. BEASLEY: That's why I wrote his name           1          MR. BEASLEY: I know.
  2   down and gave you as much information as possible about    2          FBI AGENT ADAM: Matt, I don't want to have
  3   him because he's a piece of shit and he should go to       3   to apologize to your family.
  4   jail.                                                      4          MR. BEASLEY: That's fine.
  5           FBI AGENT ADAM: Well, as a lawyer --               5          FBI AGENT ADAM: Are you sure? It's going to
  6           MR. BEASLEY: So that --                            6   cause them a lot of pain.
  7           FBI AGENT ADAM: -- let me ask you this, do         7          MR. BEASLEY: I know it is. I've already
  8   you think in person testimony would be better than a       8   caused them more pain than they deserve.
  9   letter?                                                    9          FBI AGENT ADAM: Well, pain can be healed
 10           MR. BEASLEY: Oh, you won't need in person         10   over time. Time heals all wounds. But, Matt, if you
 11   testimony.                                                11   shoot yourself time doesn't heal that pain.
 12           FBI AGENT ADAM: Why do you say that?              12          MR. BEASLEY: No.
 13           MR. BEASLEY: All you have to do is look at        13          FBI AGENT ADAM: Children never recover from
 14   all the -- all you have to do is look at the wires and    14   that. Your -- your child is nine years old, Matt. You
 15   shit that I sent out and you'll find the text messages.   15   have an 11-year-old. They will not recover from that.
 16   I got a declaration from him for God's sake --            16   Please don't do that to them, Matt.
 17           FBI AGENT ADAM: Don't you want to see --          17          MR. BEASLEY: I don't have the choice.
 18           MR. BEASLEY: -- from his email?                   18          FBI AGENT ADAM: You have every choice in the
 19           FBI AGENT ADAM: Don't you want to see             19   world. They need you, they need their father. As they
 20   Anthony held accountable, Matt?                           20   become teenagers in the crazy world that is 2022, they
 21           MR. BEASLEY: No, I don't. I don't really --       21   need you.
 22   at this point I need to -- I need to be done and make     22          MR. BEASLEY: I don't have a choice.
 23   this, let this thing move on so more people's houses      23          FBI AGENT ADAM: You do have a choice. You
 24   don't get raided and -- because nobody did anything       24   have a choice whether to end your life right now and
 25   wrong but me. Jeff Judd's daughter was supposed to be     25   never see your kids again and to have them dealing with


                                                  Page 23                                                       Page 25
  1   getting married tomorrow.                                  1   being the children of a guy who committed suicide, or
  2          FBI AGENT ADAM: Jeff's daughter was getting         2   you have the opportunity to talk to them, be around ad
  3   married tomorrow?                                          3   experience moments with them for the rest of their
  4          MR. BEASLEY: Yeah, and you guys broke down          4   life. Who else can --
  5   the fricking door. I mean, I fucked up everybody, my       5          MR. BEASLEY: More than -- more than -- I'm
  6   family, my kids, and then people that are just innocent    6   more than guy that's going to have committed suicide.
  7   victims of this whole fucking disaster.                    7   I'm a dude that ripped off everybody they know.
  8          FBI AGENT ADAM: You sound very remorseful,          8          FBI AGENT ADAM: Time heals everything, Matt.
  9   Matt.                                                      9   Time doesn't heal killing yourself.
 10          MR. BEASLEY: Yeah, I've been remorseful for        10          MR. BEASLEY: No. I just wish that --
 11   the last -- for three years because I figured it was      11          FBI AGENT ADAM: You wish what, Matt?
 12   going to end long before this.                            12          MR. BEASLEY: Oh, fuck. Nothing.
 13          FBI AGENT ADAM: I really appreciate the            13          FBI AGENT ADAM: What are you thinking, Matt?
 14   strength you've shown me today, Matt, as you've owned     14          MR. BEASLEY: I'm thinking I need to get the
 15   your own mistakes and your kids, and your wife will       15   balls to fucking pull this trigger, that's what I'm
 16   appreciate that strength as you look them in the eye      16   thinking.
 17   and tell them you made bad choices. But moving forward    17          FBI AGENT ADAM: Well, nobody from me to
 18   things will be different --                               18   Paula, to your kids, to the people outside who are here
 19          MR. BEASLEY: No,                                   19   to help you want to see that. You know who does want
 20          FBI AGENT ADAM: -- if you come out so we can       20   to see that probably? Anthony, so he's not held
 21   do that together.                                         21   accountable for it.
 22          MR. BEASLEY: I can't do it, man. I                 22          MR. BEASLEY: I don't give a shit about him.
 23   apologize.                                                23   He knew --
 24          FBI AGENT ADAM: Well, I'm not the one you          24          FBI AGENT ADAM: Oh, I think you do, I think
 25   need to apologize to, Matt, it's your family.             25   you do. I think you give a lot about him because he's



                                                                                     7 (Pages 22 to 25)
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  1   the guy that put you in this situation. He led --         1   tell them to put a camera in there it's still going to
  2          MR. BEASLEY: He did, he did --                     2   take some time. So can we stay on the phone will they
  3          FBI AGENT ADAM: -- he led you to making bad        3   do that?
  4   decisions.                                                4           MR. BEASLEY: Yeah. I thought you said you
  5          MR. BEASLEY: Oh.                                   5   had to get off the phone --
  6          FBI AGENT ADAM: And how can you see Anthony        6           FBI AGENT ADAM: I don't have to get off the
  7   held accountable if you shoot yourself in the head?       7   phone.
  8          MR. BEASLEY: I don't care if he's -- he will       8           MR. BEASLEY: -- because they were getting
  9   be held, I know he will, so it doesn't matter.            9   anxious.
 10          FBI AGENT ADAM: You think it's going to           10           FBI AGENT ADAM: No, I was trying to tell you
 11   matter to your kids that Anthony got held accountable    11   what was going on outside because -- because we were --
 12   if their dad is dead? Anthony -- can you move at all?    12   because they were getting anxious. I'm not getting
 13          MR. BEASLEY: I can move. You want me to           13   anxious. I'm good with you and I. We're still
 14   move?                                                    14   talking. You and I are fine, Matt. I'm learning a lot
 15          FBI AGENT ADAM: Well, are you laying down?        15   from you, you're telling me what's going on, and we're
 16          MR. BEASLEY: Yeah.                                16   still talking, right? And the house is still in one
 17          FBI AGENT ADAM: Okay. Well, I'd like you to       17   piece.
 18   move out the front door so we can come give you some     18           MR. BEASLEY: I just -- I can't do it, bud.
 19   medical.                                                 19   I'm sorry.
 20          MR. BEASLEY: No, that's all right. I can't        20           FBI AGENT ADAM: What do you mean you can't
 21   do that.                                                 21   do it?
 22          FBI AGENT ADAM: You said you're in the            22           MR. BEASLEY: I'm not coming out. I can't go
 23   entryway, the entryway, right?                           23   to jail. So --
 24          MR. BEASLEY: Yeah. I'm sorry, I can't do          24           FBI AGENT ADAM: Well, why can't you go to
 25   that.                                                    25   jail? I'm -- help me understand why jail is such a big


                                                 Page 27                                                       Page 29
  1          FBI AGENT ADAM: Okay. Hey, Matthew, I got          1   deal.
  2   to be honest with you, man. I appreciate you talking      2            MR. BEASLEY: Because all -- there's nothing
  3   but some of the people outside are getting kind of        3   for me. The humility of -- to my family if I go to
  4   concerned and --                                          4   jail. They have -- and they'll have nothing, they'll
  5          MR. BEASLEY: Okay. Then I'm just going to          5   have nothing. They will literally have fucking
  6   finish this.                                              6   nothing.
  7          FBI AGENT ADAM: I don't want -- I need you         7            FBI AGENT ADAM: Well, they still need you
  8   to -- Matthew, no. The house is going to get --           8   around and if you go to jail, they can still be with
  9          MR. BEASLEY: Fair enough. Thank you for --         9   you whereas if you kill yourself, Matthew, they don't
 10          FBI AGENT ADAM: -- the house is going to get      10   have you around in any capacity. You can't guide them,
 11   banged up if you do that, Matthew. Please don't do       11   you can't be there for your kids weddings, nothing.
 12   that.                                                    12            MR. BEASLEY: Well, I won't be there for my
 13          MR. BEASLEY: What do you mean?                    13   kids weddings.
 14          FBI AGENT ADAM: Because if they hear              14            FBI AGENT ADAM: You want to miss that?
 15   something, Matthew, they're going to come in and         15            MR. BEASLEY: There's not a chance.
 16   they're going to come in fast and they're going to --    16            FBI AGENT ADAM: You don't want to be there
 17          MR. BEASLEY: Well, tell them that's me            17   for that?
 18   putting a bullet in my fucking head.                     18            MR. BEASLEY: I'd love to be, but there's no
 19          FBI AGENT ADAM: They're not necessarily           19   fucking chance I'll make it there.
 20   going to believe that, Matthew, because they can't see   20            FBI AGENT ADAM: You'll be around. You'll
 21   that with their own eyes. So we need you to come out     21   see pictures, you'll be able to talk to them on the
 22   and so we can --                                         22   phone. You might be there. Like we said, nothing in
 23          MR. BEASLEY: Tell them to get a camera in         23   this legal process has played out at all. White collar
 24   here. Tell them to put a camera in.                      24   criminals don't go to prison necessarily. There's
 25          FBI AGENT ADAM: Okay. Well, even if I do          25   still a ton of things we can --



                                                                                    8 (Pages 26 to 29)
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                                                Page 30                                                        Page 32
  1          MR. BEASLEY: Oh, yeah.                              1          MR. BEASLEY: I can't.
  2          FBI AGENT ADAM: -- we can see how this plays        2          FBI AGENT ADAM: If you don't think you can
  3   out in the legal system. You know that better than         3   do that right now why don't we keep going with
  4   anyone. You admitted that to me earlier, Matthew. You      4   what's -- with what happened. I believe you can, but
  5   said you see people get off or not go to jail for a        5   if you don't think you can yet -- what happened after
  6   long time all the time. We don't know what's going to      6   you guys --
  7   happen with the legal system, we don't.                    7          MR. BEASLEY: (Inaudible.)
  8          MR. BEASLEY: Okay.                                  8          FBI AGENT ADAM: Well, Matthew, it's a Ponzi
  9          FBI AGENT ADAM: Okay what?                          9   scheme that ran for five years. There's plenty of more
 10          MR. BEASLEY: I'm not going to argue with           10   details I don't know about, and I want to make sure I
 11   you. You're more passionate about it than me.             11   understand if I have to tell the agents this.
 12          FBI AGENT ADAM: I'm passionate about seeing        12          MR. BEASLEY: Ask your question and I'll be
 13   you come out of this healthy, Matthew. I'm passionate     13   happy to answer.
 14   as a guy who is about to be a dad of seeing your kids     14          FBI AGENT ADAM: Okay. What other attorneys
 15   have their dad around. That's what I'm passionate         15   did you get involved in this?
 16   about, Matthew. I care about you. I care about your       16          MR. BEASLEY: None.
 17   kids getting to see you. Your older son wants to see      17          FBI AGENT ADAM: You said you went and found
 18   you come out of this okay. Your wife wants to -- we've    18   other attorneys?
 19   talk to both of them, Matthew.                            19          MR. BEASLEY: No, I got names of attorneys.
 20          MR. BEASLEY: Okay.                                 20   I never actually talked to them.
 21          FBI AGENT ADAM: They need you, Matthew, they       21          FBI AGENT ADAM: Okay. How many different
 22   need you. We can get you the medical. They'll see         22   people got involved with you with this in terms of
 23   you -- you know, they'll see you as you get better, and   23   people that came to you with their money?
 24   then you can work with us.                                24          MR. BEASLEY: Oh, I don't know. You'll have
 25          MR. BEASLEY: No, no. Sorry. Can't do it.           25   to ask Jeff Judd that. There's a lot of money in it,


                                                Page 31                                                        Page 33
  1          FBI AGENT ADAM: I --                                1   though.
  2          MR. BEASLEY: I can't do it.                         2          FBI AGENT ADAM: Give me a guess how much?
  3          FBI AGENT ADAM: Why can't you do it? Why --         3          MR. BEASLEY: Like $300 million.
  4   why do you think that killing yourself and missing the     4          FBI AGENT ADAM: That's a lot of money.
  5   rest of your kids life is a better choice than maybe       5          MR. BEASLEY: Yeah.
  6   going to jail and maybe (inaudible)?                       6          FBI AGENT ADAM: And if you could explain one
  7          MR. BEASLEY: There is no fucking maybe.             7   more time for me how you were paid?
  8   I've destroyed everybody's lives and now it's not fair     8          MR. BEASLEY: How I was what?
  9   for me to just be a chicken shit and go to fucking         9          FBI AGENT ADAM: How you got their money,
 10   jail.                                                     10   what you were promising them in exchange for their
 11          FBI AGENT ADAM: You don't think killing            11   money.
 12   yourself if what you just called yourself?                12          MR. BEASLEY: Personal injury settlements
 13          MR. BEASLEY: Maybe it is, but --                   13   basically. Basically if -- I mean, obviously this is
 14          FBI AGENT ADAM: Wouldn't you rather try            14   BS, but this is what they were promised. They were
 15   to --                                                     15   promised that they would get -- they would give their
 16          MR. BEASLEY: -- being a chicken shit and not       16   money to someone that settled their case but hadn't
 17   doing it is worse.                                        17   received their settlement yet.
 18          FBI AGENT ADAM: I disagree with that. I            18          FBI AGENT ADAM: Uh-huh.
 19   think you're somebody who understands that they made      19          MR. BEASLEY: They would get -- they would
 20   bad decisions and who wants to apologize and make         20   get their money. They would give their money to me,
 21   amends for that. The way you can make amends with the     21   and I would send it to the other people. In return
 22   people you wronged outside of your own family is to       22   within 90 days they would get their money back plus a
 23   come out and figure out ways you can help them. And       23   percentage.
 24   you have a lifetime to do that, you have years to do      24          FBI AGENT ADAM: Okay. Did they ever get
 25   that. All you have to do is come out of there.            25   anything back?



                                                                                    9 (Pages 30 to 33)
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  1          MR. BEASLEY: Hell, everybody up to this             1   Paula and your kids on the phone right now, and your
  2   point has gotten their money back but now it's --          2   oldest son.
  3   there's going to be problems obviously.                    3           MR. BEASLEY: I don't want to talk to them.
  4          FBI AGENT ADAM: Well, if everybody has got          4           FBI AGENT ADAM: Well, I think they might
  5   their money back --                                        5   have some things to say to you.
  6          MR. BEASLEY: No, no, everybody hasn't got           6           MR. BEASLEY: I don't -- I -- do not put them
  7   their money back.                                          7   on the phone.
  8          FBI AGENT ADAM: Okay. Try to -- let's               8           FBI AGENT ADAM: Okay. Why don't you want me
  9   clarify this then.                                         9   to put them on the phone, Matt?
 10          MR. BEASLEY: Everybody --                          10           MR. BEASLEY: Because I can't face them.
 11          FBI AGENT ADAM: I'm sorry. I'm                     11           FBI AGENT ADAM: Okay. Well, they're not
 12   misunderstanding.                                         12   going to be on the phone, okay. I promise you that
 13          MR. BEASLEY: Everybody -- nobody -- people         13   won't happen.
 14   have got money out, but nobody has ever got their --      14           MR. BEASLEY: I love -- I love -- I wish -- I
 15   nobody -- I mean, yeah, there are some people that I'm    15   wish I would have known before this all started how
 16   sure have taken out the money that they put in and are    16   much I actually do love my family. I just didn't
 17   just living off the other money. But there's going to     17   realize. I was too fucking stupid. I didn't realize
 18   be a lot of people hurt by this.                          18   it. I love them. They're everything.
 19          FBI AGENT ADAM: A lot of people hurt by            19           FBI AGENT ADAM: And you have an opportunity
 20   this?                                                     20   to spend the rest of your life showing them that,
 21          MR. BEASLEY: Yeah.                                 21   Matthew.
 22          FBI AGENT ADAM: Well, you do sound -- you do       22           MR. BEASLEY: I can't. No, how, how.
 23   sound very remorseful.                                    23           FBI AGENT ADAM: It's never too late.
 24          MR. BEASLEY: It doesn't matter if I'm              24           MR. BEASLEY: (Inaudible.)
 25   remorseful or not. I was remorseful when I realized       25           FBI AGENT ADAM: You can call -- we don't


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  1   that I can't fix it four years ago, three years ago.       1   even know what's going to happen next. You can talk to
  2          FBI AGENT ADAM: Well, just because we can't         2   them, you can --
  3   fix things in the moment doesn't mean they don't get       3          MR. BEASLEY: I do.
  4   fixed over time, that things can't happen to build back    4          FBI AGENT ADAM: -- be there. You'll be
  5   credibility, wallets. You know, I've made some bad         5   there for moments. You'll help your kids go through
  6   bets in my life, and I had to dig out of that, and I       6   teenagerhood, which is --
  7   came out of it.                                            7          MR. BEASLEY: They'll be fucking traumatized
  8          MR. BEASLEY: Yeah, but, buddy, I'm not. I'm         8   forever because they're involved in this.
  9   sorry.                                                     9          FBI AGENT ADAM: And how do you think that
 10          FBI AGENT ADAM: You're not what?                   10   affects them if you kill yourself, Matthew?
 11          MR. BEASLEY: I'm not making it. I'm not            11          MR. BEASLEY: It ends it.
 12   making it out of this. I fucked this up, and then         12          FBI AGENT ADAM: For you, not for them.
 13   now -- now I've been shot for God's sake. This sucks.     13   Matthew, they got a lifetime of this if you kill
 14          FBI AGENT ADAM: I believe it, but don't you        14   yourself. You don't want that for them. I just heard
 15   think that if you kill yourself this makes everything     15   you start getting upset thinking about how much you
 16   worse for the family? Because again if they hear a        16   love them.
 17   gunshot, you know, I can't guarantee what happens next    17          MR. BEASLEY: Tell them to stop. They're
 18   to the home, to you, to anything, and I want to see       18   doing something again. God damn it.
 19   you, and the house, and everything fine.                  19          FBI AGENT ADAM: I think they're just
 20          MR. BEASLEY: I can't. I can't go out. I'm          20   making -- I think they're just making sure that
 21   sorry. I am so fucking sorry.                             21   everything is safe. They might just be moving around.
 22          FBI AGENT ADAM: Well, I'm not the person you       22   Paula says she still loves you and they --
 23   need to apologize to, Matt, it's Paula and your kids.     23          MR. BEASLEY: It doesn't matter.
 24          MR. BEASLEY: I know. I know that.                  24          FBI AGENT ADAM: Yeah, well, of course it
 25          FBI AGENT ADAM: We're trying to actually get       25   does. You just said how much you loved --



                                                                                  10 (Pages 34 to 37)
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                                                  Page 38                                                      Page 40
  1          MR. BEASLEY: She doesn't even know what I           1   jail every single day including people I don't want to
  2   did.                                                       2   get out of jail. You'll get out of jail. And then
  3          FBI AGENT ADAM: And you should get the              3   when you do you get to spend the rest of your life
  4   opportunity to tell her yourself.                          4   showing them how much you love them because this
  5          MR. BEASLEY: Why would I tell her, want to          5   experience has showed you just how much you love them.
  6   tell her that I'm a piece of shit that ripped off          6          MR. BEASLEY: Oh, fuck. Yeah, it would have
  7   fucking a hundred people or two hundred people?            7   been nice to talk to you before I got shot.
  8          FBI AGENT ADAM: Because you were in deep            8          FBI AGENT ADAM: Well, we're talking now and,
  9   gambling debt while still trying to provide for your       9   Matthew, if you come out -- Matthew, we can talk when
 10   family, and you needed a way out of that while            10   you come out. I'll be there --
 11   supporting your family. That makes you a good dad who     11          MR. BEASLEY: No, no.
 12   made some bad decisions.                                  12          FBI AGENT ADAM: -- I'll be there to talk to
 13          MR. BEASLEY: That's chicken shit.                  13   you.
 14          FBI AGENT ADAM: We can disagree on that, but       14          MR. BEASLEY: I'm going to get fucking put in
 15   she loves you and they want to see you.                   15   handcuffs, and arrested, and --
 16          MR. BEASLEY: I know she loves me.                  16          FBI AGENT ADAM: And you know what, even if
 17          FBI AGENT ADAM: And you love them.                 17   you are put in handcuffs and arrested, I will be there
 18          MR. BEASLEY: I just hope they know I love          18   when they -- when you come out. Matthew, I give you my
 19   them.                                                     19   word. I will come shake your hand as a new father to a
 20          FBI AGENT ADAM: You can tell them yourself         20   father who's got things to teach me. I will be there
 21   when you come out.                                        21   to talk to you.
 22          MR. BEASLEY: I can't.                              22          MR. BEASLEY: No. What do I have to teach
 23          FBI AGENT ADAM: Why not?                           23   you, bud? You don't want anything I've got to teach.
 24          MR. BEASLEY: I just can't. I'm sorry, I            24          FBI AGENT ADAM: How to deal with having four
 25   didn't mean to cause all this fucking trouble either      25   kids.


                                                  Page 39                                                      Page 41
  1   with the police and --                                     1         MR. BEASLEY: I can't do this. I can't
  2          FBI AGENT ADAM: Matthew, you've been                2   fucking do this.
  3   remorseful this whole time and I need you to be strong     3         FBI AGENT ADAM: Do what?
  4   because you've already owned up to your mistakes.          4         MR. BEASLEY: I can't come out. I'm sorry.
  5   That's the hardest part, you've owned up to those          5         FBI AGENT ADAM: Okay. Well, you're not
  6   mistakes. And now be strong for your family, Matthew.      6   coming, you're not coming out.
  7   You were strong for yourself and owned up to your          7         MR. BEASLEY: No. Fuck.
  8   mistakes, now be strong for your four children, Matt.      8         FBI AGENT ADAM: Matthew, think about what
  9   Do it for them. Even if it's not for yourself, do it       9   happens -- are you still there, Matthew?
 10   for them.                                                 10         MR. BEASLEY: Yeah, (inaudible) phone so --
 11          MR. BEASLEY: No.                                   11         FBI AGENT ADAM: Okay. Think about what
 12          FBI AGENT ADAM: Because if you take this --        12   happens if you shoot yourself in the head and it
 13   if you take this out right now, they deal with that for   13   doesn't go the way you think it was going to, Matt. We
 14   the rest of their lives. Do you think they care about     14   see that. Do you think your family wants to have to
 15   life insurance versus having their father for anything    15   see that? I see it all the time. It's not like the
 16   over the next couple of years? They love you.             16   movies, Matt. You've already been shot twice. You
 17          MR. BEASLEY: I won't be there, I'll be in          17   know how bad it hurts. Don't do this to your family,
 18   jail.                                                     18   Matt. Give them the opportunity to make things better
 19          FBI AGENT ADAM: You're still there for them.       19   with you.
 20   Like we've talked about, Matthew, you don't know you're   20         MR. BEASLEY: I can't.
 21   going to jail, and even if you do --                      21         FBI AGENT ADAM: Yes, you can.
 22          MR. BEASLEY: I'm going to jail.                    22         MR. BEASLEY: I can't make it better.
 23          FBI AGENT ADAM: You can get out of --              23         FBI AGENT ADAM: You have years and years and
 24          MR. BEASLEY: I'm positive.                         24   years to make this better, Matt. It's very easy. All
 25          FBI AGENT ADAM: Matthew, people get out of         25   you have to do is come out.



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  1           MR. BEASLEY: They need to leave. They need         1   that. You definitely don't want them to see that. You
  2   to forget I exist. They need to go back to Kansas and      2   realized today you love your family more than you knew.
  3   just --                                                    3          MR. BEASLEY: I realized that a couple of
  4           FBI AGENT ADAM: It's impossible to forget a        4   years ago and I've tried to be a better father and a
  5   father exists. It's impossible. And you know what,         5   better husband since then, but it's --
  6   they're definitely not going to be able to forget you      6          FBI AGENT ADAM: And we can still --
  7   if you shoot yourself and kill yourself, Matt, because     7          MR. BEASLEY: -- too late.
  8   they will have that on their conscience and their minds    8          FBI AGENT ADAM: -- and we can -- it's not
  9   for the rest of their lives. Don't do that to your         9   too late, Matt. We can still continue that upward
 10   nine-year-old, don't do that to your eleven-year-old.     10   journey. You can --
 11   They need you. Think about it. You have never             11          MR. BEASLEY: No, bud. I have to go. Oh,
 12   realized how much they need you.                          12   fuck.
 13           MR. BEASLEY: They're coming in the fricking       13          FBI AGENT ADAM: You don't have to go
 14   house.                                                    14   anywhere, Matt.
 15           FBI AGENT ADAM: No, Matt, they're not coming      15          MR. BEASLEY: Fuck.
 16   in the house.                                             16          FBI AGENT ADAM: Please let me send the
 17           MR. BEASLEY: Well, they're doing something.       17   paramedics in there to help you.
 18           FBI AGENT ADAM: They might be -- they might       18          MR. BEASLEY: Why?
 19   be moving around but, Matt, I'm not out there. I'm out    19          FBI AGENT ADAM: Because I want to see you
 20   in the area, but I'm not out with them.                   20   come through this so you can be a father to your four
 21           MR. BEASLEY: Where are you?                       21   kids, so you can help them --
 22           FBI AGENT ADAM: I'm around the corner from        22          MR. BEASLEY: No, the paramedics come in then
 23   the neighborhood. I'm sitting here talking and we're      23   I'm going to get arrested.
 24   all here to help you. The police are out here. We're      24          FBI AGENT ADAM: You're going to -- Matt, you
 25   trying to make sure you're safe. The ambulances are       25   might get put in handcuffs but that's for everyone's


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  1   here ready to come give you aid. They want to see you      1   safety. And let me tell you, I --
  2   come out, Matt.                                            2           MR. BEASLEY: If I get put in handcuffs it's
  3           MR. BEASLEY: No.                                   3   going to hurt real bad because I think this did bust my
  4           FBI AGENT ADAM: I want to see you come out         4   collarbone.
  5   and I will be there when you come out to talk to you.      5           FBI AGENT ADAM: Okay. Well, thank you for
  6           MR. BEASLEY: I don't want aid.                     6   telling me that. I'll make sure that they know that,
  7           FBI AGENT ADAM: You said you wish you could        7   so they don't make -- they don't cause any extra pain.
  8   talk to me before, you're talking to me now. Let's         8   Don't do this to your family, Matt.
  9   keep talking but in the fresh air. Let's get you out       9           MR. BEASLEY: No, I can't. I can't.
 10   of there and we can talk out here.                        10           FBI AGENT ADAM: You can't -- I think you
 11           MR. BEASLEY: No, I can't. I'm real sorry.         11   can. You said you're worried about the kids coming in
 12   I -- I fucking -- I'm -- I owe my -- I'm so fucking       12   and seeing blood all over the floor. Imagine if you
 13   sorry to my family.                                       13   shoot yourself in the head, Matt. How -- what's that
 14           FBI AGENT ADAM: Well, hey, Paula told us          14   going to look like to your nine-year-old, and your
 15   that she wants you to know that the little -- your        15   eleven-year-old, and your wife who loves you and just
 16   little sons just want to come home and see their dad.     16   wants to see you be okay?
 17   They want to come back in the home that you provided      17           MR. BEASLEY: It's over now.
 18   for them.                                                 18           FBI AGENT ADAM: Nothing is over. We're
 19           MR. BEASLEY: She can come back and there's        19   still talking. There's nothing over.
 20   fucking blood all over the place. Jesus.                  20           MR. BEASLEY: No. No, it's over. This
 21           FBI AGENT ADAM: Well, think about how much        21   happened, it's over.
 22   more there's going to be, Matt, if you do something.      22           FBI AGENT ADAM: No, this chapter might be
 23   You don't want them to see that, right?                   23   over but it's not the end of the --
 24           MR. BEASLEY: No.                                  24           MR. BEASLEY: I just got to have the balls to
 25           FBI AGENT ADAM: I don't want them to see          25   be fucking be a man and do the right thing.



                                                                                   12 (Pages 42 to 45)
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                                                 Page 46                                                       Page 48
  1          FBI AGENT ADAM: You know what balls and            1   my family.
  2   being a man look like to me, Matt? It's a guy who owns    2          FBI AGENT ADAM: If your priority is your
  3   up to his mistakes and deals with them and then is        3   family, Matt, thank you for saying that, then you
  4   there to make them better and help his family despite     4   should be there for them going forward. And all you
  5   his bad decisions.                                        5   have to do to be there for them going forward is to
  6          MR. BEASLEY: There's no way I could help my        6   come out.
  7   family.                                                   7          MR. BEASLEY: I can't.
  8          FBI AGENT ADAM: That's what a man is, Matt.        8          FBI AGENT ADAM: I think you can. They want
  9   A man is not somebody who shoots himself in the head.     9   to give you medical attention, they want to talk to
 10   That's not a man.                                        10   you. Your family wants to see you. I want to meet
 11          MR. BEASLEY: There's no way I could help my       11   you.
 12   family.                                                  12          MR. BEASLEY: No, I'm just -- I just wish
 13          FBI AGENT ADAM: You can be there for them.        13   those guys could have aimed better. Fuck.
 14   You being there for them is enough.                      14          FBI AGENT ADAM: Well, I know you're in a lot
 15          MR. BEASLEY: No, it's not.                        15   of pain and we want to get you some medical treatment,
 16          FBI AGENT ADAM: Think about when you were a       16   so it doesn't hurt anymore.
 17   kid, just having your dad there, having your parents     17          MR. BEASLEY: Oh, fuck me. Hello?
 18   around, that meant everything.                           18          FBI AGENT ADAM: I'm still here, Matthew.
 19          MR. BEASLEY: No, my dad wasn't around.            19          MR. BEASLEY: Okay. Oh, fuck.
 20          FBI AGENT ADAM: Well, thank you for telling       20          FBI AGENT ADAM: Are you still in the
 21   me that. And you're being a better father already.       21   entryway, Matt? Have you moved at all?
 22   But if your dad wasn't around, think about how that      22          MR. BEASLEY: No, I -- I'm not --
 23   made you feel and think about how it's going to make     23          FBI AGENT ADAM: Okay. You can't move?
 24   them feel when you're not around.                        24          MR. BEASLEY: I'm not sure I can move but --
 25          MR. BEASLEY: Hey, is this recorded still?         25          FBI AGENT ADAM: Okay. What shoulder did you


                                                 Page 47                                                       Page 49
  1          FBI AGENT ADAM: Yes.                               1   get hit in?
  2          MR. BEASLEY: Good. You make sure that he           2          MR. BEASLEY: Left and right. Well, the
  3   knows, Kenneth Beasley, he's a piece of shit.             3   shoulder -- I think it just, it might have just been
  4          FBI AGENT ADAM: Who is that?                       4   the right. I don't know what happened over there, but
  5          MR. BEASLEY: My father.                            5   the shoulder is the right. The left is, like, the
  6          FBI AGENT ADAM: Is he still alive?                 6   chest and collarbone or something.
  7          MR. BEASLEY: Yeah, he's a piece of shit.           7          FBI AGENT ADAM: Okay. Thank you for telling
  8          FBI AGENT ADAM: What makes you say that?           8   me that. What kind of weapon do you have, Matt?
  9   What did you learn from him about being a good or bad     9          MR. BEASLEY: Oh, fuck.
 10   dad?                                                     10          FBI AGENT ADAM: Matt, what kind of gun do
 11          MR. BEASLEY: I learned about how to be a bad      11   you have?
 12   dad apparently.                                          12          MR. BEASLEY: Nine-millimeter.
 13          FBI AGENT ADAM: No, think you're good -- I        13          FBI AGENT ADAM: Nine-millimeter. What
 14   think you're a good dad. Is he back in Kansas?           14   brand?
 15          MR. BEASLEY: No, I don't know where the fuck      15          MR. BEASLEY: Ruger.
 16   he is. Who cares? I haven't talked to him in 22          16          FBI AGENT ADAM: Oh, Ruger, okay. How long
 17   years. But he -- he's a piece of shit and he should      17   have you had it?
 18   know it.                                                 18          MR. BEASLEY: My son is 22 years old. I
 19          FBI AGENT ADAM: Where is your mom?                19   bought it when my son was -- right before my son was
 20          MR. BEASLEY: She's in Vegas.                      20   born because I wanted to make sure I could protect him.
 21          FBI AGENT ADAM: In Vegas. You don't think         21   What a fucking joke.
 22   your mom cares what happens to her son? You don't        22          FBI AGENT ADAM: Why do you think it's a
 23   think she wants you to see --                            23   joke?
 24          MR. BEASLEY: I'm sure she does, but that's        24          MR. BEASLEY: Because clearly, I'm not doing
 25   not -- that's not my priority. My priority is fucking    25   much good right now, am I?



                                                                                  13 (Pages 46 to 49)
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                                               Page 50                                                        Page 52
  1          FBI AGENT ADAM: Well, you're protecting            1   sorry. I really am sorry for all I've caused, all
  2   them by talking to me. You're protecting me by not        2   the -- not just in the last five years but today. I am
  3   shooting yourself. Think about -- Matt, don't use the     3   so fucking sorry.
  4   weapon that you bought to protect your son to take        4           FBI AGENT ADAM: Matt, I'm not sorry because
  5   yourself out of their life. Don't do that.                5   it gave me the opportunity -- it gave me the
  6          MR. BEASLEY: Oh, fuck.                             6   opportunity to talk to you.
  7          FBI AGENT ADAM: Be there for your kids. The        7           MR. BEASLEY: This is not how it was supposed
  8   end of a chapter is not the end of the book, Matt.        8   to go down.
  9          MR. BEASLEY: That's a fucking -- no, I             9           FBI AGENT ADAM: I hear that it's not the way
 10   can't. I'm sorry.                                        10   that it's supposed to go down, but this is how we've
 11          FBI AGENT ADAM: I'm not the one you need to       11   gotten here and now your family wants to see you come
 12   apologize to, it's your family.                          12   out okay. Because guess what, now your kids know about
 13          MR. BEASLEY: I know.                              13   things before they get to see the letters. So now you
 14          FBI AGENT ADAM: You won't get that                14   need to see them, look them in the eye, and tell them
 15   opportunity if you shoot yourself. You cannot            15   what you did and work on building things back up.
 16   apologize to your family if you shoot yourself.          16   Because you're a great --
 17          MR. BEASLEY: I know.                              17           MR. BEASLEY: No, no.
 18          FBI AGENT ADAM: Make that change that you         18           FBI AGENT ADAM: No what?
 19   want to see today.                                       19           MR. BEASLEY: I can't -- I can't look at my
 20          MR. BEASLEY: I can't. I'm sorry, I just           20   kids. Fuck. Who's here?
 21   can't. Oh, fuck.                                         21           FBI AGENT ADAM: Matt?
 22          FBI AGENT ADAM: Why don't you think you can?      22           MR. BEASLEY: Who just fucking came in here?
 23          MR. BEASLEY: Oh, fuck. Oh, I just can't.          23           FBI AGENT ADAM: Matt, somebody is in there?
 24          FBI AGENT ADAM: It's not too late to make         24           MR. BEASLEY: Yes, somebody is in my fucking
 25   that change. If you keep --                              25   house.


                                               Page 51                                                        Page 53
  1           MR. BEASLEY: No, it is.                           1          FBI AGENT ADAM: I don't think anybody is in
  2           FBI AGENT ADAM: You keep saying it's too          2   there, Matt.
  3   late, but it's not too late for anything, Matt, not at    3          MR. BEASLEY: Somebody just fucking came
  4   all.                                                      4   through here.
  5           MR. BEASLEY: I've fucking destroyed               5          FBI AGENT ADAM: Did you see them?
  6   everything.                                               6          MR. BEASLEY: I heard them fucking a bunch of
  7           FBI AGENT ADAM: No, you didn't. You made          7   falling.
  8   some bad decisions and it's -- you've owned up to them    8          FBI AGENT ADAM: Could it have been the dogs?
  9   and now it's time to move forward and rebuild your        9          MR. BEASLEY: No, the dogs are in the other
 10   relationship with your family and everybody else. Now    10   room.
 11   is not the time to not be a man and take the easy way    11          FBI AGENT ADAM: You don't see anybody?
 12   out. Be a man and do the work. Don't be like your        12          MR. BEASLEY: Don't bullshit with me. If
 13   father who left.                                         13   somebody is in here, tell me somebody is in here.
 14           MR. BEASLEY: I should have never told you        14          FBI AGENT ADAM: Matt, as far as I know --
 15   that. I just wanted you to have on the recording that    15          MR. BEASLEY: I don't want to -- I don't want
 16   he was a piece of shit. That's all I wanted. I didn't    16   to fucking somebody else to get hurt.
 17   want you to use it against me.                           17          FBI AGENT ADAM: Well, of course and I
 18           FBI AGENT ADAM: Am I wrong, Matt?                18   appreciate you not wanting anybody else to get hurt,
 19           MR. BEASLEY: That I'm a piece of shit? No,       19   but I don't -- Matt, I'm telling you, I'm not right
 20   you're not.                                              20   there. I don't know what's going on over there, but as
 21           FBI AGENT ADAM: That's not what I said.          21   far as I know as long you say you're talking to me no
 22           MR. BEASLEY: See, but that's the truth.          22   one is coming in.
 23           FBI AGENT ADAM: No. I don't think that. I        23          MR. BEASLEY: Ah. Oh, fuck. Somebody is in
 24   genuinely don't think that, Matt.                        24   here.
 25           MR. BEASLEY: I can't come out, dude. I'm         25          FBI AGENT ADAM: Hey, Matt.



                                                                                 14 (Pages 50 to 53)
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                                               Page 54                                                         Page 56
  1          MR. BEASLEY: Somebody, somebody is fucking         1           FBI AGENT ADAM: What makes you say that?
  2   in here.                                                  2           MR. BEASLEY: Because I did. Because the
  3          FBI AGENT ADAM: Well, keep talking to me and       3   first fricking 17 years of his life I wasn't a good
  4   if you see them let me know, okay, so I can tell them     4   father.
  5   that they're not supposed to be in there.                 5           FBI AGENT ADAM: Well, you still have the
  6          MR. BEASLEY: Oh, fuck.                             6   next 50 years of his life to be a great father.
  7          FBI AGENT ADAM: What is it?                        7   Relationships change, they evolve. They get worse,
  8          MR. BEASLEY: I'm fucking -- nothing,               8   they get better. But the only thing that lets that
  9   nothing.                                                  9   happen is time, Matt. If you kill yourself that time
 10          FBI AGENT ADAM: Okay. Hey, Matt --                10   is over.
 11          MR. BEASLEY: Somebody is fucking in here.         11           MR. BEASLEY: No.
 12          FBI AGENT ADAM: Hey, Matt.                        12           FBI AGENT ADAM: The time is over for your
 13          MR. BEASLEY: What?                                13   son, the time is over for your nine-year-old, the time
 14          FBI AGENT ADAM: Matt is here, and he has a        14   is over for your eleven-year-old.
 15   message for you.                                         15           MR. BEASLEY: Please, just stop. We can stay
 16          MR. BEASLEY: I know he --                         16   on the phone. Just let me think for a minute.
 17          FBI AGENT ADAM: He wants to --                    17           FBI AGENT ADAM: Okay, I'm right here.
 18          MR. BEASLEY: I don't want -- I don't want to      18           MR. BEASLEY: Oh, fuck. Oh, fuck.
 19   talk to -- fuck.                                         19           FBI AGENT ADAM: Hey, Matt, do you want to
 20          FBI AGENT ADAM: He's not -- you're not going      20   take a little break from talking to me?
 21   to talk to him, but I have a message you need to hear    21           MR. BEASLEY: I don't want to get off the
 22   from him. Will you listen to that message, Matt?         22   phone.
 23          MR. BEASLEY: No.                                  23           FBI AGENT ADAM: Okay, I'm here for you, I'm
 24          FBI AGENT ADAM: You won't listen to it if I       24   here.
 25   play it for you?                                         25           MR. BEASLEY: I'm afraid if I get off the


                                               Page 55                                                         Page 57
  1           MR. BEASLEY: No, no.                              1   phone I'm going to be killed and I don't want anybody
  2           FBI AGENT ADAM: Why won't you listen to it?       2   else to have to suffer with that.
  3           MR. BEASLEY: No. Because I can't.                 3          FBI AGENT ADAM: Well, thank you for saying
  4           FBI AGENT ADAM: Your son loves you and wants      4   that because that shows me that you do have a big
  5   you to come out. He's terrified for you. He's             5   heart.
  6   terrified for his mother, he's terrified for his          6          MR. BEASLEY: Dude, I just don't want -- I've
  7   siblings and again he's terrified for you. Don't put      7   caused enough problems for -- and enough pain for
  8   them through this, Matt.                                  8   enough people that there's no reason for somebody to
  9           MR. BEASLEY: I've already put them through        9   regret -- that they should have to regret killing me.
 10   it unfortunately.                                        10   That's why I wanted to apologize to those two guys
 11           FBI AGENT ADAM: You put them through one         11   before.
 12   thing.                                                   12          FBI AGENT ADAM: And they've -- they've
 13           MR. BEASLEY: I can end this, though.             13   gotten your apology and they're still talking to, you
 14   They're going to be humiliated. I can't let my kids go   14   know, some of our superiors. But they've received that
 15   back to school. I mean --                                15   apology and thank you again for doing that. It shows
 16           FBI AGENT ADAM: Think about -- think about       16   me a lot about who you are as a man, that you do that.
 17   the humiliation that they'll have to go through if you   17   Because, Matt, not many people apologize to us.
 18   kill yourself, Matt.                                     18          MR. BEASLEY: I believe that.
 19           MR. BEASLEY: They've already -- they're          19          FBI AGENT ADAM: But you did because you're a
 20   already going to have to go through it, bud. I'm         20   good guy who made a bad choice.
 21   sorry. Oh, fuck me. Oh.                                  21          MR. BEASLEY: Lots of them.
 22           FBI AGENT ADAM: Matt has told that he really     22          FBI AGENT ADAM: And that's what your family
 23   wants you to hear what he has to say.                    23   is going to think of you too.
 24           MR. BEASLEY: I -- I can't. I can't. I'm so       24          MR. BEASLEY: I hope so. I hope that's what
 25   sorry to him. I failed him probably most of all.         25   they believe when I'm gone.



                                                                                  15 (Pages 54 to 57)
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                                                Page 58                                                         Page 60
  1          FBI AGENT ADAM: Well, that's what they're           1          MR. BEASLEY: Not even.
  2   going to believe when they get to see you for the next     2          FBI AGENT ADAM: What a weird time. What do
  3   30, 40 years.                                              3   they like to do? What do they like to do with you?
  4          MR. BEASLEY: They're not going to. I'm              4          MR. BEASLEY: That's the thing, maybe they
  5   sorry.                                                     5   don't like to do anything with me.
  6          FBI AGENT ADAM: Do you really believe that          6          FBI AGENT ADAM: Oh, that's not -- that's not
  7   they're going to think you were good if you kill           7   true, Matt. You and I both know that.
  8   yourself today, Matt?                                      8          MR. BEASLEY: Well, we fish, we fish. We had
  9          MR. BEASLEY: Probably not. Probably not.            9   a good time fishing this summer.
 10          FBI AGENT ADAM: Then don't make that choice        10          FBI AGENT ADAM: Where did you go?
 11   for them. Work through this with your family.             11          MR. BEASLEY: I have house in Lake Tahoe.
 12   Continue to be the better dad.                            12          FBI AGENT ADAM: Very nice. Lake Tahoe is
 13          MR. BEASLEY: I can't. I can't work through         13   one of my favorite places on earth. It's beautiful up
 14   anything with anybody.                                    14   there. Did you take them boating? Who did you take up
 15          FBI AGENT ADAM: You're working through             15   there?
 16   things with me right now. You're talking to me right      16          MR. BEASLEY: My whole family.
 17   now. Thank you for doing that.                            17          FBI AGENT ADAM: All five of them and
 18          MR. BEASLEY: I'm just talking to you because       18   yourself?
 19   I wanted to make sure I cleared the story and so nobody   19          MR. BEASLEY: Yeah.
 20   else go in trouble because nobody else is responsible     20          FBI AGENT ADAM: Yeah. How many days did you
 21   for this but me.                                          21   spend up there?
 22          FBI AGENT ADAM: Well, you can give much more       22          MR. BEASLEY: I spent the summer up there.
 23   detailed testimony if you're out, if you're not in        23          FBI AGENT ADAM: The whole summer?
 24   there, if you don't kill yourself.                        24          MR. BEASLEY: Yeah.
 25          MR. BEASLEY: Why would I testify?                  25          FBI AGENT ADAM: That's awesome. I'm sure


                                                Page 59                                                         Page 61
  1           FBI AGENT ADAM: I mean, you can talk to            1   your family loved having that memory with you, spending
  2   me --                                                      2   an entire summer --
  3          MR. BEASLEY: I'm telling you I'm guilty, I          3          MR. BEASLEY: Yeah.
  4   did this entire thing.                                     4          FBI AGENT ADAM: -- in one of the most
  5          FBI AGENT ADAM: Well, that makes you a              5   beautiful places on earth.
  6   standup guy for wanting to taking responsibility for       6          MR. BEASLEY: Yeah.
  7   this.                                                      7          FBI AGENT ADAM: What kind of fish did you
  8          MR. BEASLEY: No, it just makes me not want          8   catch up there?
  9   to see other people fricking get punished for something    9          MR. BEASLEY: Oh, we caught all sorts of. He
 10   they didn't do.                                           10   caught the most, though.           caught the most.
 11          FBI AGENT ADAM: Isn't that the same thing?         11          FBI AGENT ADAM:                did?
 12          MR. BEASLEY: I don't think so.                     12          MR. BEASLEY: Yeah.
 13          FBI AGENT ADAM: Okay.                              13          FBI AGENT ADAM: And that's your 11-year-old?
 14          MR. BEASLEY: I would respectfully disagree.        14          MR. BEASLEY: Uh-huh.
 15          FBI AGENT ADAM: Well, thank you for your           15          FBI AGENT ADAM: Your 11-year-old --
 16   respectfully disagree.                                    16          MR. BEASLEY: He did good.
 17          MR. BEASLEY: Jesus Christ.                         17          FBI AGENT ADAM: Yeah. Just a natural at it?
 18          FBI AGENT ADAM: Where do your two youngest         18          MR. BEASLEY: He did good. Yeah.
 19   go to school?                                             19   was --           was more my net guy.
 20          MR. BEASLEY:                                       20          FBI AGENT ADAM: He was your net guy?
 21          FBI AGENT ADAM:                             What   21          MR. BEASLEY:                  was, yeah.
 22   grades are they in?                                       22          FBI AGENT ADAM: He must be big and strong to
 23          MR. BEASLEY: Fourth and fifth.                     23   get those fish in there like that.
 24          FBI AGENT ADAM: Do you remember what it was        24          MR. BEASLEY: No, small. Oh, my God.
 25   like being in fourth and fifth grade?                     25          FBI AGENT ADAM: What's going on, Matt?



                                                                                   16 (Pages 58 to 61)
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                                                   Page 62                                                       Page 64
  1          MR. BEASLEY: Nothing. Oh, fuck.                        1           MR. BEASLEY: I knew this -- I knew this was
  2          FBI AGENT ADAM: What else did you guys do up           2   going to happen.
  3   in Tahoe?                                                     3           FBI AGENT ADAM: What do you mean?
  4          MR. BEASLEY: That's about it.                          4           MR. BEASLEY: I knew that this was eventually
  5          FBI AGENT ADAM: Huh?                                   5   going to happen. I just wasn't ready for it.
  6          MR. BEASLEY: That's about it.                          6           FBI AGENT ADAM: Ready for which part?
  7          FBI AGENT ADAM: Just fished, fished all                7           MR. BEASLEY: All of it.
  8   summer, spent time in paradise?                               8           FBI AGENT ADAM: When did you write the
  9          MR. BEASLEY: Yeah, yeah.                               9   letters?
 10          FBI AGENT ADAM: What did you guys do at               10           MR. BEASLEY: I started them a while back
 11   night up there?                                              11   when I thought something was happening.
 12          MR. BEASLEY: Not much. Just (inaudible.)              12           FBI AGENT ADAM: What made you think
 13          FBI AGENT ADAM: Yeah.                                 13   something was happening back then?
 14          MR. BEASLEY: Oh, my God.                              14           MR. BEASLEY: Somebody said the FBI was
 15          FBI AGENT ADAM: What do                and     like   15   investigating, and it doesn't take much to figure out
 16   to do, you know, during the school year? Do they have        16   that it was a Ponzi scheme so --
 17   any hobbies, or sports, or anything like that?               17           FBI AGENT ADAM: How long ago did that
 18          MR. BEASLEY:               plays soccer and           18   happen?
 19   plays golf.
                                                                   19           MR. BEASLEY: Back in July.
 20          FBI AGENT ADAM: Ew, golf. Are you a golfer?
                                                                   20           FBI AGENT ADAM: July of this year?
 21          MR. BEASLEY: No.
                                                                   21           MR. BEASLEY: Yeah.
                                                                   22           FBI AGENT ADAM: So you -- you were up in
 22          FBI AGENT ADAM: No. Where does he like to
                                                                   23   Tahoe when you heard about that?
 23   play around?
                                                                   24           MR. BEASLEY: Yeah. No, I take it back.
 24          MR. BEASLEY: He goes to Angel Park.
                                                                   25   That's not true. It happened when I was here, so it
 25          FBI AGENT ADAM: Angel Park.


                                                   Page 63                                                       Page 65
  1          MR. BEASLEY: I'm sure that's done now too.             1   must have been August.
  2          FBI AGENT ADAM: What do you mean?                      2            FBI AGENT ADAM: Okay. So after you got back
  3          MR. BEASLEY: My wife needs to take my family           3   from Tahoe you might have heard that the FBI was
  4   and go back to Kanas City with her family and her             4   looking at you?
  5   family there.                                                 5            MR. BEASLEY: Not looking at me, looking at
  6          FBI AGENT ADAM: Your wife should be closer             6   Jeff because, you know, the business is his. I'm just
  7   to you with the kids, don't you think?                        7   the lawyer that transferred the money.
  8          MR. BEASLEY: No, I think she needs to take             8            FBI AGENT ADAM: What kind of business does
  9   my kids and go back to Kansas City.                           9   Jeff have?
 10          FBI AGENT ADAM: Why do you think that?                10            MR. BEASLEY: He doesn't have a business.
 11          MR. BEASLEY: Because that's the best thing            11   It's stiff.
 12   for them.                                                    12            FBI AGENT ADAM: Okay.
 13          FBI AGENT ADAM: Well, don't you think they            13            MR. BEASLEY: It's me.
 14   should be --                                                 14            FBI AGENT ADAM: Got you.
 15          MR. BEASLEY: (Inaudible.)                             15            MR. BEASLEY: I created this business that he
 16          FBI AGENT ADAM: -- (inaudible) to Kansas?             16   thinks he has.
 17          MR. BEASLEY: I won't be, and this is a                17            FBI AGENT ADAM: So --
 18   fucking disaster. What an idiot.                             18            MR. BEASLEY: He has a nice life too
 19          FBI AGENT ADAM: Bad decisions don't make us           19   before -- he had a nice life going with out me. So I
 20   idiots, Matt.                                                20   pretty much ruined his family's life as well, and
 21          MR. BEASLEY: Yeah. This one does. Oh,                 21   that's great.
 22   fuck.                                                        22            FBI AGENT ADAM: And you have the opportunity
 23          FBI AGENT ADAM: What's going on?                      23   to work --
 24          MR. BEASLEY: Nothing, nothing at all.                 24            MR. BEASLEY: I can't fix it, I can't fix it,
 25          FBI AGENT ADAM: You don't --                          25   bud.



                                                                                     17 (Pages 62 to 65)
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                                                 Page 66                                                         Page 68
  1          FBI AGENT ADAM: You can fix some of it. You         1           MR. BEASLEY: Okay.
  2   work to --                                                 2           (Pause.)
  3          MR. BEASLEY: No.                                    3           FBI AGENT ADAM: Hey, Matt, you still there?
  4          FBI AGENT ADAM: -- build things back up.            4           MR. BEASLEY: Yeah.
  5          MR. BEASLEY: I can't fix it. I'm so sorry.          5           FBI AGENT ADAM: Hey, thanks for staying on
  6          FBI AGENT ADAM: Well, again, Matt, I'm not          6   the line. So I relayed that message and they're going
  7   the person you need to apologize for, but thank you for    7   to tell Matt what you said, okay?
  8   the apology. Just to let you know Paula is in your         8           MR. BEASLEY: Okay.
  9   rental house across the highway.                           9           FBI AGENT ADAM: Again we do have that
 10          MR. BEASLEY: Uh-huh.                               10   message here if you want to hear from him.
 11          FBI AGENT ADAM: She's incredibly worried           11           MR. BEASLEY: I can't hear it. I love that
 12   about you.                                                12   boy.
 13          MR. BEASLEY: I -- I know, I know. Is my            13           FBI AGENT ADAM: Well, he loves you too.
 14   whole family over there?                                  14   I've heard the message and he loves you and he wants to
 15          FBI AGENT ADAM: Sir?                               15   see you come out.
 16          MR. BEASLEY: Is my whole family up over            16           MR. BEASLEY: I can't.
 17   there?                                                    17           FBI AGENT ADAM: Okay, I won't play it. If
 18          FBI AGENT ADAM: Matt is here.                      18   you don't want me to, I won't play it.
 19          MR. BEASLEY: Well, tell him to go over there       19           MR. BEASLEY: But I can't fucking come out.
 20   too please.                                               20           FBI AGENT ADAM: It's as easy as going to the
 21          FBI AGENT ADAM: I'm here talking to you.           21   door and letting people take care of you, that's all it
 22          MR. BEASLEY: I need him to go over there           22   is.
 23   too, please.                                              23           MR. BEASLEY: I can't.
 24          FBI AGENT ADAM: Why do you want him to go          24           FBI AGENT ADAM: I'll be here when you come
 25   over there, Matt?                                         25   it. You'll see your family when you come out.


                                                 Page 67                                                         Page 69
  1           MR. BEASLEY: Because he doesn't need to be         1          MR. BEASLEY: I'm going to fucking jail.
  2   here.                                                      2          FBI AGENT ADAM: They might -- they might
  3          FBI AGENT ADAM: Well, he's worried about you        3   take you to the hospital first to make sure you're
  4   as any son would be.                                       4   okay. They're going to make sure you're okay before
  5          MR. BEASLEY: Well, I appreciate that, but he        5   anything else and then --
  6   needs to go to his mother and his brother.                 6          MR. BEASLEY: I don't --
  7          FBI AGENT ADAM: He's too afraid to leave his        7          FBI AGENT ADAM: And then who knows what's
  8   father.                                                    8   going to happen. You're going to the hospital. You've
  9          MR. BEASLEY: Tell him to go his mother and          9   been shot.
 10   his brothers right now, please.                           10          MR. BEASLEY: I got -- sorry. I can't.
 11          FBI AGENT ADAM: I'm talking to you, but I          11          FBI AGENT ADAM: You've got to what?
 12   can communicate that to my co-workers outside, okay?      12          MR. BEASLEY: I got to finish this.
 13          MR. BEASLEY: Thank you.                            13          FBI AGENT ADAM: We can finish this by you
 14          FBI AGENT ADAM: Okay, give me just a second        14   putting the gun down and going outside.
 15   and I'll do that, okay?                                   15          MR. BEASLEY: I can't go outside. I can't.
 16          MR. BEASLEY: Thank you.                            16          FBI AGENT ADAM: The only person who's
 17          FBI AGENT ADAM: Promise me you're still            17   keeping you from going outside is yourself, you.
 18   going to be here when I come back.                        18          MR. BEASLEY: I don't think I can even stand
 19          MR. BEASLEY: Yeah, unless somebody comes in        19   up first off so --
 20   this house.                                               20          FBI AGENT ADAM: You don't think you can
 21          FBI AGENT ADAM: Okay, I'll be right back.          21   stand up?
 22          MR. BEASLEY: Which they seem to be wanting         22          MR. BEASLEY: Yeah, I don't think I can get
 23   to.                                                       23   up so --
 24          FBI AGENT ADAM: No one is coming in while          24          FBI AGENT ADAM: Okay. Well, then we can
 25   we're talking, okay? I'll be right back.                  25   have the paramedics come in and give you aid.



                                                                                   18 (Pages 66 to 69)
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                                                 Page 70                                                       Page 72
  1          MR. BEASLEY: No.                                    1   neither will they. We'll lose the house, we'll lose
  2          FBI AGENT ADAM: We have trained paramedics          2   everything.
  3   who can come in and give you aid.                          3           FBI AGENT ADAM: Vacations happen every day.
  4          MR. BEASLEY: And that wouldn't be very smart        4   Not having a house out there doesn't mean you can't go.
  5   to send them in here with some psychopath with a           5   And who knows what's going to happen in 5, 10, 15, 20
  6   fricking gun by themselves, would it?                      6   years. You could be back there, no problem.
  7          FBI AGENT ADAM: Well, guys on our team are          7           MR. BEASLEY: I need to --
  8   paramedics and they can render aid to you, but you have    8           FBI AGENT ADAM: People bounce back every
  9   to put the gun down and we can work together on how        9   day.
 10   they can provide that aid. Nobody wants to hurt you,      10           MR. BEASLEY: There's no bouncing back from
 11   nobody wants to see you hurt yourself, I guarantee        11   this, bud. I'm so sorry.
 12   that. Your kids don't want it, I don't want it, the       12           FBI AGENT ADAM: Oh, of course there is.
 13   guys on the team don't want it.                           13   You're a smart man and you know that there's plenty of
 14          MR. BEASLEY: I can't do it. I'm sorry, you         14   ways that you can recover from this.
 15   tried. You've done a good job, you really have. I'm       15           MR. BEASLEY: No, there's none.
 16   impressed with it.                                        16           FBI AGENT ADAM: You've showed me how smart
 17          FBI AGENT ADAM: Matt, stay with me on the          17   you are.
 18   phone.                                                    18           MR. BEASLEY: How did I do that?
 19          MR. BEASLEY: I can't do this anymore.              19           FBI AGENT ADAM: By illustrating how you put
 20          FBI AGENT ADAM: Matt, stay with me on the          20   this, this venture together, this Ponzi scheme. That
 21   phone. Matthew, please stay with me on the phone so I     21   takes thought, it takes knowledge.
 22   don't have to go tell your family what happened.          22           MR. BEASLEY: The only -- honestly the only
 23          MR. BEASLEY: Oh, fuck.                             23   way it happened is to have someone that actually
 24          FBI AGENT ADAM: Because I'm going to be the        24   believed in me. Everything else was easy. He's the
 25   one that has to tell them that.                           25   one that believed in me, and so whatever I told him he


                                                 Page 71                                                       Page 73
  1           MR. BEASLEY: And I apologize for that then.        1   believed. So --
  2           FBI AGENT ADAM: Well, let's not -- let's not       2          FBI AGENT ADAM: Well, he's not the only one
  3   put me in that position. Let's work -- let's work          3   that believes in you.
  4   together to get you some medical.                          4          MR. BEASLEY: Hell, he fought for -- he
  5           MR. BEASLEY: I don't want medical. I want          5   fought for it. So it's not his problem, this is mine
  6   to -- I want to die. I wish they would have finished       6   and this is not (inaudible). I mean, it's obvious just
  7   the job as bad as I feel that they have to do it           7   like in every other damn Ponzi scheme it's going to
  8   instead of me. I wish they would have fucking finished     8   come to an end. You can't end -- you can't recover
  9   it.                                                        9   from it.
 10           FBI AGENT ADAM: Well, what happened happened      10          FBI AGENT ADAM: But you can move on from it.
 11   and we're here now and I want you to tell them how        11          MR. BEASLEY: No, not me.
 12   sorry you are for the things that have happened.          12          FBI AGENT ADAM: He's not the only one that
 13           MR. BEASLEY: No.                                  13   believes in you. Paula believes in you, the kids
 14           FBI AGENT ADAM: I don't want to -- I don't        14   believe in you, I believe in you.
 15   want to have to relay that message. I want you to do      15          MR. BEASLEY: They did -- they did up until a
 16   it.                                                       16   couple hours ago.
 17           MR. BEASLEY: I can't.                             17          FBI AGENT ADAM: And they keep -- they will
 18           FBI AGENT ADAM: Sure you can. If you -- if        18   once again. This doesn't define you.
 19   you want me there when you tell them, I'll be there       19          MR. BEASLEY: It does define me, it really
 20   too.                                                      20   does.
 21           MR. BEASLEY: Thank you. Oh, fuck.                 21          FBI AGENT ADAM: No, the legacy that you
 22           FBI AGENT ADAM: You don't think your kids         22   leave defines you and that legacy is your kids, and
 23   want the opportunity to go to Tahoe more with you, to     23   your kids have the legacy of their dad killing himself
 24   enjoy family trips with you?                              24   and that's not a legacy you want them to have. I don't
 25           MR. BEASLEY: I'll never be in Tahoe, and          25   think it is.



                                                                                  19 (Pages 70 to 73)
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                                                  Page 74                                                         Page 76
  1          MR. BEASLEY: First and foremost that would          1   you.
  2   probably be the best thing for my kids.                    2          MR. BEASLEY: No, I can't.
  3          FBI AGENT ADAM: Matt, I can tell you that           3          FBI AGENT ADAM: I do.
  4   kids that deal with that at a young age they often         4          MR. BEASLEY: I'm sorry.
  5   times suffer from a lot of issues, and I don't want to     5          FBI AGENT ADAM: You have real love, Matt.
  6   see your kids go through that, I really don't. You         6   I've talked to people before in bad situations who have
  7   don't want that for your kids.                             7   nobody. You have everybody behind you on this. You
  8          MR. BEASLEY: I can't, I can't, no, I can't.         8   have me, my team, your family, your wife and your four
  9          FBI AGENT ADAM: You can.                            9   kids are all behind you. That's real love, Matt. Take
 10          MR. BEASLEY: I fucking did it. I can't.            10   advantage of that real love to move past these bad
 11          FBI AGENT ADAM: What happens if this doesn't       11   decisions.
 12   go the way you think it's going to and then you end up    12          MR. BEASLEY: I can't.
 13   in a bad medical state? You don't want them to have to    13          FBI AGENT ADAM: Paula,                Matt,      and
 14   deal with that.                                           14            , do it for them.
 15          MR. BEASLEY: Oh, man.                              15          MR. BEASLEY: I can't move past it. They
 16          FBI AGENT ADAM: Let's get you to the               16   can't move past it, or it would be years, especially in
 17   hospital and get you taken care of so you can see your    17   jail.
 18   family and talk to them face to face.                     18          FBI AGENT ADAM: How do they -- how do you
 19          MR. BEASLEY: I don't want to see my family.        19   know what they can or can't look past if you don't talk
 20   I can't face my family.                                   20   to them, if you don't see how your family grows from
 21          FBI AGENT ADAM: They want to see you.              21   this?
 22          MR. BEASLEY: I can't fucking face my family.       22          MR. BEASLEY: Oh, fuck.
 23          FBI AGENT ADAM: You made a bad choice, Matt.       23          FBI AGENT ADAM: You're talking in absolutes
 24   That's all this is.                                       24   and that's not the world we live in, Matt.
 25          MR. BEASLEY: I can't.                              25          MR. BEASLEY: No, it is an absolute this one.


                                                  Page 75                                                         Page 77
  1           FBI AGENT ADAM: Nobody got hurt. Money             1          FBI AGENT ADAM: There is an absolute here,
  2   doesn't -- money doesn't mean people go hurt, it's just    2   because if you kill yourself, they deal with that for
  3   money. Money comes and goes like air. It comes in and      3   the rest of their lives, and you take the easy way out.
  4   goes out.                                                  4          MR. BEASLEY: Here's an absolute, I chicken
  5           MR. BEASLEY: I fucked this up.                     5   shit out and don't kill myself. They'd lose everything
  6           FBI AGENT ADAM: Well, let's -- let's un F it       6   they have, and insurance will terminate because I won't
  7   up, Matt, together.                                        7   be able to pay it and they get nothing.
  8           MR. BEASLEY: I can't. I'm sorry, I really          8          FBI AGENT ADAM: Those are things your family
  9   am. I'm so sorry for my family. But the only way to        9   can work through. They would rather have you than
 10   make it right is to do this, honestly.                    10   insurance. Families work through things --
 11           FBI AGENT ADAM: I disagree with you, I            11          MR. BEASLEY: No.
 12   really do, Matt. And Paula is going to be heartbroken     12          FBI AGENT ADAM: -- worse than this every
 13   if this happens. You know, we --                          13   single day.
 14           MR. BEASLEY: She's already heartbroken. I         14          MR. BEASLEY: Oh, I'm --
 15   fucking ruined everything.                                15          FBI AGENT ADAM: I've seen it. Work through
 16           FBI AGENT ADAM: Well, we've seen her social       16   this with your family.
 17   media and you know what she loves you. She feels that     17          MR. BEASLEY: So what are you guys going to
 18   she loves you and the family, and she loves showing off   18   do when I don't come out?
 19   what you guys together, and she wants you to be here to   19          FBI AGENT ADAM: We want you to come out and
 20   continue making those memories --                         20   we're not -
 21           MR. BEASLEY: I can't                              21          MR. BEASLEY: You're going to come in, right?
 22           FBI AGENT ADAM: -- in whatever capacity that      22          FBI AGENT ADAM: Not as long as we're
 23   is, whether it's on the phone, in person.                 23   talking.
 24           MR. BEASLEY: I can't.                             24          MR. BEASLEY: Will they fucking shoot me?
 25           FBI AGENT ADAM: Yes, you can. I believe in        25          FBI AGENT ADAM: Nobody wants to see you get



                                                                                   20 (Pages 74 to 77)
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                                                 Page 78                                                        Page 80
  1   hurt. You already told me you don't want them to shoot     1          MR. BEASLEY: They need to. They --
  2   you. You don't want them to have to shoot you.             2   obviously I don't -- obviously I'm lacking some moral
  3          MR. BEASLEY: I don't, but I'm afraid -- I'm         3   judgment.
  4   afraid I'm too much of a fucking chicken shit.             4          FBI AGENT ADAM: We all are, aren't we?
  5          FBI AGENT ADAM: Too much of a chicken shit          5          MR. BEASLEY: I don't think so. I think I
  6   for what?                                                  6   am. My wife isn't.
  7          MR. BEASLEY: To fucking do it myself.               7          FBI AGENT ADAM: That's beautiful of you to
  8          FBI AGENT ADAM: And you know what that say          8   say.
  9   to mee, Matt? That says to me that you have a will to      9          MR. BEASLEY: My wife is not -- my kids,
 10   live. Your brain is telling you --                        10   they're good people. That's -- you know, that's --
 11          MR. BEASLEY: No, I don't. I'm just a               11   that's what I was telling you earlier. That's why I
 12   chicken shit. I have no guts, that's what that means.     12   wouldn't -- I could never had told my wife about this
 13          FBI AGENT ADAM: We're here for as long as          13   because she would have called the fucking police on me.
 14   you need, Matt. We will talk as long as you need to       14   The same with Jeff Judd, if I had -- if I would have
 15   talk. You don't want to --                                15   told him about it, they're good people, I'm not.
 16          MR. BEASLEY: Send them in.                         16          FBI AGENT ADAM: Well, hey, Matt told us --
 17          FBI AGENT ADAM: You've already --                  17          MR. BEASLEY: I mean, I have so many
 18          MR. BEASLEY: Send them in. Send them in.           18   skeletons in the closet that fucking I'm letting some
 19          FBI AGENT ADAM: You've already --                  19   idiot extort me. So --
 20          MR. BEASLEY: Send the guys in, please.             20          FBI AGENT ADAM: Matt, you know why your kids
 21          FBI AGENT ADAM: Why do you want them to come       21   are good people and why your wife is a good person?
 22   in?                                                       22   Because their father and their husband is a good person
 23          MR. BEASLEY: Because maybe then that will          23   who raised them that way. That comes --
 24   force my hand and I'll have to fucking do it.             24          MR. BEASLEY: No.
 25          FBI AGENT ADAM: I'm not sending them in            25          FBI AGENT ADAM: -- that's not --


                                                 Page 79                                                        Page 81
  1   there for that. I'm not doing that, Matt.                  1          MR. BEASLEY: Their mother, their mother is
  2           MR. BEASLEY: Ah.                                   2   the best mother in the world.
  3           FBI AGENT ADAM: Paula told one of my               3          FBI AGENT ADAM: Well, Matt let us know that
  4   co-workers specifically that she still wants to be with    4   Jeff is not worried about anything that's happened so
  5   you and all four -- all of the boys love their father.     5   far. He's worried about you. Matt told us that.
  6           MR. BEASLEY: I appreciate that so much.            6          MR. BEASLEY: No.
  7           FBI AGENT ADAM: Show them love back and            7          FBI AGENT ADAM: I'm not making that up.
  8   let's get you out of there and in an ambulance.            8   Matt told us that.
  9           MR. BEASLEY: I don't want to be in a fucking       9          MR. BEASLEY: No, I don't believe that.
 10   ambulance.                                                10          FBI AGENT ADAM: He told us that.
 11           FBI AGENT ADAM: That's --                         11          MR. BEASLEY: I don't believe that.
 12           MR. BEASLEY: After I'm in that ambulance          12          FBI AGENT ADAM: I would not lie to you. You
 13   then I'm going to jail.                                   13   trust me, right?
 14           FBI AGENT ADAM: Well, first you're going to       14          MR. BEASLEY: I have no reason not to except
 15   the hospital so we can make sure you're okay.             15   for the shit going on in my kitchen.
 16           MR. BEASLEY: Yeah, well --                        16          FBI AGENT ADAM: Well, again, I'm not there.
 17           FBI AGENT ADAM: And then who knows what's         17   I'm just talking to you. But again that came straight
 18   going to happen. People get out of jail or don't go to    18   from Matt, that Jeff is not worried.
 19   jail all the time. You know that better than anybody.     19          MR. BEASLEY: Jeff should be worried because
 20           MR. BEASLEY: I'm not -- I'm going to jail.        20   he's going to lose everything too.
 21           FBI AGENT ADAM: Nobody knows how long and         21          FBI AGENT ADAM: He wants to see you come out
 22   then you're out, and then you're -- and then you're       22   of this. He wants to see you be okay.
 23   back with your family and you're making memories,         23          MR. BEASLEY: I can't. He doesn't know
 24   you're figuring out the next steps together. They're      24   probably.
 25   not figuring out the next steps without their father.     25          FBI AGENT ADAM: Oh, he --



                                                                                   21 (Pages 78 to 81)
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  1          MR. BEASLEY: My son --                              1          MR. BEASLEY: Yeah, because I can't really
  2          FBI AGENT ADAM: Go ahead.                           2   hold it.
  3          MR. BEASLEY: -- my boys are the greatest            3          FBI AGENT ADAM: Okay. Where is the gun?
  4   thing I've ever done.                                      4          MR. BEASLEY: On my chest with my hand on it.
  5          FBI AGENT ADAM: And you can continue to be          5   So tell them not to come in this house, please.
  6   there for them.                                            6          FBI AGENT ADAM: Okay, I'll tell them.
  7          MR. BEASLEY: I'm a fucking embarrassment.           7          MR. BEASLEY: Unless we get -- actually tell
  8          FBI AGENT ADAM: You made a bad choice. They         8   them to come in the fucking house. That would be
  9   would rather have you and talk about this and grow from    9   great.
 10   this than not have you there. Hey, I want to let you      10          FBI AGENT ADAM: No.
 11   know -- I want to let you know something, though, okay?   11          MR. BEASLEY: I'll put my fucking (inaudible)
 12          MR. BEASLEY: Somebody is coming in?                12   and maybe I'll back it up and fucking do it.
 13          FBI AGENT ADAM: No, nobody is coming in,           13          FBI AGENT ADAM: No. You've already told me
 14   nobody is coming in. You might see some people outside    14   you don't want them to have to do that.
 15   but they're not coming in. Okay?                          15          MR. BEASLEY: No, I'm saying I'll do it. If
 16          MR. BEASLEY: Where outside, behind me or on        16   they come in to arrest me, I can do it and then I'll
 17   the patio?                                                17   fucking have enough balls and be a man and finish it
 18          FBI AGENT ADAM: They might just be taking          18   instead of fucking embarrassing everyone that knows me.
 19   down -- they might be taking down a camera, okay, but     19          FBI AGENT ADAM: I think you're a bigger man
 20   you will see them.                                        20   if you don't do that. I think you're a bigger man if
 21          MR. BEASLEY: Oh, which camera?                     21   you deal with this in front of your family face to
 22          FBI AGENT ADAM: In the front.                      22   face.
 23          MR. BEASLEY: Oh, there's no camera -- that         23          MR. BEASLEY: No, I don't. I can't. I don't
 24   camera -- the batteries are dead anyway.                  24   think I'm that big of a man.
 25          FBI AGENT ADAM: Oh, okay. Well, I'll let           25          FBI AGENT ADAM: I do. All -- all we've


                                                Page 83                                                         Page 85
  1   them know that, okay. So if you see them --                1   talked about today is how big of a heart you have and
  2          MR. BEASLEY: But they can take it. Yeah, I          2   how much you love your family and care about your
  3   don't care. If I --                                        3   family. And you made a bad decision, and you knew that
  4          FBI AGENT ADAM: Okay.                               4   a while back, and you've been trying to remedy that
  5          MR. BEASLEY: -- it's not like I can be on it        5   decision since before today and you've been well on
  6   while I'm on the phone with you anyway.                    6   your way to doing that. Paula believes it, the kids
  7          FBI AGENT ADAM: Okay. Well, they --                 7   believe it.
  8   they're -- you might seem them --                          8           MR. BEASLEY: I haven't been trying to -- I
  9          MR. BEASLEY: But that means they're getting         9   can't remedy it. There's nothing I can do.
 10   ready to do something.                                    10           FBI AGENT ADAM: You've been trying to remedy
 11          FBI AGENT ADAM: No, no.                            11   it in other ways. You said you were trying to be a
 12          MR. BEASLEY: That means they're getting            12   better dad. That means you're a provider and you've
 13   ready to do something.                                    13   been trying to be better, and it started well before
 14          FBI AGENT ADAM: They're not going to do            14   today, Matt. I told you --
 15   anything as long as we're talking. I've promised you      15           MR. BEASLEY: (Inaudible.)
 16   that and you said you don't have any reason not to        16           FBI AGENT ADAM: -- I told you they were
 17   trust me, so thank you for that. But they're not          17   going to move, remember. They're not coming in.
 18   coming in.                                                18           MR. BEASLEY: I don't see anybody. Where are
 19          MR. BEASLEY: They can get it. I don't care.        19   they coming?
 20   That's fine.                                              20           FBI AGENT ADAM: They're out front. That's
 21          FBI AGENT ADAM: Thank you for saying that.         21   all I know. I'm sitting here talking to you.
 22          MR. BEASLEY: But I'll tell you the batteries       22           MR. BEASLEY: Out front? Okay. Okay. As
 23   are dead. I've got my phone and my phone is laying on     23   long as I know.
 24   my neck talking to you.                                   24           FBI AGENT ADAM: Yeah, they're not coming in,
 25          FBI AGENT ADAM: Your phone is on your neck?        25   though, okay.



                                                                                   22 (Pages 82 to 85)
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                                                Page 86                                                      Page 88
  1          MR. BEASLEY: Because I hear noise from the         1   that?
  2   kitchen again.                                            2          MR. BEASLEY: My (inaudible) keep going off
  3          FBI AGENT ADAM: I'm not sure what's going on       3   at my house in Tahoe.
  4   in the kitchen.                                           4          FBI AGENT ADAM: Oh, I'm genuinely not sure,
  5          MR. BEASLEY: Oh, fuck.                             5   Matt. I'm here talking to you.
  6          FBI AGENT ADAM: You tried to start making          6          MR. BEASLEY: Okay. I just -- hopefully they
  7   this better months ago when you started writing those     7   didn't bring anything down up there.
  8   letters.                                                  8          FBI AGENT ADAM: I'm not sure, sir.
  9          MR. BEASLEY: I didn't finish them until            9          MR. BEASLEY: I would give the code to get
 10   today. I cry every time I write them.                    10   in. Fuck.
 11          FBI AGENT ADAM: Why do you cry?                   11          FBI AGENT ADAM: All of that are issues -- is
 12          MR. BEASLEY: Because I'm going to miss them       12   things you can work through with our agents and with
 13   so bad.                                                  13   our investigators when you come out.
 14          FBI AGENT ADAM: You wanted people to know         14          MR. BEASLEY: I can't come out, bud. I'm
 15   the truth, they know the truth, and your kids want to    15   sorry. I'm so sorry.
 16   be able to see you. Your kids want to be able to deal    16          FBI AGENT ADAM: Again you have to apologize
 17   with all of this with you.                               17   to Paula and the kids.
 18          MR. BEASLEY: No, they don't. They don't           18          MR. BEASLEY: I'm so sorry. That's who I'm
 19   need to have this fucking --                             19   sorry to, to them and to the people -- Jeff, and the
 20          FBI AGENT ADAM: Matt, you're not going to         20   people that I fucked up their lives.
 21   miss them.                                               21          FBI AGENT ADAM: Matt wants you to come out
 22          MR. BEASLEY: I got a son that has the same        22   so you can figure it all out. He's very emotional and
 23   fucking name that's going to have to deal with that.     23   he's terrified.
 24          FBI AGENT ADAM: That's --                         24          MR. BEASLEY: I told you to send him home.
 25          MR. BEASLEY: I mean, fuck, what have I done.      25          FBI AGENT ADAM: I told him --


                                                Page 87                                                      Page 89
  1           FBI AGENT ADAM: You made a couple bad             1           MR. BEASLEY: Send him --
  2   decisions. But you said you're going to miss them.        2           FBI AGENT ADAM: -- I can't -- Matt, I can't
  3   Matt, you won't miss them if you kill yourself.           3   make him do anything. I passed the message along.
  4   They'll miss you, though. Think about that. This is       4           MR. BEASLEY: God damn.
  5   it, Matt. You don't get to see the rest of their          5           FBI AGENT ADAM: Come out and show your kids
  6   lives, those boys that you love, that wife that you       6   and your wife that you're sorry.
  7   love. This is final.                                      7           MR. BEASLEY: I can't.
  8           MR. BEASLEY: I know. That's what I want, I        8           FBI AGENT ADAM: I'll meet you there and
  9   want it over.                                             9   we'll talk about things. You can tell the agents that
 10           FBI AGENT ADAM: You would do that, you           10   were there earlier, you can apologize to them again in
 11   would do that to your kids?                              11   person.
 12           MR. BEASLEY: I'm not doing it to them. I'm       12           MR. BEASLEY: I can't. They're going to
 13   actually doing it for them.                              13   fucking attack me if I walk out that door --
 14           FBI AGENT ADAM: Yes, you are. No, you're         14           FBI AGENT ADAM: No, they won't.
 15   doing it to them. You're doing it to them.               15           MR. BEASLEY: -- and they'll come in.
 16           MR. BEASLEY: Oh, fuck.                           16           FBI AGENT ADAM: No, they won't, Matt. They
 17           FBI AGENT ADAM: And you don't want that. I       17   might put handcuffs on you for your own safety, but if
 18   know you don't want to hurt your kids, but that's what   18   that's something you're concerned about we can work
 19   this will do.                                            19   through that with them.
 20           MR. BEASLEY: Were you guys at my house in        20           MR. BEASLEY: Oh, fuck. No, I don't care.
 21   Tahoe?                                                   21   I'm not coming out. Tell them to come in, fuck it,
 22           FBI AGENT ADAM: I'm sorry. No, we're not at      22   please. I'm not going to shoot at them, though. Just
 23   your house, not that I'm aware of. Matt, I don't know    23   tell them that.
 24   anything about what happened earlier today. I'm here     24           FBI AGENT ADAM: I can't do that, Matt. I
 25   talking to you to talk about that. What makes you say    25   won't do that.



                                                                                 23 (Pages 86 to 89)
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                                                Page 90                                                        Page 92
  1           MR. BEASLEY: I will not shoot at them. I          1   I've caused.
  2   swear on my life. I thought I've been pretty honest       2          FBI AGENT ADAM: It is -- it is a little bit
  3   with you.                                                 3   but, you know what, everything can be remedied.
  4           FBI AGENT ADAM: And I appreciate that, but        4          MR. BEASLEY: I can't come out. I'm so
  5   that's something that I can't do, and they you need --    5   sorry. To my family I'm so fucking sorry.
  6           MR. BEASLEY: I need the motivation. The           6          FBI AGENT ADAM: Do you think sorry is going
  7   front door is fucking unlocked. I just need the           7   to matter to them when they don't have you around?
  8   motivation.                                               8          MR. BEASLEY: No, it probably won't, but it's
  9           FBI AGENT ADAM: The motivation to never see       9   the best I can do.
 10   your kids again?                                         10          FBI AGENT ADAM: The best you can do is being
 11           MR. BEASLEY: I'm never going to see them         11   there for them in whatever capacity that is. Because
 12   anyway.                                                  12   if you shoot yourself, you're not there for them
 13           FBI AGENT ADAM: Oh, that's not true.             13   anymore.
 14   There's plenty of opportunities to see them.       and   14          MR. BEASLEY: Oh, fuck.
 15             want you to be okay. That's from your sons.    15          FBI AGENT ADAM: And you want to be there for
 16           MR. BEASLEY: Well, don't --                      16   them.
 17           FBI AGENT ADAM: Well, they just told the --      17          MR. BEASLEY: Yeah.
 18   they just told us that.                                  18          FBI AGENT ADAM: They want to continue making
 19           MR. BEASLEY: Fuck. God damn, what a fucking      19   memories with you, not have this be the last one.
 20   mess I made.                                             20          MR. BEASLEY: I'm done. I'm done. God damn.
 21           FBI AGENT ADAM: What was that?                   21   Just be fucking brave.
 22           MR. BEASLEY: Fuck. That was -- I dropped         22          FBI AGENT ADAM: Being brave isn't shooting
 23   the phone.                                               23   yourself, Matt. Being brave is -- that's not being
 24           FBI AGENT ADAM: Okay.                            24   brave. That's being a coward.
 25           MR. BEASLEY: Oh, fuck, it's covered in           25          MR. BEASLEY: Really? And going to jail is


                                                Page 91                                                        Page 93
  1   blood. Great. Not that it matters. Nothing will           1   being brave?
  2   (inaudible).                                              2          FBI AGENT ADAM: Yeah, because means owning
  3          FBI AGENT ADAM: We can always get new              3   up to your mistakes. and dealing with the consequences,
  4   phones, right. So you said you're inside right at the     4   and seeing what happens next. And it means --
  5   entryway, right, by the front door? Matt? Matt?           5          MR. BEASLEY: And leave my family homeless?
  6   Matt, are you there?                                      6   Fuck, I can't do that.
  7          MR. BEASLEY: Sorry, I (inaudible). Sorry.          7          FBI AGENT ADAM: What's more important a home
  8          FBI AGENT ADAM: That's okay. Thank you for         8   or a father, somebody to guide --
  9   apologizing.                                              9          MR. BEASLEY: My family, to me, having a --
 10          MR. BEASLEY: I touched it. I -- it's on the       10   having them have a home.
 11   screen. Oh, fuck. Yes, and I (inaudible) but please      11          FBI AGENT ADAM: Well, I can tell you they
 12   if you're going to send it in then we're doing this.     12   disagree with that. They want you. Paula and the boys
 13          FBI AGENT ADAM: What do you mean?                 13   want you. They're terrified. They're -- you're their
 14          MR. BEASLEY: I'm going to fucking do this.        14   father.
 15   So you know what, fucking send them. The door is         15          MR. BEASLEY: I know that.
 16   unlocked. I unlocked it for your agents before I got     16          FBI AGENT ADAM: They're scared that their
 17   shot, so tell them to come on in, please.                17   father wants to --
 18          FBI AGENT ADAM: Well, I can't do that.            18          MR. BEASLEY: Fucking shit show.
 19   I'm --                                                   19          FBI AGENT ADAM: -- kill himself.
 20          MR. BEASLEY: Do me the fucking favor.             20          MR. BEASLEY: It's a fucking shit show. Did
 21          FBI AGENT ADAM: I can pass that along, but        21   they get the camera?
 22   really it's not up to me because I'm a negotiator who    22          FBI AGENT ADAM: I'm not sure. I can try to
 23   talks to you and who is trying to help you get out of    23   find out if you want me to.
 24   this without getting hurt more.                          24          MR. BEASLEY: Well, I just -- I didn't know
 25          MR. BEASLEY: Oh, fuck. What a shit show           25   if I need to hear noises. Fuck.



                                                                                  24 (Pages 90 to 93)
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                                                 Page 94                                                       Page 96
  1          FBI AGENT ADAM: Matt, is it the jail time           1           FBI AGENT ADAM: It could be a bad decision,
  2   you're afraid of? What is it?                              2   but you still wanted to be a good father and provide
  3          MR. BEASLEY: It's -- my family is going to          3   for them. We all make bad choices, Matt, every single
  4   be without anything.                                       4   one of us.
  5          FBI AGENT ADAM: Well, again possessions are         5           MR. BEASLEY: Ah.
  6   one thing, a father is a whole other thing. Possession     6           FBI AGENT ADAM: You can recover from bad
  7   can be replaced over time, a father can't. You know        7   choices.
  8   that better than anybody.                                  8           MR. BEASLEY: What the fuck am I doing? I
  9          MR. BEASLEY: But they're better off without         9   can't, not from this. There's no recovering.
 10   me.                                                       10           FBI AGENT ADAM: There's plenty of
 11          FBI AGENT ADAM: No one believes that.              11   recovering, Matt.
 12          MR. BEASLEY: I mean, look what I have              12           MR. BEASLEY: My family needs to get in the
 13   fucking done.                                             13   car and drive to fricking Kansas City. Get the fuck
 14          FBI AGENT ADAM: Your wife -- your wife and         14   out of here.
 15   your kids do not believe that.                            15           FBI AGENT ADAM: Hey, Matt, I just got -- I
 16          MR. BEASLEY: Look at what I've done.               16   got a note that I want to read to you, okay? It's not
 17          FBI AGENT ADAM: You mean everything to your        17   from your family, but I do want to read it to you,
 18   family. They keep telling us that. My teammates           18   okay?
 19   outside, that's all they're hearing from them, how much
                                                                19           MR. BEASLEY: Who is it from?
 20   they want to see you, how much they love you, how much
                                                                20           FBI AGENT ADAM: It's from one of the
                                                                21   supervisors of our white-collar squad, okay? I'm going
 21   they care about you, how great of a dad you are, how
                                                                22   to read it to you, okay? This is the truth, I'm
 22   much they want to see you.
                                                                23   telling you the truth.
 23          MR. BEASLEY: No.
                                                                24           MR. BEASLEY: Go ahead.
 24          FBI AGENT ADAM: How much they want to keep
                                                                25           FBI AGENT ADAM: It's only a white-collar
 25   making memories with you. That's what they want. They


                                                 Page 95                                                       Page 97
  1   don't and I'm sorry from you, they want to see you.        1   investigation. Nobody is getting arrested today and
  2          MR. BEASLEY: Not --                                 2   there's a chance you can work with the guys that came
  3          FBI AGENT ADAM: Continue to be a great dad          3   to the door or other agents who have been investigating
  4   like you've been trying to be and give that to them.       4   this. No one is going to jail or getting arrested
  5          MR. BEASLEY: I can't do it.                         5   today, Matt. That's from the supervisors. That's from
  6          FBI AGENT ADAM: Yes, you can. I believe in          6   guys in charge.
  7   you. They believe in you. I believe in you. Show           7           MR. BEASLEY: I'm going -- I'm going to jail.
  8   your sons that a real man owns his mistakes.               8           FBI AGENT ADAM: Matt, I just told you --
  9          MR. BEASLEY: I'm a piece of shit.                   9           MR. BEASLEY: I am going to jail if I come
 10          FBI AGENT ADAM: Don't walk out on them,            10   out of here.
 11   Matt.                                                     11           FBI AGENT ADAM: I told you from the source
 12          MR. BEASLEY: I'm a piece of shit.                  12   himself you're not going to jail today. You can --
 13          FBI AGENT ADAM: Maybe right now, but that's        13           MR. BEASLEY: Yeah, I'll be in the hospital.
 14   not who you are deep down. Matt -- Matt, let me tell      14           FBI AGENT ADAM: That's a great -- you'll be
 15   you. We've been talking now for a while and everything    15   with your family. Being in the hospital getting
 16   you've told me shows me you're a guy with a big heart     16   better, where you get to meet the agents and talk to
 17   who made some bad choices. That does not define you as    17   them about the next steps.
 18   a father.                                                 18           MR. BEASLEY: No.
 19          MR. BEASLEY: It does. If I -- if I was a           19           FBI AGENT ADAM: It's only a white-collar
 20   good father, I wouldn't have made bad choices.            20   investigation right. Nobody is getting arrested. That
 21          FBI AGENT ADAM: You wanted to make money to        21   came from somebody way above me, Matt --
 22   provide for your kids. That's being a good father.        22           MR. BEASLEY: I can't do this, dude, I can't.
 23          MR. BEASLEY: By stealing it from somebody          23           FBI AGENT ADAM: -- the decision maker.
 24   else? What's that showing them? What am I showing         24   Matt, you're worried about going to jail, you're not
 25   them?                                                     25   going to jail, you're not getting arrested today.



                                                                                  25 (Pages 94 to 97)
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                                                  Page 98                                                      Page 100
  1          MR. BEASLEY: Yeah, obviously -- and what is         1   this whole time. You have shown me immense strength
  2   this, a standoff.                                          2   and all -- all I need is for you to show me a little
  3          FBI AGENT ADAM: That's okay, it's not a             3   bit more, and be a man, and come out and be with your
  4   crime. Calling us out here is not a crime. We come         4   family. Do the right thing for your kids.
  5   out here to help you.                                      5          MR. BEASLEY: I can't. I fucking can't do
  6          MR. BEASLEY: Getting shot is not a crime?           6   it. Just tell them to fucking come through the doors,
  7          FBI AGENT ADAM: Not that I'm aware of.              7   please.
  8          MR. BEASLEY: Well, they shot me because I           8          FBI AGENT ADAM: I'm not going to tell them
  9   had a gun, so there was a reason.                          9   to do that but, you know what, Matt, if you kill
 10          FBI AGENT ADAM: Right now it's just a              10   yourself your family is going to be here and they're
 11   white-collar investigation. Nobody got arrested today.    11   going to know you did it, and they're going to have to
 12          MR. BEASLEY: Well, I did it all. So --             12   deal with what the house looks like inside. You don't
 13          FBI AGENT ADAM: And we can see what happens        13   want that for your family. I don't want that for your
 14   next as a result of that, but you're not getting          14   family. If you kill yourself --
 15   arrested today.                                           15          MR. BEASLEY: It's a fucking shit show.
 16          MR. BEASLEY: That's -- this is my only             16          FBI AGENT ADAM: -- that's all they're going
 17   chance, so if I don't do it now then I'm not going to     17   to see. You said part of you wanted to come out and
 18   have the opportunity.                                     18   wanted to say yes to me. Let's figure out how we can
 19          FBI AGENT ADAM: Well, if you don't do it now       19   make that happen. Because Matt, I will fight for every
 20   all you have is the rest of your life to live with your   20   part of that with you. Your family will fight for
 21   kids, and see them grow up, and see them create           21   every inch of you that wants to say yes and be here for
 22   families and become a grandfather.                        22   them. And I'm here with you.
 23          MR. BEASLEY: Do you understand, though, I          23          MR. BEASLEY: And leave them nothing. They
 24   won't have the opportunity to do this.                    24   have nothing.
 25          FBI AGENT ADAM: Yes, you will. To do what?         25          FBI AGENT ADAM: You'll leave them without a


                                                  Page 99                                                      Page 101
  1   What do you -- what do you mean?                           1   father. They will not have you anymore. You will not
  2           MR. BEASLEY: To end it. I won't have the           2   be here to see them. They will see your body being
  3   opportunity.                                               3   rolled out in a body bag. Don't do that to them, Matt,
  4           FBI AGENT ADAM: I don't want to see you end        4   please.
  5   it.                                                        5           MR. BEASLEY: Oh, fuck.
  6           MR. BEASLEY: If I -- I know --                     6           FBI AGENT ADAM: Seeing you on a hospital
  7           FBI AGENT ADAM: Nobody does. Your family           7   stretcher not the end of the world, but the reality is
  8   doesn't.                                                   8   if you shoot yourself, it's a body bag. And then
  9           MR. BEASLEY: That's great, but I need to.          9   there's a funeral that they have to go to, Matt.
 10           FBI AGENT ADAM: That's selfish because your       10           MR. BEASLEY: I don't want a funeral. You
 11   family wants you.                                         11   have a record of that. I don't want a funeral. I want
 12           MR. BEASLEY: If I come out of here now, I         12   to be cremated and thrown fucking away.
 13   won't be able to do it.                                   13           FBI AGENT ADAM: And your kids --
 14           FBI AGENT ADAM: Your family doesn't want          14           MR. BEASLEY: Thrown in the trash.
 15   that. Jeff doesn't want that. The officers outside        15           FBI AGENT ADAM: -- your kids have to tell
 16   don't want that. I don't want that, Paula doesn't want    16   their friends about what happened to their dad. When
 17   it, the kids don't want that. They want their dad,        17   all their friends --
 18   Matt. They want their dad. That's all they want.          18           MR. BEASLEY: Yeah, well, my kids are going
 19           MR. BEASLEY: I can't dude. I'm so sorry. I        19   to have friends that see this all over the fucking
 20   wanted to tell you yes 30 times, but I can't.             20   news.
 21           FBI AGENT ADAM: I believe you can. It takes       21           FBI AGENT ADAM: But at least they get to
 22   strength, it's a hard decision.                           22   come hug you at the end of it.
 23           MR. BEASLEY: I don't have the strength.           23           MR. BEASLEY: And why would they want to?
 24           FBI AGENT ADAM: I believe you do, Matt.           24           FBI AGENT ADAM: Because that's what they
 25   You've been shot twice and have continued talking to me   25   want to do, they want to come see you, and be with you,



                                                                                 26 (Pages 98 to 101)
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                                                 Page 102                                                    Page 104
  1   and hug you, and tell you how much they love you, and     1   them.
  2   be around you. If you shoot yourself, you won't be        2          MR. BEASLEY: I can't face them. I can't
  3   here to make the decisions about what they do or don't    3   face them.
  4   see. They see you in a body bag.                          4          FBI AGENT ADAM: They love you, Matt.
  5         MR. BEASLEY: Okay.                                  5          MR. BEASLEY: I can't -- I can't fucking face
  6         FBI AGENT ADAM: Don't do that to them.              6   them. I've ruined everybody's lives.
  7         MR. BEASLEY: It's better than this.                 7          FBI AGENT ADAM: You made some bad choices
  8         FBI AGENT ADAM: No, it's not. No, it's not.         8   and some people lost money.
  9                                                             9          MR. BEASLEY: I've ruined my family's lives
 10          MR. BEASLEY: God damn it.                         10   too.
 11          FBI AGENT ADAM: How is it better?                 11          FBI AGENT ADAM: Matt --
 12          MR. BEASLEY: It is.                               12          MR. BEASLEY: That's what I mean.
 13          FBI AGENT ADAM: No, that's not --                 13          FBI AGENT ADAM: Matt, you might have ruined
 14          MR. BEASLEY: Is my son still there?               14   their -- you might have ruined things for a little
 15          FBI AGENT ADAM: You're a smarter -- you're a      15   while possibly, no one knows that, but I'll tell you
 16   smarter guy. Yeah, your son is still here. He -- he      16   what, if you kill yourself, you have ruined their lives
 17   refuses to leave.                                        17   forever. Please don't do that.
 18          MR. BEASLEY: My son still there?                  18          MR. BEASLEY: If I don't, they -- if I don't,
 19          FBI AGENT ADAM: Do you want to hear his           19   they have nothing.
 20   message?                                                 20          FBI AGENT ADAM: Possessions can be replaced,
 21          MR. BEASLEY: No, I can't.                         21   Matt, you cannot.
 22          FBI AGENT ADAM: Well, he really wants you to      22          MR. BEASLEY: No, they'll be on fucking
 23   hear it. He keeps telling us to play it.                 23   welfare.
 24          MR. BEASLEY: Play it then, that's fine.           24          FBI AGENT ADAM: People go from little to a
 25          FBI AGENT ADAM: Okay. Let me know if you          25   lot every single day. The kids will get older, and


                                                 Page 103                                                    Page 105
  1   can hear it, okay?                                        1   they'll get jobs, they'll work. Matt, your family is
  2          MR. BEASLEY: Okay.                                 2   not worried about the money, they're not worried about
  3          MATT: (Recorded message.) Hey, Dad. It's           3   the house, they're worried about you. Didn't you hear
  4   me, Matt. Me,         and          are waiting for you    4   that?
  5   outside. I love you and need you to come out.             5           MR. BEASLEY: It doesn't matter.
  6   (Inaudible) and everything is going to be okay.           6           FBI AGENT ADAM: You raised good, hardworking
  7          MR. BEASLEY: It's not.                             7   kids. Be there for them.
  8          FBI AGENT ADAM: Yes, it will. Did you hear         8           MR. BEASLEY: Tell my wife I love her,
  9   that? Did you hear how much he loved you? Did you         9   please, and tell my boys I love them, please.
 10   hear his voice?                                          10           FBI AGENT ADAM: Matt, Matt, I want you to
 11          MR. BEASLEY: It's not going to be okay. It        11   tell them that. Don't make me tell them that, please.
 12   can't be okay. There's now way this turns out good,      12   You are here to tell them that.
 13   absolutely no fucking way.                               13           MR. BEASLEY: Please. They need to know that
 14          FBI AGENT ADAM: It turns out good if they         14   I really do.
 15   get to see you. If you come out and take care of         15           FBI AGENT ADAM: And they --
 16   yourself, they get to see you. That makes it good.       16           MR. BEASLEY: I regret -- I regret what a
 17          MR. BEASLEY: It's not good.                       17   fuck up I was, but they are the only thing that matters
 18          FBI AGENT ADAM: You heard Matt, you heard         18   to me.
 19   what he wants. I didn't tell him to say that. That is    19           FBI AGENT ADAM: And if they -- okay. And if
 20   what he feels in his heart.                              20   that's true show them that by coming out.
 21          MR. BEASLEY: No.                                  21           MR. BEASLEY: I can't.
 22          FBI AGENT ADAM: He and his brothers want to       22           FBI AGENT ADAM: Actions matter so much,
 23   see you, Matt.                                           23   Matt, bigger than words, Matt.
 24          MR. BEASLEY: I can't.                             24           MR. BEASLEY: Do you understand why that if I
 25          FBI AGENT ADAM: Yes, you can. Be strong for       25   come out, they have nothing. If I die, they get



                                                                             27 (Pages 102 to 105)
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                                              Page 106                                                      Page 108
  1   something.                                                1           MR. BEASLEY: I am. I'm not stupid.
  2          FBI AGENT ADAM: They might get some money,         2           FBI AGENT ADAM: No, you're a smart lawyer
  3   Matt, but they don't have their father. Matt, your        3   but that doesn't mean you're not going to get out if
  4   family does not --                                        4   you even do go to jail. You're not going to jail
  5          MR. BEASLEY: They would have nothing. They         5   today, Matt. And your -- your mom just arrived.
  6   don't need their father; they need to be able to feed     6           MR. BEASLEY: Oh, for fuck's sake.
  7   themselves.                                               7           FBI AGENT ADAM: She's worried about you too.
  8          FBI AGENT ADAM: They don't think that.             8   What's your mom's name?
  9   They're concerned about your life, not what happens to    9           MR. BEASLEY: Violet. Just tell her to go
 10   the house, or to the cars, or to the houses. They're     10   home.
 11   worried about their father, their husband. Figure it     11           FBI AGENT ADAM: Okay. Matt, if you want me
 12   out as a family.                                         12   to tell her that I got go on pause for just a second,
 13          MR. BEASLEY: Fuck me.                             13   okay? But if I go tell her --
 14          FBI AGENT ADAM: Don't leave them -- don't         14           MR. BEASLEY: Tell everybody -- tell my son I
 15   leave them like that. You say you leave them with        15   listened to his message and --
 16   nothing if you don't kill yourself, well if you kill     16           FBI AGENT ADAM: Okay, I'm sorry, I
 17   yourself, you leave them with nothing.                   17   interrupted you. What did you say?
 18          MR. BEASLEY: Oh, my --                            18           MR. BEASLEY: (Inaudible.)
 19          FBI AGENT ADAM: You leave -- you leave them       19           FBI AGENT ADAM: What?
 20   with a lasting image of the dad who killed himself       20           MR. BEASLEY: Tell my son I listened to his
 21   because he didn't want to work through things with       21   message and to please go to his mom's -- to where his
 22   them. You leave them the lasting image of their father   22   mom's at.
 23   in a body bag. Don't do that to them.                    23           FBI AGENT ADAM: Okay. But Matt, I'm not his
 24          MR. BEASLEY: No.                                  24   father. I can't make him do anything. But if you
 25          FBI AGENT ADAM: Please.                           25   really want me to go tell him you got to promise me


                                              Page 107                                                      Page 109
  1          MR. BEASLEY: No, I have to.                        1   you'll be here when I -- after I go tell him.
  2          FBI AGENT ADAM: No, you don't.                     2          MR. BEASLEY: No, I'll be here when you get
  3          MR. BEASLEY: I fucking do. Tel them I love         3   back, I'll be here when you get back.
  4   the, please. I really do.                                 4          FBI AGENT ADAM: You promise me?
  5          FBI AGENT ADAM: I know you do, but show them       5          MR. BEASLEY: Yes.
  6   yourself.                                                 6          FBI AGENT ADAM: Okay. You promise your kids
  7          MR. BEASLEY: I fucking love them.                  7   you'll be here when I get back?
  8          FBI AGENT ADAM: Matt, show them that. Today        8          MR. BEASLEY: Yes, I'll be here.
  9   is about recovery --                                      9          FBI AGENT ADAM: Okay. Why don't we do this,
 10          MR. BEASLEY: I fucking love them more than        10   why don't we -- how long do you want me --
 11   anything.                                                11          MR. BEASLEY: Everybody needs to go.
 12          FBI AGENT ADAM: -- your redemption. And           12          FBI AGENT ADAM: Okay. How long do you want
 13   they love you more than anything and that's why they     13   me to give you before I come back?
 14   want to see you come out. They want to see you come      14          MR. BEASLEY: How long does it take to tell
 15   out alive, Matt, not in a body bag.                      15   him to go?
 16          MR. BEASLEY: Why, so they can go fucking          16          FBI AGENT ADAM: I'm not sure where he is.
 17   visit me in fucking prison?                              17   I'm going to have to go find him.
 18          FBI AGENT ADAM: They want to see you and be       18          MR. BEASLEY: Okay.
 19   around you.                                              19          FBI AGENT ADAM: I'm sitting in a car with --
 20          MR. BEASLEY: I don't --                           20   talking to you. How about five minutes, okay?
 21          FBI AGENT ADAM: Matt, again, no one is going      21          MR. BEASLEY: Where -- okay.
 22   to prison.                                               22          FBI AGENT ADAM: Yes or no?
 23          MR. BEASLEY: I am.                                23          MR. BEASLEY: Don't leave me for five --
 24          FBI AGENT ADAM: No one is getting arrested        24   don't leave me for five minutes.
 25   today.                                                   25          FBI AGENT ADAM: Okay. Well, I'll leave you



                                                                             28 (Pages 106 to 109)
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  1   for just a minute if you promise nothing happens.          1          MR. BEASLEY: Nothing good.
  2           MR. BEASLEY: Where are you parked?                 2          FBI AGENT ADAM: Nope, Matt, that doesn't
  3           FBI AGENT ADAM: I'm around the corner              3   count. I'm not going if that's what you're going to
  4   outside of the neighborhood.                               4   tell me.
  5           MR. BEASLEY: Oh, the gated neighborhood?           5          MR. BEASLEY: Yeah, yeah, yeah, I promise.
  6           FBI AGENT ADAM: Yes, sir.                          6          FBI AGENT ADAM: Promise me and promise your
  7           MR. BEASLEY: Okay. I was just curious. I'm         7   kids that nothing will happen while I get off the phone
  8   sorry.                                                     8   with you.
  9           FBI AGENT ADAM: No, you're good. I'm happy         9          MR. BEASLEY: I promise, I promise.
 10   to --                                                     10          FBI AGENT ADAM: Okay, I'll call you back in
 11           MR. BEASLEY: I ask a lot of stupid                11   just a couple minutes. Okay, Matt?
 12   questions. I apologize.                                   12          MR. BEASLEY: Okay.
 13           FBI AGENT ADAM: You're okay, Matt, you're         13          FBI AGENT ADAM: Okay. Thank you, Matt.
 14   okay. You know what, I'll be here to talk with you if     14   Talk to you soon.
 15   you come out, when you come out.                          15          (End of audio file.)
 16           MR. BEASLEY: I'm not coming out.                  16                  *****
 17           FBI AGENT ADAM: I want to meet you. I want        17
 18   to get to know you. I want to talk to you.                18
 19           MR. BEASLEY: Why would you, why would you?        19
 20   You're here because I'm a fuck up.                        20
 21           FBI AGENT ADAM: No, I'm here because I care       21
 22   about you. Matt, this isn't something I was told do,      22
 23   this is something I volunteered for. I volunteered to     23
 24   come talk to you because I'm worried about your safety.   24
 25   You're a good man. All you've said is how you're sorry    25


                                                Page 111                                                          Page 113
  1   to me, you're sorry to the agents, you're sorry to your    1            TRANSCRIBER'S CERTIFICATE
  2   family. That means you're a good man.                      2
  3          MR. BEASLEY: Where is my son?                       3   I, Cheryl Shifflett, hereby certify that the foregoing
  4          FBI AGENT ADAM: He's outside, but I haven't         4   transcript is a complete, true and accurate
  5   gone to talk to him because --                             5   transcription of all matters contained on the recorded
  6          MR. BEASLEY: Is he, like, outside where             6   proceedings in the matter of project name:
  7   you're at?                                                 7   22030206.mp3.
  8          FBI AGENT ADAM: I'm not sure. I do not know         8
  9   what's going on outside, outside. I can go look and        9
 10   call you back.                                            10
 11          MR. BEASLEY: Are you (inaudible)?                  11
 12          FBI AGENT ADAM: I'm sorry, you broke up.           12
 13   What did you say?                                         13
 14          MR. BEASLEY: Are you in a van or something         14            ______________________________________
 15   or you said you're sitting in car. Why can't you just     15            Transcriber
 16   look out the car window?                                  16
 17          FBI AGENT ADAM: Yeah, I'm in a van. It's a         17
 18   car.                                                      18
 19          MR. BEASLEY: Oh, okay. Tel them all to go          19
 20   home, please.                                             20
 21          FBI AGENT ADAM: Okay, but I got to get off         21
 22   here to do that.                                          22
 23          MR. BEASLEY: Okay.                                 23
 24          FBI AGENT ADAM: All right. You promise             24
 25   nothing is going to happen while I'm gone?                25



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                   Exhibit 3
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From:              John Sellers
To:                Abbott, Laurie E; Ostler, Joni
Subject:           Jeffrey Judd
Date:              Friday, March 25, 2022 12:31:09 PM



CAUTION: This email originated from outside of the organization. Do not click links or open
attachments unless you recognize the sender and know the content is safe.

Laurie and Joni,

Thank you for speaking with me on the phone today regarding the subpoena served on J&J
Consulting/Purchasing and Jeffrey Judd. I am one of several attorneys representing Jeffrey
Judd. We are seeking an extension of time to comply with the subpoena for next Friday, with
your permission.

As I stated on the telephone, Jeffrey Judd has opened two new accounts at US Bank (account
numbers             4223 and            4207) Here is the information we provided to the US
Attorney's Office:

       Funding. Consistent with my practice of dialoguing with other AUSAs, I would like
       the government to know that Jeff is in the process of opening two new accounts: one,
       an “IRS Account” to pay his 2021 taxes; two, a “Potential Victim Fund” account. As
       we learn more about what might have happened, Jeff is dedicated to funding these
       accounts through liquidation of assets and personal contributions as a sign of good
       faith, because he cares about his investors and would never want them to suffer harm.



       Cars. In the context of funding, Jeff would also like to sell his cars to put the proceeds
       into the PVF account.



       Airplane. I also would like you to know that Jeff co-owns an airplane. Since last week,
       he is no longer using this airplane himself, but chartering it out. There is no flight risk
       associated with that plane. We are happy to provide more information if so desired. Jeff
       will also not travel outside the Continental United States and only fly commercially.

Properties to be sold, with all proceeds deposited into US Bank:

521 Angelita Drive, Corona Del Mar, CA 92625 (already sold)
599 N Red Mountain Court Heber City UT (already sold)
2314 E. La Sal Peak Drive (land) Heber City UT 84032 (under contract for sale)
9 Sky Arc Court Henderson NV 89012 (listing is pending)
8 Twisted Rock Henderson NV 89012 (land) (listing is pending)

2021 Bentley GT convertible
2020 Rolls Royce Dawn
2022 Rolls Royce Cullinan
2019 Ferrari 812 Superfast

I have volunteered to supervise the sale of the real properties to ensure they are marketed at
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full fair market value and are sold in arms-length transactions. I will provide the government
with copies of the transaction documents and proof of funds being deposited into one of the
two US Bank accounts. We are in the process of seeking a valuation of the vehicles to
determine a reasonable sale price.

Please feel free to call me with any questions.

John Sellers, Esq.
540.878.0063
cco.wcamls@gmail.com
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                   Exhibit 4
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                   Exhibit 5
4/11/22, 1:16 PM                       Case 2:22-cv-00612-CDS-EJY    Document
                                                               9 Sky Arc             2-5
                                                                         Ct, Henderson,     Filed| MLS#
                                                                                        NV 89012    04/13/22      Page 87 of 337
                                                                                                        2381991 | Redfin


             City, Address, Schoo…                         Buy ▾        Sell ▾    Rent     Mortgage ▾   Real Estate Agents ▾   Feed           Log In       Sign Up




     PENDING




         Street View                                                                                                                            See all 42 photos


      Search       Overview         Property Details         Sale & Tax History          Schools
 9 Sky Arc Ct, Henderson, NV 89012

 $6,700,000                                              5                5.5             6,330
 Est. $34,110/mo Get a custom quote                      Beds             Baths           Sq Ft
                                                                                                                           Sale pending
                                                                                                                           The seller has accepted an offer, and this
                                                                                                                           property is now pending or under
 About This Home                                                                                                           contract.


 New American Home from 2020 built by Sun West Homes! There is 7,000 square feet of air
 conditioned space, which includes a Garage/Flex space with wet bar. Interior and Exterior design
 welcomes you to tranquil waves and water flowing art. The magic of the design in the living spaces

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https://www.redfin.com/NV/Henderson/9-Sky-Arc-Ct-89012/home/166426842                                                                                                1/18
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                                                               9 Sky Arc             2-5
                                                                         Ct, Henderson,     Filed| MLS#
                                                                                        NV 89012    04/13/22      Page 88 of 337
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 Home Facts


 Status                                        Pending                  Time on Redfin                            15 days

 Property Type                    Residential, Single                   HOA Dues                       $680/month
                                   Family Residence

 Year Built                                        2019                 Style                              One Story

 Community                       Crystal Ridge-Amd                      Lot Size                          0.46 Acres

 MLS#                                         2381991


 Price Insights


 Est. Mo. Payment                              $34,110                  Price/Sq.Ft.                              $1,058



                                                                                       Street View   Directions




                                                                                                        Report a map©2022
                                                                                                         Map data    error




https://www.redfin.com/NV/Henderson/9-Sky-Arc-Ct-89012/home/166426842                                                              2/18
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                                                               9 Sky Arc             2-5
                                                                         Ct, Henderson,     Filed| MLS#
                                                                                        NV 89012    04/13/22      Page 89 of 337
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 Payment Calculator

 $34,110 per month                                                                              Find a Lender




     Principal and Interest                                                                            $28,006

     Property Taxes                                                                                      $3,694

     HOA Dues                                                                                             $680

     Homeowners' Insurance                                                                                $1,731
 Down         Home Price                                                Loan
 Payment      $6,700,000                                                Details
 20%                                                                    30 yr,
 ($1,340,000)                                                           4.764%




Down Payment
Cash

 $1,340,000             20%




Have a home to sell?
https://www.redfin.com/NV/Henderson/9-Sky-Arc-Ct-89012/home/166426842                                                              3/18
4/11/22, 1:16 PM                        Case 2:22-cv-00612-CDS-EJY    Document
                                                                9 Sky Arc             2-5
                                                                          Ct, Henderson,     Filed| MLS#
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    Add my home equity



Cash               $1,340,000
Home Equity                    $0



Total      $1,340,000
Down:      (20%)

Down payment assistance
programs may lower the up-
front cost of buying. Learn
more.




 Nearby Similar Homes

    NEW CONSTRUCTION       VIDEO TOUR                              NEW CONSTRUCTION        3D WALKTHROUGH




    $5,600,000                                                     $4,300,000
    5 Beds 6.5 Baths 6,789 Sq. Ft.                                 3 Beds 5 Baths 7,290 Sq. Ft.
     713 D        P kD H d           NV 89012                       1687 T   i   D H   d       NV 89012
https://www.redfin.com/NV/Henderson/9-Sky-Arc-Ct-89012/home/166426842                                                               4/18
4/11/22, 1:16 PM                         Case 2:22-cv-00612-CDS-EJY    Document
                                                                 9 Sky Arc             2-5
                                                                           Ct, Henderson,     Filed| MLS#
                                                                                          NV 89012    04/13/22      Page 91 of 337
                                                                                                          2381991 | Redfin
    713 Dragon Peak Dr, Henderson, NV 89012                         1687 Tangiers Dr, Henderson, NV 89012

     Pool      Yard     Garage      Hardwood Floor                      Garage    Fireplace     Hardwood Floor        Deck




 Property Details for 9 Sky Arc Ct

   Virtual Tour, Homeowners Association, School / Neighborhood, Taxes / Assessments

    Virtual Tour                                                    Association Amenities: Clubhouse, Fitness Center, Gated,
       Virtual Tour Unbranded 1 (External Link)                     Pool, Guard

    HOA Information                                              School
       Has Home Owners Association                                  Elementary School: Twitchell Neil C,Twitchell Neil C
       Association Name: Terra West                                 Middle Or Junior School: Miller Bob
       Association Fee: $680                                        High School: Foothill
       Monthly                                                   Tax Information
       Association Fee Includes: Security                           Annual Amount: $44,327


   Interior Features

    Bedroom Information                                          Room 4 Information
       # of Bedrooms Possible: 6                                    Master Bedroom

    Bathroom Information                                            Description: Ceiling Fan

       # of Full Bathrooms: 2                                       Dimensions: 16x17

       # of Three Quarter Bathrooms: 3                           Laundry Information
       # of Half Bathrooms: 1                                       Features: Main Level

    Room Information                                             Fireplace Information
       # of Rooms (Total): 4                                        Has Fireplace
                                                                    # of Fireplaces: 1
    Room 1 Information
       Kitchen                                                      Features: Gas, Great Room

       Description: Breakfast Bar/Counter                        Equipment
                                                                    Appliances: Some Gas Appliances, Built-In Gas Oven,
    Room 2 Information
                                                                    Dryer, Disposal, Gas Dryer, Gas Range, Microwave,
       Bedroom 3
                                                                    Plumbed For Gas, Refrigerator, Washer
       Description: Ceiling Fan
https://www.redfin.com/NV/Henderson/9-Sky-Arc-Ct-89012/home/166426842                                                                5/18
4/11/22, 1:16 PM                          Case 2:22-cv-00612-CDS-EJY    Document
                                                                  9 Sky Arc             2-5
                                                                            Ct, Henderson,     Filed| MLS#
                                                                                           NV 89012    04/13/22      Page 92 of 337
                                                                                                           2381991 | Redfin

       Dimensions: 10x12                                            Interior Features
                                                                      Window Features: Blinds, Double Pane Windows, Drapes,
    Room 3 Information                                                Insulated Windows, Low Emissivity Windows
       Bedroom 2
                                                                      Flooring: Carpet, Concrete, Ceramic Tile, Tile
       Description: Custom Closet
                                                                      Other Features: Bedroom on Main Level, Ceiling Fan(s),
       Dimensions: 13x11                                              Master Downstairs



   Parking / Garage

    Garage/Carport Information                                      Parking
       Has Garage                                                     Features: Air Conditioned Garage, Attached, Epoxy
       Has Attached Garage                                            Flooring, Garage

       # of Garage Spaces: 4

   Exterior Features

    Building Information                                              Fencing: Back Yard, Wrought Iron
       Stories: 1
                                                                    Green Features
       Year Built Details: RESALE
                                                                      Green Energy Efficient: Solar Panel(s), Windows, HVAC
       Roof Details: Flat
                                                                    Pool Information
       Construction Details: Drywall
                                                                      Has Private Pool
    Exterior Features                                                 Pool Features: Gas Heat, Heated, Negative Edge,
       Exterior Features: Built-in Barbecue, Barbecue, Courtyard,     Community
       Patio, Sprinkler/Irrigation
                                                                      Has Spa
       Patio And Porch Features: Covered, Patio
       Security Features: Security System Owned

   Utilities

    Utility Information                                             Heating & Cooling
       Utilities: High Speed Internet Available, Underground          Has Cooling
       Utilities                                                      Cooling: Central Air, Electric, High Efficiency, 2 Units
       Electric: Photovoltaics Seller Owned                           Has Heating
       Sewer: Public Sewer                                            Heating: Central, Gas, High Efficiency, Multiple Heating
       Water Source: Public                                           Units, Zoned


   Property / Lot Details

    Lot Information                                                 Property Information
       Lot Size Area: 0.46                                            Has View
       Lot Size Acres: 0.46                                           Direction Faces: South
       Lot Features: 1/4 to 1 Acre Lot, Drip Irrigation/Bubblers,     Resale
https://www.redfin.com/NV/Henderson/9-Sky-Arc-Ct-89012/home/166426842                                                                 6/18
4/11/22, 1:16 PM                        Case 2:22-cv-00612-CDS-EJY    Document
                                                                9 Sky Arc             2-5
                                                                          Ct, Henderson,     Filed| MLS#
                                                                                         NV 89012    04/13/22      Page 93 of 337
                                                                                                         2381991 | Redfin
       Desert Landscaping, Landscaped                               Zoning Description: Single Family



   Location Details

    Community Information                                        Location Information
       Community Features: Pool                                     Distance To Sewer Comments: Public
                                                                    Distance To Water Comments: Public


 Details provided by GLVAR and may not match the public record. Learn more.




 Sale & Tax History for 9 Sky Arc Ct


 Sale History      Tax History


       Today

       Apr 7, 2022                           Pending                               —
       Date                                  GLVAR #2381991                        Price


       Apr 5, 2022                           Relisted (Active)                     —
       Date                                  GLVAR #2381991                        Price


       Mar 29, 2022                          Pending                               —
       Date                                  GLVAR #2381991                        Price


       Mar 27, 2022                          Listed (Active)                       $6,700,000
       Date                                  GLVAR #2381991                        Price




       Mar, 2022

https://www.redfin.com/NV/Henderson/9-Sky-Arc-Ct-89012/home/166426842                                                               7/18
4/11/22, 1:16 PM                        Case 2:22-cv-00612-CDS-EJY    Document
                                                                9 Sky Arc             2-5
                                                                          Ct, Henderson,     Filed| MLS#
                                                                                         NV 89012    04/13/22      Page 94 of 337
                                                                                                         2381991 | Redfin

       Mar 22, 2022                           Listed (Active)                      *
       Date                                   GLVAR #2380325                       Price




       See all property history




 Schools

 GreatSchools Summary Rating



                    John Vanderburg Elementary …                        951            2.3mi
       9/10         Public, PreK-5 • Serves this home                   Students       Distance   42 reviews




                    Neil C Twitchell Elementary S…                      938            2.4mi
       8/10
                    Public, PreK-5 • Serves this home                   Students       Distance   20 reviews




                    Bob Miller Middle School                            1629           2.5mi
       7/10         Public, 6-8 • Serves this home                      Students       Distance   25 reviews




                    Foothill High School                                2720           5.1mi
       5/10
                    Public, 9-12 • Serves this home                     Students       Distance   11 reviews




https://www.redfin.com/NV/Henderson/9-Sky-Arc-Ct-89012/home/166426842                                                               8/18
4/11/22, 1:16 PM                         Case 2:22-cv-00612-CDS-EJY    Document
                                                                 9 Sky Arc             2-5
                                                                           Ct, Henderson,     Filed| MLS#
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                                                                                                          2381991 | Redfin


 School data is provided by GreatSchools, a nonprofit organization. Redfin recommends buyers use GreatSchools information and
 ratings as a first step, and conduct their own investigation to determine their desired schools or school districts, including by
 contacting and visiting the schools themselves. Learn more about GreatSchools’ rating system.

 Redfin does not endorse or guarantee this information. School service boundaries are intended to be used as a reference only; they
 may change and are not guaranteed to be accurate. To verify school enrollment eligibility, contact the school district directly.

 Schools don’t impact everyone equally. Learn more about the achievement gap.




 Around This Home

 Transportation in 89012




                     0 / 100                                      0 / 100
                     Car-Dependent                                Minimal Transit
                     Walk Score®                                  Transit Score®




              Places Nearby
              8 groceries, 50 restaurants, 13 parks




 Activity for 9 Sky Arc Ct


https://www.redfin.com/NV/Henderson/9-Sky-Arc-Ct-89012/home/166426842                                                                 9/18
4/11/22, 1:16 PM                       Case 2:22-cv-00612-CDS-EJY    Document
                                                               9 Sky Arc             2-5
                                                                         Ct, Henderson,     Filed| MLS#
                                                                                        NV 89012    04/13/22      Page 96 of 337
                                                                                                        2381991 | Redfin

             1,254                            41                               0                 0
                 Views                      Favorites                         X-Outs         Redfin Tours




 Public Facts for 9 Sky Arc Ct


 Beds                                                       4    Lot Size                             0.46 Acres


 Baths                                                     5.5   Style                 Single Family Residential


 Finished Sq. Ft.                                        6,330   Year Built                                 2019


 Unfinished Sq. Ft.                                         —    Year Renovated                             2020


 Total Sq. Ft.                                           6,330   County                            Clark County


 Stories                                                     1   APN                             17833610039

 Home facts updated by county records on Mar 16, 2022.




 Climate Risk
 About Climate Risk
 Most homes have some risk of natural disasters, and may be impacted by climate change due to
 rising temperatures and sea levels.

 Flood Risk Provided by First Street Foundation
https://www.redfin.com/NV/Henderson/9-Sky-Arc-Ct-89012/home/166426842                                                              10/18
4/11/22, 1:16 PM                         Case 2:22-cv-00612-CDS-EJY    Document
                                                                 9 Sky Arc             2-5
                                                                           Ct, Henderson,     Filed| MLS#
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                                                                                                          2381991 | Redfin
 Flood Risk        o ded by      s S ee      ou da o

 Environmental Risks Provided by ClimateCheck


             Storm Risk
             Relatively Low - 13 storms expected in 2050




             Drought Risk
             Extreme - Water stress expected to be 154% in 2050




             Heat Risk
             High - 39 hot days expected in 2050




             Fire Risk
             Relatively Low - 0% of land expected to burn in 2050




 Climate risk data is provided for informational purposes only by Flood Factor™ and ClimateCheck®.

 Redfin does not endorse nor guarantee this information. By providing this information, Redfin and its agents are not providing
 advice or guidance on flood risk, flood insurance, or other climate risks. Redfin strongly recommends that consumers
 independently investigate the property’s climate risks to their own personal satisfaction.

 Questions or feedback about this data? Get help at floodfactor.com and climatecheck.com




 Redfin Estimate for 9 Sky Arc Ct

 We cannot show automated home-value estimates for this home. Learn More
https://www.redfin.com/NV/Henderson/9-Sky-Arc-Ct-89012/home/166426842                                                                11/18
4/11/22, 1:16 PM                       Case 2:22-cv-00612-CDS-EJY    Document
                                                               9 Sky Arc             2-5
                                                                         Ct, Henderson,     Filed| MLS#
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 Nearby Homes have recently sold between $1,328,000 to $4,600,000.


        SOLD JAN 3, 2022   3D WALKTHROUGH                               SOLD APR 19, 2021




       $4,600,000 Sold Price                                A           $1,945,000 Last Sold Price           B

       4 Beds 4.5 Baths 5,771 Sq. Ft.                                   6 Beds 6.5 Baths 6,542 Sq. Ft.
       686 Tranquil Rim Ct, Henderson, NV 89012                         786 Bolle Way, Henderson, NV 89012


         – $261/sq ft                                                    – $761/sq ft
            smaller lot                                                     smaller lot

                                                                            7 years older




 View comparables on map




 Market Insights for 9 Sky Arc Ct
 Based on homes from MLS and/or public records


 Redfin      Nevada        Henderson        89012
https://www.redfin.com/NV/Henderson/9-Sky-Arc-Ct-89012/home/166426842                                                              12/18
4/11/22, 1:16 PM                        Case 2:22-cv-00612-CDS-EJY    Document
                                                                9 Sky Arc             2-5
                                                                          Ct, Henderson,     Filed| MLS#
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 Redfin      Nevada        Henderson        89012

 Single-Family Home Sales (Last 30 days)



     Ascaya        Neighborhood



     $9.75M                       105                           5
     Median List Price            Median Days on Mkt.           # Listed Homes

     $954                         96.8%                         1
     Median $ / Sq. Ft.           Median Sale-to-List           # Sold Homes




 Market Competition in Henderson
 Calculated over the last 3 months
            Somewhat Competitive
 65         Redfin Compete Score™

 0                                                                                                           100

 • Some homes get multiple offers.
 • The average homes sell for around list price and go pending in around 27 days.
 • Hot homes can sell for about 3% above list price and go pending in around 7 days.

     Compare to nearby Cities




 Nearby Similar Homes
 Homes similar to this home are listed between $435K to $6,000K at an average of $610 per square foot.


https://www.redfin.com/NV/Henderson/9-Sky-Arc-Ct-89012/home/166426842                                                               13/18
4/11/22, 1:16 PM                        Case 2:22-cv-00612-CDS-EJY
                                                                9 Sky Document       2-5NV 89012
                                                                      Arc Ct, Henderson,   Filed| MLS#
                                                                                                  04/13/22
                                                                                                       2381991 |Page
                                                                                                                Redfin 100 of 337

    NEW CONSTRUCTION       VIDEO TOUR                             NEW CONSTRUCTION         3D WALKTHROUGH




    $5,600,000                                                    $4,300,000                                     $3,399,999
    5 Beds 6.5 Baths 6,789 Sq. Ft.                                3 Beds 5 Baths 7,290 Sq. Ft.                   5 Beds 5.5 Baths 4,495 Sq. Ft.
    713 Dragon Peak Dr, Henderson, NV 89012                       1687 Tangiers Dr, Henderson, NV 89012          2184 Skyline Heights Ln, Henderson, NV 89052

     Pool      Yard    Garage      Hardwood Floor                   Garage     Fireplace      Hardwood Floor      Garage     Deck     Central Air      Spa




    $5,999,999                                                    $4,750,000                                     $434,500
    6 Beds 5.5 Baths 6,078 Sq. Ft.                                4 Beds 5 Baths 7,122 Sq. Ft.                   2 Beds 2 Baths 1,277 Sq. Ft.
    14 Sanctuary Peak Ct, Henderson, NV 89012                     580 Saint Croix St, Henderson, NV 89012        590 Mountain Links Dr, Henderson, NV 89012

     Pool      Yard    Garage      Deck     Central Air             Pool     Yard    Garage      Fireplace        Pool     Garage     Hardwood Floor




https://www.redfin.com/NV/Henderson/9-Sky-Arc-Ct-89012/home/166426842                                                                                           14/18
4/11/22, 1:16 PM                      Case 2:22-cv-00612-CDS-EJY
                                                              9 Sky Document       2-5NV 89012
                                                                    Arc Ct, Henderson,   Filed| MLS#
                                                                                                04/13/22
                                                                                                     2381991 |Page
                                                                                                              Redfin 101 of 337


                                                                                  View More Homes




 Nearby Recently Sold Homes
 Nearby homes similar to this home have recently sold between $1,510K to $6,025K at an average of $640 per square foot.



    SOLD JAN 12, 2022                                              SOLD MAR 11, 2022                                      SOLD JAN 3, 2022   3D WALKTHROUGH




    $6,025,000 Last Sold Price                                    $2,220,000 Last Sold Price                              $4,600,000 Last Sold Price
    5 Beds 5.5 Baths 6,318 Sq. Ft.                                5 Beds 5.5 Baths 6,799 Sq. Ft.                          4 Beds 4.5 Baths 5,771 Sq. Ft.
    21 Boulderback Dr, Henderson, NV 89012                        1797 Valenzano Way, Henderson, NV 89012                 686 Tranquil Rim Ct, Henderson, NV 89012

     Pool      Garage     Deck     Central Air                      Yard      Garage     Central Air    Stucco             Pool     Garage     Central Air    Stucco




                                                                           View More Recently Sold Homes




 More Real Estate Resources
 New Listings in 89012


https://www.redfin.com/NV/Henderson/9-Sky-Arc-Ct-89012/home/166426842                                                                                                  15/18
4/11/22, 1:16 PM                      Case 2:22-cv-00612-CDS-EJY
                                                              9 Sky Document       2-5NV 89012
                                                                    Arc Ct, Henderson,   Filed| MLS#
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 1806 Eagle Village Ave

 251 S Green Valley Pkwy #2814

 590 Mountain Links Dr

 8 Wanderlust Ct

 122 Humphreys Peak Ct

 1943 Buckeye Hill Ct

 Show More


 Neighborhoods

 Seven Hills homes for sale

 South Las Vegas homes for sale

 Green Valley Ranch homes for sale

 Anthem homes for sale

 Southern Highlands homes for sale


 Nearby Cities

 Goodsprings homes for sale

 North Las Vegas homes for sale

 Summerlin South homes for sale

 Whitney homes for sale

 Las Vegas homes for sale

 Spring Valley homes for sale

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 Zip Codes
https://www.redfin.com/NV/Henderson/9-Sky-Arc-Ct-89012/home/166426842                                                             16/18
4/11/22, 1:16 PM                      Case 2:22-cv-00612-CDS-EJY
                                                              9 Sky Document       2-5NV 89012
                                                                    Arc Ct, Henderson,   Filed| MLS#
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 89123 homes for sale

 89141 homes for sale

 89183 homes for sale

 89074 homes for sale

 89052 homes for sale


 Popular Searches

 Homes with pools in Henderson

 Single story homes in Henderson

 New listings in Henderson

 Cheap homes in Henderson

 Luxury homes in Henderson

 New homes in Henderson

 Show More




 Frequently Asked Questions for 9 Sky Arc Ct

 What is 9 Sky Arc Ct?                                                                    When was this home built and last sold?


 How many photos are available for this home?                                             How competitive is the market for this home?


 How long has this home been listed on Redfin?                                            What’s the full address of this home?


https://www.redfin.com/NV/Henderson/9-Sky-Arc-Ct-89012/home/166426842                                                                    17/18
4/11/22, 1:16 PM                      Case 2:22-cv-00612-CDS-EJY
                                                              9 Sky Document       2-5NV 89012
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                                                                                                           at 1-844-759-7732.



       GreatSchools Ratings provided by GreatSchools.org.




https://www.redfin.com/NV/Henderson/9-Sky-Arc-Ct-89012/home/166426842                                                                                                    18/18
4/11/22, 12:40 PMCase   2:22-cv-00612-CDS-EJY     Document
                                          8 Twisted              2-5 NV
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         Search


          Search         Overview          Property Details           Sale & Tax History    Schools




         Street View



8 Twisted Rock Ct, Henderson, NV 89012

$2,700,000                                                    —              —             1.17
Est. $13,002/mo Get a custom                                  Beds           Baths         Acres
quote                                                                                      (Lot)



Price Drop
List price was lowered by $250K. Tour it in person or via video chat before it's gone!

Today: 2:00 pm • 3:00 pm • 4:00 pm • 5:00 pm • 6:00 pm • More times




About This Home

The view corridor from this lot is perfection! Very large lot at 50,574 s. f. with a building envelope
of 26,834 s. f. One of the very few opportunities left in the Las Vegas valley to have this
unobstructed view on a very large homesite in the exclusive Ascaya neighborhood.
Listed by Robyn Gajjar • Corcoran Global Living
Redfin last checked: just now | Last updated Apr 8, 2022
                                                                     • Source: GLVAR #2381992



Home Facts
https://www.redfin.com/NV/Henderson/8-Twisted-Rock-Ct-89012/home/166565564                                         1/21
4/11/22, 12:40 PMCase   2:22-cv-00612-CDS-EJY     Document
                                          8 Twisted              2-5 NV
                                                    Rock Ct, Henderson, Filed  04/13/22
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Status                                                                                                                    Active

Time on Redfin                                                                                                           15 days

Property Type                                                                                                              Land

HOA Dues                                                                                                      $680/month

Community                                                                                                Crystal Ridge-Amd

Lot Size                                                                                                          1.17 Acres

MLS#                                                                                                               2381992


Price Insights


List Price                                                                                                     $2,700,000

Est. Mo. Payment                                                                                                    $13,002

                                                                      Flood Factor: 1/10   Street View      Directions




                                                                                                               Report a map©2022
                                                                                                                Map data    error




                — min · Add a Commute

Ask Redfin Agent Leta a Question

                   Leta Abbott
                   Henderson Redfin Agent
                   Leta typically replies in about 5 minutes


  I'd like to know more about 8 Twisted Rock Ct.
https://www.redfin.com/NV/Henderson/8-Twisted-Rock-Ct-89012/home/166565564                                                     2/21
4/11/22, 12:40 PMCase   2:22-cv-00612-CDS-EJY     Document
                                          8 Twisted              2-5 NV
                                                    Rock Ct, Henderson, Filed  04/13/22
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                                                                                                | Redfin




                                                          Ask a Question


                                                  Text or call (818) 646-5382



 Payment Calculator

 $13,002 per month                                                                                        Find a Lender




     Principal and Interest                                                                                        $11,301

     Property Taxes                                                                                                  $323

     HOA Dues                                                                                                       $680

    Homeowners' Insurance                                                                                           $698
 Down       Home Price                                                       Loan
 Payment $2,700,000                                                          Details
 20%                                                                         30 yr,
 ($540,000)                                                                  4.776%




Down Payment

Cash

 $540,000                20%




Have a home to sell?

   Add my home equity



Cash                   $540,000
Home Equity                      $0
https://www.redfin.com/NV/Henderson/8-Twisted-Rock-Ct-89012/home/166565564                                             3/21
4/11/22, 12:40 PMCase   2:22-cv-00612-CDS-EJY     Document
                                          8 Twisted              2-5 NV
                                                    Rock Ct, Henderson, Filed  04/13/22
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                                                                                 | MLS# 2381992       108 of 337
                                                                                                | Redfin




Total       $540,000
Down:       (20%)

Down payment assistance
  rograms may lower the up-
 ront cost of buying. Learn
more.


 Open Houses

        No upcoming open houses


 Tour on your schedule with Redfin


      Tour in person

      Tour via video chat

 Today: 2:00 pm • 3:00 pm • 4:00 pm • 5:00 pm • 6:00 pm • More times

 Nearby Similar Homes

    VIDEO TOUR




   $5,900,000                                                                $908,000
   4 Beds 4.5 Baths 6,402 Sq. Ft.                                            — Beds — Baths — Sq. Ft.
   717 Dragon Peak Dr, Henderson, NV 89012                                   2 Sanctuary Peak Ct, Henderson, NV 89012

     Pool      Yard      Garage      Deck       Central Air



roperty Details for 8 Twisted Rock Ct

https://www.redfin.com/NV/Henderson/8-Twisted-Rock-Ct-89012/home/166565564                                              4/21
4/11/22, 12:40 PMCase   2:22-cv-00612-CDS-EJY     Document
                                          8 Twisted              2-5 NV
                                                    Rock Ct, Henderson, Filed  04/13/22
                                                                           89012             Page
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                                                                                                | Redfin


Virtual Tour, Homeowners Association, Taxes / Assessments, Location Details
Virtual Tour
    Virtual Tour Unbranded 1 (External Link)

HOA Information
    Has Home Owners Association
    Association Name: Terra West
    Association Fee: $680
    Monthly

Tax Information
    Annual Amount: $3,872

Location Information
    Distance To Electric Comments: Electric 0-200'
    Distance To Gas Comments: 0-200'
    Distance To Sewer Comments: Public
    Distance To Water Comments: Public 0-200'


Utilities
Utility Information
    Utilities: Electricity Available
    Sewer: Public Sewer
    Water Source: Not Connected (nearby), Public


Property / Lot Details
Lot Information
    Lot Size Area: 1.17
    Lot Size Acres: 1.17

Property Information
    Zoning Description: Single Family

Details provided by GLVAR and may not match the public record. Learn more.




ale & Tax History for 8 Twisted Rock Ct
https://www.redfin.com/NV/Henderson/8-Twisted-Rock-Ct-89012/home/166565564                                         5/21
4/11/22, 12:40 PMCase
                             y
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                                          8 Twisted              2-5 NV
                                                    Rock Ct, Henderson, Filed  04/13/22
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Sale History         Tax History


       Today

       Apr 8, 2022                               Price Changed                          $2,700,000
       Date                                      GLVAR #2381992                         Price


       Mar 27, 2022                              Listed (Active)                        $2,950,000
       Date                                      GLVAR #2381992                         Price




       Mar, 2022

       Mar 21, 2022                              Listed (Active)                        *
       Date                                      GLVAR #2380341                         Price




      See all property history


chools

GreatSchools Summary Rating



                     John Vanderburg Elementary …                            951            2.3mi
      9/10
                     Public, PreK-5 • Serves this home                       Students       Distance   42 reviews




                     Neil C Twitchell Elementary S…                          938            2.3mi
      8/10
                     Public, PreK-5 • Serves this home                       Students       Distance   20 reviews




                     Bob Miller Middle School                                1629           2.5mi
      7/10
                     Public, 6-8 • Serves this home                          Students       Distance   25 reviews




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                       Foothill High School                                  2720          5.0mi
      5/10
                       Public, 9-12 • Serves this home                       Students      Distance          11 reviews




School data is provided by GreatSchools, a nonprofit organization. Redfin recommends buyers use GreatSchools information and
ratings as a first step, and conduct their own investigation to determine their desired schools or school districts, including by
contacting and visiting the schools themselves. Learn more about GreatSchools’ rating system.

Redfin does not endorse or guarantee this information. School service boundaries are intended to be used as a reference only; they
may change and are not guaranteed to be accurate. To verify school enrollment eligibility, contact the school district directly.

Schools don’t impact everyone equally. Learn more about the achievement gap.




round This Home

Transportation in 89012




                       0 / 100                                       0 / 100
                       Car-Dependent                                 Minimal Transit
                       Walk Score®                                   Transit Score®




              Places Nearby
              8 groceries, 51 restaurants, 13 parks




ctivity for 8 Twisted Rock Ct



               161                                 4                                  0                          0
               Views                            Favorites                         X-Outs                     Redfin Tours




ublic Facts for 8 Twisted Rock Ct


Beds                                                                                                                                —

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Baths                                                                                                                      —


Finished Sq. Ft.                                                                                                           —


Unfinished Sq. Ft.                                                                                                         —


Total Sq. Ft.                                                                                                              —


Stories                                                                                                                    —


Lot Size                                                                                                           1.17 Acres


Style                                                                                                                  Other


Year Built                                                                                                             2021


Year Renovated                                                                                                             —


County                                                                                                       Clark County


APN                                                                                                        17833510037

Home facts updated by county records on Mar 16, 2022.




Climate Risk
About Climate Risk
Most homes have some risk of natural disasters, and may be impacted by climate change due to
rising temperatures and sea levels.

Flood Risk Provided by First Street Foundation


             Flood Factor
             Minimal - This property is unlikely to flood over the next 30 years.




Environmental Risks Provided by ClimateCheck


             Storm Risk
             Relatively Low - 13 storms expected in 2050

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             Drought Risk
             Extreme - Water stress expected to be 154% in 2050




             Heat Risk
             High - 39 hot days expected in 2050




             Fire Risk
             Relatively Low - 0% of land expected to burn in 2050




Climate risk data is provided for informational purposes only by Flood Factor™ and ClimateCheck®.

Redfin does not endorse nor guarantee this information. By providing this information, Redfin and its agents are not providing
advice or guidance on flood risk, flood insurance, or other climate risks. Redfin strongly recommends that consumers
independently investigate the property’s climate risks to their own personal satisfaction.

Questions or feedback about this data? Get help at floodfactor.com and climatecheck.com




edfin Estimate for 8 Twisted Rock Ct

  We cannot show automated home-value estimates for this home. Learn More


  Nearby Homes have recently sold between $1,320,000 to $2,982,750.


     SOLD FEB 28, 2022                                                       SOLD APR 1, 2022




     $1,540,000 Sold Price                                     A             $2,255,000 Sold Price                               B
https://www.redfin.com/NV/Henderson/8-Twisted-Rock-Ct-89012/home/166565564                                                           9/21
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     — Beds — Baths — Sq. Ft.                                                — Beds — Baths — Sq. Ft.
     6 Spellbound, Henderson, NV 89012                                       15 Stonecutter Ct, Henderson, NV 89012

         smaller lot                                                             smaller lot




View comparables on map




Nearby Similar Homes
Homes similar to this home are listed between $250K to $5,900K at an average of $655 per square foot.



    VIDEO TOUR




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   $5,900,000
   4 Beds 4.5 Baths 6,402 Sq. Ft.
   717 Dragon Peak Dr, Henderson, NV 89012

     Pool      Yard      Garage      Deck       Central Air      Stucco      Spa   Modern   Contemporary




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   $908,000
   — Beds — Baths — Sq. Ft.
   2 Sanctuary Peak Ct, Henderson, NV 89012




   $800,000
   — Beds — Baths — Sq. Ft.
   1141 Christian Rd, Henderson, NV 89002


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   $2,400,000
   — Beds — Baths — Sq. Ft.
   467 Cityview Ridge Dr, Henderson, NV 89012




    HOT HOME




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   $314,900
   — Beds — Baths — Sq. Ft.
   844 San Bruno Ave, Henderson, NV 89002




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   $1,100,000
   — Beds — Baths — Sq. Ft.
   3842 E Patrick Ln, Las Vegas, NV 89120




     View More Homes



Nearby Recently Sold Homes
Nearby homes similar to this home have recently sold between $185K to $5,500K at an average of $625 per square foot.


    SOLD MAR 11, 2022




https://www.redfin.com/NV/Henderson/8-Twisted-Rock-Ct-89012/home/166565564                                             15/21
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   $1,290,000 Last Sold Price
   — Beds — Baths — Sq. Ft.
   12 Horseshoe Rock Ct, Henderson, NV 89012




    SOLD JAN 21, 2022




https://www.redfin.com/NV/Henderson/8-Twisted-Rock-Ct-89012/home/166565564                                         16/21
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   $1,035,000 Last Sold Price
   — Beds — Baths 1,656 Sq. Ft.
   27 Boulderback Dr, Henderson, NV 89012




    SOLD JAN 31, 2022




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   $2,205,000 Last Sold Price
   — Beds — Baths — Sq. Ft.
   13 Stonecutter Ct, Henderson, NV 89012




     View More Recently Sold Homes

More Real Estate Resources
New Listings in 89012

1806 Eagle Village Ave

251 S Green Valley Pkwy #2814

590 Mountain Links Dr

8 Wanderlust Ct

122 Humphreys Peak Ct

1943 Buckeye Hill Ct

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Nearby Cities

Goodsprings homes for sale

North Las Vegas homes for sale

Summerlin South homes for sale

Whitney homes for sale


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Spring Valley homes for sale

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Zip Codes

89123 homes for sale

89141 homes for sale

89183 homes for sale

89074 homes for sale

89052 homes for sale


Neighborhoods

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Anthem homes for sale

Southern Highlands homes for sale


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Frequently Asked Questions for 8 Twisted Rock Ct

What is 8 Twisted Rock Ct?                                                                          When was this home

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How many photos are available for this home?                                                        How competitive is t


How long has this home been listed on Redfin?                                                       What’s the full addre




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                   Exhibit 6
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                                        Declaration of Douglas S. Saeltzer

I, Douglas S. Saeltzer, pursuant to 28 U.S.C. § 1746, declare as follows:

        1.       I am over the age of 21 and a resident of the State of California. I make this declaration based

upon my personal knowledge. If called to testify, I could and would competently testify to the following facts.

        2.       I am an attorney with the firm of Walkup, Melodia, Kelly & Schoenberger.

        3.       James Thibodeau, Senior Counsel for the United States Securities and Exchange Commission,

contacted me in December 2020 to inquire about the legitimacy of a document.

        4.       On December 10, 2020, and again on December 15, 2020, James Thibodeau emailed to me a

document titled “Purchase Agreement,” a true and correct copy of which is attached as Exhibit A to this

declaration.

        5.       The Purchase Agreement document describes an arrangement for a person named Renee

Crawford, represented by Douglas Saeltzer of Walkup, Melodia, Kelly & Schoenberger, to assign proceeds from

a settlement arising from a slip and fall incident at a hotel to J & J Consulting Services, Inc.

        6.       I have no client named Renee Crawford who initiated and/or settled a claim arising from a slip

and fall incident at Casa Madrona Hotel & Spa.

        7.       I have never entered into any agreement with J & J Consulting Services, Inc.

I declare under penalty of perjury that the foregoing is true and correct.


        Executed in Corte Madera, California on December 17, 2020.




                                                   ________________________________
                                                   Douglas S. Saeltzer
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                          Exhibit A
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                          PURCHASE AGREEMENT

       This is a Purchase Agreement ("Agreement") dated the 23rd day of October, 2020.
This Agreement is by and between Renee Crawford (“Seller”) who is represented by
Douglas S. Saeltzer, Esq. of Walkup, Melodia, Kelly & Schoenberger whose address is
650 California Street, San Francisco, California 94108 (“Attorney”) and J & J Consulting
Services, Inc., an Alaska corporation (“Buyer”) who is represented by Matthew Beasley,
Esq. of the Beasley Law Group, PC (“Buyer’s Attorney”) whose address is 737 North
Main Street, Las Vegas, Nevada 89101.

A.     Seller has a claim arising from a slip and fall incident which occurred on March
30, 2019 ("Claim") at Casa Madrona Hotel & Spa which is owned by Casa Madrona
Hotel and Spa, LLC and operated by HRI Properties, LLC. Seller has hired Attorney to
represent Seller in this Claim. Seller has settled the Claim. The entire amount of the
settlement is $289,125.00 (“Settlement Amount”), less legal fees, superior medical liens
existing on the date of this Agreement, costs and disbursements payable to Attorney
under the existing fee agreement between Seller and Attorney (“Proceeds").

B.      Seller desires to sell and assign to Buyer an interest in the Proceeds. Buyer
desires to purchase the interest in the Proceeds, on the terms and under the conditions
set forth in this Agreement.

BUYER AND SELLER AGREE AS FOLLOWS:

1.     PURCHASE OF INTEREST

a.      Seller hereby sells, transfers, conveys and assigns to Buyer a $125,000.00 interest
("Interest") in the Proceeds for a purchase price of $100,000.00 ("Purchase Price"). Seller
acknowledges receipt of the Purchase Price. Seller understands that the amount of
Buyer’s Interest, or, in other words, the amount to be paid to Buyer, will increase to
reflect the date the Buyer is paid its Interest in the Proceeds as set forth in the following
Disclosure Table ("Disclosure Table"):




[Intentionally Left Blank]
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                                  DISCLOSURE TABLE

Purchase Price:             $100,000.00
Administration Fee:         $5,000.00

Date of Payment to Buyer                                       Amount due to Buyer

On or before January 21, 2021                                      $130,000.00
After January 21, 2021 but on or before February 20, 2021          $142,500.00

*Should Seller not pay Buyer from the Proceeds by February 20, 2021 the Buyer’s
Interest will increase by $12,500.00 every thirty (30) days thereafter.

b.      Buyer’s Interest will be paid by Attorney out of the Proceeds of the Claim and
will be deducted directly from the Proceeds of the Claim and will be paid to Buyer prior
to any payment to Seller with respect to the Claim. If the Proceeds of the Claim
Amount are not enough to pay the full amount due to Buyer, then Buyer shall be
entitled to receive 100% of the Proceeds of the Claim. Seller has directed Attorney to,
among other things,(i) place an assignment, consensual lien and security interest in
favor of Buyer against any and all Proceeds due Seller from the Claim (after payment of
any and all legal fees and reimbursable costs) and to protect and satisfy the assignment,
consensual lien and security interest in favor of Buyer up to the full amount of Buyer’s
Interest, (ii) notify Buyer of receipt of Settlement Amount, (iii) pay Buyer from the
Proceeds the proper amount due to Seller representing Seller’s Interest in the Proceeds
at the time of distribution of the Proceeds prior to any payment to Seller with respect to
the Claim, (iv) respond to requests for information from Buyer and (v) notify Buyer
prior to any disbursements of funds to verify the amount due Buyer. Seller has
provided Buyer with an executed Authorization for Attorney to Pay Buyer from
Proceeds of Claim/Acknowledgement of Authorization by Seller and Attorney in the
form attached as Exhibit "A" ("Authorization and Acknowledgement ").

c.      The amount Buyer is entitled to may be more than is listed in the Disclosure
Table above if Seller does not honor the obligations in this Agreement. Seller will also
be liable to pay Buyer’s Interest, even if there are no Proceeds, if Seller has mislead
Buyer or Attorney concerning Seller’s Claim and will also be liable for Buyer’s attorney'
s fees or collection costs, as permitted by law.

d.     If Seller wants to sell an additional Interest, and if Buyer agrees to purchase an
additional Interest, Buyer and Seller will sign an amended Disclosure Table. Seller
understands that Buyer is not required to purchase any additional Interest.
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e.     In the event that the Claim is the subject of more than one lawsuit, claim or cause
arising out of more than one incident/accident/transaction, or against one or more
defendants, then the amount due Buyer pursuant to this Agreement shall be paid from
the Proceeds of the first lawsuit, claim and/or case against any of the defendants,
including insurance companies and malpractice claims arising out of the Claim, which
results in a monetary recovery. If insufficient funds are available from the first lawsuit,
claim and/or case resulting in a monetary recovery to pay the full amount due Buyer
pursuant to this Agreement, then the balance due Buyer shall be paid from the Proceeds
of the next lawsuit, claim and/or cause, if any.

f.      The amount due Buyer shall be withheld from any money collected as a result of
the Claim and shall immediately be paid to Buyer (after first deducting Attorney's fees
and costs, and any prior liens which exist on the date of this Agreement). Seller agrees
and hereby directs that all Proceeds received in connection with the Claim, are held in
Trust for Buyer until Buyer has been fully paid its Interest. Seller understands that
Seller will not receive any money or payment from the Proceeds of Seller’s Claim until
Buyer has been paid Buyer’s Interest in full. This shall also apply to any structured
settlements. If Seller receives payments from several sources, Seller will pay Buyer all
monies received from each source until Buyer is paid in full its Interest in the Proceeds
of the Claim. Seller acknowledge that receipt or use of any Proceeds of the Claim prior
to the full payment to Buyer of Buyer’s Interest in the Proceeds of the Claim may
constitute an illegal conversion and may be a crime.

2.     GRANT OF SECURITY INTEREST

By signing this Agreement, Seller grants to Buyer a security interest and a lien in the
Settlement Amount and all Proceeds of the Claim ("Collateral"). Buyer shall have all
rights and remedies of a secured party under the Nevada Uniform Commercial Code.
Seller authorizes Buyer to file one or more UCC financing statements regarding Buyer’s
security interest and lien in the Collateral and Seller agrees to take all other steps
reasonably required by Buyer to perfect and maintain the perfection of Buyer’s security
interest.

3.     NO TRANSFER OF CLAIM

Seller is not assigning any portion of the Claim to Buyer, and Buyer is not buying any
portion of the Claim under this Agreement. Buyer has no right or obligation to take any
legal action for Seller in connection with the Claim. Buyer has no right or obligation to
advise, direct or instruct Seller or Attorney in how to go forward with Seller’s Claim.
Buyer will not be involved in the negotiation of any settlement of Seller’s Claim. Buyer
has no obligations or duties concerning the Claim, or the collection of any settlement,
award or verdict from the Claim.
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4.     SELLER’S REPRESENTATIONS AND WARRANTIES

Seller represents and warrants to Buyer that:

a.     Seller is using the funds received from the Purchase Price for Seller’s immediate
economic necessities. Seller has been advised that Seller should not sell any portion of
the Proceeds of the Claim if Seller has any other alternative to meet my immediate
economic necessities. Seller understands that due to the various factors involved that
Buyer may make a large profit.

b.      Seller acknowledges that Seller has been advised to seek the services of legal, tax,
accounting and/or financial advisors in the negotiation and signing of this Agreement.
Seller has either received such counsel prior to signing this Agreement or expressly
waived such counsel. Seller understands from speaking to Attorney and/or other
advisors that the amount of Buyer’s Interest as set forth in the Disclosure Table is
greater than the Purchase Price Seller is receiving, and that there is a cost to Seller
selling Buyer the Interest. Seller understands that Buyer is relying upon Seller’s
representations in deciding to purchase this Interest and Seller represents and warrants
that all statements made by Seller are true and correct as of the date hereof. Seller
understands that if any information provided by Seller changes that Seller has an
obligation to immediately notify Buyer.

c.     Seller is not currently in bankruptcy, there are no pending tax claims or criminal
allegations against Seller, and Seller has complied with all laws in connection with the
Claim. Seller further represent that Seller is not in violation of any obligations
concerning childcare, alimony or support, and Seller has not been convicted of a felony
or other crime involving dishonesty. Other than the Claim itself, there is no claim, legal
action, lien or any proceeding or order pending or in effect or threatened, against Seller,
or which would in any manner affect or impair Buyer's Interest or Buyer's rights under
this Agreement. Seller has been truthful in all aspects of the Claim and has provided all
information to Attorney in a complete and honest fashion. Seller also confirms that all
documents submitted in connection with the investigation and Buyer’s evaluation of
the Claim are true, whether submitted by Attorney or Seller. Seller understands that
Buyer is relying upon these statements in determining whether to enter into this
Agreement.

d.      Seller agrees to not change the fee agreement between Seller and Attorney in any
way that would reduce the amount of Buyer’s Interest in the Proceeds of the Claim.
Seller further promises to notify Buyer in writing within 72 hours if Seller terminates
the services of Attorney, or if Attorney determines not to proceed with the Claim. If
new attorneys are retained to represent Seller in the Claim, Seller will notify Buyer
within 72 hours of the new attorneys being retained, and will direct the new attorneys
to comply with the terms of this Agreement by Seller and the new attorney executing a
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new Authorization and Acknowledgement within 14 days after accepting Seller’s
representation . Seller will also notify Buyer in writing within 72 hours if Seller moves
from the address listed above.

e.      Seller will not knowingly create or permit any additional liens, charges, security
interests, encumbrances, agreements of any kind or other rights of third parties against
the Proceeds of the Claim without the prior written consent of Buyer. Seller specifically
promises not to sell any additional portion of the Proceeds of the Claim after the date of
this Agreement, unless Buyer has given prior written permission. Seller also confirms
that neither the Claim nor the Proceeds are subject to any liens, charges, security
interests, encumbrances, agreements of any kind or nature (other than this Agreement)
or other rights of third parties except for liens previously provided to Seller’s medical
providers. Seller understands that if these statements are not true, it may be considered
as a fraud, as Buyer is relying upon these statements in going forward with this
Agreement.

5.     EVENTS OF DEFAULT

The occurrence of any one or more of the following events shall be an event of default
by Seller under this Agreement (each, an "Event of Default"):

a.      The failure by Seller or Attorney to pay Buyer’s Interest in the Proceeds within
thirty (30) days after the Settlement Amount is received by Seller or Attorney; or

b.      Seller’s failure to perform or comply with any of the agreements, conditions,
provisions or promises contained in this Agreement, including but not limited to if
Buyer does not receive a timely response to a request for information from Seller or
Attorney or if Buyer does not receive a new Authorization and Acknowledgement by
Seller and new attorney within fourteen (14) days after accepting representation, and
such failure to perform or comply continues unremedied for a period of ten (10) days
after written notice from Buyer to Seller, unless such default, in Buyer’s reasonable
discretion, is not curable, in which event there shall be no grace period; or

c.    If Buyer discovers any material misrepresentation or inaccuracy in any
representation or warranty made by Seller to Buyer in this Agreement.

Upon an Event of Default by Seller under this Agreement, Seller agrees that Buyer may
contact any insurance company, claims adjuster or attorney then handling the Claim on
behalf of any responsible party and advise such insurance company, claims adjuster or
attorney about Buyer’s Interest in Seller’s Claim and to direct that Buyer be included as
a payee on settlement checks provided further that nothing herein shall prevent Buyer
from exercising any other right or remedy provided under law or equity. If Buyer does
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anything stated in this paragraph, Buyer shall not be liable to Seller for any damages
which Seller may suffer resulting from Buyer's actions described above.

6.     APPLICABLE LAW

This Agreement shall be governed, construed and enforced in accordance with, and all
disputes arising out of or in connection with this Agreement shall be governed by, the
internal laws of the State of Nevada, without regard to the conflict of law rules of
Nevada or any other jurisdiction.

7.     ARBITRATION

BUYER AND SELLER ACKNOWLEDGE AND AGREE THAT ALL DISPUTES,
CLAIMS, DEFENSES OR CONTROVERSIES (WHETHER IN LAW OR IN EQUITY)
ARISING OUT OF OR RELATING TO THIS AGREEMENT OR THE RELATIONSHIPS
THAT RESULT FROM THIS AGREEMENT, INCLUDING BUT NOT LIMITED TO
ANY DISPUTES, CLAIMS OR CONTROVERSIES INVOLVING FEDERAL OR STATE
STATUTORY CAUSES OF ACTION OR INJUNCTIVE RELIEF, ANY INVOLVING
FEDERAL OR STATE ADMINISTRATIVE REMEDIES, ANY INVOLVING
CONSUMER FRAUD AND ANY INVOLVING A CHALLENGE TO THE LEGALITY
OF ANY PART OR ALL OF TH IS AGREEMENT ("DISPUTES") SHALL BE RESOLVED
THROUGH FINAL AND BINDING ARBITRATION UNDER THE COMMERCIAL
ARBITRATION RULES ("RULES") OF THE AMERICAN ARBITRATION
ASSOCIATION ("AAA"). THE ARBITRATION SHALL TAKE PLACE BEFORE A
SINGLE ARBITRATOR TO BE CHOSEN BY AGREEMENT OF THE PARTIES, OR
FAILING SUCH, IN ACCORDANCE WITH AAA RULES. THE ARBITRATION
SHALL TAKE PLACE IN THE STATE OF NEVADA, COUNTY OF CLARK UNLESS
THE PARTIES AGREE TO A DIFFERENT LOCATION. THE PARTIES AGREE THAT
THIS ARBITRATION AGREEMENT IS MADE PURSUANT TO A TRANSACTION IN
INTERSTATE COMMERCE AND, EXCEPT AS OTHERWISE EXPRESSLY PROVIDED
HEREIN, SHALL BE GOVERN ED BY THE FEDERAL ARBITRATION ACT, 9 U.S.C.
§1 AND THE SUBSTANTIVE LAWS OF THE STATE OF NEVADA SHALL BE
APPLIED IN ALL EVENTS. JUDGMENT UPON THE AWARD RENDERED MAY BE
ENTERED IN ANY COURT HAVING JURISDICTION. THE PARTIES ALSO AGREE
THAT THE AAA OPTIONAL RULES FOR EMERGENCY MEASURES OF
PROTECTION SHALL APPLY TO THE PROCEEDINGS.

8.     WAIVER OF JURY TRIAL

BUYER AND SELLER, AFTER CONSULTATION WITH THEIR RESPECTIVE
ATTORNEYS, EACH HEREBY WAIVE ANY RIGHT WHICH THEY MAY HAVE TO A
JURY TRIAL, INCLUDING ANY RIGHT VESTED BY FEDERAL, STATE OR LOCAL
STATUTE, IN CONNECTION WITH ANY DISPUTES OR LEGAL PROCEEDING
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INVOLVING, DIRECTLY OR INDIRECTLY, ANY MATTER COMMENCED BY OR
AGAINST EITHER PARTY IN ANY WAY ARISING OUT OF OR RELATED TO THIS
AGREEMENT OR WITH ANY DOCUMENT EXECUTED IN CONNECTION WITH
THIS AGREEMENT.

9.      WAIVER OF CLASS ACTION CLAIMS

SELLER HEREBY AGREES TO WAIVE ANY AND ALL RIGHTS TO (i) ANY DISPUTE
WITH BUYER BEING HANDLED AS A CLASS ACTION AND (ii) JOINING AS A
PLAINTIFF, CLAIMANT, MEMBER OR PARTICIPANT IN ANY CLASS ACTION
AGAINST BUYER. IT IS AGREED THAT ANY ARBITRATION WILL BE LIMITED TO
THE DISPUTE BETWEEN BUYER AND SELLER, AND BUYER AND SELLER WAIVE
ANY RIGHT TO CONSOLIDATE OR TO HAVE HANDLED AS A CLASS ACTION
ANY PROCEEDING ON ANY DISPUTES WITH ANY PROCEEDING ON DISPUTES,
CLAIMS, OR CONTROVERSIES INVOLVING ANY PERSON OR ENTITY NOT A
PARTY TO THIS AGREEMENT.

10.     RECLASSIFICATION OF TRANSACTION

This Agreement represents an investment by Buyer, and not a loan to Seller. However,
should a court of law determine that the transaction set out in this Agreement is a loan
of money, Seller agrees that interest shall accrue at the maxim um rate permitted by
law. Seller agrees that any fees or expenses paid by Buyer in connection with the Claim
will not be included as interest. This includes any attorney's fees and costs Buyer has
expended to enforce its rights under this Agreement. Seller agrees that these will be
considered as a reimbursement to Buyer, rather than as interest.

11.     MISCELLANEOUS

a.      If any part of this Agreement is deemed invalid or unenforceable, it shall not
affect the validity or enforceability of (i) any other part of this Agreement, and the
Agreement shall be modified to the extent legally possible to legally carry out the intent
of this Agreement and (ii) any agreement between Buyer and any other party. This
Agreement and its exhibit make up the entire and only agreement or understanding
between Buyer and Seller. It may not be changed unless signed in writing by Buyer and
Seller. This Agreement takes precedence over all prior agreements, brochures,
negotiations, commitments and representations, whether oral or written, about Seller’s
Claim and Buyer’s purchase of its Interest.
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b.      Should Buyer retain the services of an attorney to enforce the terms of this
Agreement, Seller will be responsible for any costs or expenses (including reasonable
legal fees and expenses) in enforcing Buyer’s rights under this Agreement and the
amount of Buyer’s Interest shall be increased in an amount equal to Buyer’s costs and
expenses.

c.     This Agreement will be binding upon Buyer and Seller, and each of their heirs,
executors, administrators, successors and assigns. Seller understands and agrees that
Seller has no right to assign Seller’s rights and obligations under this Agreement. Seller
further understands and agrees that Buyer may assign its rights and obligations under
this Agreement (and Buyer’s Interest) to any party without Seller’s prior approval,
provided that any such party agrees to be bound by the terms and conditions of this
Agreement. It is agreed that if Buyer assigns this Agreement as provided in the prior
sentence, Buyer shall have no further obligations under this Agreement and Seller must
look solely to the party Buyer assigned the Agreement to for performance under this
Agreement. When requested by Buyer or any assignee, Seller will sign and deliver any
and all reasonably requested documents as Buyer or such assignee may require to
confirm the various rights and obligations of the parties under this Agreement. This
Agreement may be signed in separate counterparts. A facsimile signature shall be
deemed to be an original signature.

12.     RIGHT TO CANCEL

SELLER HAS THE RIGHT TO CANCEL THIS AGREEMENT WITHOUT PENALTY
OR FURTHER OBLIGATION AT ANY TIME PRIOR TO MIDNIGHT OF THE FIFTH
(5TH) BUSINESS DAY FROM THE DATE SELLER RECEIVES FUNDING
HEREUNDER FROM BUYER.

In order for the cancellation to be effective, Seller must return the full amount of
disbursed funds to Attorney within five (5) business day of the disbursement of funds
who will then return the amount to Buyer’s Attorney upon the clearance of the funds in
Attorney’s Trust Account.

DO NOT SIGN THIS AGREEMENT BEFORE YOU READ IT COMPLETELY OR IF IT
CONTAINS ANY BLANK SPACE. BEFORE YOU SIGN THIS AGREEMENT YOU
SHOULD OBTAIN THE ADVICE OF YOUR ATTORNEY. YOU ARE ENTITLED TO A
COMPLETELY FILLED IN COPY OF THIS AGREEMENT.

SELLER:                                         BUYER:

______________________________                  ________________________________
RENEE CRAWFORD                                  J & J CONSULTING SERVICES, INC.
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                                        EXHIBIT A

 AUTHORIZATION FOR ATTORNEY TO PAY J & J CONSULTING SERVICES, INC.
  FROM PROCEEDS OF CLAIM/ACKNOWLEDGEMENT OF AUTHORIZATION

Pursuant to that certain Purchase Agreement dated October 23, 2020 between Renee
Crawford (“Seller”) and J & J Consulting Services, Inc. ("Buyer") (the "Agreement"), I,
Renee Crawford hereby irrevocably authorize and direct my attorney, Douglas S.
Saeltzer, Esq. (“Attorney”), (and any future Attorney representing me in connection
with my Claim to, among other things, (i) place an assignment, consensual lien and
security interest in favor of Buyer against any and all of the Proceeds due Seller from
the Claim (after payment of any and all legal fees, reimbursable costs, statutory liens
and liens) and to protect and satisfy the assignment, consensual lien and security
interest in favor of Buyer up to the full amount of Buyer’s Interest, (ii) pay Buyer’s
Attorney from the Proceeds the amount due to Buyer representing Buyer’s Interest in
the Proceeds of the Claim at the time of distribution of the Proceeds prior to any
payment to Seller with respect to the Claim, (iii) in the event that the Claim is the
subject of more than one lawsuit, claim or cause of action arising out of more than one
incident/accident/transaction, or against one or more defendants, pay Buyer’s Interest
from the Proceeds of the first lawsuit, claim and/or case against any of the defendants,
(iv) notify Buyer’s Attorney of discontinuance or ending with respect to Attorney’s
representation, (v) respond to requests for information from Buyer’s Attorney and (vi)
call Buyer’s Attorney prior to any disbursements of funds to verify the amount of
Buyer’s Interest. Such amounts shall be paid directly to Buyer’s Attorney to satisfy
Seller’s obligations to Buyer under the Purchase Agreement prior to any distribution of
Proceeds to Seller. The amount of Buyer’s Interest will increase to reflect the date Buyer
is paid its Interest in the Proceeds as set forth in the Disclosure Table to the Agreement,
as such may be amended from time to time. This Authorization is irrevocable and
binding and may only be amended by the mutual written agreement of Seller and
Buyer.

Dated this 23rd day of October, 2020.



_______________________________________
RENEE CRAWFORD, Seller
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                  ACKNOWLEDGEMENT OF AUTHORIZATION

I, Douglas S. Saeltzer, Esq., hereby acknowledge that Walkup, Melodia, Kelly &
Schoenberger represent Renee Crawford, as her attorney, in connection with the Claim
described in the Agreement. I acknowledge that Renee Crawford has irrevocably
instructed me to comply with the Agreement's terms pursuant to the Authorization set
forth above (the "Authorization"). I will honor Renee Crawford’s Authorization. I
agree to pay Buyer’s Attorney Buyer’s Interest from Renee Crawford’s Proceeds of the
Claim in accordance with the Disclosure Table set forth in the Agreement, as such may
be amended from time to time. I agree not to distribute any Proceeds of the Claim to
Renee Crawford until Buyer’s Interest has been paid in full. In the event of a dispute, I
agree that only disbursements for attorney's fees, reimbursable costs, statutory liens and
medical liens that are in existence prior to the date of the Agreement will be made. All
other funds due Renee Crawford shall be held in my Trust Account until such dispute
is resolved. In the event that I am terminated as Renee Crawford’s attorney with
respect to the Claim, I shall give Buyer’s Attorney immediate written notice thereof by
certified mail, and state the name, address and telephone number of Renee Crawford’s
new attorney.

All disbursements of funds, including Renee Crawford’s share of the Proceeds, will be
through my Trust Account, and Renee Crawford will not receive a settlement check
directly from any defendant or insurance company. I agree to verify the amount of
Buyer’s Interest prior to any disbursement of funds. I have no knowledge of Renee
Crawford having previously sold, transferred or assigned any interest in the Claim or in
the Proceeds of the Claim, and understand that Renee Crawford may not further sell,
transfer or assign any additional Interest to any party other than Buyer without Buyer’s
written permission. I warrant and covenant that I am authorized to execute this
document on behalf of Walkup, Melodia, Kelly & Schoenberger.

DATED this 23rd day of October, 2020.

WALKUP, MELODIA, KELLY & SCHOENBERGER



_________________________________________
By: DOUGLAS S. SAELTZER, ESQ.
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                   Exhibit 7
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10/8/2020

Attn: ---------------

Re:​ Branch ​Investor’s Agreement between J&J Consulting/ Jeffrey Judd an​d -------------.

J&J Consulting/Jeffrey Judd has a business where he purchases contracts (Purchase Agreements) for attorney’s
clients once a settlement has been reached and an award has been granted. Jeffrey Judd uses his own money and
facilitates family members and friends to purchase these contracts. Jeffrey Judd uses the services of Matthew
Beasley Esq. to assist him in finding the agreements and also to write the contracts. The Purchase Agreement acts
as a lien on the client’s settlement.

------------- (Entity) will be purchasing the​ “Branch ”​ Purchase Agreement. This Purchase Agreement (See
Attachment) will be for ​$100,000 ​and the term of the contract will be for 90 days. If the agreement closes within 90
days the Entity will receive a return of ​$10,000​. If this agreement extends over 90 days the Entity will receive $12,500
for each additional 30 days the contract goes over the initial 90 days.

----------- ​will represent the Entity and be instructed by Chris Humphries, representing J&J Consulting, as to where to
wire the funds and other matters.

The Entity and their members are prohibited from contacting any parties related to the injury settlement or Purchase
Agreement, without the written consent of Jeffrey Judd.

No party shall be deemed in default of any Purchase Agreement or, unless otherwise expressly provided therin, any
Ancillary Agreement for any delay or failure to fulfill any obligation hereunder or thereunder so long as and to the
extent to which any delay or failure in the fulfillment of such obligation is prevented, frustrated, hindered or delayed as
a consequence of circumstances of Force Majeure. In the event of any such excused delay, the time for performance
of such obligations shall be extended for a period equal to the time lost by reason of the delay. A party claiming the
benefit of this provision shall, as soon as reasonably practicable after the occurrence of any such event, (a) provide
written notice to the other Party of the nature and extent of any such Force Majeure condition; and (b) use
commercially reasonable efforts to remove any such causes and resume performances under this Agreement and the
Ancillary Agreements, as applicable, as soon as reasonably practicable.




_____________________________________                     ____________________________________
Chris Humphries                  Date                     ​------------------            Date




                                              Attachment
                                          Purchase Agreement
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                   Exhibit 8
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        NON-COMPETE, NON-DISCLOSURE AND NON-SOLICITATION
                           AGREEMENT


       This Non-Compete, Non-Disclosure and Non-Solicitation Agreement
(hereinafter referred to as the “Agreement”) is entered into this ___ day of _______,
2019, by and between J & J Consulting Services, Inc. (hereinafter referred to as the
“Business”) and __________________ (hereinafter referred to as the “Potential
Investor”). The Business and the Potential Investor are sometimes referred to herein
individually as a “Party” and collectively as the “Parties”.

                                        TERMS

      For good consideration and as an inducement for the Business to disclose
valuable and confidential information to the Potential Investor, the undersigned
Potential Investor hereby agrees as follows:

Non-Compete:

       The Potential Investor understands that the Business operates throughout the
United States. As such, the Potential Investor agrees not to directly or indirectly
compete with the Business and its successors and assigns within the United States for a
period of two (2) years following the communication of the confidential information to
the Potential Investor.

       The term “not to directly or indirectly compete” as used herein shall mean that
the Potential Investor shall not own, manage, operate, consult or be employed in a
business substantially similar to or competitive with, the Business or such other
business activity in which the Business may substantially engage.

       The Potential Investor acknowledges that the Business shall or may in reliance of
this Agreement provide the Potential Investor access to trade secrets, customers,
attorneys, and other confidential data and/or information and good will. Potential
Investor agrees to retain said information as confidential and not to use said
information on his/her own behalf or disclose the same to any third-party.

       This non-compete agreement shall be binding upon and inure to the benefit of
the Parties, their successors, assigns and personal representatives.




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Non-Disclosure:

      Confidential information as it relates to this Agreement refers to all information,
whether provided in writing or verbally, that is not generally known to the public.
Confidential information includes, but is not limited to the Business’s trade secrets,
customers, customer lists, attorneys, attorney lists, vendors, good will, financial
information, concepts, techniques, manuals, syllabi, designs, data, computer programs
and business activities and operations.

       The Potential Investor agrees that the confidential information to be provided by
the Business constitutes valuable information and is the exclusive property of the
Business. Potential Investor agrees not to directly, or indirectly, without the express
written consent of the Business, communicate, copy, disclose or make available any
confidential information provided by the Business or relating to the Business. The
Potential Investor further agrees to not use any of the confidential information for
his/her purposes or on his/her own behalf for any purpose whatsoever.

     The Potential Investor agrees that the term of this Non-Disclosure portion of this
Agreement is for a period of ten (10) years unless cancelled in writing by the Business.

Non-Solicitation:

       Potential Investor agrees that after receiving the confidential information from
the Business and/or during the term of this Agreement, that he/she will not engage,
employ, solicit for employment, interfere with, or endeavor to entice away from the
Business, directly or indirectly, any employee, independent contractor, attorney,
vendor, client, student, or any and all other person(s) with any affiliation whatsoever
with the Business.

     The Potential Investor agrees that the term of this Non-Solicitation portion of the
Agreement is for a period of ten (10) years unless cancelled in writing by the Business.

Miscellaneous Terms:

      (a)    The Parties agree and acknowledge that they have carefully read and fully
understand all of the terms and provisions of this Agreement and have reviewed the
same with their attorney of choice, if any, prior to execution of this Agreement.

       (b)    The Parties agree and acknowledge that this Agreement was determined
after negotiations and that the Parties’ attorney, if any, participated in the drafting of
this Agreement, and as such, should not be strictly construed for or against any of the
Parties hereto.


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      (c)     The Parties agree and acknowledge that they are knowingly and
voluntarily agreeing to all of the terms set forth in this Agreement.

       (d)    The Parties agree and acknowledge that they knowingly and voluntarily
intend to be legally bound by the same and that they entered into this Agreement
voluntarily and not as a result of coercion, duress, or undue influence.

      (e)    The Parties agree and acknowledge that this Agreement shall become
binding and effective as of the date and time that it is fully executed by both Parties.

      (f)    The Parties agree and acknowledge that this Agreement may be executed
in counterparts, and each executed counterpart shall have the efficacy and validity of a
signed original and with the same effect as if all Parties hereto had signed the same
document. All counterparts so executed shall be deemed to be an original, shall be
construed together and shall constitute the entire Agreement. Photographic copies of
such executed counterparts may be used in lieu of the original.

       (g)    The Parties agree and acknowledge that this Agreement shall be binding
upon the Parties hereto and upon their heirs, administrators, representatives, executors,
successors, and assigns, and shall inure to the benefit of said Parties and each of them
and to their heirs, administrators, representatives, executors, successors, and assigns.

     (h)    The Parties agree and acknowledge that this Agreement constitutes the
complete and entire agreement between the Parties and supersedes any and all prior
communications, agreements and understandings, written or oral, between the Parties.

       (i)   The Parties agree and acknowledge that this Agreement may not be
altered, amended, supplemented, modified or otherwise changed in any way
whatsoever, except by a separate written agreement authorized and executed by all
Parties.

       (j)     The Parties agree and acknowledge that this Agreement shall be governed
by and construed in accordance with the laws of the State of Nevada, without regard to
conflict of law principles.

        (k)    The Parties agree and acknowledge that in executing this Agreement they
did not rely upon any representation or statement made by either Party or by any of the
Parties agents, attorneys, or representatives with regard to the subject matter, basis, or
effect of this Agreement or otherwise other than those specifically stated in this written
Agreement.


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       (l)     The Parties agree and acknowledge that should any term and/or
provision of this Agreement be declared or determined by a Court of competent
jurisdiction to be wholly or partially illegal, invalid or unenforceable as a result of any
action or proceeding, the validity of the remaining terms, releases and provisions shall
not be affected and said illegal or invalid term, release or provision shall be deemed not
to be a part of this Agreement.

       (m) The Parties agree and acknowledge that the waiver by either of the Parties
hereto of any term, release or provision of this Agreement shall not be construed as a
waiver of any other or subsequent term, release or provision.

       (n)    The Potential Investor understands that his/her failure to comply with
this Agreement in any way will cause the Business irreparable harm. As such, Potential
Investor agrees that the Business is entitled to immediate injunctive relief should any
such violation of this Agreement occur.


DATED this ____ day of __________, 2019             DATED this ____ day of ________, 2019.

J & J CONSULTING SERVICES, INC.



__________________________________                  __________________________________
By: JEFFREY JUDD, President                         By: ______________________________,
                                                    Potential Investor




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                   Exhibit 9
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                 Exhibit 10
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                                                                  Page 1
       UNITED STATES SECURITIES AND EXCHANGE COMMISSION


       In the Matter of:                   )
                                           ) File No. SL-02855-A
       J&J CONSULTING SERVICES, INC. )


       WITNESS:    Taylor David Richards
       PAGES:      1 through 105
       PLACE:      Securities and Exchange Commission
                   351 South West Temple, Suite 6.100
                   Salt Lake City, Utah 84101
       DATE:       Thursday, April 7, 2022


             The above-entitled matter came on for hearing via
       Webex, pursuant to notice, 10:14 a.m. MST.




                  Diversified Reporting Services, Inc.
                               (202) 467-9200
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                                                Page 2                                                      Page 4
  1   APPEARANCES:                                            1            C O N T E N T S (CONT.)
  2                                                           2
  3   On Behalf of the Securities and Exchange Commission:    3   EXHIBITS: DESCRIPTION                  IDENTIFIED
  4     JONI OSTLER, ESQ.                                     4   21 Screenshot of text messages          90
  5     LAURIE E. ABBOTT, ESQ.                                5
  6     Securities and Exchange Commission                    6
  7     351 South West Temple                                 7
  8     Suite 6.100                                           8
  9     Salt Lake City, Utah 84101                            9
 10     Tel: 801-524-5796                                    10
 11     Email: ostlerj@sec.gov                               11
 12                                                          12
 13   On behalf of the Witness:                              13
 14     TAYLOR DAVID RICHARDS, PRO SE                        14
 15                                                          15
 16                                                          16
 17                                                          17
 18                                                          18
 19                                                          19
 20
                                                             20
 21
                                                             21
 22
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 23
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 24
                                                             24
 25
                                                             25


                                                Page 3                                                      Page 5
  1              CONTENTS                                     1              PROCEEDINGS
  2                                                           2                 (SEC Exhibit No. 3 was marked
  3   WITNESS:                      EXAMINATION               3                 for identification.)
  4   Taylor David Richards               5                   4           MS. OSTLER: So we're on the record on
  5                                                           5    April 7, 2022, at 10:14 a m., Mountain Daylight
  6   EXHIBITS: DESCRIPTION                     IDENTIFIED    6    Time.
  7   3 Order Directing Private Investigation       5         7           Mr. Richards, do you consent to taking an
  8   4 Subpoena                           10                 8    oath or affirmation to tell the truth remotely by
  9   5 Taylor Richards' written summary of                   9    Webex rather than in person?
 10     relationship with Jeffrey Judd          11           10           MR. RICHARDS: Yes.
 11   6 Email from Taylor Richards to Joni Ostler            11           MS. OSTLER: Okay. Please raise your
 12     Re: Investor Tracking                 59             12    right hand.
 13   6A Excel spreadsheet of investor tracking      60      13           Do you swear to tell the truth, the whole
 14   6B List of investors and amount invested       67      14    truth, and nothing but the truth?
 15   7 Email to Matthew Beasley and Jeffrey Judd       70   15           MR. RICHARDS: Yes.
 16   8 Email from Jeffrey Judd to Taylor Richards           16    Whereupon,
 17     Re: Purchase Agreement - Greer             34        17              TAYLOR DAVID RICHARDS
 18   12 Email from Jeffrey Judd to Dave Richards,           18    was called as a witness and, having been first duly
 19     Taylor Richards, and Dustin Hacker                   19    sworn, was examined and testified as follows:
 20     Re: No more emailed contracts             76         20                 EXAMINATION
 21   14 Picture sent to Taylor Richards from                21           BY MS. OSTLER:
 22     Matthew Mangum                         77            22       Q All right. Please state and spell your --
 23   15 Screenshot of text messages             77          23       A I feel like I'm in church.
 24   16 Screenshot of text messages             80          24       Q Yeah.
 25   17 Screenshot of text messages             85          25           Please state and spell your full name for


                                                                                      2 (Pages 2 to 5)
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                                                Page 6                                                     Page 8
  1   the record.                                             1       A Okay. Yeah.
  2       A Taylor David Richards, T-A-Y-L-O-R                2       Q The court reporter is here to take -- to
  3   D-A-V-I-D R-I-C-H-A-R-D-S.                              3   create a written testimony of your -- a written
  4       Q I'm noting for the record that this               4   transcript of your testimony. Jeez, I have to read
  5   testimony session is being conducted remotely. Mr.      5   a lot of stuff. There are several things that we
  6   Richards, can you please provide the address of your    6   both need to do to help the court reporter create a
  7   location for the record?                                7   clean and accurate transcript.
  8       A                       , Heber City, Utah.         8       A Okay.
  9   Just my -- at my house.                                 9       Q First, please answer all of the questions
 10       Q So as I told you, my name is Joni Ostler.        10   verbally. So don't respond with, like, a shake of
 11   And with me is co-counsel Laurie Abbott. We are        11   your head or a nod.
 12   members of the staff of the enforcement division of    12       A Okay.
 13   the Salt Lake regional office of the Securities and    13       Q And please use "yes" or "no" instead of
 14   Exchange Commission of the United States. We are       14   "uh-huh" or "huh-uh."
 15   also officers of the commission for purposes of this   15       A Okay.
 16   proceeding.                                            16       Q If you can remember to, please use names,
 17          This is an investigation by the commission      17   like Jeffrey or Mark, instead of "he" or "she,"
 18   entitled "In re J & J Purchasing" -- I'm sorry. I
                                                             18   because it makes the record more clear.
 19   screwed that up. It's "In re J & J Consulting
                                                             19       A Okay.
 20   Services, Inc." And the purpose of our investigation
                                                             20       Q And as we're talking, try to let me finish
 21
                                                             21   my question before you give the answer, and I will
      is to determine whether there have been any
 22
                                                             22   likewise try to let you finish your full answer
      violations of the federal securities laws or rules
 23
                                                             23   before I state the next question so that we're not
      for which the commission has enforcement authority.
                                                             24   talking over each other.
 24   However, facts developed in this investigation might
                                                             25       A No problem.
 25   constitute violations of other federal or state


                                                Page 7                                                     Page 9
  1   or -- civil laws -- criminal or civil laws.             1       Q I will be showing you exhibits on the
  2          Before we begin with the questions, I have       2   screen. I need your agreement that you will not
  3   to go over some preliminaries for you. Your             3   take any screenshots or any kind of captures or
  4   testimony today is under oath and will consist of a     4   copies of the exhibits I show you.
  5   series of questions of answers. So I will ask the       5      A Okay.
  6   questions, and you will answer the questions            6       Q They're all going to be documents that you
  7   truthfully and to the best of your ability. Do you      7   gave me anyway --
  8   understand that?                                        8      A That's fine.
  9      A Okay. Yeah.                                        9       Q -- so you already have them.
 10       Q To the extent that you don't know the            10          If you need to take a break during
 11   answer to one of my questions or if you are merely     11   testimony for any reason, just let me know. Just
 12   speculating, please say so.                            12   remember, the court reporter won't go off the record
 13      A Okay.                                             13   for anyone other than an SEC attorney telling them
 14       Q If you -- if you answer a question and you       14   to go off the record.
 15   don't tell me you're speculating, I will assume that   15      A Okay.
 16   the answer you give is based on your knowledge.        16       Q Is there any reason at all that you cannot
 17      A Okay.                                             17   provide complete and truthful testimony today?
 18       Q It is -- it is important that you hear and       18      A Nope.
 19   understand my questions. So if you don't hear a        19       Q You're not sick at all today?
 20   question, please ask me to repeat it. And if you       20      A Nope.
 21   don't understand a question, please let me know, and   21       Q Have you taken any medication today that
 22   I will attempt to clarify it or rephrase it for you.   22   might affect your memory or impair your mental
 23   If you do answer a question, I will assume that you    23   capacity in any way?
 24   both heard and understood the question. Do you         24      A Nope.
 25   understand that?                                       25       Q Have you had anything alcoholic to drink



                                                                                     3 (Pages 6 to 9)
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                                             Page 10                                                     Page 12
  1    in the last eight hours?                              1       A Okay. Yeah.
  2       A No.                                              2       Q For -- for what purpose --
  3       Q Okay. So now I'm going to show you               3       A I -- I got the subpoena on Monday, the
  4    another document.                                     4   28th of March, and I was asked to have all the
  5       A Okay.                                            5   documentation back to you by the morning of
  6       Q My computer's being a little slow.               6   Thursday, March 31st, by 9 a m. So somewhere
  7          Okay. Do you see on the screen the              7   between that time is when I wrote it.
  8    subpoena that I sent you?                             8       Q Okay. Why did you write this document?
  9       A Not yet.                                         9       A I was asked -- or from my understanding of
 10       Q Oh, it's not working.                           10   the subpoena, I was asked to provide any type of
 11       A No, I -- nothing's come up yet.                 11   communication I had had with Jeffrey Judd and also
 12       Q Let me know when it --                          12   describe any type of documentation I was sending
 13       A Yep. There it is.                               13   over to help you guys understand -- you guys and --
 14       Q Okay. Great.                                    14   mainly you, Joni -- understand what it was.
 15          Are you appearing here today pursuant to       15           This document was my effort to give you
 16    the subpoena?                                        16   kind of a full overview of my entire relationship
 17       A Does that mean because I got this, I'm          17   with Jeff Judd, how it started, how the investment
 18    here?                                                18   came to me, and how that then disbursed into, I
 19       Q Yes.                                            19   guess, growing into me being involved in it, family
 20       A Yes.                                            20   members being involved in it, friends being involved
 21       Q Okay. And just for the record, the              21   in it, and up to our current time.
 22    subpoena is Exhibit 4.                               22       Q Is everything in this document true and
 23                 (SEC Exhibit No. 4 was marked           23   correct, as far as you know?
 24                 for identification.)                    24       A Yes.
 25          THE WITNESS: Okay.                             25       Q Okay. I'm going to ask you just a few


                                             Page 11                                                     Page 13
  1         BY MS. OSTLER:                                   1   questions -- more details about what you wrote.
  2         BY MS. OSTLER:                                   2       A That's fine.
  3       Q Okay. Next document. So you produced             3       Q So you say that you first met Jeff Judd
  4   documents pursuant to that subpoena that was for       4   when you did a remodel for him in mid to late 2020,
  5   documents and testimony, right?                        5   correct?
  6       A Correct.                                         6       A Yep.
  7       Q I'm going to show you a document that you        7       Q And then in your second paragraph, you say
  8   produced that I've marked as Government Exhibit 5.     8   towards the end of the remodel you had become
  9       A Okay.                                            9   friends with Jeff.
 10                (SEC Exhibit No. 5 was marked            10       A Correct.
 11                for identification.)                     11       Q When -- when did that remodel end?
 12         BY MS. OSTLER:                                  12       A It was about a two- to three-month
 13       Q Do you recognize Government Exhibit 5?          13   project. So the project started between September
 14       A I do. I wrote it.                               14   and October of 2020, and their goal was to have
 15       Q When did you write this document?               15   everything completed by Thanksgiving of 2020. By
 16       A Last week. What would be the date? I was        16   "their goal," I mean the Judds', Jen and Jeff.
 17   supposed to have everything to you by Thursday        17   Their goal was to have the project completed before
 18   morning, and I believe I wrote that either Tuesday    18   Thanksgiving of 2020 so they could come as a family
 19   or Wednesday night of last week. I could look when    19   and enjoy the home together. So that was the course
 20   I saved it on my computer, but I'm just looking for   20   of the initial construction.
 21   the date that that would have been.                   21          There was more construction on that same
 22       Q That's --                                       22   home that followed but not as this initial remodel.
 23       A So last -- or I don't know that that --         23   So when I reference "towards the end of the
 24   does that matter?                                     24   remodel," I mean towards the end -- or middle to end
 25       Q No, that's close enough.                        25   of November 2020.



                                                                               4 (Pages 10 to 13)
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  1       Q Okay. You say that Jeff told you about            1   when Jeff was initially describing to you what he
  2   his business.                                           2   did for a living?
  3       A Uh-huh.                                           3       A Probably not. It would have just been a
  4       Q Do you recall, was that a conversation in         4   time that -- I didn't have a lot of personal, as far
  5   person?                                                 5   as in-person, contact with Jeff just because this
  6       A Yes. That was -- I've got to try -- that          6   wasn't a primary residence for him. So most of the
  7   was my whole goal of this, is I can't remember every    7   time, he was back in Henderson where he lived
  8   conversation. So I -- I couldn't tell you the date,     8   full-time. I was here in Heber and just would be
  9   and I couldn't tell you all that was said. It was       9   doing some work.
 10   something along the lines of -- and I guess I should   10          And usually, they would come into town
 11   tell you this is speculation because I don't           11   maybe once a month for the first little bit. And
 12   remember exact words. But it was something along       12   any work that we had done when he would come into
 13   the lines of -- basically we were getting to the       13   town, I would provide all of the receipts and
 14   end -- and in my business, I really like to get to     14   invoices from any work that had been done, and he
 15   know every one of my clients. That's part of what      15   would write me a check. So it was, I would guess,
 16   my job is, getting to know them, what type of things   16   at one of those meetings, if I -- I mean, I don't --
 17   that they want in the home or -- you know, whatever    17   I don't remember exactly, but if I had to speculate
 18   project I'm doing for them.                            18   and guess, it would have been at one of those
 19          And I -- I knew Jeff pretty well. I             19   meetings.
 20   didn't know exactly what he did. I knew that he        20       Q I'm going to ask you a little bit more
 21   made money to be able to have a house. So I didn't     21   detail, if you can remember, about what he said
 22   know exactly what his business was. So towards the     22   about the business.
 23   end of the remodel, he asked if I knew what he did     23       A Okay.
 24   for work. And this is, again, speculating on the       24       Q Did he tell you when it started?
 25   generalization of the conversation. I said no.         25       A He told me he'd been doing it for a couple


                                              Page 15                                                    Page 17
  1          And he told me that he purchased                 1   years, but I don't remember him saying a certain
  2   settlement contracts, fronted the money for them and    2   date.
  3   then was paid the difference after they closed, and     3       Q Do you remember him telling you how he got
  4   said, you know, "I really like you as a" -- you         4   started in that business?
  5   know, "as a person, and I like" -- you know,            5       A Yeah, I do remember not exactly but kind
  6   "you're" -- "you're a young guy with a growing          6   of the gist of how he got started. From what I
  7   family, and I'd love to help you out if it's            7   understood, he was part of a pharmaceutical sales
  8   something you're interested in."                        8   company, and one of the other members of that
  9          And that's basically where he left it. He        9   company was embezzling money or doing something of
 10   was never pushy towards me with it. It was never,      10   that nature. And they went -- I guess they were
 11   "You need to do this," or, "How about you do this      11   suing him, or however you go about getting that
 12   work, and in turn, I give you this," a contract or     12   money back from someone who's stealing money from
 13   something like that. There was never anything like     13   your company.
 14   that. It was just something he -- I don't know if      14           And in that process, from what I
 15   "casually" is the right word, but I would say, as a    15   understood, he met Matt Beasley, and Matt came to
 16   friend, offered me.                                    16   Jeff with the idea -- or I guess maybe the "idea"
 17          And it was something that -- I took about       17   isn't the right word. But Matt came to Jeff, from
 18   two months, if I remember correctly, going back        18   what I understood, and said, "I have these clients
 19   through the documents. The first email he sent me      19   who have settlement cases that need funded. I can't
 20   kind of describing it -- and you'll have that          20   do it because" -- "I," as in Matt Beasley -- "can't
 21   provided to you -- if I remember correctly, was on     21   do it because it needs to be at an arm's length."
 22   November 17th of 2020. And the first time I sent       22           Basically, the gist of what Jeff said is
 23   money was January 20th of 2021, something like that.   23   Matt knew the attorney side and Jeff knew the
 24   So I took about two months to think about it.          24   business side, and so Matt came to Jeff and said,
 25       Q Do you remember if anyone else was there         25   "There's a business opportunity to be had here, but



                                                                                5 (Pages 14 to 17)
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  1   I just don't know how to make a business work. I        1   behind it. So Jeff didn't see much into Matt's side,
  2   want to" -- "I want to come with you and see if we      2   from -- from everything I understood from it.
  3   can make a business work out of it."                    3           I feel bad. I feel like everything I'm
  4       Q So other than Matt Beasley, did Jeff say          4   going to say is, "I'm speculating on this," but
  5   that anyone else worked in this business with him?      5   that's -- I mean, really, it's not like I sat down
  6       A No.                                               6   with Jeff and he, you know, wrote everything out to
  7       Q What about his son, Parker Judd?                  7   me. This is just kind of bits and pieces that I
  8       A Towards the end -- I mean, I knew Parker          8   gathered over time from what I understood.
  9   as a person but never knew him as an involved person    9           So, yes, from what I understood, Matt
 10   as far as someone who was doing things in the          10   Beasley was the one securing all of the contracts,
 11   business. When -- when I had friends and family who    11   and Jeff was just the money.
 12   were going to start investing and I was just           12      Q Did Jeff tell you how he found investors?
 13   connecting them to Jeff, Jeff at that time said,       13      A From what I understood, Jeff invested
 14   "Parker will be handling their" -- if I remember       14   himself, just himself, for a while. From there, he
 15   correctly, "Parker will be handling their              15   had a couple friends, three or four friends, I
 16   documentation."                                        16   believe he said, that started investing with him as
 17           So I think there is an email, if I             17   well. I really only know one name of any of those
 18   remember correctly, that says something along the      18   guys, and that was Shane Jager.
 19   lines of Parker had access to Jeff's email that all    19           And from there, I believe that's when it
 20   of the contracts and documentation were going          20   started to kind of tier down, if you will. And then
 21   through. And so whoever was investing, that I knew,    21   they had friends and family that wanted to invest,
 22   would email that email, and Parker would have access   22   and then they had friends and family, and it just
 23   to then go in and do that paperwork.                   23   continued down the line. So that's how I understood
 24           But I really didn't know much -- I would       24   more investors came in.
 25   say Parker is probably the one that I knew the least   25           MS. ABBOTT: I have a quick question I


                                             Page 19                                                      Page 21
  1   out of Jeff's four children.                            1   just wanted to follow up on. I thought when you
  2      Q Did you ever meet Parker in person?                2   were talking about the emails that Parker sent, that
  3      A Yes, but not along any of these -- as              3   he -- will you just repeat that? Parker would send
  4   long -- as far as along any of Jeff's terms. I met      4   what kind of emails? And he would send them in
  5   Parker as the family came into town -- as Jeff's        5   through Jeff's account?
  6   family came in to Heber for Thanksgiving that first     6          THE WITNESS: So the way -- I guess this
  7   year. That was the first time I had met most all of     7   is kind of jumping down in this letter I wrote. But
  8   them in person.                                         8   when -- if you rem-- if you read through this, I
  9          I had met Jen in person one time during          9   have a friend, his name was Matt Mangum, he had
 10   the course of construction -- actually, no, I met      10   family who had invested in J & J Consulting before
 11   Jeff once as well. Jeff came in right when we were     11   it changed to Purchasing through a different avenue.
 12   about to start construction. And that was the only     12          They had invested through a guy who was
 13   time I'd met him in person until the project had       13   working below Shane Jager. His name is Jason
 14   completed and they came into town for Thanksgiving,    14   Jongeward. He was actually a home builder -- it's
 15   which is not uncommon for clients of mine. A lot of    15   funny enough -- in Washington, I believe, where my
 16   residences here in Heber and Park City are not         16   friend Matt Mangum had his wife's family -- extended
 17   primary residences. So for me to be dealing with       17   family and some of them were living. Jason
 18   people across the country and not meeting them in      18   Jongeward built the home for one of Matt Mangum's
 19   person is not something out of the ordinary at all.    19   exten-- wife's extended family, aunt or uncle or
 20      Q So did Jeff tell you that Matt Beasley            20   grandma or someone like that.
 21   found the personal injury settlements that formed      21          However it came up between those guys -- I
 22   this investment?                                       22   don't -- I don't know any of them personally at all,
 23      A Yes. Yeah. From everything that I was             23   I've never spoken to any of them -- they invested
 24   told, Matt was the one securing all of the             24   through Jason, through Shane, to Jeff.
 25   contracts, and Jeff was the one securing the money     25          Matt Mangum, he's a -- I have a -- I think



                                                                                6 (Pages 18 to 21)
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  1   I wrote in here I have a group of friends, and we       1   basically just totally out of it.
  2   talk about investing together. That's -- different      2          A couple weeks went by. Jeff just didn't
  3   companies to invest in, different things to invest      3   have time for it. From everything I understood from
  4   in, different whatever. So I talked about this          4   Jeff, this was at the time that there was a
  5   because this was an investment I was doing. Matt        5   transition from J & J Consulting to J & J
  6   had talked about -- Matt Mangum had talked about        6   Purchasing. So from what I understood, he was very
  7   this with his wife's extended family as well and        7   busy with all of that going on and came back to me
  8   said, "I've heard of something like this before, I      8   and said, "I don't have time to send the emails out
  9   wonder if it's the same thing."                         9   to people, I will send all of the documents just to
 10           He kind of chased it up the flagpole at        10   you so that you can send out to them. And then they
 11   his end and found out it was the same company. He      11   just send it right back to me, and I will have
 12   realized that -- or he tried to invest through that    12   Parker deal with that."
 13   avenue, was unable to. Jason Jongeward and Shane at    13          So that's I guess a really long-winded way
 14   that time were not raising any money. Matt Mangum      14   of getting back to that. I don't know if that
 15   asked me if there was any way that he could invest     15   answers your question, Laurie --
 16   money I guess using my connection to Jeff, just me     16          MS. ABBOTT: No, it's fine.
 17   asking Jeff if I could -- if there was friends that    17          THE WITNESS: -- but that's what Parker's
 18   could get in on this.                                  18   involvement would have been.
 19           Jeff initially said no. He just said,          19          MS. ABBOTT: Yeah, and sorry to cause you
 20   "Look, I'm" -- you know, "I'm helping you out by       20   to go through that lengthy explanation.
 21   doing this as far as you're investing your own money   21          THE WITNESS: Yeah.
 22   in here, but I don't really have time just for a       22          MS. ABBOTT: I understand why you gave it,
 23   bunch of little people to get in on this."             23   but I was just trying to understand what it was
 24           Some time went by. I didn't push it back,      24   Parker was emailing. And basically the reason why I
 25   I just went back to Matt Mangum, and I said, "Hey,     25   wanted to ask that was to clarify whether Parker was


                                             Page 23                                                     Page 25
  1   sorry, Jeff says they're not taking more money right    1   having any emails with the attorneys who are the
  2   now, and that's" -- "that's what it is."                2   counter-parties to the agreement.
  3           Obviously, he was disappointed because the      3          THE WITNESS: From what I understood,
  4   returns were great. So some time went by, and he        4   Jeff, Parker, myself, anyone who was invested did
  5   was sent the screenshot of an email from his wife's     5   not have any type of communication with anyone on
  6   extended family, whoever that person was, that had      6   the other -- other side, if you will, the attorneys
  7   come from Jason Jongeward that said that they were      7   or settlement parties or anything like that.
  8   raising more money. So he came back to me and said,     8          MS. ABBOTT: Okay. So you never sent --
  9   "If this is true, would Jeff let me invest now?"        9          THE WITNESS: All of that communication,
 10           So I sent that screenshot to Jeff, which       10   no.
 11   he should have seen in the text messages, and said,    11          MS. ABBOTT: Jeff never gave any
 12   "Jeff, is this true? I have some friends that would    12   indication that he ever communicated or had any
 13   like to invest, and can they?"                         13   interactions with the counter-parties to the
 14           At that time, he said, "Yes, they can.         14   settlement agreement?
 15   I'll send them all the paperwork," you know,           15          THE WITNESS: Correct. He told me that
 16   whatever, "and they can do it."                        16   that was not -- that was not his role in the
 17           And I was just -- I was kind of stepped        17   business, that was Matt Beasley's role.
 18   out of it. I -- I wasn't planning on -- I wouldn't     18          MS. ABBOTT: Okay. And just one follow-up
 19   make anything off of anyone, I wasn't a money          19   question to that. So the way you've been describing
 20   raiser, I wasn't anything. A couple friends and        20   Matt Beasley and Jeffrey Judd's relationship is
 21   family that had been asking to get in now had an       21   business partners. Would you say that's a fair
 22   opportunity to, and I was basically just connecting    22   description of their business, that they were
 23   dots between them and Jeff. Initially, Jeff was        23   business partners?
 24   going to send all the paperwork directly to them for   24          THE WITNESS: Yes and no. It's actually
 25   them to fill out and send back to him, and I was       25   kind of funny. My dad and I talked about this a



                                                                                7 (Pages 22 to 25)
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  1   little bit as well, because in our initial              1   returns would be when he initially described the
  2   speculation, if you will -- call it skepticism, call    2   investment opportunity to you?
  3   it whatever -- our due diligence that we were trying    3      A When he initially described it -- well,
  4   to do as we were told about this from Jeff in           4   they varied. Every contract that I -- that I
  5   November of 2020 was -- the way that I guess we kind    5   purchased or that I invested in varied. Some of
  6   of understood Matt was that he was Jeff's attorney      6   them were: "Invest a hundred thousand dollars, get
  7   and was handling everything, and we didn't realize      7   $25,000 every 90 days." Some of them were: "Invest
  8   the whole role that Matt Beasley had. Maybe that's      8   a hundred thousand dollars, get $17,000 every 90
  9   not the right way to say that. We knew that Matt        9   days." Some of them were: "Invest $80,000 and get
 10   Beasley was securing all the contracts and doing all   10   22,000," or -- they -- they really varied. They
 11   that side of it, but I would say that they were two    11   were always within something of that range.
 12   businesses that worked together that couldn't have     12          Twenty-five was the very highest. I never
 13   functioned without each other, if that makes sense.    13   personally got one with that high of a return -- or
 14            So in a sense, yes, they were business        14   I guess I never purchased one with that high of a
 15   partners, but Matt Beasley wasn't having direct        15   return. All of mine were less than that, ranging
 16   communication with any of the investors, so he         16   anywhere from 15 up to I think twenty-two or
 17   wasn't part of that business. And Jeff Judd was not    17   twenty-three thousand dollars, was the highest one
 18   part of Matt's business as far as talking to any of    18   that I purchased.
 19   the other attorneys.                                   19      Q Did Jeff explain what the returns to him
 20            I don't know if that helps at all or if       20   were?
 21   that clarifies, but I would say, I mean, yes, they     21      A If I remember correctly, there was a
 22   were obviously doing business together. And either     22   $5,000 administrative fee that he took. And then
 23   one of their businesses would have worked without      23   the way that it was described to me was that I was
 24   the other, but on paper I don't know how that looks.   24   being treated as friends and family, so rather than
 25            MS. ABBOTT: Okay. Thank you.                  25   him taking more of that and giving me less, he was


                                               Page 27                                                    Page 29
  1           And, Joni, sorry for jumping in like that.      1   just giving anything on top that he would have made
  2           MS. OSTLER: No, not at all.                     2   to me.
  3           BY MS. OSTLER:                                  3          So with a traditional investor and in the
  4           BY MS. OSTLER:                                  4   paperwork, what was shown is there was either 50 or
  5       Q Did -- just following up on that, did Jeff        5   60 percent annual returns, and my returns from Jeff
  6   ever tell you that you were prohibited from             6   were between 75 and 76 percent annually. So from
  7   contacting any of the attorneys on the other side,      7   speculation, I guess Jeff's percentage normally
  8   the attorneys who represented these slip-and-fall       8   would have been that 15 to 25 percent spread that he
  9   plaintiffs?                                             9   was then passing along to me, and in his words, just
 10       A He never told me I couldn't. I guess it          10   because he was treating me as friends and family.
 11   was just kind of a -- from the way I was described     11      Q Did he ever explain how Beasley was
 12   it as the reason why his business existed was          12   compensated for his role?
 13   because Matt had to be at an arm's length and that     13      A From what I understood, that was that
 14   for their -- I don't know if it's attorney-client      14   $5,000 administrative fee.
 15   privilege or what that is, that we were just a third   15      Q Did he say that the $5,000 administrative
 16   party in that.                                         16   fee came out of the money you invested or did it --
 17           So I would say yes and no to that. I           17   was it an additional fee that the tort plaintiff
 18   don't know if that makes sense. I was never            18   paid?
 19   explicitly told, "Do not talk to any of these          19      A From what I understood, that was an
 20   attorneys," but it wasn't encouraged either. It        20   additional fee.
 21   wasn't that I was supposed to call every one of        21      Q Did he ever say how many other investors
 22   them, it was just my -- my communication was to        22   there were?
 23   Jeff, Jeff was to Matt, and Matt was to the            23      A He never gave me exact numbers, but I knew
 24   attorneys.                                             24   that there were a lot.
 25       Q Okay. So what did Jeff tell you that the         25      Q Did he ever say how much total investment



                                                                                8 (Pages 26 to 29)
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  1   money he had brought in to this business?               1   absolutely, we" -- you know, "we do this all the
  2       A No. No. He never gave me any type of              2   time." Their words were, from what I understood from
  3   specifics, honestly.                                    3   Matt, they had never worked with J & J but did
  4       Q When he initially described the investment        4   things like this a lot, settlement-type cases.
  5   to you, did he provide you any documentation about      5           Between that, there was another -- another
  6   it?                                                     6   just kid I sold Vivint security systems with back in
  7       A No.                                               7   college. And he was in a car accident on his LDS
  8       Q Did he ever tell you the names of other           8   mission, and he did a similar thing. He had an
  9   investors?                                              9   accident, and there was a big settlement, and he --
 10       A No.                                              10   he settled for money. So Matt was -- Matt Mangum
 11       Q So did he ever say that this was the only        11   was better friends with him than I was and talked to
 12   thing he did for a living?                             12   him about it. And he said, "Yeah, the way that
 13       A I'm just trying to remember. I knew he --        13   this" -- "the way that this is described is exactly
 14   I knew he did the pharmaceutical sales before. I       14   the way that mine was."
 15   guess he never explicitly said that this is all that   15           And so there was just kind of validity I
 16   he did for a living, but he never talked about doing   16   guess I was getting from different areas, and I felt
 17   anything else, so I just kind of assumed. I mean,      17   like I had a friendly relationship with Jeff and
 18   I -- I mean, you can start doing some math on it and   18   didn't feel like he would try to bring me into
 19   think, Why would you be doing anything else? Right?    19   something that would hurt me, if that makes sense,
 20       Q Okay. So --                                      20   or that wasn't legitimate. And so I guess I just
 21       A So that -- I guess that was just my              21   trusted it that way.
 22   speculation that he wasn't doing anything else, but    22           So I guess if that makes sense, that was
 23   I was never explicitly told either way.                23   my due diligence. But never got a contract and
 24       Q Okay. So in your -- back to Government           24   called an attorney or anything like that before I
 25   Exhibit 5, the document that you drafted --            25   invested. That was just I tried to do as much


                                              Page 31                                                      Page 33
  1       A Uh-huh.                                           1   background investigation as I could.
  2       Q -- I can't -- I can't find it right -- in         2      Q And just for clarity of the record, when
  3   there right now, but somewhere you say that you did     3   you're talking about Craig Swapp, you're talking
  4   your own due diligence.                                 4   about an attorney that's sort of famous in the Salt
  5       A Uh-huh.                                           5   Lake area for personal injury?
  6       Q Do you recall that part?                          6      A Yes.
  7       A Uh-huh.                                           7      Q Did Jeff make you sign any documentation
  8       Q What did -- what did your own due                 8   before you invested?
  9   diligence entail?                                       9      A No.
 10       A A couple different things. Like I said,          10      Q No NDA?
 11   I -- this is not my realm or strong suit in any way,   11      A Nope.
 12   shape, or form. I'm -- I'm a contractor. I'm good      12      Q Do you recall -- so I think -- well, I'll
 13   at building houses. That's what I'm good at. I'm       13   just leave this up on the screen because I think I
 14   not good at legal contracts and everything else.       14   may come back to it.
 15           So my form of due diligence was kind of        15          So do you recall where he asked you to
 16   researching what these were. I knew of -- what's       16   wire the funds to for your initial investment?
 17   the -- J.G. Wentworth, that company that you hear      17      A Yeah. I think that's that one I sent you
 18   the commercials on TV all the time, and I -- from      18   just the other day. I mean, I don't have the
 19   the way that I understood it from Jeff, this was a     19   account number, but, if I remember correctly, that
 20   very similar-type business.                            20   was to his personal account because I was not wiring
 21           The same friend, Matt Mangum, grew up with     21   enough to have my own personal contract, so I was
 22   the -- what's his name? -- Craig Swapp. They were      22   sharing a contract with him. So I was just sending
 23   in the same area, and so he knew one of the sons.      23   the money to him, and then he was investing it as a
 24   And so as I talked to Matt about it, Matt asked one    24   personal contract under Jeff.
 25   of the Swapp people about it. And they said, "Yeah,    25      Q So I think I'm just going to skip ahead in


                                                                                 9 (Pages 30 to 33)
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  1   the documents and show you what I've marked as           1   J. That was on that email that I sent you -- or
  2   Exhibit 7.                                               2   that text box.
  3       A Okay.                                              3           The direction I always got from Jeff --
  4       Q Wait. No, I apologize. Exhibit 8. I'm              4   and I guess this kind of goes back to Laurie's
  5   going to jump.                                           5   question of the relationship between Jeff and
  6                  (SEC Exhibit No. 8 was marked             6   Matt -- was -- it was -- kind of the way it was told
  7                  for identification.)                      7   to me was just send the money over to my attorney.
  8          BY MS. OSTLER:                                    8   And so that's -- I guess that's where -- when I --
  9       Q Are you able to see on your screen a               9   when I say I think there was multiple sides or I
 10   document that's been marked Government Exhibit 8?       10   guess I don't understand exactly how the dynamic
 11       A Yes.                                              11   worked was -- I kind of understood it was just
 12       Q Can you describe what this is?                    12   Jeff's attorney, but then I kind of understood that
 13       A Yeah. That would be the first -- so the           13   it was Matt that was running all the contracts, if
 14   initial investment that I did was $20,000. So this      14   that makes sense. So that's probably honestly how
 15   is Jeff sending me the purchase agreement and           15   much help I -- I guess I didn't -- I never knew
 16   saying -- I'll just read his words: "Taylor, this       16   exactly what that dynamic looked like. I don't know
 17   is the contract that your 20K will be applied to.       17   if that helps.
 18   You make 4K in 60 days or 7K if it goes over. Keep      18       Q Yeah. So did you ever get a wire of
 19   this for your records as it acts as an agreement
                                                              19   returns for any of your investment?
 20   between us."
                                                              20       A Towards the end -- so all in the
 21       Q Do you remember why this particular
                                                              21   beginning, this specific one, this initial 20,000
 22
                                                              22   that I sent, I sent it. And about two months later,
      contract was 60 days instead of 90?
                                                              23   I had saved up some more money and wanted to work
 23       A No. Actually, I never even noticed that.
 24
                                                              24   towards having my own personal contract, or, you
          Q I'm going to scroll --
                                                              25   know, owning a full one, and so I sent Jeff another
 25       A I don't know.


                                               Page 35                                                     Page 37
  1        Q -- down to the second page.                       1   $50,000. That one may be the one that I just sent
  2        A Okay.                                             2   to Jeff directly because it was kind of a -- in the
  3        Q And this looks like a wire transfer               3   middle of a contract, it hadn't -- that first one
  4    confirmation. Is that what it is?                       4   hadn't closed. And I was just trying to kind of
  5        A That's correct. Correct.                          5   re-up, and he was just kind of shifting things
  6        Q So this is the wire transfer confirmation         6   around for me.
  7    for your initial investment?                            7           So initially, I never took any payouts, I
  8        A Yep.                                              8   would just take anything that I had -- that was a
  9        Q It looks like the beneficiary bank was            9   profit and roll it into a next one. And I -- if
 10    Wells Fargo Bank for Beasley Law Group.                10   there was -- whatever it was, if I had invested by
 11        A Okay.                                            11   the -- in this case, that $4,000, so I invested
 12        Q Does that help you remember what the wire        12   another $50,000, and then I had $70,000 in there
 13    instructions were?                                     13   going towards a contract. So that 20 plus 50,
 14        A If you want, I can go through my texts           14   seventy thousand, going towards a -- I honestly
 15    right now, because that's where I would have had it.   15   can't even remember if it was fif-- or an eighty or
 16    It will take me a second to just scroll back           16   a hundred thousand dollar contract, but I had a
 17    through.                                               17   portion that was coming back to me. Rather than
 18        Q Well, do you remember that the wire              18   taking that, I rolled it back in to try and own a
 19    instructions changed at one point, that you            19   full $100,000 contract. And that's what I would
 20    initially did Beasley Law and then did J & J           20   keep doing.
 21    Consulting later?                                      21           So then anytime anyone would close, rather
 22        A I know that I had sent money to both             22   than Jeff sending me money back, I would send him
 23    Beasley and to J & J, but for the most part,           23   more money to couple it with whatever that payout
 24    everything was just to Beasley. If I remember          24   would have been to go towards another contract. It
 25    right, there was only one time that I wired to J &     25   was nothing that Jeff ever suggested that I do.



                                                                               10 (Pages 34 to 37)
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  1   That was just me doing my own math and saying, you      1       Q Back on the record.
  2   know, if I -- well, I'm going to -- basically what      2       A Okay.
  3   I -- in my own head and conversations with my wife,     3       Q Tell me the name of the account that you
  4   we had basically said let's take this year,             4   were getting wires from.
  5   basically all of 2021, and any type of a payout that    5       A J & J Consulting.
  6   we would be getting, let's just roll it back in so      6       Q Okay. Thank you.
  7   we can build up as many contracts as we can.            7       A Yep.
  8           As dumb as it is, right when this came          8       Q So I just wanted to fill in some of the
  9   out, that's right when I was supposed to have           9   blanks because we're talking about, like, having
 10   contracts closing that we were actually going to       10   your own contract. So just -- the contracts came in
 11   start taking money out of. So there were a couple      11   denominations of 80,000 or a hundred thousand; is
 12   times that Jeff did send me the money, but I would     12   that right?
 13   just couple it with more and send it right back.       13       A Correct.
 14   The only reason he sent it to me is because I hadn't   14       Q And you -- initially, when you invested,
 15   given him the direction early enough to not send it    15   you split one of the contracts with Jeff?
 16   and me just send more.                                 16       A Correct.
 17           For example, if he sent me $15,000, I          17       Q And that -- so that's why your initial
 18   didn't want him to send that to me, I wanted to send   18   investment was only 20,000?
 19   him another either sixty-five or eighty-five           19       A Correct. Yep. Because Jeff was treating
 20   thousand to complete another contract.                 20   me as family, he was basically doing for me what was
 21           So I guess the long answer to that is,         21   not normal, just to try and help me get -- get into
 22   yes, I was sent money, but not money that I actually   22   it.
 23   kept. It was all money that -- if it was sent to       23       Q So you say that you asked Jeff if your dad
 24   me, it was -- I didn't want it sent to me yet, I was   24   could invest in Exhibit 5, your narrative.
 25   trying to just reinvest it. And that's what I did.     25       A Uh-huh.


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  1       Q All right. So what I was actually trying          1      Q Did your dad wire his investment money
  2   to get at is whether you remember the bank account      2   directly to Beasley Law Group? Do you know?
  3   that he used to send that money to you. I'm trying      3      A I believe so.
  4   to figure out the bank accounts that were involved      4      Q Okay. So he didn't clump his money with
  5   in --                                                   5   you and then wire it together?
  6       A I mean, I could go on -- I could -- do you        6      A No. We were separate.
  7   want me to try and look that up quick on my bank?       7      Q Okay. So when -- when Jeff was telling
  8   Is that --                                              8   you that he treated you as, quote, friends and
  9       Q How long would it take?                           9   family, did he say how much money an average
 10       A A couple minutes, maybe.                         10   investor would get who was not a -- friends and
 11       Q Yeah, let's -- yeah. If it will be               11   family?
 12   quick --                                               12      A He did not tell me at that time. I only
 13       A All right. Let me --                             13   learned of that later when my friends and family
 14       Q -- that would be actually really helpful.        14   wanted to invest, and then I saw that the returns --
 15       A Okay.                                            15   well, at that point, everything had kind of become
 16       Q Is it okay --                                    16   standardized, where rather than varying returns on
 17           MS. OSTLER: So let's just go off the           17   contracts, it was always either a 50 or 60 percent
 18   record while he's looking that up because I'm going    18   return.
 19   to run and go give a bone to the neighbor dog          19      Q Did Jeff ever explain why the returns
 20   because the neighbor dog is making a lot of noise      20   became standardized?
 21   and bugging me.                                        21      A He never explained it, but in my mind, I
 22           THE WITNESS: Okay.                             22   thought it would be a nightmare in his mind to keep
 23           MS. OSTLER: Okay. I'll be right back.          23   track of all the different things. So he never
 24           (A brief recess was taken.)                    24   explained it, but it made sense, in my mind.
 25           BY MS. OSTLER:                                 25      Q So when you initially asked Jeff whether


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  1   your friend Matt Mangum could invest through you and     1   one just sending everything directly to them, and
  2   Jeff initially said, no, he didn't want to, did he       2   that was all going to be independent of me. I
  3   give you an explanation why?                             3   wasn't going to have any interaction between Jeff
  4       A Not really. I mean, he kind of just made           4   and Matt Mangum or anyone else, for that matter.
  5   it sound like -- I don't know if saying he didn't        5          Jeff was so busy, from what I understood,
  6   have time for something that small is the wrong way      6   with the transition from J & J Consulting to J & J
  7   to put it, but kind of at the same time, that's kind     7   Purchasing, he came back to me and said, "I don't
  8   of what it was, was like, "Hey, I'm at" -- "I'm at       8   have time for this. If you really want to let these
  9   the top of this whole thing, I don't really have         9   people in, I just need you to do this for me as far
 10   time for someone's $80,000," or something when he       10   as get them the documentation and then just have
 11   was dealing with -- I didn't know how much, but I       11   them send it back to me."
 12   knew a much larger picture.                             12          So it wasn't that they were doing anything
 13       Q Okay. So I'm going to put back Exhibit 5          13   with me. I guess I was just the one hitting -- you
 14   on the screen.                                          14   know, attaching the documents into an email and
 15       A Okay.                                             15   attaching Jeff and them to that email, which I'm
 16       Q So towards the bottom, you're talking             16   sure you saw, and saying, you know, "Matt, this is
 17   about how your friend Matt Mangum received a            17   an email with Jeff. Sign this and send it back to
 18   screenshot of an email through his extended family      18   him."
 19   showing that Jason Jongeward was saying that they       19       Q Did Jeff tell you that he would give you
 20   were looking for more investments.                      20   some sort of commission or some sort of payment for
 21       A Correct.                                          21   the people you brought in?
 22       Q Is that when you talked to Jeff about             22       A Not initially, but that is something that
 23   whether or not you could raise money?                   23   he did say after. There was never any type of a
 24       A Yes. But it wasn't in the sense of, "Can          24   contract or anything with us. He just said, "Hey,
 25   I raise money and make money off of this?" It was       25   if you're doing the work on these guys, I'll give


                                                 Page 43                                                   Page 45
  1    just in the sense of, "Hey, my friend Matt is           1   you a kickback from some" -- "from what I would make
  2    telling me that you guys are raising more money. He     2   on it."
  3    wanted to get in before. Is this a time he can get      3       Q Did he ever tell you how much he would
  4    in now?"                                                4   give you?
  5           I -- I truthfully was not trying to step         5       A It was never specified per contract, it
  6    in as, How can I be a middleman and make a cut of       6   would vary per contract.
  7    this? I was -- similar to my dad, I had the             7       Q Oh, so --
  8    relationship with Jeff. My dad did to some degree       8       A So --
  9    just because we worked together and he knew that we     9       Q -- on each contract, he would tell you,
 10    were doing a job for Jeff. But I didn't make any       10   "On this one, I'll give you X dollars"?
 11    money off of my dad or anything, right? So it was      11       A No, not necessarily. I guess what I'm
 12    never my intent of, "Hey, if I bring people in, will   12   saying is it depended on what their returns would
 13    you give me a cut of them?" It was just, "My friend    13   be, would depend on what my kickback would have
 14    Matt Mangum wants to invest. Can he invest? His        14   been.
 15    dad Gary, wants to invest. Can he invest?" Right?      15       Q And Jeff would -- was Jeff going to be the
 16    That's all that was ever, on my end, intended to be.   16   one that would decide that?
 17    So --                                                  17       A Yes and no. Honestly, that was always
 18        Q So did Jeff tell you that if you -- that         18   kind of a confusing part to me. There wasn't -- so
 19    if he allowed your friends to invest, did he tell      19   there was an option of either a 50 percent or a 60
 20    you that you would have to have some                   20   percent return, but there was no "you get this
 21    responsibilities for completing paperwork for those    21   because of this" or "you get this because of this.
 22    people?                                                22           So most -- all my friends and family were
 23        A No. That's where -- and I apologize for          23   all at 60 percent because why wouldn't I want
 24    my long-winded answer to Laurie. That's where that     24   them -- right? Because in my mind, I'm not getting
 25    kind of came into play. Jeff was going to be the       25   anything from this. Why wouldn't I want you to have



                                                                               12 (Pages 42 to 45)
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  1   more of it, right?                                      1   going to be planned on. That never did happen. But
  2       Q And when you're saying 50 and 60 percent,         2   that was going to happen.
  3   you mean annually, right?                               3       Q Okay. So the way it was going to happen
  4       A Correct. Correct. Yes.                            4   was that investors would send their money in to the
  5       Q And --                                            5   Matt Beasley account --
  6       A So the way that things became standardized        6       A Correct.
  7   was -- I'll just base this off of a hundred thousand    7       Q -- but when returns came out, they would
  8   dollar contract. The way that J & J Purchasing,         8   flow from somebody to you and then --
  9   which became -- I don't know if you'd say legit         9       A From Jeff to me to them.
 10   or -- that transitioned into J & J Purchasing the      10       Q Okay. So the first friends and family
 11   beginning of 2022, everything became standardized.     11   that you brought in did not invest until January
 12   If you invested a hundred thousand dollars, you        12   2022, right?
 13   would either receive 12,500 every 90 days, which       13       A Yes.
 14   would have been a 50 percent annual, or 15,000 every   14       Q Okay.
 15   90 days, which would have been a 60 percent annual.    15       A My dad was the only one that invested
 16       Q And who decided who got the 12.5 versus          16   before that.
 17   the 15?                                                17       Q So when these investors came in, did they
 18       A That's what -- like I said, it kind of           18   speak to Jeff directly to learn about the
 19   always confused me. There wasn't anything. So          19   investment?
 20   anyone that I brought in, those were the amounts --    20       A No. No. There would be the email that I
 21   I think there's actually a text in there that I ask,   21   would send out to both of them, but there really
 22   "What can I give these" -- like, "Can I give them      22   wasn't much talking about it anymore. It was
 23   everything?"                                           23   more -- I was personally investing in it for a
 24           And he said, "No, it has to be either this     24   year -- or -- yeah, about a year, and they kind of
 25   or this."                                              25   had learned just from me talking about it to them,


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  1           And so for most every single person that        1   not in a "I'm pitching this to you" way, just in
  2   came that I personally had contact with, which          2   "this is an investment that I'm doing."
  3   honestly wasn't a lot because it would just kind of     3          And so, honestly, for the most part, they
  4   flow, they would tell someone, and they would tell      4   had learned just what I had told them, that was what
  5   someone, but the -- I guess my first circle, all of     5   I had understood about it, and they had seen that --
  6   those guys all -- like I said, yeah, like, take the     6   I guess that I wasn't getting paid out all the time
  7   60 percent because why not?                             7   because I was choosing to reinvest it, but that I
  8        Q So it seems like you had the authority to        8   would have been. And so they trusted it for that
  9   say they should get the 15?                             9   reason.
 10        A I -- somewhat, I guess. But that                10          So there really wasn't a lot of -- I
 11   wasn't -- I mean -- honestly, like I said, that was    11   should say there was no pitching this or selling
 12   always kind of a confusing part to me. So I guess      12   this. It was -- there wasn't really a need to talk
 13   to some degree, yes, but to some degree, no.           13   to Jeff, if that makes sense. They -- they knew
 14        Q Did Jeff ever tell you that you were going      14   what it was, they just wanted to invest.
 15   to have to handle investor money, like have it flow    15       Q Okay. Let me just see where I'm at in my
 16   through your own bank account?                         16   outline here.
 17        A Yes. That was actually -- so not in the         17          So you keep saying that there was this
 18   initial where they sent it, but in the outgoing of     18   transition to J & J Purchasing.
 19   it, that's where he had -- so initially, no. That's    19       A Uh-huh.
 20   not the way it was going to be. But after, when he     20       Q And that was the transition from J & J
 21   said, "Look, I don't have time to deal with, you       21   Consulting Services, Incorporated, to J & J
 22   know, this smaller amount. If you really want these    22   Purchasing, LLC?
 23   guys to come in, I just am going to send it to you,    23       A Correct.
 24   and then you can disburse it from there."              24       Q Did Jeff ever tell you why that transition
 25           And so, yes, that was something that was       25   was happening?


                                                                              13 (Pages 46 to 49)
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  1        A I think there was an email that said to           1       Q Did he give you any additional details
  2    become more compliant or something along those          2   about what the FBI was looking for at his own home
  3    lines. But I think I told you, I had never signed       3   when they executed a search warrant at his own home?
  4    any documentation with Jeff, neither had my dad, for    4       A No, he didn't. He told me that they took
  5    all of 2021.                                            5   his -- I believe took his computer. I'm just trying
  6            The beginning of 2022, there was                6   to remember the conversation for what -- so he
  7    documentation sent over that we needed to sign and      7   called me -- sorry, I called him. He text -- I was
  8    send back. And that is all the documentation that       8   out on a snowmobile ride, he texted me to call him,
  9    I'm sure you guys have now seen, the nondisclosure,     9   which, like I said, was not abnormal. We were doing
 10    noncompete, subscription agreement, that 111-page      10   business in my world together, right? I still had
 11    whatever. That was that documentation.                 11   things going on at his house that I was taking care
 12            So when I refer to the transition and Jeff     12   of, so I assumed it was for one of those items.
 13    being busy with that transition, that was my           13           When I called him, he said something along
 14    understanding, was he was busy putting all of that     14   the lines of, you know, "We should be" -- "we should
 15    documentation together and going back and sending it   15   probably be having this conversation in person, but
 16    out to anyone who had previously invested so that      16   I can't." You know, "Let me tell what happened this
 17    they could then be -- I guess if I remember            17   week."
 18    correctly, the word "compliant" moving forward.        18           And I was a little bit confused. I knew
 19        Q Did you understand him to be saying that         19   that his daughter had gotten married the night
 20    they were not compliant before this transition?        20   before, which my wife and I had been invited to but
 21        A No. That's not the way I understood it.          21   were unable to attend due to a different family
 22    It was more just it had grown to a size -- and I       22   commitment. And he proceeded to tell me that the
 23    still didn't know exact numbers, but everything that   23   FBI raided Matt Beasley's house, Matt came out with
 24    I was understanding was it had grown to where they     24   a gun, Matt was shot but survived, that he was then
 25    needed to do these different things to become
                                                              25   in custody, that they had come to Jeff's house


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  1   compliant with the size they were getting to, not        1   looking for more evidence, just looking -- he didn't
  2   that they weren't compliant before.                      2   say -- he actually -- he didn't even say "evidence."
  3          And, again, that's probably where I should        3   He just said they came to his house.
  4   have more knowledge about all the SEC laws, but I        4           And his demeanor towards me was very,
  5   don't know if there's a threshold that once you're       5   like, "I don't know exactly what's going on, like, I
  6   bigger than this, you do something different. I          6   don't know why they came to my house, I don't know
  7   really don't know. That's just what I was told.          7   why they went to Matt's house, I don't know why Matt
  8       Q Okay. I'm going to scroll down in Exhibit          8   came out with a gun, but it scares me."
  9   5.                                                       9           You know, I'm -- I'm not saying -- I'm not
 10      A Okay.                                              10   quoting, I guess, but I'm just trying to tell you
 11       Q At some point in this document, which I           11   what the communication there was, was his just
 12   actually cannot find right now, but correct me if       12   communicating to me, "I don't know what's happening,
 13   I'm wrong, you say that the people -- the friends       13   it makes me nervous that Matt came out with a gun
 14   and family that came into the investment through you    14   because that does not look good," and basically that
 15   never got paid any of their returns; is that            15   he would let me know anything that he found out, but
 16   correct?                                                16   that he was, you know -- his world was kind of
 17      A That's correct.                                    17   upended and he was trying to get to the bottom of it
 18       Q Okay. And you talk about how Jeff Judd,           18   and would just let me know as soon as he could.
 19   on March 5 -- Saturday, March 5, texted you to call     19           So I really didn't get a lot of specifics,
 20   him.                                                    20   but obviously I knew something wasn't right. I
 21      A Uh-huh.                                            21   mean, if the FBI shows up to someone's house and
 22       Q And then you called him, and that's when          22   they come out with a gun to their head, that doesn't
 23   he told you about the FBI's raid on Beasley's house,    23   look great on any end. So I -- I kind of knew
 24   right?                                                  24   something was going on there and started speculating
 25      A That's correct.                                    25   within my own mind.



                                                                                14 (Pages 50 to 53)
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                                               Page 54                                                    Page 56
  1           I called my dad, I called Matt Mangum, you      1   published by different sources.
  2   know, just some of those friends who had invested,      2       Q Have you ever point blank asked Jeff if he
  3   and I just said, "Guys," like, "I" -- you know, "I'm    3   knew this was a Ponzi scheme?
  4   not calling with absolute information here, I'm just    4       A I did.
  5   calling with what just happened just to kind of         5       Q What did he say?
  6   relay this information on to you."                      6       A He said no. He told me that if he would
  7           And I just kind of went about the day -- I      7   have known, he never -- his words to me were -- I
  8   shouldn't say normally because obviously I was very     8   shouldn't say "his words to me" because this isn't
  9   concerned. But it wasn't until later that night, we     9   an exact quote. But his -- the gist of what he said
 10   were at dinner, and -- I think it's actually right     10   to me was, "If I would have known that this wasn't
 11   there. Later that evening, I was sent an article by    11   real, I never would have got you or your dad" --
 12   my brother Hayden Richards, and the reason he had it   12   he's like, "You guys are, you know, some of the best
 13   is because he has a friend who lived close to where    13   guys I've ever met. I never would have got you
 14   Jeff lived in Henderson. And so, you know, they        14   involved in this."
 15   obviously kind of knew everything -- I shouldn't say   15           He said, "I never would have had" -- he's
 16   knew everything that was going on because I can't,     16   like, "My" -- "all my family has money in this, my
 17   but the FBI shows up to your neighbor's house, then,   17   kids have money in this, my parents have money in
 18   you know, something's up.                              18   this, my siblings." You know, he just kind of went
 19           And then the FBI -- or not the FBI, the --     19   on about all of the direct family. He's like, "Why
 20   the Review Journal in Vegas, I believe it is,          20   would I ever bring people I love into this if I knew
 21   published an article, and I was sent that article.     21   it was not real?"
 22   And that came to me through my brother Hayden, and     22           So that was his response to me. So to
 23   it came to him through the people who lived by Jeff.   23   answer that more directly, yes, I asked Jeff point
 24       Q Do you know the names of that family that        24   blank, "Did you know about this?"
 25   your brother Hayden is friends with?                   25           And his response was that he had questions


                                               Page 55                                                    Page 57
  1       A I don't. I mean, I could find it out, but         1   along the way, but that he did not ever know that it
  2   I -- I don't know. I don't know who they are.           2   wasn't real. Everything that he knew was that
  3       Q That's okay.                                      3   everything was legitimate.
  4           Was the article the first time you saw          4       Q Did he elaborate to you on what the
  5   that Matt Beasley had confessed that it was a Ponzi     5   questions were that he had along the way?
  6   scheme?                                                 6       A A little bit. He said -- he's like, you
  7       A Yes.                                              7   know, "We" -- I guess just kind of verifying things
  8       Q So Jeff did not tell you about Matt's             8   that were going on were his questions -- maybe
  9   confession in his phone call with you?                  9   "questions" isn't the right word to put there, but
 10       A Nope.                                            10   just verifications like, "Hey, Matt, I'm sending you
 11       Q Have you, since then, ever discussed with        11   however much money you're" -- you know, "through my
 12   Jeff the fact that Matt Beasley confessed that this    12   sources, I" -- "you're being sent however much money
 13   was a Ponzi scheme?                                    13   every week. Where is that going? Like, I" -- "can
 14       A Yes and no. I mean, I know that's a weird        14   you at least show me a wire transfer to a different
 15   way to answer that, but, I mean, I've had              15   attorney or bank statements or anything like that?"
 16   conversations with Jeff, but, really, mainly they've   16          And he said that he was showed all of that
 17   been for my line of work. I mean, I've asked Jeff,     17   information and so had zero reason to believe that
 18   like, "What do you know? What do you know?"            18   everything wasn't legitimate in how Matt was saying
 19           And he just said, you know, "Matt              19   it was happening.
 20   confessed to it," but I don't know what that means.    20       Q So he -- Jeff told you that Matt showed
 21           So I guess that goes back to yes and no.       21   him wire transfers showing money going to other
 22   Like, yes, we have had conversations, but it's not     22   attorneys for these contracts?
 23   that he's given me this great insight on anything.     23       A That -- that's correct.
 24   Any -- honestly, any information I really got from     24       Q Did Jeff -- other than the wire transfers,
 25   this has come from any articles that have been         25   did Jeff tell you that Matt showed him any other



                                                                              15 (Pages 54 to 57)
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  1   documentation?                                         1   he sent to me was pretty basic. I'm very OCD, and
  2      A I didn't ask for more. That's -- that was         2   for my work I do a lot of Excel spreadsheets to keep
  3   just the example that he gave to me. So I wasn't       3   track of budgets on homes. And so just for my own
  4   saying, "Just tell me what he showed you." It was,     4   personal visual, I kind of spruced it up and, you
  5   you know, "Yeah, along the way, I had" -- you know,    5   know, outlined different things or, you know, put
  6   "I wanted to verify things, and I was shown wire       6   headers on things, but I didn't change the bones of
  7   transfers and bank statements and everything going     7   what he sent me, if that makes sense.
  8   to and from attorneys," I guess if -- if that helps    8       Q Okay. And in this email, Government
  9   put it into more of a context.                         9   Exhibit 6, you write a description of the
 10       Q Okay. Do you remember when this                 10   spreadsheet and what you did with it. To -- to the
 11   conversation with him occurred where you asked him    11   best of your knowledge, is all of this description
 12   point blank whether he knew?                          12   that you wrote accurate?
 13      A Between March 5th and now. I don't know,         13       A Yes.
 14   three -- three weeks ago maybe.                       14       Q I'm going to show you the attachments.
 15       Q Was it in person or by phone?                   15       A I just need to answer a text to a
 16      A No, it was on the phone.                         16   client -- is that okay? -- real quick.
 17       Q Okay. Let me just go back through.              17       Q Oh, yeah. Go for it.
 18           Do you need to take a break, by the way?
                                                            18       A Sorry about that.
 19      A I'm good.                                        19       Q That's okay.
 20
                                                            20          Do you see on your screen a document
          Q Okay. Did Jeff tell you when he had
 21
                                                            21   that's been marked as Government Exhibit 6A?
      questions along the way?
 22      A No, he never gave me any dates on
                                                            22       A Yes.
                                                            23                  (SEC Exhibit No. 6A was marked
 23   anything. It was just as the business evolved, I
                                                            24                  for identification.)
 24   think he was checking into things and making sure
                                                            25          BY MS. OSTLER:
 25   everything was what it was supposed to be. But I --


                                              Page 59                                                   Page 61
  1   he never gave dates of anything.                       1      Q Do you recognize this as the investor
  2        Q Okay. So I'm going to take down Exhibit 5       2   tracking spreadsheet that you attached to your email
  3   and put up, instead, Exhibit 6.                        3   to me that was marked as Government Exhibit 6?
  4                (SEC Exhibit No. 6 was marked             4      A Yes.
  5                for identification.)                      5      Q So this is the investor tracking
  6           BY MS. OSTLER:                                 6   spreadsheet that you kept for Mr. Judd?
  7        Q Okay. Do you see the document that's been       7      A Correct.
  8   marked as Government Exhibit 6 on your screen?         8      Q Did you just keep updating the same
  9        A Yep.                                            9   spreadsheet as you went along?
 10        Q What is it?                                    10      A Yes.
 11        A That's an email that I sent you when you       11      Q When was the last time that you updated
 12   asked about the investor tracking sheets.             12   this spreadsheet?
 13        Q So in this email dated March 31, 2022,         13      A It would have been either that very end of
 14   from you to me, you say that one of the attachments   14   February or beginning of March, whatever the week
 15   is an investor tracking sheet that you were sent by   15   before -- I guess the very -- the first part of
 16   Jeff.                                                 16   March, that week.
 17        A Uh-huh.                                        17      Q Okay. In the second column, it says:
 18        Q Did Jeff actually send you a template of       18   "Entity, If Different From Name."
 19   an investor tracking sheet that he wanted you to      19      A Uh-huh.
 20   fill out?                                             20      Q Does -- what does this column indicate?
 21        A Yes.                                           21      A Most people would invest through an LLC or
 22        Q And did he instruct --                         22   some type of a business name, so when -- for Jeff's
 23        A I --                                           23   records and for Matt Beasley's records, they would
 24        Q Oh, go ahead.                                  24   know who the money was coming from or what bank
 25        A I kind of spruced it up a little bit. What     25   account it was coming from. So an example -- and



                                                                             16 (Pages 58 to 61)
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  1   you've seen the texts between -- the group texts of    1       Q So to the best of your knowledge, no
  2   myself, Jeff, and Matt Beasley, where I text and       2   additional money was wired after March 4, 2022?
  3   say, you know, "This week, there's this much that      3       A That's correct. It probably actually
  4   was invested. It came from this person. This is        4   would have been more like March 2nd because that's
  5   their" -- "the name of the account that it came        5   the Wednesday. But --
  6   from." And that would be it, if that makes sense.      6       Q Okay.
  7       Q Okay. So for example, where the very top         7       A Yes.
  8   row says "Investor, Tim Naylor" and then "Entity,      8       Q Did Jeff Judd tell you to tell the
  9   TJN Investments, LLC," that means Tim Naylor           9   investors who had that -- investments lined up to
 10   invested through his entity named TJN Investments,    10   not send their money because of --
 11   LLC?                                                  11       A Yeah.
 12       A That's correct.                                 12       Q -- Matt Beasley?
 13       Q And in the column that says "Docusigned by      13       A Yeah. Yeah, he did. He said, "Tell
 14   Jeff," are you indicating that Jeff Judd himself      14   everyone" -- his words were, "I don't know" --
 15   Docusigned the investor documents?                    15   sorry, I keep saying "his words were." I don't mean
 16       A Yes. That's where I was describing I was        16   that as a literal quote, I just mean the
 17   just kind of the -- the one connecting the dots. So   17   communication that was communicated was, "Tell
 18   everything was signed between, in this case, Tim      18   everyone that I don't know what's going on, things
 19   Naylor as TJN Investments, LLC, with Jeff Judd.       19   are on hold, we're" -- you know, "we need at least a
 20       Q Okay. And then it shows the amount              20   couple weeks to try and see what Matt Beasley has
 21   invested, which is sort of self-explanatory. But      21   done, where the money is, and what needs to happen."
 22   what does --                                          22          So Jeff did tell me, you know, "Hold off
 23       A Yeah.                                           23   on everything, tell everyone, you know, 'Don't send
 24       Q What does "Initial Date" refer to?              24   any money,' because we need to figure out what Matt
 25       A That is the date that their contract would      25   has done with the money."


                                             Page 63                                                      Page 65
  1   start. So the way that the contracts were written      1       Q Okay. And just to confirm, "Addendum 1
  2   was that they would start on the Friday of every       2   Date" is what?
  3   week. So "initial date" would mean they sent money     3       A If you sent -- if someone who had already
  4   that week for the contract to start or for that        4   sent money was sending more money. So they were
  5   money to fund the contract that started on, in this    5   not -- in this case, you can see Steve Dougherty.
  6   case, January 21st.                                    6   Steve Dougherty invested that -- he's the second
  7       Q Okay. So going down to the row that says         7   line item -- and invested a hundred thousand
  8   that Derek Klopfer is the investor --                  8   dollars. That was his initial date, was 1-21 --
  9       A Uh-huh.                                          9   correct? -- right there where you have it
 10       Q -- and it says initial date 3-4-2022 --         10   highlighted.
 11       A Uh-huh.                                         11           The following week, he invested another
 12       Q -- is that indicating that he sent              12   hundred thousand dollars. And so that was his
 13   money -- so March 4th was a Friday.                   13   addendum, was the way that I was told it was
 14       A Uh-huh.                                         14   referred to from Jeff. That was his addendum
 15       Q When would he have sent the money for that      15   sending more money but someone who had already
 16   investment?                                           16   invested. So he was not an additional investor,
 17       A Monday either, Tuesday, or Wednesday --         17   just additional money from the same investor.
 18       Q Okay.                                           18       Q Okay. The total invested you have on this
 19       A -- of that week. So the money had to be         19   spreadsheet is 4,840,000. But my calculations, that
 20   sent either Monday, Tuesday, or Wednesday, and the    20   includes the amounts highlighted in yellow that did
 21   contract then started on Friday.                      21   not actually go in; is that correct?
 22       Q All of the rows that are highlighted in         22       A That's correct. If you go back to your
 23   yellow are investments that were lined up but did     23   Exhibit 5, that will -- there is a line in there
 24   not go in?                                            24   that tells you the true exact amount. Right up at
 25       A That's correct.                                 25   the very top there. Yeah, right there. So that is



                                                                              17 (Pages 62 to 65)
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  1   money that was actually sent between myself, my dad,    1        A Hayden invested through my dad.
  2   my brothers, my, you know, friends, all the people      2        Q Okay. So the amounts that it shows on
  3   that you just saw on that sheet.                        3    this spreadsheet of your father's investments, that
  4       Q Okay. So to make sure the record is               4    includes --
  5   clear, Exhibit 6A does not reflect your investments     5        A Include that of my brother, yes.
  6   or those of your father.                                6        Q Okay.
  7       A That's correct.                                   7        A Sorry, I didn't let you finish.
  8       Q Just your friends and family other than           8        Q Okay. I'm going to stop sharing Exhibits
  9   you and your dad.                                       9    6, 6A, and 6B. This is going to be a lot of
 10       A That's correct. That's just -- so this is        10    documents from here out.
 11   kind of where it came back in that Jeff said, "I'll    11        A Okay.
 12   give you a kickback from me," because I was then       12        Q Actually, back to 6 -- I forgot, I've got
 13   doing this work for him. So I was kind of doing        13    a couple more questions on 6.
 14   some of his busy work that he wouldn't have to do,     14           So in your email to me that is Government
 15   and in return, he said he would give me a kickback.    15    Exhibit 6, you say that you were to send the
 16       Q Okay. But he never really told you how           16    spreadsheet to Jeff by Friday of each week.
 17   much that would be?                                    17        A Yep.
 18       A That's correct. It was -- my                     18        Q Did you send that by email?
 19   understanding was that I would make up the             19        A Yes.
 20   difference somewhere of what the contract was, but
                                                             20        Q Do you still happen to have those emails,
                                                             21    like, in your sent items maybe?
 21   that was it.
 22
                                                             22        A Yes. Those should have all come to you.
          Q Okay. So I'm now showing you the document
 23
                                                             23    Anything that was sent back and forth should have
      that's marked as Government Exhibit 6B. Are you
                                                             24    been sent in with you. There was some weeks -- so
 24   able to see that?
                                                             25    Jeff sent that to me, if I remember correctly, the
 25       A Yep. Yeah. Sorry, I should have just had


                                              Page 67                                                      Page 69
  1   you go to that one. That's -- that's exactly --         1   beginning of February, and I actually didn't send it
  2   those are the actual amounts invested by every          2   to him every week. I believe I only sent it to him
  3   person.                                                 3   maybe twice.
  4                 (SEC Exhibit No. 6B was marked            4       Q Okay. You also say in Exhibit 6: "I
  5                 for identification.)                      5   believe Jeff would receive an email with this sheet
  6          BY MS. OSTLER:                                   6   from many others as well."
  7          BY MS. OSTLER:                                   7          What makes you believe that?
  8      Q And this is a document that you created,           8       A Let me just read it. "I believe Jeff
  9   and you attached it to your email to me that is         9   would receive an email with this sheet from many
 10   Government Exhibit 6?                                  10   others as well."
 11      A That is correct.                                  11          Because when I was sent the sheet, it was
 12      Q Laurie actually just had to drop off. She         12   in a group email that others were on, others that I
 13   had another meeting to go --                           13   don't know. Just there were other emails on there.
 14      A Okay.                                             14       Q Okay. Did Jeff ever tell you how many,
 15      Q -- so she just dropped off.                       15   like, promoters or finders he had working underneath
 16      A No problem.                                       16   him?
 17      Q So Government Exhibit 6B reflects all of          17       A He didn't. I knew -- I knew Shane, I knew
 18   the people that invested that were your friends and    18   Jason was under Shane, but I -- Jeff actually never
 19   family and then also you and your father, Dave         19   told me that. That was from Matt Mangum. So apart
 20   Richards, and then you, Taylor Richards.               20   from that, I honestly didn't know how many others
 21      A That's correct.                                   21   were raisers, or whatever you want to call them.
 22      Q In some of the documents, it indicated            22       Q Okay. You say in Exhibit 6 that Matt
 23   that you were texting Jeff Judd about your -- your     23   Beasley would send Jeff an email each Saturday
 24   brother Hayden potentially investing. Hayden never     24   listing how many contracts they had for the
 25   invested?                                              25   following week.



                                                                               18 (Pages 66 to 69)
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                                             Page 70                                                      Page 72
  1         How do you know that?                             1           So Government Exhibit 8 actually consists
  2      A That's what I had understood from Jeff.            2   of -- it looks like three -- at least three
  3      Q Okay. You were not included on those               3   different documents, right?
  4   emails from Matt Beasley?                               4       A Uh-huh. That's correct.
  5      A No.                                                5       Q Is this what you would have called like
  6      Q Okay. And then you say that you would --           6   your file for one of your contracts?
  7   in Exhibit 6, that you would send a confirmation        7       A Yes.
  8   group text to Matt and Jeff.                            8       Q And so this is how you kept these
  9      A Uh-huh. Yes.                                       9   documents in your own recordkeeping?
 10         Sorry, I didn't hear that.                       10       A Yes. I've got them -- I've got all my
 11      Q I'm just going to pull up another exhibit.        11   stuff right here. So I would keep -- I'll just show
 12         Are you able to see the document marked          12   you. I would keep each one with its name and, you
 13   Government Exhibit 7?                                  13   know, information about it in a folder. And inside
 14      A Yes.                                              14   of that folder is exactly what you're showing on
 15                (SEC Exhibit No. 7 was marked             15   your screen right now.
 16                for identification.)                      16       Q Okay. So each time that you made an
 17         BY MS. OSTLER:                                   17   investment with Mr. Judd, he would send you this
 18      Q Is this an example of one of the group            18   thing called a purchase agreement?
 19   emails that you sent to Matt and Jeff --               19       A Yes. Up until about February of 2022.
 20      A Yes.                                              20       Q Did you ever -- I think I may have asked
 21      Q -- telling them how much money you had?           21   you this before, but let me just make sure. Did you
 22   Okay.                                                  22   ever try to look up the attorneys whose names are on
 23      A Yes.                                              23   these purchase agreements?
 24      Q So I'm going to go back -- actually, let          24       A Yes, I did. I looked them up. I never
 25   me -- if you want to take like a quick break, I can    25   called them. I guess I -- going back to when you


                                             Page 71                                                      Page 73
  1   go through my outline and sort of see what I've         1   asked me about what my due diligence was -- well, I
  2   covered so far and see what maybe I can skip.           2   guess that's not quite true because I didn't have
  3       A Okay. That's fine.                                3   one of these at that time. But once I had one of
  4       Q And so let's take like just a maybe three-        4   these, that was another step of my due diligence,
  5   or five-minute break.                                   5   was looking up the attorneys, you know, are they
  6       A Okay.                                             6   legitimate, where are they, you know, all that kind
  7       Q And I'll sort of gather through -- what           7   of stuff, and everything was real about them. And
  8   we've been through so far.                              8   so -- I mean, I never looked up -- who is this?
  9       A Okay.                                             9   Christy Greer. I don't know who Christy Greer is.
 10           MS. OSTLER: So let's go off the record.        10   But I do know that I looked up Kerry Doyle of
 11           (A brief recess was taken.)                    11   Crawford & Doyle, LLC -- or is that right? Is that
 12           BY MS. OSTLER:                                 12   the --
 13       Q For some reason, I noticed that my video         13       Q Yeah.
 14   keeps cutting out, and I'm not telling it to, but if   14       A -- the attorney? I know I looked up the
 15   it does, just -- I apologize for that.                 15   attorneys, not on every single one of them, but on a
 16       A No problem.                                      16   couple of them, just to kind of test -- test to make
 17       Q I think sometimes when I share my screen,        17   sure they're real, I guess.
 18   it somehow cuts it out.                                18       Q Okay. Did you ever happen to notice that
 19           Okay. So I'm now showing you on the            19   this -- these contracts were with J & J Consulting
 20   screen again the document that's been marked as        20   Services, Inc., an Alaska corporation? Did that
 21   Government Exhibit 8. Let me just scroll through       21   ever stand out to you?
 22   this document for you just so you can see what all     22       A I did notice it, and I never asked Jeff
 23   of it is.                                              23   about it. I kind of just figured it was a tax thing
 24       A Uh-huh.                                          24   or something like that. I mean, I personally have a
 25       Q And it's kind of slow.                           25   business in Montana, and I live in Utah. Right? So



                                                                              19 (Pages 70 to 73)
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  1   I -- I mean, I guess I noticed it, but it wasn't        1   create a separate LLC from which to invest?
  2   like a red flag like, "Oh, you live in Vegas, but       2      A No.
  3   you have an Alaska business." So --                     3      Q I'm going to show you another document.
  4       Q Did he ever mention to you that there was         4      A Okay.
  5   another corporation called J & J Consulting             5      Q There's -- there are several documents I
  6   Services, Inc., that was incorporated in Nevada?        6   just want to ask some questions on, but I hope that
  7       A No.                                               7   they'll go quickly and that you won't be here for
  8       Q Okay. So I noticed that all of the                8   much longer.
  9   purchase agreements from your files that you            9                (SEC Exhibit No. 12 was marked
 10   produced --                                            10                for identification.)
 11       A Uh-huh.                                          11          BY MS. OSTLER:
 12       Q -- none of them are signed by anyone.            12      Q Are you able to see on your screen a
 13       A Uh-huh.                                          13   document that's been marked as Government Exhibit
 14       Q Did you happen to ever see one that was          14   12?
 15   signed?                                                15      A Yes.
 16       A I don't believe so.                              16      Q Do you recognize this as an email that you
 17       Q Did you ever ask Jeff why none of them           17   received from Jeffrey Judd?
 18   were signed?                                           18      A Yes, I do.
 19       A No, I didn't. I knew that he -- I mean,          19      Q Do you know who Dustin Hacker is?
 20   he would tell me he was signing them, but I never      20      A No. No. That would have been one when I
 21   asked why he wasn't sending me the signed one. From    21   referred to what -- I would receive emails with
 22   my understanding, this -- him sending this to me was   22   others on there that I didn't know. I have no idea
 23   just more of a courtesy, not so much of a -- like, I
                                                             23   who that is.
 24   didn't technically need this information, from what
                                                             24      Q So in this email, Jeff Judd tells you and
 25   I understood. That was -- my contract was between
                                                             25   your dad and Dustin Hacker that he had a


                                               Page 75                                                    Page 77
  1   myself and Jeff, and Jeff was doing these individual    1   conversation with the attorneys "that helped me set
  2   contracts. So I didn't -- I guess I didn't really       2   up the private money placement documents," and they
  3   need to see that.                                       3   asked if he was still sending out the contracts, and
  4        Q Okay. In some of -- I took Exhibit 8             4   if so, he was to stop.
  5   down. In some of the other contracts, the files         5          Did you ever have a conversation with Mr.
  6   that you produced, I noticed that the wire transfer     6   Judd, like, by phone or in person, about the fact
  7   starts coming from you from an entity called TH         7   that he stopped sending the contracts to you?
  8   Richards Investments, LLC.                              8       A No. I mean, I got this email, and that
  9        A Uh-huh.                                          9   was pretty much it.
 10        Q Is that your entity?                            10       Q Did he ever ask you to delete the
 11        A That's correct.                                 11   contracts that he'd already sent to you?
 12        Q When did you set up that entity?                12       A No.
 13        A The end of -- the end of 2021. My effort        13       Q Okay. That's it for that one.
 14   was just trying to separate what my -- my wife's a     14          I apologize, the government computers are
 15   Realtor. I do construction. So we have the, you'll     15   really quite slow.
 16   notice, Richards Realty and Construction that I had    16       A No problem.
 17   been sending things out of, and I just -- not          17       Q I think it's because of all the firewalls
 18   because anyone told me, just in my own effort to       18   we have.
 19   kind of divide them a little bit and keep things a     19          Oh, dear. That's the wrong screen.
 20   little bit cleaner, if you will. Just knowing what     20       A I don't even know how you do the screens.
 21   was coming from what, I started that company.          21   I get confused just to share anything.
 22        Q So Richards Realty and Construction is an       22                (SEC Exhibit No. 14 was marked
 23   LLC that you and your wife have together?              23                for identification.)
 24        A That's correct.                                 24          BY MS. OSTLER:
 25        Q Okay. Did -- did Jeff instruct you to           25       Q So are you able now to see on your screen



                                                                               20 (Pages 74 to 77)
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                                               Page 78                                                    Page 80
  1   a document that's been marked as Government Exhibit      1   that because Matt Mangum's extended family had
  2   14?                                                      2   invested. Because they knew Jason, they were
  3       A Yes. I can't -- I can read that it's from          3   investing into Shane, who was the money raiser. So
  4   Jason Jongeward. I -- the -- oh, now they're             4   when I said, "If I did what that Jason guy is
  5   getting better. I was going to say, I can't read         5   doing," what my expression was, is, If I did what
  6   everything that's in there, but I do recognize that      6   Jason is doing, connecting, in Jason's case, Shane
  7   as the picture that Matt Mangum received from his        7   to investors, and in my case investing Jeff -- or
  8   extended family and then sent to me.                     8   connecting Jeff to investors, can I do that?
  9       Q Okay. That's actually all I wanted you to          9       Q Okay. Okay. That's it for that one. So,
 10   confirm, is that this is what you got from Matt         10   see, these are going fast, which is great.
 11   Mangum.                                                 11   Hopefully we'll finish quickly.
 12       A Yes.                                              12          I'm going to show you a document that's
 13       Q So you never yourself emailed with Jason          13   been marked as Government Exhibit 16.
 14   Jongeward directly?                                     14                 (SEC Exhibit No. 16 was marked
 15       A No.                                               15                 for identification.)
 16       Q Okay.                                             16          BY MS. OSTLER:
 17                (SEC Exhibit No. 15 was marked             17       Q Are you able to see Government Exhibit 16
 18                for identification.)
                                                              18   on your screen?
 19          BY MS. OSTLER:
                                                              19       A Yep.
 20       Q I'm now showing you a document that's been
                                                              20       Q So this is actually -- I -- well, first of
 21   marked as Government Exhibit 15. Is this a text
                                                              21   all, do you recognize this as a text communication
 22
                                                              22   between you and Jeff Judd?
      communication between you and Jeff Judd?
                                                              23       A Yep.
 23       A Yes.
 24
                                                              24       Q Do you think this was in December 2020 or
          Q And was this December 4, 2021?
                                                              25   2021?
 25       A Yes.


                                               Page 79                                                    Page 81
  1        Q So is this the text that you sent to Jeff         1      A That's 2021.
  2    in response to seeing that email from Jason             2      Q Okay. So the way you produced the text
  3    Jongeward looking for more investments?                 3   messages, you produced them in single screenshots.
  4        A Yes. I -- I believe just above what               4      A Uh-huh.
  5    this -- you see on this screenshot is -- I believe      5      Q I -- I went through and I tried to put
  6    that that was the previous text that was sent, was      6   together conversations that were probably together.
  7    that screenshot, and then me asking, "Is this true,"    7      A Okay.
  8    obviously, and then saying, you know, "This Jason       8      Q So this Exhibit 16 has three different
  9    guy's bringing guys in. If I did that" -- because       9   pages to it. And I'm going to scroll --
 10    he and I had already talked about it -- "where they    10      A Okay.
 11    invest through me, is that something that's okay?"     11      Q -- through it, and you tell me if this
 12            And I was a little confused on his             12   looks like it is the conversation as it happened.
 13    response that he didn't know Jason was doing that,     13      A Okay.
 14    but, anyways, this is -- this is basically where he    14          Yeah, that looks like those two flow
 15    said, "Yeah, if you have guys that want to invest,     15   together.
 16    they can invest."                                      16          Yeah, that looks like it all flowed
 17        Q Did he ever explain to you in more detail        17   together.
 18    why he needed more money at this time?                 18      Q Okay. And I'm going to scroll to -- let
 19        A He didn't. From everything I understood,         19   me try to find where it was.
 20    it kind of came in waves a little bit. But I was       20          Okay. So the second page of Government
 21    never told, "This is why."                             21   Exhibit 16, in the text at the top, is this you
 22        Q When you say, "If I did what that Jason          22   saying to Jeff: "No worries, I'll just start
 23    guy is doing," how did you know what Jason was         23   another" --
 24    doing? Just from that email?                           24      A "Another contract."
 25        A Yeah. Just sending -- yeah. I just knew          25      Q Okay. And at the last part of that text,



                                                                               21 (Pages 78 to 81)
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                                              Page 82                                                     Page 84
  1   you say: "Two of them I told 15K, and one I told        1        A Yes. That is what that text said. My
  2   12.5K."                                                 2    understanding in previous conversations was that I
  3       A Uh-huh.                                           3    could just pass everything along through. So like I
  4       Q What were you referring to there?                 4    said, that's what this text said. And when I said,
  5       A What their returns would be.                      5    "I have a couple of questions for you. Do you have
  6       Q The returns of people that were investing         6    a second to talk?" that was my intention of
  7   through you?                                            7    saying -- this wasn't ever me intending to come in
  8       A That's correct.                                   8    and do that, this was me just passing it through.
  9       Q Okay. And on the first page, you're               9    Why is it that I have to either pay one of those
 10   texting Jeff: "You pay the 19K to me. Is there a       10    amounts?
 11   certain amount I have to pay to them? Last night       11        Q Got it.
 12   you said something about 15K."                         12           Did Jeff ever tell you that this is how
 13       A Yeah.                                            13    other people did it for him, that other people were
 14       Q "In the documents, I'm reading 12,500."          14    paid like $4,000 per contract?
 15          Can you sort of explain, what -- what were      15        A No. He never explicitly told me. I kind
 16   you -- what did you mean by Jeff would pay the 19K     16    of assumed a little bit. I mean, why else would
 17   to you, and then you would pay that out to the         17    they be out raising money, right? Which, to be
 18   investors?                                             18    honest, became something I started thinking of. I
 19       A Yeah. So that's where Jeff said he               19    mean, why wouldn't I, right? I mean, I didn't know
 20   wouldn't pay it directly to them, it would flow        20    why -- it wasn't my intention in the beginning by
 21   through me. And so my understanding was I could        21    any means, but if it was something that was
 22   just pass through me and pay it -- pay it all to       22    available and if it was a compensation for the work
 23   them, the whole 19K. And that's where in the           23    I was doing there -- anyways, like I said, that
 24   documents that he sent me then it had said either      24    never came -- that never came about, and nothing was
 25   15,000 or 12,500.                                      25    ever fully decided on it, but that was an option


                                              Page 83                                                     Page 85
  1           And so I said, "Well, do I have to pay          1   there.
  2   that to them?" Because I was planning on just paying    2      Q Okay. Let's go on to Exhibit 18. Oh,
  3   them the whole 19.                                      3   wait. No, I'm going to skip that one.
  4           And he says, "It has to be one of those         4                (SEC Exhibit No. 17 was marked
  5   amounts."                                               5                for identification.)
  6           And so that's where my understanding            6          BY MS. OSTLER:
  7   became that I would make that difference or that        7      Q Okay. Do you see on your screen a
  8   would be split between Jeff and -- honestly, that --    8   document that's been marked Government Exhibit 17?
  9   that part was never figured out because that never      9      A Yes.
 10   came to fruition.                                      10      Q Do you recognize this as a text
 11       Q Okay. So after you were having this text         11   communication between you and Jeff Judd?
 12   with him, you said: "I have a couple questions for     12      A Yes.
 13   you. Do you have a second to talk?"                    13      Q It says January 7th. Would that have been
 14       A Uh-huh.                                          14   2022?
 15       Q Do you remember ever talking with him and        15      A Correct.
 16   having him clarify this at all?                        16      Q So this -- on January 7, 2022, in this
 17       A I don't. Is this where he was in                 17   text, Jeff Judd says to you that he's too
 18   Disneyland or something with his family? I don't       18   backlogged, so you're going to have to send out
 19   know that we ever talked on the phone --               19   paperwork. And then he describes to you the
 20       Q Okay.                                            20   paperwork that you need to send out to investors,
 21       A -- after that one.                               21   right?
 22       Q So just to make sure I understand, he was        22      A Yes.
 23   suggesting to you that you would get 19K and then      23      Q Do you remember what the documentation was
 24   you had the choice to pay out 15K to your investors    24   that he told you that you'd have to send out?
 25   and keep the difference?                               25      A Yeah. It was -- they are four different



                                                                               22 (Pages 82 to 85)
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  1   documents: the nondisclosure, noncompete, the           1   That's the way it's labeled as it was sent to me.
  2   111-page one, and then the subscription agreement.      2       Q How many pages is it?
  3       Q Did you also have to sign all of those            3       A I'll open it up.
  4   documents for your investments?                         4          I can just send it to you, if you want.
  5       A Personally, yes. But not to do with               5       Q Yeah. Actually, if -- yeah, if you can
  6   anyone else.                                            6   just forward it to me, that would be great.
  7       Q Okay. In this text, Jeff seems to be              7       A Yeah, I'll just do that.
  8   indicating that people who are only making 12,500       8       Q Okay. All right. We're going to move on
  9   only have to sign two NDAs and a subscription           9   to another document.
 10   agreement --                                           10          Actually, I'm just going to ask you some
 11       A Uh-huh.                                          11   questions without a document.
 12       Q -- but he sort of suggests that people who       12          In one of the texts with Jeff, you say
 13   are making 15,000 would have something different.      13   that Mountain America is giving you a hard time
 14   Do you remember there being something different?       14   because of the wire limits.
 15       A Yes. I actually sent that to you as well.        15       A Uh-huh.
 16   There was an additional document for anyone making     16       Q Can you -- can you sort of tell me more
 17   15,000 because that was kind of considered a -- so I   17   about that situation? What were the wire limits and
 18   guess to break it down, I was being -- my personal     18   why were you getting difficulty?
 19   self was being paid as, you know, Jeff was just kind   19       A That was where -- so in preparation for my
 20   of giving everything to me.                            20   friends and family who had invested and in my
 21          Then kind of his outer -- I shouldn't say       21   preparations where Jeff had said, "I will then need
 22   "outer circle," but a little bit more extended to      22   to wire this money to you, and you will disburse it
 23   that, some, you know, other family or friends or       23   from there," I was making preparations personally
 24   whatever, they would be ones he would be giving        24   of, How am I going to disburse all this money?
 25   15,000 to, and then just an average investor would     25   Right? That's where I went to a bank that I bank at,


                                             Page 87                                                      Page 89
  1   have been twelve five.                                  1   Mountain America, and said, you know, "What are your
  2           And so that's what that -- I guess I say        2   wiring services?" I mean, I don't -- I don't ever
  3   that -- that is my speculation, I should say. And I     3   wire money other than that. So, "What are your
  4   think that's why there was different documentation      4   wiring services?" And, you know, "This is what I
  5   for it. So as just a generic investor, you were at      5   would need to do, and what is it?"
  6   twelve five, and those were the documents that you      6            And they -- if I remember correctly, I
  7   needed. And if you were someone different, like the     7   couldn't send that much in a given period or
  8   people I was, you know, talking to, to -- you know,     8   something like that. And so that was my difficulty.
  9   that wanted to invest, they needed a separate           9   That -- honestly, that was kind of my pushback a
 10   document because I wanted them to have the 15,000.     10   little bit of saying, "I" -- like, "I can't do this,
 11   So --                                                  11   I can't send all this money back out. Like, why" --
 12       Q So it was an additional document? They           12   I shouldn't say I was saying, "Why does it have to
 13   had to sign everything that the twelve five people     13   come through me?" But at the same side, it was kind
 14   signed and then an additional document as well?        14   of, "Mountain America's giving me a hard time with
 15       A That -- yes, that's correct.                     15   these wire amounts. I don't know if it's something
 16       Q I don't remember seeing that document in         16   I'm going to be able to do."
 17   your production. Do you remember what it was           17        Q Do you remember Jeff then writing back to
 18   called, or did it have a title on it?                  18   you that you should do Wells Fargo's direct pay
 19       A I think it would have said -- I mean, I          19   system?
 20   could look it up. Is that all right if I look it up    20        A Yeah. Yeah. I actually did open an -- I
 21   real quick --                                          21   had an account already at Wells Fargo, and my --
 22       Q Yeah.                                            22   another business account is at Wells Fargo. So
 23       A -- just to tell you what it was called?          23   anyways, that's -- I do remember him saying that,
 24       Q Yeah, that would be great.                       24   and I thought, Well, I -- I have a couple accounts
 25       A "15K Private Placement - PPM - Final."           25   there anyways, so maybe that's what I'll do.



                                                                              23 (Pages 86 to 89)
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  1       Q Did you ever ultimately pay any money to         1   same text in an email, but I -- I can't find it. I
  2   Jeff through that direct pay system at Wells Fargo?    2   can go through and try to find it if you'd like, but
  3       A No. No money was ever sent to me from            3   nothing -- I should say no more information than
  4   anyone who ever invested.                              4   what this says, just an additional, if I remember
  5       Q Okay.                                            5   correctly.
  6       A No -- no one was ever paid out. Nothing          6      Q So an additional email that seemed to you
  7   ever flowed through me. Nothing came to me and then    7   to be a group email, not something to you
  8   to Jeff. Everything was directly from them to -- I     8   personally?
  9   should say to Matt, to Matt's account, and then        9      A Yeah. My -- I believe my dad was included
 10   nothing ever happened from there.                     10   on the email.
 11       Q I'm going to share a document. We're            11          Sorry, if I can find it, I'll just read it
 12   coming to the end.                                    12   to you. I just can't -- oh, here it is. Right
 13                 (SEC Exhibit No. 21 was marked          13   here.
 14                 for identification.)                    14          Do you want me to just read it to you?
 15           BY MS. OSTLER:                                15      Q Is it long?
 16       Q Do you see on the screen a document that's      16      A Not really. It's like two paragraphs.
 17   been labeled as Government Exhibit 21?                17      Q Actually, could you just forward it to me?
 18       A Yes.                                            18      A Uh-huh.
 19       Q Is this a text message that Jeff Judd sent      19      Q And can you tell me the date on it?
 20   to you?                                               20      A Wednesday, March 30th.
 21       A Yes, it is.                                     21      Q Okay.
 22       Q Do you remember --                              22      A I must've already sent everything to you.
 23       A It seemed like a very generic -- I could        23   I don't know why I didn't include this. I
 24   look it up. It seemed like a pretty generic text,     24   apologize.
 25   though. Like, it didn't seem like he had              25      Q That's okay.


                                              Page 91                                                    Page 93
  1   personalized it to me. It seemed -- I mean, if you     1        A So I will send it to you right now. There
  2   go back through and read all of our other              2   were -- there were four of us total on the email,
  3   conversations, I felt like things were pretty          3   just so you know. Myself; my dad, Dave Richards;
  4   personal. Right? Like, there was, I don't know,        4   and two others that I don't know -- just that's
  5   just a little bit more connection, if you can have     5   probably going to be a question that you have about
  6   that through a text.                                   6   it -- Travis Rose and Brooke Shah. So, anyways --
  7           I felt like this was just more of a --         7        Q Okay.
  8   mass produced to send out. Maybe "mass produced"       8        A I don't know who they are, but they were
  9   isn't the right word, but just something that was      9   included on this. So --
 10   being sent out to me and others. How many others, I   10        Q So you -- have you spoken to Jeff since
 11   don't know. But just a generic text to send to        11   you received that email on March 30?
 12   multiple people.                                      12        A Nope, I haven't.
 13       Q Okay.                                           13        Q Okay. Approximately how many times have
 14       A That text was on Tuesday, March 8th.            14   you spoken with Jeff, if you can remember, since
 15       Q Have you spoken with Mr. Judd since you         15   that conversation on Saturday, March 5th, where he
 16   received this text on March 8th?                      16   told you about the Beasley shooting?
 17       A I have spoken with him, but about my            17        A Pertaining to his business or pertaining
 18   business.                                             18   to my business?
 19       Q Okay. So you never asked him more about         19        Q All.
 20   this text where he says he's going to investigate?    20        A All?
 21       A I did. Let me -- I did actually receive         21        Q Yeah.
 22   an email I want to say on Saturday maybe. Let me      22        A Seven, maybe.
 23   see. I thought I did, anyways.                        23        Q When you say that he's talking to you
 24           Sorry, I'm just looking it up. I thought      24   pertaining to your business, are you talking about
 25   I had got -- I thought I had got pretty much that     25   him speaking to you about properties that he owns?



                                                                             24 (Pages 90 to 93)
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                                               Page 94                                                   Page 96
  1       A I'll give you an example. I -- the home           1          So he wants to sell it, put it into an
  2   that he had here in Heber I would kind of manage, if    2   account that is monitored by whoever, this
  3   you will, for him, just whatever it was, make           3   attorney -- from what I understand, is a government
  4   sure -- they didn't come very often, right? And so      4   attorney -- and monitored by the government, and for
  5   make sure the heat was working, the pipes weren't       5   that money to be distributed out to people like
  6   freezing, make sure the driveway was cleared when it    6   myself and my dad and anyone else who invested and
  7   snowed, make sure pest control was being taken care     7   lost money in this.
  8   of, you know, whatever any of those types of items      8          His -- his comments to me are that of he
  9   for a kind of housekeeper, if you will, or just         9   doesn't want to keep spending money to keep
 10   property manager, I guess, would be.                   10   maintaining these properties. You know, Why am I
 11           So the items that I've talked to him about     11   going to keep spending money in the utilities and
 12   are basically just, you know, "Hey, is everything      12   the taxes and the -- all that kind of stuff if I can
 13   good at the house?" Like, you know, that kind of       13   just sell it so that there's more money in that
 14   stuff, I should say. So when I say "my business,"      14   account to be disbursed out. That is the -- I
 15   that's what I mean. Yes, they're about his             15   shouldn't say those are all exact quotes, but that
 16   properties, just about those areas.                    16   is the communication that I have received from Jeff
 17           I guess the only other thing that would be     17   about any of his properties that I'm aware of and
 18   like a future-type business that we talked about was   18   what his plans with them are.
 19   he owned a lot -- or he had previously purchased a     19       Q Okay. So he's told you that there is a
 20   lot that we were going to build a house on, and we     20   government attorney monitoring the account he's
 21   were in design phase with -- you're from Salt          21   putting the assets into?
 22   Lake -- Michael Upwall. You've heard that name. We     22       A Yeah. The guy's last name is Sellers or
 23   were in design phase to build a very nice home that    23   something like that. I don't know.
 24   Michael Upwall was designing.                          24       Q Okay.
 25           And so we had talked about, you know,          25       A I really don't know the guy. I just --


                                               Page 95                                                   Page 97
  1   "Hey, this probably isn't happening. You know, I        1   anyways --
  2   don't know what's going on with my business, but I'm    2       Q Has -- has Jeff promised you that he will
  3   probably not planning to, you know, build a nice        3   make you whole for the money you lost?
  4   home in here. So what do we need to do to kind of       4       A No.
  5   cancel and close out anything there?" So --             5       Q Has he --
  6      Q Has he --                                          6       A He's been very apologetic about it, but
  7      A -- if that answers your question.                  7   there has not been any, you know, "I'll make you
  8      Q Yes.                                               8   whole, and I'll make sure you get taken care of."
  9          Has he told you in your conversations with       9   There's been nothing like that.
 10   him that he is selling off properties?                 10       Q Has he given you any money since Beasley's
 11      A I'll tell you, yes, I know he's planning          11   arrest?
 12   on selling properties, but I also know that there is   12       A No.
 13   an attorney -- I don't know who the name is -- that    13       Q Has he, to your knowledge, given any money
 14   is managing those sales, that it is going into a       14   to the people who invested through you since
 15   monitored -- any proceeds from them is going to a      15   Beasley's arrest?
 16   monitored account. So I know that he is not selling    16       A Not that I'm aware of.
 17   the properties and him personally taking money from    17       Q And just to confirm, Parker Judd never
 18   them.                                                  18   emailed you?
 19          But what he has told me -- I'll be a            19       A Correct. I was -- I believe I was on a
 20   hundred percent honest with exactly what he's told     20   group email, that it was not directed at me, it was
 21   me. He told me he -- that if this all was fake, he     21   either to -- I actually believe either Matt or Gary
 22   doesn't want any proceeds from it, he doesn't want     22   Mangum about their documents but never directly
 23   any money he's made off of it, he doesn't want any     23   between Parker and I.
 24   properties, any cars, any -- anything. Anything        24       Q Okay. So the -- let me stop sharing this.
 25   he's made off of it he doesn't feel he deserves.       25           There is a little blurb that I have to



                                                                              25 (Pages 94 to 97)
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                                              Page 98                                                    Page 100
  1   read to you to close out the testimony. Of course,      1   anyone. I was talking to friends about what I was
  2   right?                                                  2   doing, and they wanted to do it. And I tried to
  3       A Okay.                                             3   connect the dots, and obviously we really all got
  4       Q Okay. Is there anything that you've told          4   hurt bad in it. But it was never my intention to
  5   me today that you want to supplement or clarify or      5   sell this to people and make a commission off of it.
  6   correct?                                                6   So --
  7       A I would say everything I have told you is         7       Q Thank you.
  8   to the absolute best of my ability, and I think         8       A Anyways, I just want to clarify that. I
  9   anything I said was as much as I have to say.           9   don't know where you guys stand on everything, and I
 10       Q Okay. I have no further questions for you        10   know what Laurie was saying is, you know, what --
 11   at this time. However, the commission might decide     11   what was there and what should have been there can
 12   to seek additional testimony from you in the future.   12   be two different things. But like I said, I'm a
 13       A Okay.                                            13   dumb contractor, I don't understand all that. I
 14       Q And that's it. I think that is it. That's        14   was -- I was just trying to help friends out, and
 15   all I have to say.                                     15   then I was trying to help Jeff out. So anyways --
 16       A All right.                                       16       Q And you did lose -- how much did you lose
 17       Q Do you have --                                   17   again?
 18       A You know what? I'm going to -- yeah, I'm         18       A $470,000 --
 19   going to go back one -- I just want to clarify         19       Q All right.
 20   one -- one part.                                       20       A -- of my personal money that I earned from
 21       Q Okay.                                            21   my real job building homes. I mean, I -- I took
 22       A My intent was never to be a money raiser,        22   every savings I had, I sold vehicles and equipment
 23   to make money off of other people's money, to be       23   and other assets that I had to put into this. I
 24   anything like that. That was 100 percent never an      24   mean, this was -- this is really big for me,
 25   intention of mine. That's not what I do. I'm a         25   honestly. This really sucks really bad.


                                              Page 99                                                    Page 101
  1   builder. I don't raise money for investments.           1           I mean, I look at this and I think -- I
  2   That's just not what I do. That's not my business       2   mean, this set me back years and years and years.
  3   title -- or my job title.                               3   I've been working for over ten years to try and save
  4            My whole goal was to help some of my           4   up to that, and that's all gone, and it really
  5   family and friends be part of what, in my eyes, was     5   sucks. I mean, with that, I -- I don't know.
  6   a great opportunity with who, in my eyes, was a         6           I want to believe that Jeff didn't know,
  7   great friend and client. The opportunity did come       7   and he's told me he didn't know, and from the
  8   up to where I was going -- or potentially going to      8   friendship we had, I don't think he knew. Should he
  9   make money off of it. Those details were never          9   have known? I guess that's -- that's a different
 10   finalized, but that was something that was going to    10   conversation, but I don't know. I really don't.
 11   be a possibility.                                      11           But I lost more money -- besides my dad, I
 12            But I -- I think from your -- I guess the     12   lost more money than anyone I know in this. So -- I
 13   biggest thing that I want to relay to you guys is      13   mean, I don't say that to brag about it or anything,
 14   that was never my intention. I was not out             14   right? I mean, why would I ever want to brag about
 15   soliciting or selling this to people. That wasn't      15   losing money? But I say that because I wasn't out
 16   my intent. I wasn't -- in my opinion, I wasn't --      16   soliciting something to anyone. It was -- they saw
 17   whatever money I would have been paid was not a        17   what I was personally doing and said, "You really
 18   commission off of what they had done. It was -- I      18   believe in this. Can I do it too?" Right?
 19   was doing Jeff's busy work and was being compensated   19           So anyways --
 20   as a secretary, if you will -- or would have been, I   20       Q That's really helpful. Thank you. And
 21   should say, would have been compensated that way.      21   thank you for your time and thank you for
 22            So I guess from my standpoint, I just want    22   rescheduling --
 23   to make sure that you guys understand that, because    23       A Yeah.
 24   in -- I truly believe that I -- I wasn't out trying    24       Q -- because of the delay in our document --
 25   to sell anything, I wasn't out trying to dupe          25       A Yeah. No -- it's no worries. Sorry it



                                                                            26 (Pages 98 to 101)
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                                             Page 102                                                                   Page 104
  1   didn't work out smoother.                               1               PROOFREADER'S CERTIFICATE
  2       Q If you ever think of anything else that           2   In The Matter of: J&J CONSULTING SERVICES, INC
  3   you want to clarify or tell me, you can always reach    3   Witness:          Taylor David Richards
  4   out to me. And I really appreciate your                 4   File Number:        SL-02855-A
  5   cooperation.                                            5   Date:            Thursday, April 7, 2022
  6       A Uh-huh. No problem. If there's anything           6   Location:         Salt Lake City, UT
  7   I can do to help, like I said, I'm -- I don't want      7
  8   to come on here and all of a sudden you think I'm --    8           This is to certify that I, Maria E Paulsen,
  9   I was apart of anything. Right? But I am more than      9   (the undersigned), do hereby certify that the foregoing
 10   happy to help with anything I can.                     10   transcript is a complete, true and accurate
 11           Like I said, I got hurt very bad by this,      11   transcription of all matters contained on the recorded
 12   and so did a lot of family and friends, and if         12   proceedings of the investigative testimony
 13   there's anything I can do to help it to where we get   13
 14   something back, I want to do that. I really do. I      14   _______________________             _______________________
 15   truly want to do that.                                 15   (Proofreader's Name)          (Date)
 16           And every single person that I know that       16
 17   invested that I talked to, they want to do the same.   17
 18   None of them will have as much information as I had    18
 19   because I knew Jeff personally, but, you know,         19
 20   everyone I know is more than happy to help with the    20
 21   investigation and to help things flow. So I guess      21
 22   know that on your end. Everyone out here is saying,    22
 23   "What do we need to do to speed this thing up or to    23
 24   get things," -- you know, "What can we do to help?"    24
 25   I guess is the gist of it. So -- and I'm the same.
                                                             25


                                             Page 103                                                                   Page 105
  1   Anything I can do to help, I'm happy to.                1                 CERTIFICATE
  2      Q Okay. Thank you, Mr. Richards.                     2     STATE OF UTAH             )
  3      A Thank you.                                         3                   ) ss.
  4         MS. OSTLER: So, Lindsay, let's go off the         4     COUNTY OF SALT LAKE )
  5   record.                                                 5            This is to certify that the testimony of
  6         (Whereupon, at 12:31 p.m., the examination        6     Taylor David Richards was taken before me, Lindsay
  7   was concluded.)                                         7     Payeur, a Certified Court Reporter in the State of
  8                *****                                      8     Utah;
  9                                                           9            That the said witness was, before
 10                                                          10     examination, duly sworn to testify the truth, the whole
 11                                                          11     truth, and nothing but the truth in said cause;
 12                                                          12            That the testimony of said witness was
 13                                                          13     reported by me in stenotype, and thereafter caused by
 14                                                          14     me to be transcribed into typewriting, and that a full,
 15                                                          15     true, and correct transcription of said testimony so
 16                                                          16     taken and transcribed is set forth in the foregoing
 17                                                          17     pages, and said witness testified and said as in the
 18                                                          18     foregoing annexed testimony;
 19                                                          19            I further certify that I am not of kin or
 20                                                          20     otherwise associated with any of the parties to said
 21                                                          21     cause of action, and that I am not interested in the
 22                                                          22     event thereof.
 23                                                          23            Witness my hand and official seal at Salt
 24                                                          24     Lake City, Utah, this 11th day of April 2022.
 25                                                          25             Lindsay Payeur, RPR, CSR



                                                                               27 (Pages 102 to 105)
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From:               Jeffrey Judd
To:
Subject:
Date:
                    Dave Richards; Taylor Richards; Dustin Hacker
                    No more emailed contracts
                    Friday, February 4, 2022 4:47:26 PM
                                                                                                  12
Guys,
I had another conversation with the attorneys that helped me set the private money placement documents up. They
asked me if I was still sending out the contracts and if I was to stop.

So from now on there will not be any contracts sent out. It makes sense now because everything we need for the
investors is found in the documents. There are even samples of the contracts. Before all we had was the contract, so
we had to send them. Plus I’m the only on that can sign them.

Matt, being the great attorney that he is, also set up a system for me to sign those as he writes them. This will save
us a lot of time and streamline the process.

What you will receive is a list of what has closed and a list of new ones in a screen shot or an emailed spreadsheet so
you can continue to update your spreadsheet.

Thank you for your understanding. It’s imperative that we only use the documents that have been made by the
attorneys for the private money placement. So this is another step towards being compliant.

Jeffrey Judd



Sent from my iPhone
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                 Exhibit 12
DocuSign Envelope ID: DC431657-609D-40D6-8799-5845C2A07302
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             October 19, 2021

             Attn: Todd Sansom


             Re: Creger Buyer Agreement between J&J Consulting Services, Inc./Jeffrey Judd and MTWE
             Investments LLC.

             J&J Consulting Services, Inc./Jeffrey Judd has a business where he purchases contracts
             (Purchase Agreements) for attorney’s clients once a settlement has been reached and an award
             has been granted. Jeffrey Judd uses his own money and money from friends and family to
             purchase these contracts. Jeffrey Judd uses the services of Matthew Beasley Esq. to assist him
             in finding these agreements and also to write the contracts. The Purchase Agreement act as a
             lien on the client’s settlement.

             MTWE Investments LLC (Entity) will be purchasing part of the “Creger” Purchase Agreement.
             This Purchase Agreement (See Attachment) will be for $80,000 and the term of the contract will
             be for 90 days. If the agreement closes within 90 days the Entity will receive a return of
             $10,000 and the principle will be rolled over into another Purchase Agreement until such time
             that the Entity desires to receive the principal back. If the Purchase Agreement extends over 90
             days the Entity will receive $5,000 for each additional month the contract goes over the initial
             90 days.

             Force Majeure. No Party shall be deemed in default of any Purchase Agreement or, unless
             otherwise expressly provided therein, any Ancillary Agreement for any delay or failure to fulfill
             any obligation hereunder or thereunder so long as and to the extent to which any delay or
             failure in the fulfillment of such obligation is prevented, frustrated, hindered or delayed as a
             consequence of circumstances of Force Majeure. In the event of any such excused delay, the
             time for performance of such obligations shall be extended for a period equal to the time lost
             by reason of the delay. A Party claiming the benefit of this provision shall, as soon as reasonably
             practicable after the occurrence of any such event, (a) provide written notice to the other Party
             of the nature and extent of any such Force Majeure condition; and (b) use commercially
             reasonable efforts to remove any such causes and resume performance under this Agreement
             and the Ancillary Agreements, as applicable, as soon as reasonably practicable.

             Roland Tanner, acting through Anthem Assets LLC, will represent the Entity (instructed by
             Shane Jager, representing J&J Consulting Services, Inc.) limited to such matters as to where to
             wire incoming funds, issuing ACH returns and the return of principal (upon the Entity exit) to
             the Entity as provided by J&J Consulting Services, Inc. per this Buyer Agreement. Roland Tanner
             and Anthem Assets LLC in addition to Shane Jager are hereby indemnified and held harmless in
             all other matters pertaining to this Purchase Agreement and Buyer Agreement.
DocuSign Envelope ID: DC431657-609D-40D6-8799-5845C2A07302
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             The Entity and their members are prohibited from contacting any parties related to the injury
             settlement or Purchase Agreement, without the written consent of Jeffrey Judd.




                                                             10/19/2021
             ______________________________________________________
             Jeffrey Judd                            date



                                                             10/20/2021
             _______________________________________________________
             Todd Sansom                             date




                                                           Attachment A
                                                        Purchase Agreement
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                 Exhibit 13
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                                                                  Page 1
       UNITED STATES SECURITIES AND EXCHANGE COMMISSION


       In the Matter of:              )
                                      )   File No. SL-02855-A
       J&J CONSULTING                 )


       SUBJECT:     2022.02.17 Jager Jongeward In Person
       PAGES:       1 through 108




                              AUDIO TRANSCRIPTION




                  Diversified Reporting Services, Inc.
                                (202) 467-9200
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                                                 Page 2                                                          Page 4
  1               PROCEEDINGS                                  1   have the pilot bring it out.
  2   2022.02.17 Jager Jongeward In Person                     2           MIKE: Okay.
  3           MIKE: If I can just sit this back in here.       3           MALE VOICE: That will be easier.
  4           FEMALE VOICE: Oh, okay.                          4           MIKE: All right.
  5           MIKE: Should I go grab a menu?                   5           MR. JONGEWARD: So do you fly too? Are you a
  6           MALE VOICE: They don't have a menu for           6   pilot?
  7   carryout so -- so I'm just going to go take a picture    7           MALE VOICE: I'm a pilot, but I'm just a
  8   of it.                                                   8   private pilot. I own the charter company itself so --
  9           MIKE: Oh. This is it.                            9           MR. JONGEWARD: Oh, okay. Okay.
 10           MALE VOICE: This is it right here? I'm just     10           MIKE: How about yourself?
 11   trying to crop my business card. All right.             11           MR. JAGER: I'm not as experienced as these
 12           MALE VOICE: Here, just (inaudible) upstairs.    12   guys. I don't have any jet time.
 13   I'll go take a picture of it.                           13           MR. JONGEWARD: Yeah. I'm not a pilot, but
 14           MALE VOICE: Yeah, take a picture.               14   I've -- I love the idea of coming out here, getting in
 15           MIKE: All right.                                15   your own plane and, you know, heading to Utah or
 16           (Pause.)                                        16   heading to California.
 17           FEMALE VOICE: How are you?                      17           MALE VOICE: One of our niches is we help
 18           MIKE: Hi, I can take some pictures of your      18   people kind of see how they can buy a plane and
 19   menu?                                                   19   actually make it pay.
 20           FEMALE VOICE: Yeah. There you go.               20           MR. JONGEWARD: Yeah.
 21           MIKE: Thank you.                                21           MALE VOICE: So we -- you know, imagine if
 22           FEMALE VOICE: You're welcome.                   22   you go to Hawaii -- I'll give you my pitch before you
 23           (Pause.)                                        23   give me your pitch.
 24           MR. JAGER: Hey, Mike, you know.                 24           MR. JONGEWARD: That sounds good.
 25           MR. JONGEWARD: Hey, Mike. How you doing?        25           MALE VOICE: Imagine if you go to Hawaii and


                                                 Page 3                                                          Page 5
  1          MIKE: Nice to meet you guys.                      1   you're like, I love it here. This is great. Look at
  2          MALE VOICE: How you doing?                        2   this house we're staying in, it's awesome. I want to
  3          MIKE: Hey, I was just grabbing the menu up        3   buy -- I want to buy one just like it, but we're only
  4   there so --                                              4   going to be here two weeks a year.
  5          MALE VOICE: So we can eat here, or we can go      5          Well, obviously you're not going to let it
  6   up to the plane and have a private, more private --      6   sit vacant so you find a vacation rental company and if
  7          MIKE: Yeah, whatever you -- yeah.                 7   they -- if you buy the house at the right price -- if
  8          MALE VOICE: What do you guys want to do?          8   you find the right house where the rental is -- you
  9          MR. JONGEWARD: I'm going to use the               9   know, the (inaudible) purchase price.
 10   restroom.                                               10          (Pause.)
 11          MIKE: It's right over there.                     11          MR. JONGEWARD: (Inaudible) jets too, right.
 12          MALE VOICE: We'll wait for you.                  12   Is that --
 13          MR. JAGER: The plane sounds interesting.         13          MALE VOICE: We do -- we do something that's
 14   I'd like to see it.                                     14   very unique. So Net Jets you buy into their thing.
 15          MALE VOICE: Yeah, let's do that.                 15   You own a part of a plane, but it's solely a cost
 16          MIKE: Yeah. Yeah, that's great.                  16   center for you. So you don't get your money back from
 17          MR. JAGER: How are you?                          17   Net Jets. You give them -- the money flows in one
 18          MIKE: Good. I'm great, yeah, good.               18   direction.
 19          MR. JAGER: So you know Jason?                    19          MR. JONGEWARD: Got it, got it.
 20          MIKE: I've spoken to him on the phone a          20          MALE VOICE: And you're paying a premium for
 21   couple of times.                                        21   every hour you fly, and you pay a membership fee, and
 22          MR. JAGER: Okay.                                 22   you pay a (inaudible).
 23          MIKE: Yeah. And then should we look at a         23          MR. JONGEWARD: Okay.
 24   menu right now so that way we --                        24          MALE VOICE: So -- I mean, obviously you pay
 25          MALE VOICE: Let's just order and then I'll       25   it -- when you buy a plane you pay for things too, but



                                                                                        2 (Pages 2 to 5)
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                                                Page 6                                                          Page 8
  1   if you finance it, as you know probably from the real    1          MIKE: Oh. I guess --
  2   estate world, then if you can leverage your purchase     2          FEMALE VOICE: I'm sorry. I was --
  3   then your cash on (inaudible).                           3          MIKE: We're going to have our pilot take it
  4          MIKE: Hey, we're going to order some food         4   out to the plane. We're going to go talk on the plane.
  5   so --                                                    5   So if you see some guys in a pilot uniform wanting to
  6          MALE VOICE: Yeah, sure.                           6   bring some food out to us, that's who it is.
  7          MIKE: Here is -- I don't know if you're           7          FEMALE VOICE: Sounds good.
  8   feeling breakfast, I am not. But --                      8          MIKE: All right. I think I know what I
  9          MR. JONGEWARD: Lunch is fine.                     9   want.
 10          MIKE: So they have soup, salads, hamburgers.     10          MR. JAGER: (Inaudible.) Go ahead, Jason.
 11   We'll just the pilot to bring it out to us.             11          MR. JANGEWARD: I was thinking about the
 12          MR. JONGEWAD: Okay.                              12   Caesar salad there.
 13          MIKE: Yeah. Anything in particular you           13          FEMALE VOICE: And then we also have our
 14   want? Sorry, this isn't the best.                       14   French Dip.
 15          MR. JONGEWARD: Let's see. I can't see all        15          MIKE: How is that?
 16   that. I don't have my glasses with me.                  16          FEMALE VOICE: It's good.
 17          MIKE: Oh. So they have chicken Caesar,           17          MIKE: Okay.
 18   chicken breast salad.
                                                              18          MR. JAGER: So what is (inaudible)?
 19          MR. JONGEWARD: Chicken Caesar salad would be
                                                              19          MALE VOICE: Base operator. It's a gas
 20   great. That's --
                                                              20   station (inaudible).
                                                              21          MR. JAGER: Okay, got you.
 21          MIKE: Yeah, that's what I was going to get
                                                              22          MALE VOICE: You're in a glorified gas
 22   too. Thank you.
                                                              23   station right now.
 23          MALE VOICE: So anyway, yeah, that's what we
                                                              24          MR. JAGER: Okay, got you --
 24   do is we help people get into that if you're
                                                              25          MALE VOICE: They will make $10 off of your
 25   interested.


                                                Page 7                                                          Page 9
  1          MR. JAGER: Yeah, I'd love to talk to you          1   lunch and they will make $2,000 off of you filling up
  2   more about that.                                         2   your plane.
  3          MALE VOICE: I'll text you. Sorry, I guess         3         MR. JAGER: (Inaudible) salad.
  4   we already shook hands.                                  4         MR. JONGEWARD: Yeah, chicken breast salad.
  5          MR. JAGER: No, that's okay.                       5         FEMALE VOICE: Ready?
  6          MALE VOICE: Should we go look at the menu?        6         MALE VOICE: Yeah.
  7          MIKE: Yeah, I have a picture of it.               7         FEMALE VOICE: All right.
  8          MALE VOICE: Yeah, we can look. So let's           8         MALE VOICE: Sure.
  9   order some food.                                         9         FEMALE VOICE: What can I get for you guys?
 10          MIKE: Yeah.                                      10         MR. JAGER: I'll do the chicken breast salad.
 11          MALE VOICE: We'll have our pilot                 11         FEMALE VOICE: Okay. What kind of dressing
 12   (inaudible).                                            12   for you?
 13          MR. JONGEWARD: Yeah, that sounds great.          13         MR. JAGER: Let's do ranch.
 14          MIKE: So, yeah, it's not, it's not a bad gig     14         MR. JONGEWARD: I'll do the Caesar.
 15   when you get to hop on a private plane.                 15         FEMALE VOICE: Chicken Caesar?
 16          MR. JAGER: Right, yeah.                          16         MR. JONGEWARD: Yeah, please.
 17          (Pause.)                                         17         FEMALE VOICE: Got it.
 18          MR. JAGER: You guys went to school together,     18         Mike: I'll do your French dip.
 19   right?                                                  19         FEMALE VOICE: Okay. French fries, potato
 20          MALE VOICE: High school. (Inaudible.)            20   salad?
 21          MIKE: Hi.                                        21         MIKE: Fries.
 22          FEMALE VOICE: How you guys doing?                22         MALE VOICE: I'll have the clubhouse.
 23          MIKE: Good. All right, here's their menu.        23         FEMALE VOICE: On sourdough, rye, wheat,
 24          FEMALE VOICE: You know what I was thinking?      24   white?
 25   You could have just taken it with you.                  25         MALE VOICE: What's your favorite?



                                                                                        3 (Pages 6 to 9)
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                                                Page 10                                                        Page 12
  1           FEMALE VOICE: Sourdough.                           1   you going to keep your plane when you're ready.
  2           MALE VOICE: That's a good choice.                  2          MALE VOICE: Right here.
  3           FEMALE VOICE: If you like sourdough, right?        3          MR. JAGER: Right here?
  4   It's good. Do you want sourdough?                          4          MALE VOICE: Yeah.
  5           MALE VOICE: That's fine.                           5          MR. JAGER: That's great.
  6           FEMALE VOICE: Okay. Want to try potato             6          MALE VOICE: We're talking him into plane
  7   salad or French fries?                                     7   ownership.
  8           MIKE: I had it a few weeks ago, so if you          8          MIKE: How long have you -- so you're in St.
  9   hear me clearing my throat, I'm still dealing with it.     9   George now.
 10           MR. JAGER: Oh, no, I think I got the variant      10          MR. JONGEWARD: So now I'm in St. George. I
 11   there for like a month, a month-and-a-half ago.           11   was in -- I was in Spokane for a while --
 12           MIKE: Yeah.                                       12          MIKE: Okay.
 13           MR. JAGER: I still kind of have this weird        13          MR. JONGEWARD: -- for about 15 years.
 14   thing that it just (inaudible).                           14   Before that -- I mean, I think Shane and I -- we came
 15           MALE VOICE: I didn't hear that among the          15   down in '98, within a few months of each other, didn't
 16   options.                                                  16   we?
 17           FEMALE VOICE: Oh, okay.                           17          MR. JAGER: Yeah, yeah.
 18           MR. JAGER: It's like two or three weeks.          18          MR. JONGEWARD: So I met Shane in '96. He's
 19           MIKE: Yeah.                                       19   married to my wife's best friend growing up, right?
 20           MR. JAGER: It's pretty annoying actually.         20          MR. JAGER: Yeah, totally.
 21           FEMALE VOICE: What else for you guys?             21          MIKE: Wow.
 22           MALE VOICE: Drinks. We got drinks on the
                                                                22          MR. JONGEWARD: So it was -- we've known each
 23   plane, so we're good.
                                                                23   other for a little bit.
 24           MIKE: Yeah, water is good.
                                                                24          MIKE: Yeah, that's wild.
 25           FEMALE VOICE: Any dessert, pie, no?
                                                                25          MR. JONGEWARD: So it's -- it's nice to try


                                                Page 11                                                        Page 13
  1         MIKE: No, I'm good.                                  1   to get back this way now.
  2         MALE VOICE: We got snacks on there too.              2           MALE VOICE: (Inaudible) the pilots and
  3         MIKE: Yeah.                                          3   they'll bring out serving trade and we can just head up
  4         MALE VOICE: Unfortunately, yeah.                     4   there.
  5         FEMALE VOICE: All right.                             5           MIKE: All right, we'll head down. And so
  6         MIKE: Thank you guys for meeting us.                 6   you've been here since '98?
  7         MR. JONGEWARD: Oh, no. Yeah.                         7           MR. JAGER: March of 2000.
  8         FEMALE VOICE: It's $59.01. Is it all                 8           MIKE: Okay.
  9   together? Yeah.                                            9           MR. JAGER: We actually moved here
 10         MALE VOICE: Thank you.                              10   (inaudible). I need to redo my (inaudible).
 11         MR. JAGER: Thank you.                               11           MR. JONGEWARD: (Inaudible.) (Inaudible) he
 12         MR. JONGEWARD: Yeah, I appreciate it.               12   was born in '98.
 13         MR. JAGER: I live just in the Anthem Country        13           MALE VOICE: Okay.
 14   Club, which is literally like 10, 15 minutes from here.   14           MR. JONGEWARD: He turned one here.
 15         MALE VOICE: What's it called?                       15           (Chatter.)
 16         MR. JAGER: The Anthem Country Club.                 16           MR. JONGEWARD: Yeah, it's very nice.
 17         MALE VOICE: Oh, Anthem, okay. Very nice.            17   (Inaudible). Man, I got St. George (inaudible). I had
 18         MR. JAGER: It's close, so this is great.            18   my jacket on in Las Vegas.
 19         MALE VOICE: Yeah.                                   19           MIKE: A jacket is necessary here, like --
 20         MR. JONGEWARD: And flying in.                       20           MALE VOICE: Yeah, it's a little chilly
 21         MALE VOICE: Yeah.                                   21   today.
 22         MIKE: This is the best way to fly into              22           MIKE: We finally got snow in Park City again
 23   Vegas.                                                    23   since -- we haven't had a snowstorm since December.
 24         FEMALE VOICE: Here you go.                          24           MR. JAGER: Oh, yeah.
 25         MR. JAGER: Thanks. (Inaudible) where are            25           MIKE: Yeah. Worst skiing.



                                                                                    4 (Pages 10 to 13)
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                                                 Page 14                                                       Page 16
  1          MR. JAGER: So we -- we were up on Heber a          1          MR. JAGER: It's right here.
  2   week -- well, for Christmas.                              2          MALE VOICE: Hey, Jerry.
  3          MIKE: Okay.                                        3          MIKE: So how is St. George treating you?
  4          MR. JAGER: We spend it up there and it             4          MR. JONGEWARD: Oh, yeah, I love it. I love
  5   seemed like we had two or three feet on the ground        5   it. I can't get my wife to come back to Vegas,
  6   before, just before Christmas.                            6   otherwise we would be here.
  7          MIKE: Yeah.                                        7          MIKE: Okay.
  8          MR. JAGER: It was fantastic.                       8          MR. JONGEWARD: Yeah, she's -- she likes the
  9          MIKE: We went up to Daniels. So for our            9   smaller town. We left here in '06 --
 10   anniversary we went to Daniels. Do you know where        10          MIKE: Okay.
 11   Daniel Summit is?                                        11          MR. JONGEWARD: -- and started a development
 12          MR. JAGER: I don't, no.                           12   up in Spokane, and through different types of
 13          MIKE: So keep going through Heber.                13   investing, including the legal contracts that we're
 14          MR. JAGER: Yeah.                                  14   discussing today --
 15          MIKE: Up 40 and then it's about 8,000 feet        15          MIKE: Yeah.
 16   above elevation.                                         16          MR. JONGEWARD: -- it's just a lot of stuff --
 17          MR. JAGER: Oh, wow.                               17   a whole lot more freedom.
 18          MIKE: And we booked this snowmobile tour and      18          MIKE: That's awesome.
 19   the week of we're, like, we're not going because it      19          MR. JONGEWARD: I'm able to get back into the
 20   hadn't snowed. And then the week that it happened only   20   sunshine. So we're good. My parents and family aren't
 21   half of it it was open, but we were able to do it.       21   happy about it.
 22   But, like, we got stuck multiple times because there
                                                               22          MIKE: Where are they?
 23   wasn't enough snow.
                                                               23          MR. JONGEWARD: They're all up there.
 24          MR. JAGER: Yeah, yeah.
                                                               24          MIKE: Okay.
 25          MIKE: And now we're doing an Olympic bid and
                                                               25          MR. JONGEWARD: Yeah, we're all originally


                                                 Page 15                                                       Page 17
  1   we have no snow.                                          1   from Southern California.
  2          MR. JAGER: Oh, geez.                               2          MIKE: Okay.
  3          MR. JONGEWARD: For which Olympics is that?         3          MR. JONGEWARD: And they've -- they've come
  4          MIKE: 2030 or 2034.                                4   up over time, just kind of gravitated, and then I'm
  5          MR. JONGEWARD: Oh.                                 5   gone.
  6          MIKE: So it looks pretty good because              6          MIKE: What part of Southern California?
  7   we've -- Utah has actually continued to use all their     7   Hey, Mark. There we go.
  8   old facilities.                                           8          MALE VOICE: I was looking inside for you.
  9          MR. JAGER: That's what I was going to ask.         9          MIKE: Oh, yeah. We were just waiting out
 10   They kind of have the infrastructure already in place,   10   here. Here. Should we go get the plane open?
 11   don't they?                                              11          MALE VOICE: Yeah.
 12          MIKE: Yeah.                                       12          MIKE: All right.
 13          MR. JAGER: So they'll just do a little            13          MR. JONGEWARD: Yeah, this a great facility
 14   updating and most of all of that's put together.         14   here. This is awesome.
 15          MIKE: Yeah. So it will be really                  15          MALE VOICE: And this one is not super nice.
 16   interesting.                                             16   (Inaudible) like a four-star hotel.
 17          MR. JAGER: This airport is really nice.           17          MIKE: Yeah.
 18          MIKE: Yeah, there's some --                       18          MALE VOICE: It's all right. We have our
 19          MR. JAGER: This is the Henderson Airport.         19   offices in a pretty nice one in Salt Lake.
 20          MALE VOICE: Yeah, Henderson Executive, yeah.      20          MIKE: Yeah, it's (inaudible). And with
 21          MIKE: And it looks like the Raiders --            21   Covid so much extra money moved to Utah and (inaudible)
 22          MALE VOICE: Yeah.                                 22   other places. So --
 23          MIKE: -- workout facility is right there?         23          MR. JONGEWARD: You know, we saw that even in
 24          MALE VOICE: Yeah, it's right here, yeah.          24   the Spokane and in the Idaho area there, Coeur d'Alene
 25          MIKE: Okay.                                       25   (inaudible) places.



                                                                                    5 (Pages 14 to 17)
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  1           MIKE: Oh. Yeah.                                   1   on it --
  2           MR. JONGEWARD: Yeah.                              2           MR. JAGER: Yeah.
  3           MALE VOICE: Yeah, we do a lot of flying to        3           MALE VOICE: -- and if you include the
  4   Coeur d'Alene.                                            4   co-pilot seat. This is -- this is the largest, fastest
  5           MR. JONGEWARD: Yeah, I bet you do. We've          5   single engine plane on the private market.
  6   seen a lot more affluency come that way.                  6           MR. JAGER: Huh.
  7           MALE VOICE: My wife and I went there on our       7           MALE VOICE: Or I'm sorry, single pilot plane
  8   babymoon.                                                 8   on the private market, two engines but --
  9           MR. JONGEWARD: Did you?                           9           So you can -- if you own the plane you can
 10           MALE VOICE: We had a son a year-and-a-half       10   fly in it with one pilot. When we charter it, we fly
 11   ago and I had never been to Coeur d'Alene but always     11   with two. But anyway -- so, yeah, then you can put ten
 12   heard good things. So we had to fly into Spokane         12   people in. And the owner of this plane often flies
 13   obviously --                                             13   with ten.
 14           MR. JONGEWARD: Yeah.                             14           MR. JAGER: Yeah. That's great.
 15           MALE VOICE: -- and we drove over there. But      15           MALE VOICE: Yeah. So anyway, that's --
 16   it's gorgeous. Yeah, what did you think of Coeur         16   that's fun. I'm sorry, so can you guys tell me your
 17   d'Alene.                                                 17   first and last names again? I just want to make sure I
 18           MR. JONGEWARD: Nice area.                        18   have it straight.
 19           MALE VOICE: It reminds me of Lake                19           MR. JAGER: Shane Jager.
 20   (inaudible). Have you ever been there?                   20           MALE VOICE: Shane Jager, okay.
 21           MR. JONGEWARD: I haven't.                        21           MR. JAGER: Uh-huh.
 22           MALE VOICE: It's in Manchester, New              22           MR. JONGEWARD: Yeah, and I'm Jason
 23   Hampshire.                                               23   Jongeward.
 24           MR. JONGEWARD: Yeah.                             24           MALE VOICE: Jongeward, okay. But it has --
 25           MALE VOICE: It's in New Hampshire and the        25   it has a J on it?


                                                Page 19                                                       Page 21
  1   trees go right up to the water. You know, it's where      1          MR. JONGEWARD: Yeah, it's a little
  2   all the (inaudible) billionaires have their, their        2   different. It's Dutch, it's a Dutch name and it has a
  3   other lake houses. They're all grandfathered in. You      3   J.
  4   can't build anymore lakes houses on the lake, but it's    4          MALE VOICE: Very nice.
  5   gorgeous. You get in your boat and ride over to the       5          MR. JONGEWARD: And it's pronounced like a Y.
  6   town for dinner.                                          6          MALE VOICE: Okay. And you guys have lived
  7           MR. JONGEWARD: Coeur d'Alene might be             7   in Vegas for how long?
  8   (inaudible). There's not a lot of -- a lot of             8          MR. JAGER: We were just debating that.
  9   (inaudible).                                              9          MR. JONGEWARD: Yeah, March of 2000. Yeah.
 10           MR. JAGER: (Inaudible.)                          10          MALE VOICE: Okay. Wow.
 11           MALE VOICE: Yeah, yeah. So we'll sit in the      11          MR. JONGEWARD: I was here -- I think I was
 12   club configuration here. Behind you -- behind you is     12   here in the latter part of '98.
 13   the galley.                                              13          MALE VOICE: Okay.
 14           MR. JAGER: Oh, yeah.                             14          MR. JONGEWARD: I think that's right.
 15           MALE VOICE: Feel free to comb through there      15   Actually it was about --
 16   for any sort of chips or whatever. There's a little      16          MALE VOICE: That's about when I left. You
 17   draft. I can close the door.                             17   know, I left in the middle of the 90s. So I grew up --
 18           MR. JAGER: So what style airplane is this?       18   I was born and raised here so --
 19           MALE VOICE: This is called a (inaudible)         19          MR. JAGER: Where are you at now?
 20   300. Embry Air is a Brazilian manufacturer, but these    20          MALE VOICE: Salt Lake.
 21   planes are very hot right now. This plane is about as    21          MR. JAGER: Oh, okay.
 22   popular as you can get for this size.                    22          MALE VOICE: Yeah, we have our headquarters
 23           MR. JAGER: What does it take ten?                23   in the Salt Lake Airport.
 24           MALE VOICE: It will seat ten if you              24          MR. JAGER: Nice.
 25   include -- so if you include the lav, which has a belt   25          MALE VOICE: And we -- yeah, my mom actually



                                                                                    6 (Pages 18 to 21)
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  1   grew up here. So my grandpa moved here in the 1940s.      1           MALE VOICE: What's his attorney's name?
  2         MR. JAGER: Wow.                                     2           MR. JAGER: Matthew Beasley.
  3         MALE VOICE: Early 40s.                              3           MALE VOICE: Okay.
  4         MR. JAGER: Wow.                                     4           MR. JAGER: And he's been here a long time as
  5         MALE VOICE: Before World War II started. So         5   well.
  6   anyway, I have a lot of history here. My dad as           6          MIKE: I've heard -- I've talked to you I
  7   actually District Attorney here in Las Vegas as was my    7   think twice on the phone and so for -- I might have
  8   grandfather.                                              8   messed up a few details. I've given him some
  9         MR. JAGER: Wow.                                     9   high-level stuff as we've been together for the last
 10         MALE VOICE: Yeah, so --                            10   week --
 11         MR. JAGER: That's great.                           11          MR. JAGER: Sure.
 12         MR. JONGEWARD: Did you have a lot of               12          MIKE: -- but if you guys just want to kind
 13   pressure to go to law school?                            13   of start because I think I kind of have --
 14         MALE VOICE: No, my grandfather and my mom's        14          MALE VOICE: What I've heard is some pretty
 15   dad and my dad were business partners.                   15   outrageous claims as far as returns go. So it seems
 16         MR. JONGEWARD: Oh.                                 16   pretty -- too good to be true. So maybe you guys can
 17         MALE VOICE: My dad's dad was not a lawyer.         17   help me understand, wrap my head around it.
 18   He was a gas station owner.                              18          MR. JONGEWARD: Well, I'll let Shane give you
 19         MR. JONGEWARD: Oh, yeah.                           19   the more polished --
 20         MALE VOICE: Interestingly.                         20          MR. JAGER: All right.
 21         MR. JONGEWARD: Yeah.                               21          MR. JONGEWARD: -- because he's been doing it
 22         MALE VOICE: Anyway. That's a little of my          22   for a little bit longer.
 23   family history. I'm going to actually look at some       23          MR. JAGER: You probably have a little more
 24   snacks if you want something here.                       24   practice than I do.
 25         MIKE: So you were saying with the legal            25          MR. JONGEWARD: Well, you know, the -- just


                                                Page 23                                                         Page 25
  1   investments, and you've been here for about two years?    1   the basic structure is when an individual has a
  2          MR. JONGEWARD: So, yeah, Shane -- Shane            2   personal injury claim and they reach that settlement
  3   shared it with me the end of 2019.                        3   point there's a 90-day waiting period there.
  4          MIKE: Okay.                                        4           MALE VOICE: Uh-huh.
  5          MR. JONGEWARD: And so we -- we -- I got            5           MR. JONGEWARD: And so Jeff, J&J Purchasing,
  6   involved right there in November of '19 and, yeah, and    6   and Matt Beasley, you know, they've -- they've created
  7   then been kind of working with Shane since the first      7   relationships across the globe with over 66 firms. And
  8   part of May managing some of the, the group I've been     8   so all of these attorneys are aware of the service that
  9   able to put together. But Shane -- Shane is kind of my    9   Jeff provides.
 10   boss. He's the -- he's the --                            10           MALE VOICE: Okay.
 11          MIKE: Okay.                                       11           MR. JONGEWARD: And so as -- as an attorney
 12          MR. JONGEWARD: -- one that acts like I have,      12   sees the opportunity for their, their client, the
 13   you know, I -- someone is able to keep a handle on me.   13   plaintiff to, you know, need some capital, we --
 14          MR. JAGER: It's a full-time job.                  14   Jeff -- J&J offers an 80 or $100,000 amount to the
 15          MR. JONGEWARD: Yeah.                              15   plaintiff. They package the private capital into a
 16          MR. JAGER: No, Jason, he manages himself          16   contract and then they offer that contract to sell.
 17   well. So --                                              17           So the plaintiff is actually buying the
 18          MIKE: Okay.                                       18   contract.
 19          MR. JAGER: -- it makes my -- it makes my job      19           MALE VOICE: Okay.
 20   easier for sure.                                         20           MR. JONGEWARD: So within that contract it's
 21          MIKE: And how long have you been doing it?        21   an 80 or $100,000 amount. Most of these claims are 225
 22          MR. JAGER: I've been in almost five years.        22   to 350,000 in size, so I would assume, and I don't want
 23          MIKE: Okay.                                       23   to speak for Jeff but, you know, he's making that
 24          MR. JAGER: So, yeah, yeah. And Mark knows         24   attractive for them where they're really only, you
 25   Jeff. Jeff started this with his attorney, but --        25   know, taking a small portion of their claim early and



                                                                                      7 (Pages 22 to 25)
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  1   they get a -- they pay a 25 percent price tag to have      1           MIKE: Okay.
  2   that capital early while they're waiting.                  2           MR. JAGER: -- where, you know, we don't treat
  3          MALE VOICE: I see, just to get them through         3   it as a fund. Each investor will own a contract
  4   the next 90 days?                                          4   essentially. It is in J&J Consulting -- J&J Consulting
  5          MR. JONGEWARD: To get them through that             5   is the buyer on every agreement with the plaintiff but
  6   period, yeah.                                              6   that -- and J&J Consulting is Jeff Judd's entity.
  7          MR. JAGER: A lot of them have been waiting          7           MIKE: Okay.
  8   upwards of one-and-a-half to two years.                    8           MALE VOICE: And I assume they participate in
  9          MR. JONGEWARD: Right.                               9   this? How do they -- how do they get paid?
 10          MR. JAGER: And so --                               10           MR. JAGER: Well, so we charge 25 percent of
 11          MIKE: So are these pretty big accidents that       11   what we put up, 80 or 100,000. The investor gets
 12   they're getting in or --                                  12   12-1/2, the rest goes between Jeff and his attorney,
 13          MR. JAGER: Well, the bulk of the claims that       13   and I think they do a co-op with the other -- with the
 14   we work with are slip and falls, and so 225K to 350K is   14   participating attorney.
 15   the sweet spot for us to participate.                     15           MALE VOICE: Okay.
 16          MIKE: Okay.                                        16           MR. JAGER: So it's 12-1/2 percent every 90
 17          MR. JAGER: You know, and we're putting up 80       17   days and capital will roll from one contract to the
 18   to 100,000 -- 80 or 100,000, so depending on what their   18   next.
 19   settlement amount is it fits into that category.
                                                                19           MALE VOICE: So the attorney that's
 20          MALE VOICE: I see. So you're not trying to
                                                                20   representing the plaintiff also gets paid?
                                                                21           MR. JAGER: Yeah.
 21   buy out their whole thing?
                                                                22           MR. JONGEWARD: It's a couple thousand
 22          MR. JAGER: We don't want the whole thing.
                                                                23   dollars, I think.
 23          MR. JONGEWARD: No.
                                                                24           MALE VOICE: Okay, okay.
 24          MR. JAGER: We're giving them some money
                                                                25           MIKE: So they're motivated to work with you
 25   upfront so to speak.


                                                   Page 27                                                     Page 29
  1           MALE VOICE: So that's why they're willing to       1   guys then?
  2   pay a little bit higher deal?                              2          MR. JAGER: They can be, yeah.
  3           MR. JAGER: And I think --                          3          MIKE: Okay.
  4           MALE VOICE: And other people can't just get        4          MR. JAGER: Yeah. And we --
  5   into this because it -- you guys have done some set up     5          MALE VOICE: And how do you guys get paid?
  6   work.                                                      6          MR. JAGER: Through --
  7           MR. JONGEWARD: Yeah.                               7          MALE VOICE: Do you get -- I mean, I guess
  8           MR. JAGER: Well, well there's -- you know,         8   what I should say is it commission based? Are you on
  9   litigation funding is nothing new, and there's a lot of    9   salary with Jeff?
 10   participation across the board. I mean, J.G.              10          MR. JAGER: He's got negotiated rates with us
 11   Wentworth, Peachtree Funding, those are a couple of the   11   versus what the investor will get a little bit, you
 12   larger ones.                                              12   know, extra on top of that. So he's got --
 13           MALE VOICE: Uh-huh.                               13          MALE VOICE: And I hope that's not an
 14           MR. JAGER: I think the attraction for ours        14   insensitive question, but I'd just like to know what
 15   is with the attorneys it's less -- you know, I've been    15   everybody is getting out of the deal.
 16   told that the J.G. Wentworth contract is like a book,     16          MR. JAGER: No, no. Yeah, yeah. He -- we've
 17   where ours is a ten page, you know, a ten-page            17   got -- we've got certain arrangements that those that
 18   agreement.                                                18   have been in early, and we get a little bit more, you
 19           MIKE: Is J.G. Wentworth public?                   19   know --
 20           MR. JAGER: I would assume so.                     20          MALE VOICE: Yeah. Okay.
 21           MIKE: Okay.                                       21          MR. JAGER: -- than the actual investor.
 22           MR. JAGER: They're -- they're very large.         22          MALE VOICE: I see.
 23           MIKE: Okay.                                       23          MR. JAGER: But that's the set up that he's
 24           MR. JAGER: I think they treat theirs more as      24   created and, you know, he -- he recently had a Texas
 25   a fund --                                                 25   based firm come in and essentially audit his company, a



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  1   company that works with the SEC --                         1   you having that issue too?
  2          MALE VOICE: Uh-huh.                                 2          MR. JONGEWARD: No.
  3          MR. JAGER: -- and FBI, and he had them come         3          MIKE: Do you mind? I'm going to put back.
  4   in. He spent a couple hundred K to do that, and they       4          MALE VOICE: (Inaudible) in the plane.
  5   revised docs, they looked at everything and said, okay,    5          MIKE: Yeah. Anytime we fly in here --
  6   we --                                                      6          MALE VOICE: A couple of waters? Is that
  7          MALE VOICE: So, like, this is all above             7   okay?
  8   board with all the regulatory agencies?                    8          MIKE: Yeah.
  9          MR. JAGER: Absolutely, yeah. And he --              9          MR. JAGER: Are they just --
 10   he --                                                     10          MALE VOICE: Yeah, yeah, they're in one of
 11          MALE VOICE: So when you say 12-1/2                 11   those drawers there.
 12   percent --                                                12          MIKE: Yeah, sorry about that.
 13          Hey, thank you. Food. They did not tell me         13          MALE VOICE: There it is.
 14   whose is whose.                                           14          MR. JONGEWARD: The table is actually -- it's
 15          MIKE: No. Well, we can figure it out.              15   actually done well. There's quite a bit of space
 16          MALE VOICE: I guess it will be evident when        16   there.
 17   you open it up, right. Is there anything else you         17          MIKE: Are you okay eating like that? That
 18   need?                                                     18   was --
 19          This is the pilot, Matt, everybody.                19          MR. JONGEWARD: Totally.
 20          MIKE: Hey, Matt.                                   20          MIKE: Yeah, that one was right in my knees.
 21          MALE VOICE: Matt, thank you.                       21   I'm like, I'm going to be moving this while we eat.
 22          MR. JAGER: How you doing?                          22          MR. JONGEWARD: Thank you very much.
 23          PILOT: Very, very well. Have a good day.           23          MIKE: Oh, no I --
 24          MALE VOICE: Thank you. It's French Dip.            24          MALE VOICE: Do you guys need a water?
 25          MIKE: That's me.                                   25          MIKE: I'll take one. Oh, no, I have one.


                                                 Page 31                                                        Page 33
  1          MALE VOICE: Oh, yeah, I forgot about these          1           MR. JAGER: You good?
  2   tables. I've never had -- so I run the company, but I      2           MR. JONGEWARD: We're good, Shane. Thanks.
  3   rarely get to fly private. Like, it's expensive, you       3           MR. JAGER: Okay.
  4   know.                                                      4           MALE VOICE: Did you guys get the right
  5          MR. JONGEWARD: Well, that's probably not            5   meals? I got a club sandwich. Is that what you got?
  6   uncommon.                                                  6           MR. JONGEWARD: We did. Actually this is
  7          MALE VOICE: I actually do own one of the            7   your club sandwich and that -- I bet you probably have
  8   planes, so I shouldn't say that but --                     8   a salad there, a Caesar salad.
  9          MR. JONGEWARD: Double check that.                   9           MALE VOICE: Perfect.
 10          MR. JAGER: Yeah, thank you.                        10           MR. JONGEWARD: Sorry open your meal there.
 11          MALE VOICE: I was involved -- oh, let me see       11           MIKE: We got mints if you guys need them
 12   here.                                                     12   too. So -- I think after eating this French Dip.
 13          MIKE: Jason, how tall are you?                     13           MR. JAGER: Oh, I have some.
 14          MR. JONGEWARD: About -- well, in high school       14           MALE VOICE: You got plenty?
 15   I want to say --                                          15           MR. JAGER: Make sure I have the right salad.
 16          MALE VOICE: How did you do that?                   16           MR. JONGEWARD: Do you have -- you have
 17          MIKE: You push it. Oh, yours might not             17   chicken, right?
 18   work.                                                     18           MIKE: Yeah.
 19          MALE VOICE: Okay. I was wondering what I           19           MR. JAGER: Did you get chicken or --
 20   was doing wrong.                                          20           MR. JONGEWARD: I did not. Mine -- mine
 21          MIKE: Yeah, yours is --                            21   is -- I think it's Caesar so this one might --
 22          MALE VOICE: This is my first time flying in        22           MALE VOICE: There should be ketchup in that
 23   this particular.                                          23   bag there.
 24          MIKE: Yeah, that one is not working.               24           MR. JONGEWARD: This one might be yours,
 25   Actually, this is like slamming down on my knees. Are     25   yeah.



                                                                                     9 (Pages 30 to 33)
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  1         MIKE: Ketchup there.                                 1   gas, real estate.
  2         MR. JAGER: Awesome, thank you.                       2           And so I've got -- I've got an investment
  3         MALE VOICE: All right. Sorry, where were             3   coming to maturity here, and so to me the way I
  4   we?                                                        4   perceive what you guys have to offer right now is that
  5          MR. JAGER: So 12-1/2 percent.                       5   it's high risk, but maybe you can talk me out of that.
  6          MALE VOICE: 12-1/2 percent is what you're           6   So I keep high risk to a very small portion of my
  7   talking about, not a yearly annualized interest but        7   overall portfolio.
  8   you're saying --                                           8           MR. JAGER: Sure. I had the same -- you
  9          MR. JAGER: You're on the side, right? Your          9   know, when I first heard about it, I thought that it
 10   salad dressing is on the side?                            10   was too good to be true and it took me a little bit, it
 11          MR. JONGEWARD: Oh, yeah, yeah. Yeah, yeah.         11   took me six months to get off the fence to put some
 12          MALE VOICE: You're saying I put in $80,000         12   money into it.
 13   and in 90 days I get $90,000?                             13           MALE VOICE: Uh-huh.
 14          MR. JONGEWARD: Not 90 days. Well, if you           14           MR. JAGER: And fast forward today, almost
 15   put in -- it's a 12-1/2 percent return every 90 days.     15   five years later, it's never missed a beat, week in and
 16   So if you times that times four quarters --               16   week out for that five years. I've gotten all -- I've
 17          MALE VOICE: Yeah, that's 180.                      17   got a lot of family money it. Personally I've got a
 18          MR. JONGEWARD: Yeah.                               18   ton of friends. I think if I -- if I felt skeptical
 19          MALE VOICE: So that's --                           19   about it, I would have been gone long ago.
 20          MR. JAGER: Here's some more ketchup for you.       20           MALE VOICE: Okay.
 21          MALE VOICE: So that's $10,000 on $80,000.          21           MR. JAGER: I know Jeff fairly -- well, I
 22          MR. JONGEWARD: Yeah, every 90 days.                22   would say pretty well. We've been neighbors --
 23          MALE VOICE: So if I put in $80,000 in 90           23           MALE VOICE: He lives in Anthem?
 24   days, I get $90,000; is that correct?                     24           MR. JAGER: He's up in -- he's -- he just
 25          MR. JONGEWARD: Well, your principal stays in       25   moved a couple of years ago, moved to Ascia (phonetic).


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  1   and rolls to the next contract.                            1   So he's right next to Anthem. But we were neighbors,
  2           MALE VOICE: Oh, I see.                             2   next door neighbors for two different communities for
  3           MR. JAGER: But that's -- that how we look at       3   about 15 of the 21 years that we lived there.
  4   it. So you would see $10,000 every 90 days on that 80.     4          MALE VOICE: Yeah. So you know each other
  5           MALE VOICE: And how many of those contracts        5   really well.
  6   can you get into at one time?                              6          MR. JAGER: Yeah.
  7           MR. JAGER: I mean, I've got guys with over         7          MALE VOICE: Okay.
  8   $6 million invested.                                       8          MR. JAGER: And his kids -- he has four kids;
  9           MALE VOICE: So a little bit of my history.         9   I have four kids. Our kids were kind of intertwined,
 10   I studied computer science in college and some friends,   10   same age groups.
 11   and I founded a company called Blue Host, which is --     11          MALE VOICE: Okay.
 12   at its time -- at the time we sold in 2010 was the        12          MR. JAGER: And so -- and his wife gets along
 13   fastest growing web host in the world.                    13   with my wife really well so --
 14           MR. JAGER: I've heard of that.                    14          Do we hang out, you know, every day, no. You
 15           MALE VOICE: Have you?                             15   know, we're busy in our respective roles.
 16           MR. JAGER: Uh-huh.                                16          MALE VOICE: This is your full-time gig?
 17           MALE VOICE: That's cool. Some people have         17          MR. JAGER: It is really. I mean, I do -- I
 18   heard of it.                                              18   dabble in real estate.
 19           MR. JAGER: Well done.                             19          MALE VOICE: Okay.
 20           MALE VOICE: And since then I've just been         20          MR. JAGER: I've spec built some customs. I
 21   trying to grow that, and we sold that company for over    21   rehab and renovate customs. I -- my wife and I really
 22   nine figures, and I've been trying to grow my portion     22   love taking a custom and -- an older custom and
 23   of it through different -- I mean, I've diversified       23   improving it, kind of bringing it current.
 24   across real estate, obviously aviation. This is what I    24          MALE VOICE: Okay.
 25   do with my time, but what I do with my money is oil and   25          MR. JAGER: And we've done really well, you



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  1   know, investment-wise.                                    1          MALE VOICE: So wait, you're involved in,
  2           MR. JONGEWARD: Oh, yeah.                          2   what, it's another investment strategy?
  3           MALE VOICE: In this market, yeah. I mean, I       3          MR. JAGER: Yeah, yeah. We've got -- I
  4   regret not -- in 2009 I had the little bug in my ear      4   get -- I see about four or five new business
  5   that I should buy a bunch of homes in Las Vegas, and I    5   opportunities a month, and so I kind of sift through
  6   could have got them for --                                6   what, you know, what looks good and what doesn't. And
  7           MR. JAGER: Yeah, pennies on the dollar.           7   there's a few that I feel -- like Eco Battery --
  8           MALE VOICE: -- less than a hundred grand          8          MALE VOICE: So do you have an agreement with
  9   each and they'd be worth 500 grand today so --            9   them where you bring them investors?
 10           MR. JAGER: Yeah. Well probably our biggest       10          MR. JAGER: Well, I'm actually a partner at
 11   success we we built a -- it was a home for our family    11   this point.
 12   but, you know, we both knew it was going to -- it was    12          MALE VOICE: Oh, I see.
 13   an investment. You know, we had a lot of our eggs into   13          MR. JAGER: I've brought in -- I've brought
 14   it, you know, to get it done. And we built it for 2.6.   14   in over 6-1/2 million personally.
 15   It was about 12,000 square feet on an acre on the golf   15          MALE VOICE: And what do they need money to
 16   course, the Rio Sago Golf Course right here in Seven     16   do?
 17   Hills. We sold it three years later for 5.6.             17          MR. JAGER: Essentially for inventory, for
 18           MIKE: Oh, my gosh.                               18   batteries. Their focus right now is golf cart
 19           MR. JAGER: So that was our first taste.          19   batteries --
 20           MR. JONGEWARD: I never got to see that           20          MALE VOICE: Uh-huh.
 21   house.                                                   21          MR. JAGER: -- because that's what I saw that
 22           MR. JAGER: Oh, it had an indoor basketball
                                                               22   just took off, right. It's -- they did -- they did --
 23   court.
                                                               23   they just started selling late March of 2021 --
 24           MR. JONGEWARD: Yeah.
                                                               24          MR. JONGEWARD: Yeah.
 25           MR. JAGER: It was -- it was a great --
                                                               25          MR. JAGER: -- they did almost 5 million in


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  1           MALE VOICE: I'm sorry, did you say you lived      1   revenue in 2021. They're anticipating 75 million this
  2   in it too?                                                2   year --
  3           MR. JAGER: Yeah, for three -- three years,        3          MALE VOICE: Wow.
  4   three months. So we --                                    4          MR. JAGER: -- and 150 in 2023. But
  5           MALE VOICE: So tax free.                          5   essentially, they need capital for inventory to supply
  6           MR. JAGER: Yeah. Well, the first 500. But         6   the OEMs golf carts. But the exciting thing about that
  7   it was -- yeah, it was a great, a great play and, you     7   one too is it -- it has other facets of revenue
  8   know, we kind of built it in the downturn, you know --    8   streams, such as they've done RV and houseboat
  9           MALE VOICE: Yeah.                                 9   conversions from the old lead acid to their lithium
 10           MR. JAGER: -- knowing the market was going       10   battery with solar mounted on the roof of the vehicle
 11   to come back.                                            11   or the boat. So essentially, you've got off grid power
 12           MIKE: Yeah.                                      12   with their battery.
 13           MR. JAGER: And since then we've done three       13          MIKE: Are they doing sprinters as well?
 14   or four other big flips, seven figure gain on flips.     14          MR. JAGER: They can do anything, yeah.
 15           MALE VOICE: Wow.                                 15          MIKE: Okay.
 16           MR. JAGER: So we kind of go after the big        16          MR. JAGER: And I think -- and then the other
 17   ones that we can see the potential in.                   17   branch is housing. They want to get into off grid
 18           MIKE: That's awesome. And then you guys are      18   housing, those that are looking to, you know, put solar
 19   doing your Eco Battery?                                  19   up, run through their batteries, and -- so they've
 20           MR. JAGER: Eco Battery is a big one. That's      20   got -- they've got some really some cool things.
 21   new. It's --                                             21          MALE VOICE: Do you know any of the specs on
 22           MIKE: Yeah.                                      22   the batteries, like how much power it holds?
 23           MR. JAGER: Yeah, it's -- this one I think        23          MR. JAGER: The golf -- they've got two
 24   has a runway for a big exit with everything they're      24   different golf cart batteries. That's been their focus
 25   doing.                                                   25   right now.



                                                                                  11 (Pages 38 to 41)
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  1           MALE VOICE: Uh-huh.                                1    raise and they had some group go in with them who
  2           MR. JAGER: One is a 40 --                          2    focuses on that. I'll give Frank a call.
  3           MALE VOICE: Did you get any napkins?               3            MR. JAGER: That would be great, yeah.
  4           MIKE: No, I don't think they brought any           4            MR. JONGEWARD: Yeah.
  5   napkins.                                                   5            MR. JAGER: That would be great.
  6           MR. JAGER: I'll show you a pix here in a           6            MIKE: I'd be happy to make a connection for
  7   minute. But I want to say the one I've got is 105          7    you.
  8   amps.                                                      8            MR. JAGER: Yeah, Jason and I have been
  9           MALE VOICE: Uh-huh.                                9    pretty heavy. Jason has raised capital for it as well.
 10           MR. JAGER: But it's -- it's a better              10    We just brought in another --
 11   mousetrap. You know, the lead acid they weight about      11            MALE VOICE: Are you a partner in it?
 12   6, 700 pounds. You've got this one -- you know,           12            MR. JONGEWARD: I'm not a partner. I don't
 13   imagine extracting all six lead acid out of your golf     13    think they'd let me in. I think I missed the boat.
 14   cart that's maybe -- taking the weight to your golf       14            MR. JAGER: Well, so what -- so what the
 15   cart another 750 pounds. You replace it with one          15    appeal with Eco Battery, on the raise what they're
 16   lithium battery that's about 75 pound on average.         16    doing is they're -- it's essentially a debt, debt
 17           MIKE: Okay.                                       17    equity offering. The minimum is $5 million. Jason
 18           MR. JAGER: So you've just lightened your          18    created more or less a syndicate to raise capital for
 19   cart --                                                   19    them.
 20           MIKE: With a more powerful battery.               20            So any investor who brings in capital,
 21           MR. JAGER: -- with a more powerful battery.       21    they'll give them 8 percent on their money over the
 22   It charges in half the time, and it lasts 3,500 life      22    course of 12 months. At the end of 12 months they'll
 23   cycles, which is about 12 to 14 years with normal use.    23    return the principal plus the 8 percent and essentially
 24   Lead acid you're replacing every two to three years       24    then you have equity in the company.
 25   with the -- especially here in Vegas with the heat.       25            MIKE: Oh, yeah, you were saying that.


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  1          MALE VOICE: So what's the innovation? I             1          MR. JAGER: Yeah. They're offering 2 percent
  2   think -- I mean, I think lithium batteries are             2   for every 5 million. So depending on what's brought in
  3   everywhere.                                                3   there's opportunities. Their initial raise, we're
  4          MR. JAGER: They've gotten -- there's                4   looking at 20 to 30 million.
  5   lithium -- there's five players in the business, in        5          MALE VOICE: So basically the interest on
  6   that golf cart industry essentially. They've got a         6   your loan is your 2 percent?
  7   patent on their battery where they've hollowed out the     7          MR. JAGER: Well, no, you get --
  8   center and it makes the conversion just a whiz. I did      8          MALE VOICE: Because you get your -- you get
  9   mine in about 30 minutes.                                  9   your money back --
 10          And you drop a J hook down through the             10          MR. JAGER: Plus 8 percent and then --
 11   battery, connect to the frame, drop their cap with the    11          MALE VOICE: Plus 8 percent. So the
 12   bolt on top, and that secures the battery down. You       12   difference between 8 percent and the 2 percent is
 13   make the connections and you're -- golf cart OEMs love    13   the -- yeah, okay.
 14   it because it -- it can convert, you know, their old      14          MR. JONGEWARD: So the equity is more or less
 15   style really easily.                                      15   icing on the cake and --
 16          MALE VOICE: Yeah.                                  16          MR. JAGER: Yeah, the 8 percent we can do
 17          MR. JAGER: So they've got -- but they've           17   that in a lot of places, but it's that 2 percent equity
 18   got -- they've got demand where they've got OEMs asking   18   stake in the company that, you know, if they have $1
 19   for 1,000, 1,500 batteries a month and they can't keep    19   billion exit in five years that's worth -- for every
 20   up. So capital is key there.                              20   100,000 it's worth 400,000. It's a 4X. If they do a
 21          MIKE: I might be able to make an                   21   multi-billion dollar exit it's an 8X or plus.
 22   introduction to you guys. Lion Energy out of Salt         22          MR. JONGEWARD: Yeah.
 23   Lake, they do a bunch of batteries, and they              23          MIKE: That's -- is it -- so how many
 24   distribute -- they have a huge distribution network. I    24   investors have you guys got on that one?
 25   know those guys. I know that they just did a major cap    25          MR. JONGEWARD: Let's see. Shane and I are



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  1   different, so I don't know about Shane. I've got about     1           MIKE: There we go.
  2   39 people in my group currently.                           2           MR. JAGER: Anyway, his R&D is --
  3           MIKE: Okay.                                        3           MR. JONGEWARD: Can you give me one those
  4           MR. JONGEWARD: So we're --                         4   napkins?
  5           MALE VOICE: What's the margin on the               5           MIKE: Yeah.
  6   battery, do you know?                                      6           MR. JAGER: He's big into R&D, so he's always
  7           MR. JAGER: 44 percent.                             7   looking to improve.
  8           MALE VOICE: Really?                                8           MR. JONGEWARD: Thanks.
  9           MR. JAGER: And they have -- you know, that's       9           MALE VOICE: No problem.
 10   another reason for the raise.                             10           MR. JONGEWARD: I feel like Shane is
 11           MALE VOICE: So 75 million revenue.                11   (inaudible). I was impressed. So I just went and met,
 12           MR. JAGER: Yeah, there's going to be --           12   his name is Casey Shirts, the founder. He's kind of
 13   yeah, they're cashflow positive this year.                13   one of those guys that's more of an inventor type.
 14           MALE VOICE: That is very realistic that they      14   Usually in my experience you see a guy that can handle
 15   would have a billion-dollar valuation.                    15   the in the field but doesn't do well in the office.
 16           MR. JONGEWARD: Yes.                               16   You know, it's hard to have a well-rounded person like
 17           MR. JAGER: Yes. And once they -- you know,        17   that.
 18   they're closing -- they're based in St. George.           18           Casey is the type where he's more of the
 19   They're closing on a 10,000 square foot building up       19   inventor type, like he knows how to configure the
 20   there, which has a warehouse, where RVs can drive in      20   batteries --
 21   our houseboats, get the retrofits done. Those are,        21           MIKE: Yeah.
 22   like, 20, 30 grand plus. So -- and that's a big deal.     22           MR. JONGEWARD: -- make those all work, but
 23   These -- you know, people that spend money on RVS or      23   then his business savvy is really impressive. I was --
 24   houseboats will want this lithium battery. It's           24   I was totally impressed with him.
 25   just -- there's no drag in power, you know, versus the    25           MIKE: So not the mad scientist.


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  1   lead acid.                                                 1           MR. JONGEWARD: Yeah, right. And so -- and
  2          MIKE: Yeah.                                         2   then he's got, he's got some great younger people
  3          MR. JAGER: It's just -- it's so much better.        3   behind him that are educated, and they really are -- I
  4          MIKE: Oh, it's comparing a gas -- or like           4   mean, you can -- you can always tell within two minutes
  5   your standard V-6 compared to electric.                    5   of talking to somebody if they really know their game
  6          MR. JAGER: With electric.                           6   or not.
  7          MIKE: Electric, yeah. There's no way you            7           MIKE: Yeah.
  8   can get that torque anywhere else.                         8           MR. JONGEWARD: So as an investor or as a
  9          MR. JAGER: That's right.                            9   lender, right, we're lending them capital, trying to
 10          MIKE: Yeah.                                        10   come in and identify, you know, where the risk is and
 11          MR. JAGER: I mean, he's got -- he's got a          11   what -- what the -- what the potential is it's been
 12   video, one of the founders has a video of him popping a   12   really nice to be able to talk with him and negotiate
 13   wheelie on a golf cart.                                   13   how I'd like to see the contracts. They're very
 14          MIKE: Yeah, I saw that.                            14   flexible that way.
 15          MR. JAGER: Oh, did you see that?                   15           So they're -- they're really just interested
 16          MIKE: Yeah.                                        16   in getting capital so they can move forward, and they
 17          MR. JAGER: Okay, yeah. So quite -- and then        17   don't want to go backwards because the timing for them
 18   it's smart, all the -- all the batteries being            18   is important because they've got, you know, like Shane
 19   delivered March 1st are all Bluetooth, so you can         19   said $75 million worth of POs in '22. Well, we're
 20   communicate with your battery, and you can control the    20   already three months in almost, right.
 21   speed. You know, if your kids are driving you can lock    21           MIKE: Yeah.
 22   in, you know, a governor speed on it.                     22           MR. JONGEWARD: And so to get --
 23          MALE VOICE: Wow. That sounds good. A lot           23           MALE VOICE: So with POs -- with POs from --
 24   of really cool (inaudible).                               24   I mean, I'm assuming Fortune 500 companies or public
 25          (Plane taking off interruption.)                   25   companies why can't they go to a bank?



                                                                                  13 (Pages 46 to 49)
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  1           MR. JAGER: I think it's too early for them.        1           MALE VOICE: That's how much your currently
  2   I don't -- I wouldn't say they have 75 mill in POs, but    2   have under management?
  3   they've got a combination of POs and OEM relationships     3           MR. JAGER: Uh-huh.
  4   where these guys say, hey, we'll work with you, but we     4           MALE VOICE: And how long did it take you to
  5   need X amount of batteries a month.                        5   reach that point?
  6           MALE VOICE: Okay                                   6           MR. JAGER: Three years.
  7           MR. JONGEWARD: You know, it's not worth            7           MALE VOICE: Wow.
  8   their time until they inventory is there.                  8           MR. JAGER: Well, it's -- it started --
  9           MR. JAGER: Yeah, basically.                        9           MALE VOICE: So it's not just the two of you
 10           MIKE: And state that return again. It's --        10   doing that?
 11   you put in your investment, 8 percent on top of that.     11           MR. JAGER: No, no. No, Jeff, Jeff had -- he
 12           MR. JAGER: Right.                                 12   raised initially. He doesn't any longer.
 13           MIKE: And then --                                 13           MALE VOICE: Uh-huh.
 14           MR. JAGER: Comes back in 12 months.               14           MR. JAGER: But he's got -- Jeff, Jeff has
 15           MIKE: Comes back in 12 months. And then --        15   basically got five close friends that he's known and
 16           MR. JAGER: After exit --                          16   trusts for -- ever since he's lived here or, you know,
 17           MIKE: Yeah.                                       17   as long as I've known him, which has been, yeah,
 18           MR. JAGER: -- you're a partial equity owner       18   probably --
 19   of the company, and however they exit is relative to      19           MALE VOICE: Oh, great. Thank you.
 20   how, how each investor does.                              20           MR. JAGER: -- you know, over 20 years. So
 21           MIKE: Do you have most of your investors          21   he's kind of allocated that opportunity through us.
 22   going in and out of your pools? I mean, if it's 12-1/2    22   Jason and I have a history together, and so -- and he
 23   percent with, going back to the --                        23   was in another state. He was in Washington at the
 24           MR. JAGER: The settlements.                       24   time. So Jason and I connected, and Jason has raised a
 25           MIKE: -- the settlements, is that -- I mean,      25   lot of capital as well for it.


                                                 Page 51                                                         Page 53
  1   that's a 50 percent return. Like, that's -- that's         1          MIKE: I think that's incredible, that you
  2   incredible.                                                2   guys are doing that with, I think you said it was,
  3           MR. JAGER: That's a great, yeah, a great           3   like, word of mouth.
  4   investment.                                                4          MR. JAGER: It's more or less a friends and
  5           MIKE: So that's what you guys spend most of        5   family deal.
  6   your time on doing. Like, is it -- and this is just,       6          MIKE: Yeah.
  7   like, humor me with the question, but is it hard to get    7          MR. JAGER: You know, we really don't
  8   other investments if you're offering a 50 percent          8   advertise it. You know, if you ask Jeff, we're not
  9   return?                                                    9   really raising, you know. He doesn't really -- I don't
 10           MR. JAGER: It's challenging because, yeah,        10   know. He would love to see -- you know, he's
 11   when you've got something that good --                    11   comfortable. I don't know that he'd want to -- you
 12           MIKE: Yeah.                                       12   know, that he necessarily wants to continue growing and
 13           MR. JAGER: -- I think the appeal for other        13   get to, you know, a monster position with it.
 14   opportunities is diversifying.                            14          But, you know, he sees the people it's
 15           MIKE: Yeah.                                       15   benefitting, you know, like my mom who's a widow and,
 16           MR. JAGER: Okay, we don't want to have all        16   you know, she's got three contracts in this herself and
 17   our eggs in one basket.                                   17   she's -- she's been loving life, enjoying it, you
 18           MIKE: Okay.                                       18   know --
 19           MR. JAGER: So let's move -- yeah, let's move      19          MIKE: Yeah.
 20   through some of these other opportunities that look,      20          MR. JAGER: -- living her best life. And my
 21   you know, appealing. Jason and I have raised over 200     21   dad, he was in a mountain biking accident in Deer
 22   million for the settlement contracts.                     22   Valley, and he actually passed away from it.
 23           MIKE: And how -- how large is the fund then?      23          MIKE: I'm so sorry to hear that.
 24           MR. JAGER: It's over 400.                         24          MR. JAGER: So -- well, this -- this came at
 25           MIKE: That's incredible.                          25   a -- thank you. This came at a good time because that



                                                                                   14 (Pages 50 to 53)
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  1   was -- it came shortly after that, where she was           1           MR. JONGEWARD: -- is really what Shane had
  2   losing, you know, some of her benefits. And so, yeah,      2   mentioned, you know, after they did a business review
  3   this came at the right time really and it's just helped    3   last year, they really got their paperwork in order and
  4   (inaudible).                                               4   tried to make it as efficient as they could.
  5           MR. JONGEWARD: I think it comes at the right       5   So once you do your initial subscription
  6   time for anybody that comes across it.                     6   agreement then it's really just a two-page addendum
  7           MR. JAGER: Well, yeah.                             7   every time you add and it's really easy for us.
  8           MR. JONGEWARD: I have the same -- I have a         8   Because I think --
  9   ton of people that saved, you know, to get a half          9           MALE VOICE: But, I mean, going down and
 10   contract together. And, you know, it's just been --       10   hunting the plaintiffs, right, you've got to -- what do
 11   it's nice because it's allowed them to kind of elevate    11   you if any of these guys are delinquent and you got to
 12   and get up off the ground a little bit --                 12   collect on them or something like that?
 13           MIKE: Yeah.                                       13           MR. JAGER: That would be handled by Jeff's
 14           MR. JONGEWARD: -- take that stress level          14   attorney, Matt.
 15   down. So it's been a real positive. It's almost -- I      15           MR. JONGEWARD: Yeah.
 16   mean, it --                                               16           MR. JAGER: I don't know that they've ever
 17           MALE VOICE: Well, I mean, what are the --         17   had to deal with that yet. I think a lot of the
 18   yeah, but those people aren't adding up to 400 million.   18   attorneys are happy with the arrangement, and the thing
 19   So where is all this -- where are the real investors      19   is if they need more contracts, it's as simple as
 20   coming from?                                              20   reaching -- Matt reaching out to the attorney groups.
 21           MR. JAGER: I mean, I have -- I have some --       21   A lot of them know each other. Then, you know, that's
 22   I have some investors that have 30 plus contracts,        22   kind of how it snowballed from one group to 60 plus.
 23   almost 40.                                                23           MALE VOICE: So is Matt involved, like hands
 24           MALE VOICE: I see.                                24   on with every -- you've got an attorney on every deal?
 25           MR. JAGER: I have probably three or four of       25           MR. JAGER: Yeah, yeah. Matt -- Jeff has no


                                                Page 55                                                        Page 57
  1   those.                                                     1   involvement with the attorneys. That's all handled
  2           MALE VOICE: And when you say 40 that means         2   by -- Matt is Jeff's attorney --
  3   they're rolling over every --                              3          MALE VOICE: Uh-huh.
  4           MR. JAGER: Yeah, 40 separate contracts             4          MR. JAGER: -- and he's contracted to work
  5   either in 80, or 100, or, you know, they did split --      5   (inaudible).
  6           MALE VOICE: And are you handling all the,          6          MALE VOICE: So is Jeff retired from all of
  7   like, the paperwork involved with that, you personally.    7   this or --
  8           MR. JONGEWARD: Uh-huh.                             8          MR. JAGER: I wouldn't say retired, but he
  9           MR. JAGER: Yeah.                                   9   has his kids helping him out. You know, he's got some
 10           MR. JONGEWARD: So I'll manage my group and I      10   older kids that are doing contracts.
 11   fit underneath Shane because Shane is the one who kind    11          MR. JONGEWARD: Some of his day-to-day stuff,
 12   of shared it with me. Shane kind of invited me after,     12   right.
 13   I think we were in the -- I was in a little over a year   13          MR. JAGER: Uh-huh, some of the day to day.
 14   and Shane said, hey, I'd like to -- you know, I'd like    14   And, yeah, he's living a good life. He's got a jet.
 15   you to manage these people that you've brought in         15          MALE VOICE: What does he have, do you know?
 16   because you've brought in a handful of people.            16          MR. JAGER: I think he spent about $5 million
 17           And so we -- we've been doing that this year,     17   on it. I don't know what it is exactly but --
 18   where I've been able to manage. And so it's been --       18          MIKE: Cool. Can he fly it himself?
 19   but it's -- yeah, it's a little bit of work there to      19          MR. JAGER: What's that?
 20   manage all that for 90 days. But Jeff, and Shane, and     20          MIKE: Is he a pilot?
 21   those guys have all done a really nice job of trying to   21          MR. JAGER: He's not a pilot, no.
 22   keep the paperwork really efficient. The paperwork        22          MALE VOICE: Does he keep it here?
 23   that -- the paperwork that -- the document packet that    23          MR. JAGER: He keeps it here but he also --
 24   you guys have seen --                                     24   he runs it through a fleet where they --
 25           MIKE: Yeah.                                       25          MALE VOICE: They charter it.



                                                                                  15 (Pages 54 to 57)
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  1           MR. JAGER: -- they use it, yeah. They             1          MR. JAGER: I am as well.
  2   charter it when he's not, yeah. And so, yeah, so I        2          MR. JONGEWARD: So am I.
  3   think it's -- you know, these days it's a positive.       3          MR. JAGER: I would say -- my guess would be
  4           MALE VOICE: (Inaudible) price.                    4   probably 70/30.
  5           MR. JAGER: Well, we'll line that up.              5          MIKE: Okay.
  6           MALE VOICE: Yeah.                                 6          MR. JAGER: 70 in the church, yeah.
  7           MR. JAGER: You never know. Let's line that        7          MIKE: Okay. Well, yeah, I mean it seems
  8   up, yeah.                                                 8   like if you guys are growing word of mouth the church
  9           MIKE: But that's -- that's incredible. And        9   would be a really easy place to do so.
 10   I think you said you had around a thousand people all    10          MR. JAGER: Yeah, I --
 11   together into the fund?                                  11          MR. JONGEWARD: I try not to -- I try to keep
 12           MR. JONGEWARD: Yeah, I asked Shane about         12   that completely separate.
 13   that. I felt like Shane had a little better -- I kind    13          MR. JAGER: Yean, I do too. I do too. But,
 14   of just focus on my group and Shane has got a little     14   I mean, Roland Tanner is a good friend of mine,
 15   better, better concept of that. I think he's got a       15   neighbor, and he's raised north of $50 million too.
 16   little over a thousand maybe.                            16   He's connected with a lot of the older guys, you know,
 17           MR. JAGER: I'm working with probably 250         17   retired guys.
 18   personally.                                              18          MALE VOICE: So when you say they've raised
 19           MIKE: Okay.                                      19   that amount it's still under management, like you don't
 20           MR. JAGER: How may are you working with?         20   have a lot of people checking out of this I would
 21           MR. JONGEWARD: About 180.                        21   guess?
 22           MR. JAGER: Yeah. Probably with the other
                                                               22          MR. JAGER: Yeah. No, I mean, we have some
 23   guys I would say about a thousand.
                                                               23   rollover, you know, rollovers that are -- they're
 24           MALE VOICE: And they're here -- mostly here
                                                               24   buying a house and they need some, maybe they need cash
 25   in Vegas?
                                                               25   out of a contract or two.


                                                Page 59                                                        Page 61
  1          MR. JONGEWARD: Oh, they're all over the U.S.       1          MALE VOICE: Yeah.
  2   for my group. I'm sure the same with you, Shane.          2          MR. JAGER: But the bulk, the bulk ones stay
  3          MR. JAGER: Yeah, I have, yeah, Dr. John with       3   in.
  4   over 6 million and he's in Florida, you know.             4           MALE VOICE: Is there a commitment?
  5          MIKE: Okay.                                        5           MR. JAGER: We ask for a 90-day commitment.
  6          MR. JAGER: I think they're kind of scattered       6           MALE VOICE: Well, of course.
  7   all over the place.                                       7           MR. JAGER: With two weeks -- two weeks'
  8          MR. JONGEWARD: I've got people in -- serving       8   notice prior to the contract funding. So if you needed
  9   an LDS mission -- I've got two mission presidents in.     9   capital out two weeks' notice. Some of the contracts
 10          MALE VOICE: Oh, really?                           10   fund -- I got a handful that fund a week early, so
 11          MIKE: That's awesome.                             11   that's why we ask for two weeks just to cover that
 12          MR. JAGER: That's crazy.                          12   timeframe in case it does, you know, fund early.
 13          MR. JONGEWARD: I'm doing a Zoom and there's       13           MALE VOICE: Got it.
 14   a name tag and I'm like, oh, wait, I'm not sure how to   14           MIKE: Wow, yeah, that's -- that is awesome.
 15   handle this.                                             15           MALE VOICE: So I think for me I'd want to
 16          MR. JAGER: Yeah.                                  16   talk to somebody. Do you have somebody that invested
 17          MR. JONGEWARD: This is weird. Talking money       17   with you that you, I don't know, could make available
 18   about church stuff, you know.                            18   to -- somebody who doesn't mind talking to a potential
 19          MALE VOICE: Yeah.                                 19   investor?
 20          MR. JONGEWARD: No, but that's been really         20           MR. JAGER: Are you looking for a larger
 21   cool. It's been a blessing for a lot of people.          21   investor or a smaller investor?
 22          MIKE: Yeah. And are most of the people --         22           MALE VOICE: Yeah, somebody -- well, yeah,
 23          MR. JONGEWARD: (Inaudible) some time.             23   larger would be better. I mean, it depends
 24          MIKE: -- are most of the people in the fund       24   (inaudible). But it sounds like you don't want that
 25   are they members of the church? We both are so --        25   much money so --



                                                                                  16 (Pages 58 to 61)
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                                                   Page 62                                                       Page 64
  1           MR. JONGEWARD: That Dr. John would be              1   increase, you know. Does he want to get to a billion?
  2   somebody.                                                  2   You know, he's comfortable where he's at, you know.
  3           MR. JAGER: Yeah, Dr. John would probably be        3   But I don't -- I don't get the sense from talking to
  4   a good one. I've golfed with him a few times. He's         4   Jeff that he's -- he's going to stop it, you know.
  5   pretty accommodating.                                      5   He's going to kind of let it grow organically.
  6           MR. JONGEWARD: You know, as far as capital         6          And Matt is -- Matt -- I've had some good
  7   goes, I mean we're limited on what we can place weekly,    7   interaction with his attorney. He is on it, you know.
  8   but if you're patient, you know, if you're looking for     8   I had one guy that had -- was questioning if he was
  9   a large amount, placement, and you're patient, we can      9   short a contract and he had several, and within five
 10   get it in.                                                10   minutes Matt had a text to me with all of his
 11           MR. JAGER: Yeah.                                  11   contracts, his investment amount and everything, all
 12           MR. JONGEWARD: It's just the amount of time.      12   that detail just like that.
 13   If I do get some large commitments, I'll let Jeff know.   13          So he's always -- he's never missed a beat,
 14   In turn he'll get with his attorney Matt, and they        14   you know, in the time that I've been working with him.
 15   can -- you know, if it's a large, large position they     15          MIKE: And how many -- can you remind me how
 16   can increase the attorney, the attorney base pretty       16   many contracts you told me?
 17   easily.      MIKE: Okay. So for my -- and I've told       17          MR. JONGEWARD: Well, so I think we're over
 18   you this, I'm looking --                                  18   20,000 contracts with zero defaults. Is that kind of a
 19           MALE VOICE: I mean, I wouldn't start with a       19   general --
 20   large commitment but --                                   20          MR. JAGER: I know there's zero defaults,
 21           MR. JAGER: No, you got to test it.                21   yeah. There was one late, early on, but that was with
 22           MALE VOICE: But from what it sounds like --       22   Medicare and Medicaid.
 23           MR. JAGER: You got to start small, test it,       23          MR. JONGEWARD: Okay.
 24   watch it, you now, work for you and then, you know, I     24          MIKE: Yeah, yeah. You did tell me about
 25   think that's the way a lot of us have increased our       25   that.


                                                   Page 63                                                       Page 65
  1   position. Not everyone starts, you know, to the moon,      1           MR. JONGEWARD: Yeah, they stopped that right
  2   you know.                                                  2   away.
  3          MR. JONGEWARD: And we've got -- I've got a          3          MR. JAGER: Yeah, so they don't -- you know,
  4   waiting list. I imagine you probably do too?               4   they don't participate with that entity. But Jeff,
  5          MR. JAGER: Yeah, yeah.                              5   he's set aside an account for more or less E&O, errors
  6          MR. JONGEWARD: I'm like 15 million on my            6   and omissions. If there was, you know, maybe an
  7   waiting list?                                              7   insurance company goes BK or whatever could happen,
  8          MALE VOICE: And how long does that take to          8   he's got an account. You know, he's always said, you
  9   put in?                                                    9   know, if there's -- if there's something to go bad, I'm
 10          MR. JONGEWARD: You know, it just kind of           10   going to step in and take care of that and make the
 11   ebbs and flows, the amount of contracts that come in      11   investors, you know, take care of the investor.
 12   from the plaintiffs and then, you know, depending on --   12          But, you know, if they all went bad or, you
 13   you know, that's a lot of the work that Jeff, and Matt,   13   know, something -- I don't think that's the case
 14   and Shane do, I don't necessarily do it. I just           14   because we're working with -- you know, they have a
 15   receive, but Shane will decide how many contracts go to   15   whole slew of different insurance companies that, you
 16   who for the new contracts once the existing contracts     16   know, they're working with.
 17   have been replaced that particular week so --             17          MALE VOICE: And you guys kind of vet them,
 18          MIKE: Okay.                                        18   vet the deals?
 19          MR. JAGER: In the last year we got low on          19          MIKE: So you -- you're actually making 25
 20   capital and so Jeff actually paused seven attorney        20   percent every, every 90 days?
 21   firms for new contracts. You know, don't let guys hang    21          MR. JONGEWARD: The company, but they split
 22   on, you know, let us rebuild. We don't -- you know,       22   that, cut that in half.
 23   don't send us any more contracts until I give you, you    23          MALE VOICE: And you're keeping 12-1/2 and
 24   know, the green light.                                    24   the investor gets 12-1/2?
 25          So they can do that, but -- and they can also      25          MR. JAGER: That's right.



                                                                                    17 (Pages 62 to 65)
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                                                 Page 66                                                          Page 68
  1            MALE VOICE: And out of that 12-1/2 that the        1   that's brought -- bringing quite a bit to the table.
  2    company keeps that -- some of that goes to Jeff, some      2           MALE VOICE: What are we talking about?
  3    of it goes to Matt?                                        3           MR. JAGER: I would say north of, at least
  4            MR. JAGER: Matt, yeah.                             4   north of 5 million.
  5            MR. JONGEWARD: Yeah.                               5           MALE VOICE: All right.
  6            MALE VOICE: And then some of it goes to            6           MR. JAGER: And it would have to -- it would
  7    the -- whoever is bringing the investor it would go to,    7   have to balance out. Because what -- when they did
  8    you know, the equivalent of you guys?                      8   away with --
  9            MR. JAGER: Yeah, more or less a finder's           9           MALE VOICE: Because it adds a paperwork
 10    fee. But -- but a lot of times it's structured where      10   headache for you.
 11    we'll get a little bit more on our own. Because I've      11           MR. JAGER: Yeah, exactly. And I've got --
 12    got -- I've got seven figures invested personally, so     12   you know, I've had several people that we've just --
 13    we're able to, you know, bump up ours, our personal.      13   you know, we've had to do away with referral per the
 14            MALE VOICE: I see. Sure.                          14   attorney, the new attorney's recommendation.
 15            MR. JAGER: Yeah.                                  15           MALE VOICE: I see, okay.
 16            MIKE: And you said that you had worked with       16           MR. JAGER: So it's kind of -- it's created a
 17    a law firm that had worked with the SEC, like -- is       17   little, you know -- it was a little bit of a headache I
 18    that what you had told me on the phone, a couple of       18   think for --
 19    former SEC attorneys?                                     19           MR. JONGEWARD: A little more opportunity for
 20            MR. JONGEWARD: Yeah, that was --                  20   error.
 21            MR. JAGER: That was the Texas based firm          21           MR. JAGER: Yeah, yeah.
 22    that Jeff hired to come in and look at --                 22           MIKE: Okay.
 23            MIKE: Okay.                                       23           MR. JAGER: But if -- yeah, if -- you know,
 24            MR. JAGER: -- you know, his practices and
                                                                 24   if it equates -- you know, and then based on what you
 25    processes to make sure that he's in good standing in
                                                                 25   bring in we could figure out -- we could work on


                                                 Page 67                                                          Page 69
  1   line.                                                       1    something. Yeah, there's an opportunity there.
  2          MALE VOICE: So let's say that I know                 2            MALE VOICE: Because, yeah, I've got -- I
  3   somebody who -- I mean, obviously I know people who         3    mean, my partners in this oil and gas exit that we just
  4   have more money that I do. Let's say I know somebody        4    had they're -- we didn't -- it came sooner than we
  5   who has more money than I do, like do you -- you guys       5    expected, so none of us are really prepared with
  6   obviously got started bringing one or two people in,        6    someplace to put it, so it's just cash looking for a
  7   right, you didn't start with 180. So --                     7    home right now and it might be the right time to
  8          MR. JAGER: Right.                                    8    approach them on something.
  9          MALE VOICE: -- let's say that I bring                9            MR. JAGER: Yeah.
 10   somebody then what happens there? Do I get any portion     10            MALE VOICE: Yeah. So, yeah, and it sounds
 11   of that or --                                              11    like it wouldn't come out of their, their 12-1/2
 12          MR. JAGER: As far as like a referral?               12    percent so --
 13          MALE VOICE: Yeah. Do you -- do you pay on           13            MR. JAGER: Right. That's right.
 14   referrals?                                                 14            MALE VOICE: So that's -- yeah, that would be
 15          MR. JAGER: What I would say that is we're           15    great. Anyway -- no, no, I'd like to -- I mean,
 16   not doing referrals with the new arrangements with the     16    anyway, I'd like -- like I was mentioning earlier, I'd
 17   attorney firms that just revised everything.               17    like to chat with Jeff once and know who I'm working
 18          MIKE: With the PPM.                                 18    with --
 19          MR. JAGER: Uh-huh, right. But we can                19            MR. JAGER: Yeah.
 20   increase your personal payout.                             20            MALE VOICE: -- and I'd like to talk to
 21          MALE VOICE: I see. Okay.                            21    somebody who's -- I mean, I don't make this kind of
 22          MR. JAGER: So then it would be better than          22    decision quickly but then again when I'm sure I don't
 23   12-1/2 percent.                                            23    need to wait around.
 24          MALE VOICE: Okay.                                   24            MR. JAGER: Right.
 25          MR. JAGER: But it would have to be someone          25            MALE VOICE: So I'd like to talk to somebody



                                                                                    18 (Pages 66 to 69)
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                                                  Page 70                                                       Page 72
  1   who's made a fair amount of money and seen several of      1          MR. JAGER: Yeah.
  2   these rollovers happen so that, you know, somebody who     2          MIKE: So doing something like this. Like my
  3   has been in a year maybe.                                  3   situation, I was telling Jason I have a 1031 that I
  4          MR. JONGEWARD: Yeah, Dr. John, he's seen --         4   cannot find something I'd want to put it in. Like, I
  5          MR. JAGER: Where is he at? Is at 5 or 6             5   was going to be do like a triple net lease, but I
  6   million? Is that where he is?                              6   haven't found anything.
  7          MR. JONGEWARD: I think he's about 6.                7          MR. JAGER: What's your timeframe?
  8          MR. JAGER: Is he?                                   8          MIKE: So I --
  9          MR. JONGEWARD: Yeah, he's been in a number          9          MR. JONGEWARD: You're about -- you're almost
 10   of years and he's -- I got to look at his 1099 but I      10   out of time.
 11   think he saw over 2-1/2 easy last year in profit.         11          MIKE: I'm almost out of time on my
 12          MIKE: Yeah, like that's incredible. Like, I        12   identifying. I'm at the point I'm just going to take a
 13   deal with overseas manufacturing and that's a headache    13   penalty and pull. Now there's -- everything is so
 14   on a constant basis. If you can park your money           14   hyperinflated right now.
 15   somewhere and have residual income like that.             15          MR. JAGER: That's true.
 16          MR. JAGER: Yeah, it's hard to compare this         16          MR. JONGEWARD: Yeah, yeah.
 17   investment with others really because --                  17          MIKE: So --
 18          MIKE: Yeah.                                        18          MR. JONGEWARD: So you're taking the penalty
 19          MR. JAGER: -- it -- for the investor it            19   if you buy in.
 20   really -- it doesn't require any, any time, any of your   20          MIKE: Well --
 21   time. You invest and you let it go. We manage it.         21          MR. JONGEWARD: If you buy into that
 22   You know, every 90 days to that particular contract       22   hyperinflated market now it's like taking a penalty.
 23   that you have we send you the new contract name and       23          MIKE: It's either now or later.
 24   then we issue interest payment, that's it, and you get    24          MR. JAGER: Yeah, right.
 25   a 1099 at the end of the year. That's your involvement    25          MR. JONGEWARD: You may as well take it now


                                                  Page 71                                                       Page 73
  1   really.                                                    1   and get your money to work.
  2           MIKE: That's incredible.                           2          MIKE: And after that I'm looking at placing,
  3           MR. JONGEWARD: It is.                              3   like, 1.2 to begin with but --
  4           MR. JAGER: Because I have -- I have                4          MR. JAGER: Right.
  5   service-based businesses here in town and I look at        5          MIKE: -- like, how long would that take for
  6   the -- the net return, you know, to me with managing,      6   you guys to work in?
  7   you know, umpteen employees and --                         7          MR. JONGEWARD: That's probably the toughest
  8           MIKE: Yeah.                                        8   question I ever have to answer, how long until we --
  9           MR. JAGER: -- it makes it -- you know, at          9          MR. JAGER: 1.2, we're getting to a good
 10   some point sooner than later I'm going to -- I'll         10   spot. We were backed up with Jeff pausing the seven
 11   liquidate, and I'll sell, sell the companies. But, you    11   firms. In a few weeks we'll be in a much better
 12   know, you weigh that, you weigh what -- what you're       12   position --
 13   doing with there versus here. I hired a manager so        13          MIKE: Okay.
 14   he's -- he's -- I'm completely removed from the           14          MR. JAGER: -- where deal flow will be
 15   service-based business. He handles everything. So --      15   better.
 16   but he's still at the same time, you know, you can't      16          MIKE: Oh, it's going to take me multiple
 17   compare that.                                             17   weeks to take a penalty and then get all this done.
 18           MIKE: Well, I'm headed to Indonesia to help       18          MR. JONGEWARD: So for example if I have $15
 19   clean up a mess on Monday. So I'm out of town for at      19   million and we place 500,000 a week then it's 30 weeks,
 20   least two weeks.                                          20   right. Pretty easy math. I have seen those, you know,
 21           MR. JAGER: Yeah.                                  21   contracts from Shane coming a little --
 22           MIKE: And, I mean, I make a great return as       22          MALE VOICE: So in order to get on your
 23   a partner there but I -- it sucks when you have a         23   waiting list do you have to have the money in the bank?
 24   family, and you leave for two solid weeks and you're on   24          MR. JONGEWARD: No, there's an investor
 25   a completely different time zone.                         25   request form, information request that I ask for.



                                                                                   19 (Pages 70 to 73)
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                                                  Page 74                                                        Page 76
  1          MIKE: Yeah, he said that.                           1   This was kind of a unique one that Jason said, hey, you
  2          MR. JONGEWARD: And on the bottom it                 2   know, come on if you can handle it.
  3   states -- it asks you how much you'd like to place and     3          MR. JONGEWARD: And by the way I think he
  4   when it will be ready. Once I have all that                4   knows Jeff.
  5   information from you then I'll put you on the list.        5          MALE VOICE: Yeah. I mean, so I was -- I
  6          MALE VOICE: Okay.                                   6   can't remember if you were both there, but I -- we
  7          MR. JONGEWARD: Yeah, that way. And then             7   went -- he was one year head of me in high school and
  8   with the new document roll out we have all that through    8   when -- when Mike mentioned his name I went on Facebook
  9   DocuSign. So we wait for you to get your very first        9   and I looked him up and noticed that we -- my best
 10   contract ready and then we'll give that entire document   10   friend from high school, Eric Sorenson (phonetic), was
 11   package to you in DocuSign. You can fill it out, and      11   like commenting on his wall, so they must have been on
 12   then that way it's really easy and clean. And Jeff        12   the football team. Did he play football or --
 13   receives it, and Parker his son receive it really         13          MR. JAGER: Jeff played -- soccer was his
 14   nicely, and it's really easy for them to assimilate --    14   main sport.
 15          MIKE: Okay.                                        15          MALE VOICE: So I don't know. So anyway, my
 16          MR. JONGEWARD: -- and keep organized with it       16   friend was on the football team, so they must have
 17   so --                                                     17   known each other.
 18          MIKE: That's awesome.                              18          MR. JAGER: The other was basketball.
 19          MR. JAGER: But Jason, it won't be 30 weeks.        19          MALE VOICE: Oh, no. So I was engaged to my
 20          MR. JONGEWARD: No, no.                             20   friend Eric's sister, and I think he dated my
 21          MR. JAGER: We can -- we could -- yeah. And         21   ex-fiancée before I, before I dated her so --
 22   I think the deal flow is getting better. I told Jeff I    22          MR. JAGER: I see.
 23   need at least 2-1/2 to 3 million a week for placements.   23          MALE VOICE: So we dated the same girl.
 24          MR. JONGEWARD: Okay.                               24          MR. JAGER: It's always something. Jeff's
 25          MR. JAGER: And that -- you know, there's           25   son is actually on the LA Galaxy.


                                                  Page 75                                                        Page 77
  1   some weeks I was receiving 5. My best week was             1          MIKE: Really?
  2   probably 5-1/2 million placed in a week.                   2          MR. JAGER: He's on the B team and with hopes
  3          MIKE: That's incredible.                            3   of getting pulled up. He just had his first season
  4          MR. JONGEWARD: That would have been in              4   with them so --
  5   November, right?                                           5          MIKE: Wow. That's amazing.
  6          MR. JAGER: I think so.                              6          MR. JAGER: He's done really well.
  7          MR. JONGEWARD: Yeah, because that's when I          7          MIKE: Wow. Cool.
  8   was seeing my best too, yeah.                              8          MR. JAGER: Yeah, that was pretty exciting.
  9          MR. JAGER: Yeah, uh-huh. So -- but it's             9          MALE VOICE: But anyway, yeah, so I mean it
 10   kind of a process, you know. There's -- there's some      10   would be nice to reconnect and have him -- I'd like to
 11   great times and there's others where it's a little bit    11   just hear his story and hear Dr. John's story it sounds
 12   more of a waiting game.                                   12   like.
 13          MIKE: Okay.                                        13          MIKE: Yeah, I would too.
 14          MR. JAGER: So, like I said, as long as             14          MALE VOICE: So I don't know if you can
 15   you're patient and --                                     15   facilitate that.
 16          MIKE: And you guys have been pretty                16          MR. JAGER: Yeah, absolutely. We can set
 17   comfortable with being here? Like you're incentivized     17   that up.
 18   to stick around?                                          18          MALE VOICE: And I can come back down. I
 19          MR. JAGER: Yeah. Yeah, absolutely.                 19   come through -- I mean, I usually am over flying Las
 20          MR. JONGEWARD: Oh, yeah.                           20   Vegas but I can, I can just land.
 21          MIKE: Okay.                                        21          MR. JONGEWARD: Yeah, okay. We're -- we're
 22          MR. JAGER: This is my favorite thing to do         22   also building a behavioral health facility here in
 23   is -- you know, and I -- we don't normally do -- I        23   town. We've got 7.4 acres.
 24   mean, Jason is doing a lot of meetings. I haven't         24          MALE VOICE: Is that rehab?
 25   done -- you know, I don't do conference calls anymore.    25          MR. JONGEWARD: It's rehab. Yeah, it's



                                                                                   20 (Pages 74 to 77)
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  1   really going to cover a lot of the -- you know, for        1   he'll probably bring in more. But that could be
  2   mental to, you know, substance abuse.                      2   another opportunity.
  3          MALE VOICE: I've got a friend who does that         3          MALE VOICE: So if somebody came in would be
  4   in Utah, and she makes a killing.                          4   it under the same terms he got, or would it be
  5          MR. JONGEWARD: Yeah. Well, we've got a              5   different terms?
  6   monster facility we're building. We've broken ground,      6          MR. JAGER: Very similar, but I think the
  7   at least we're working on the infrastructure and           7   partnership will likely be based on the business
  8   getting, you know, everything where it needs to go.        8   entity, which with this thing fully firing should be
  9   But it's going to be a hundred -- a hundred bed            9   doing upwards of 65 million a year.
 10   facility on , we've got 7.4 acres here in town and        10          MALE VOICE: Wow.
 11   we're going to put an ER entrance, I mean an ER,          11          MR. JAGER: So -- and Dr. Okaykay has run a
 12   emergency facility on it as well. So that's another       12   successful practice in Summerland.
 13   big, big --                                               13          MALE VOICE: What's the name of it?
 14          MIKE: That's incredible.                           14          MR. JAGER: It's -- well, we're -- we're
 15          MR. JONGEWARD: -- generator. We're even            15   Grand Behavioral Hospital. His practice is -- I'll
 16   thinking of putting a surgical center on it as well       16   have to get that to you guys. But he's doing 5 million
 17   because that's -- those are some --                       17   a year in -- from his little cracker box, you know,
 18          MR. JAGER: So it's almost like a mini              18   strip mall offices.
 19   hospital where the patients are rehabbed.                 19          MALE VOICE: Wow.
 20          MR. JONGEWARD: Exactly.                            20          MR. JONGEWARD: So he'll really be able to
 21          MR. JAGER: But it's also got a clinic.             21   expand. It sounds like it's been a dream for him a
 22          MR. JONGEWARD: Yeah. And a minimum stay --         22   long time too, hasn't it?
 23   typically when -- when patients will come in and the      23          MR. JAGER: It's been a dream. He drew it on
 24   minimum stay is three to four nights.                     24   a napkin several years ago. Finally was able to put
 25          MALE VOICE: So it sounds like guys are kind        25   himself in a position to pick up the land, which he got


                                                Page 79                                                          Page 81
  1   of jacks of all trades. How do you hear about these        1   at a great price. I mean, I think he paid 1.3 for the
  2   kind of things and how is it structured in your            2   land and I'm getting offers periodically for 4-1/2, 5
  3   organization? Like, a new investment comes into whom,      3   mill.
  4   to any of you or --                                        4          MIKE: Wow.
  5           MR. JAGER: I've got -- I mean, I think we're       5          MR. JAGER: So it was great that he secured
  6   connected. I'm connected with several different people     6   that. Our other friend, Chris, he's a builder. He
  7   that bring me deals. The hospital is such a random         7   owns All American Builders. So he's actually building
  8   deal because I was -- I was representing a good friend     8   the hospital and he's also a partner.
  9   of mine selling his home and these guys came in with an    9          MR. JONGEWARD: Yeah, that's a unique
 10   offer just shy of $5 million. The buyer's agent said,     10   partnership.
 11   hey, I like you and I like you. I introduced him to       11          MR. JAGER: It is, yeah.
 12   the seller, which is my good friend. And he's like,       12          MR. JONGEWARD: You've got the doctor, you've
 13   I'd like to set up a meeting.                             13   got a real estate agent, you have a contractor, and
 14           So he set up a meeting at his house, brought      14   then as a -- you would be an investor I guess, right?
 15   us two together and this Dr. Okaykay (phonetic), which    15          MR. JAGER: Yeah.
 16   is -- he's a psych doctor here in town, he's from         16          MR. JONGEWARD: That would your role there?
 17   Nigeria, coolest guy. And anyway we put together an       17          MR. JAGER: Yeah, essentially, and raising
 18   arrangement, a partnership to -- he already owned the     18   capital for it so --
 19   land, so we put together this partnership. You know,      19          MR. JONGEWARD: Right, right.
 20   he bought the land three or four years ago and he -- we   20          MR. JAGER: But, yeah, we've got -- you know,
 21   put together a team to put this together.                 21   I've invested in, over the last three years I've
 22           So there's going to be a raise on that as         22   probably invested in 30 plus start ups and these are --
 23   well, probably -- probably at least $10 million. We       23   Eco and the hospital are a couple of my favorite
 24   haven't really started. Jeff actually is -- he's put      24   outside of the settlements.
 25   up about 2-1/2 million on that project already and        25          MALE VOICE: Well, yeah. So I'm familiar



                                                                                   21 (Pages 78 to 81)
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  1   with the entrepreneurial space, you know, venture          1   that -- I don't know if you heard about those. But
  2   capital space, very familiar, but I -- obviously the       2   there was one that went down in Indonesia, one that
  3   higher the risk the lower the portion of my portfolio      3   went down --
  4   that I've put in.                                          4           MR. JAGER: Yeah.
  5          MR. JAGER: Sure.                                    5           MALE VOICE: -- in Ethiopia. And it turns out
  6          MALE VOICE: Yeah, I'd want to assess                6   that all the aviation companies in the world are all
  7   everything and --                                          7   participating because they all buy 10 percent -- I'll
  8          MIKE: What risks do you guys see? Like,             8   buy 10 percent of your risk over here, I'll buy 10
  9   sorry, and I keep bringing back that settlement funding    9   percent of your risk over here. And so everybody had
 10   because that is -- that is so good. What risks are        10   to raise their rates because they'd all taken this --
 11   there?                                                    11   and then Boeing, the entire Boeing worldwide fleet of
 12          MR. JAGER: Well, initially, you know, in my        12   these jets was grounded for over two years.
 13   mind the two major risks were if -- if the insurance      13           So it was billions of dollars that the
 14   company didn't pay on the claim.                          14   insurance industry had to pay out.
 15          MIKE: Yeah.                                        15           MR. JAGER: Wow.
 16          MR. JAGER: That was number one. Number two         16           MALE VOICE: And so every single aviation
 17   was if an attorney went rogue with the capital, if they   17   insurance company is hurting at once.
 18   had a large amount of our capital and decided to go       18           MR. JAGER: Right.
 19   rogue. But we haven't seen either in six years or so
                                                                19           MALE VOICE: And so we've seen that risk in
 20   and --
                                                                20   our industry. We've seen and heard of it a lot.
                                                                21   (Inaudible) have gone up by 50 to 80 percent over the
 21          MALE VOICE: I mean, they'd be forfeiting
                                                                22   last two years.
 22   their law practice.
                                                                23           MR. JAGER: Wow.
 23          MR. JAGER: Yeah, that's -- that's the --
                                                                24           MALE VOICE: And that's before the inflation
 24          MALE VOICE: For what, $80,000?
                                                                25   of last year kicked in, so who knows what will happen.
 25          MR. JONGEWARD: Yeah, right.


                                                  Page 83                                                        Page 85
  1            MR. JAGER: Yeah. I mean, it -- you know,          1          MR. JONGEWARD: Just to try to absorb all of
  2   it -- yeah, it doesn't -- it wouldn't add up, you know,    2   that, that lost capital?
  3   to risk your license and potentially -- I mean, funds      3          MALE VOICE: Yeah. Yeah, I mean, so what
  4   are moving.                                                4   they don't want to do is pay out on any little things
  5            MALE VOICE: So the insurance company not          5   anymore. And so they will make you have -- so these
  6   having the money is really the real risk.                  6   guys that are flying in the front seat I had to -- I
  7            MR. JAGER: That's probably the major risk,        7   had to wait to hire them until they hit a certain level
  8   yeah.                                                      8   of experience. So they had to go figure out something
  9            MALE VOICE: And that would happen all at          9   else to do before they could be hired by us. And so,
 10   once.                                                     10   yeah, we basically live our -- we do our business at
 11            MR. JAGER: Well, we've got -- we've got, you     11   the behest of insurance companies. They kind of call
 12   know, a lot of these claims -- I don't know how many      12   all the shots. Anyway --
 13   are working with the same insurance company, but          13          MR. JAGER: Right.
 14   it's -- they're diversified with all the different        14          MALE VOICE: Anyway, so hopefully that's not
 15   claims. So I think if a company went bad that might       15   what's going on, but you never know. They don't tell
 16   house a small amount of claims. I don't think             16   you when they buy into somebody else's risk.
 17   there's -- we're very well diversified --                 17          MR. JAGER: So what's it look like on the --
 18            MALE VOICE: Okay, okay.                          18   on the airplane side? I've heard from a number of
 19            MR. JAGER: -- on that side of things, and we     19   people that aircraft is 100 percent tax deductible.
 20   haven't dealt with that yet, you know.                    20          MALE VOICE: So deductible is the wrong word.
 21            MA: Yeah.                                        21   You can --
 22            MR. JAGER: So we hope not to.                    22          MR. JAGER: Write off?
 23            MALE VOICE: You know, in the aviation world      23          MALE VOICE: -- take advantage of what's
 24   you guys heard of those, those two 737 Max 8's that       24   called bonus depreciation. So depending on your level
 25   went down a couple of years ago, the Boeing planes        25   of sophistication in taxes this will make more or less



                                                                                   22 (Pages 82 to 85)
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  1   sense to you.                                              1   lot of benefit to people's investment.
  2           But when you depreciate something, it means        2           So we approach people, and we say, hey,
  3   that, yes, you're writing it off, but now you have an      3   invest in an airplane. We'll charter it for you.
  4   asset that has a zero basis.                               4   Here's the purchase price and here's the percentage of
  5           MR. JAGER: So when you sell it --                  5   the purchase price you get back every hour it flies.
  6           MALE VOICE: When you sell it, whatever the         6   And then we have contacts that allow us to
  7   purchase price is, you pay --                              7   sell more hours than most people can do. So we can fly
  8           MR. JAGER: You recapture it basically.             8   80 hours a month, 90 hours a month --
  9           MALE VOICE: That's exactly right. So you           9           MR. JAGER: Nice.
 10   pay what's called a recapture rate. So let's say your     10           MALE VOICE: -- in an airplane and -- yeah,
 11   marginal rate is 39 percent. If you're a rich guy,        11   well it's a real multiplier. And then we invest in
 12   you're making a lot of money -- well, 39 is the max.      12   engine programs, maintenance programs to lessen their
 13   So you're going to have a marginal rate somewhere         13   risk on anything going wrong with the plane, and
 14   between 32 and 35 percent.                                14   obviously the plane is insured so, I mean, the only
 15           You can -- if you buy it by the end of -- I       15   thing that can really go wrong is that a part is
 16   can't remember if it's 2022. Do you know, Mike?           16   missing, and it takes forever to get here, and so the
 17           MIKE: I don't.                                    17   plane sits for a couple of weeks and that can hurt.
 18           MALE VOICE: Mike has worked with me a little      18           MR. JAGER: What is the timeframe -- you
 19   bit on the (inaudible).
                                                                19   know, say I want a plane -- bless you -- by the end of
 20           MR. JAGER: Isn't there, like, a five year, a
                                                                20   the year, before the end of the year, is that doable?
                                                                21           MALE VOICE: Oh, of course. No, we can get a
 21   five-year period on planes?
                                                                22   plane in -- if you had cash in the bank, we could get
 22           MALE VOICE: The normal period is six years,
                                                                23   you a plane in three weeks. It just depends. But the
 23   so if you do what's called straight line depreciation
                                                                24   hard part is doing a pre-purchase inspection.
 24   you can depreciate it over six years. But now, and
                                                                25   Sometimes you'll wait.
 25   this is going -- it's going to sunset slowly, right now


                                                   Page 87                                                       Page 89
  1   you can take the entire deprecation the first year if      1          So you identify the type of plane you want.
  2   it's used more than 50 percent for commercial purposes,    2   If you told me I want to fly between here and Cabo San
  3   which charter qualifies as.                                3   Lucas, that's your mission, and I want to take seven
  4           MR. JAGER: It would, yeah. Okay.                   4   people with me, so that's the number of passengers you
  5           MALE VOICE: So then we -- we help people get       5   want and the distance you want to fly. So now I know
  6   into a plane and then they can take the entire purchase    6   your mission, I go out and find a plane, and then you
  7   price off their tax liability. However -- so let's say     7   give me a budget.
  8   you pay $6 million for an airplane, and you hold it for    8          MR. JAGER: Yeah.
  9   five years. Over that five years it's going to be          9          MALE VOICE: And so I say in your budget with
 10   worth maybe $5 million, right. So then you're paying      10   your mission here are the planes that fit our model of
 11   32 percent, you're -- you skip out on the liability of    11   being able to return you cash on your investment. And
 12   32 percent on 5 million bucks or on 6 million bucks.      12   you look at them and you say, well, this one doesn't
 13   Then in five years you sell it for $5 million and then    13   perform financially quite as well but it's sexier and I
 14   depreciation recapture rate is 22 percent.                14   just want this one, right. And so that happens a lot.
 15           So number one you saved that 11 percent, it's     15          And then we go out and find individual models
 16   gone, you never have to pay it, and then you've           16   of that plane, individual aircraft that are for sale in
 17   deferred the rest of it for five years, over which time   17   that year and in that model. And it may take -- that
 18   your money is worth less and you've got the enjoyment     18   may take a while because right now since August of last
 19   out of it. So it is a benefit, but it's not -- it's       19   year people have been just buying up every plane that's
 20   not 100 percent of a deduction like a lot of people       20   on the market.
 21   think it is.                                              21          MR. JAGER: Interesting.
 22           MR. JAGER: Right.                                 22          MALE VOICE: So it might take us two months,
 23           MALE VOICE: So that's -- anyway, that's a         23   three months to find the plane that you want, or there
 24   little bit of a sophisticated answer but it does -- I     24   might be one on the market right now. And we've gotten
 25   mean, it is a big benefit. It adds -- it adds quite a     25   pretty good at keeping up our contacts and we hear



                                                                                   23 (Pages 86 to 89)
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                                                 Page 90                                                        Page 92
  1   about things before they go on the market. Because         1   plane that just fell out of contract, and the
  2   once it's on the market you'll have ten offers by the      2   inspection is already done, and they'll give you access
  3   end of the day.                                            3   to it. So that's when I was saying you can buy a plane
  4           MR. JAGER: Yeah.                                   4   in three weeks.
  5           MALE VOICE: And that's kind of scary when          5           If you have cash -- if you've got to get
  6   the -- I mean, I guess you're seeing homes hit that        6   financing then that can take two months or more, but if
  7   level, but for an asset that's 5 million bucks --          7   you have cash then you find a plane if you're lucky
  8           MR. JAGER: Yeah.                                   8   enough that has already had a pre-inspection done and
  9           MALE VOICE: -- it's kind of scary that there       9   you can close -- I mean, you can close in two days,
 10   are cash offers on the table by the end of the day, but   10   right, if you trust the pre-inspection.
 11   it does happen so --                                      11           MR. JAGER: Yeah.
 12           MR. JAGER: Absolutely.                            12           MALE VOICE: But that's rare enough. The
 13           MALE VOICE: So what you -- here's how we,         13   deals that we've seen take two or three months to go
 14   here's how we counsel our people. Pick your mission,      14   through.
 15   pick your budget, and then we know what to look for.      15           MR. JAGER: Okay.
 16   Then you put money in escrow. The money is sitting        16           MALE VOICE: But that's very reasonable is
 17   there. So we find a plane that fits all of those          17   two or three months once we -- once we identify the
 18   things and then we -- we'll do our homework. Like, we     18   aircraft that we want.
 19   find the plane and we'll look at it and we'll say, all    19           MR. JAGER: Okay.
 20   right, what does it -- what does it need, what work       20           MALE VOICE: Which that can take however
 21   does it need done.                                        21   long. But there are planes out there for $2-1/2
 22           Then we have all contracts already prepared.      22   million right now that will make money.
 23   So we send out a letter of intent, which is               23           MR. JAGER: Huh.
 24   non-binding. That letter of intent gets us from the       24           MALE VOICE: Almost this big inside.
 25   offer to the contract, and then within three or four      25           MR. JAGER: Really.


                                                 Page 91                                                        Page 93
  1   days then we've got a contract that we send.               1           MALE VOICE: Yeah.
  2          MR. JAGER: Okay.                                    2   MR. JAGER: I mean, for us I think we've kind
  3          MALE VOICE: So then the contract covers you         3   of -- this is our middle ground. We have a place in
  4   for things like, all right, what -- what might be wrong    4   San Clemente. We also have on in Heber. So, you know,
  5   with this plane. So before we get under contract we go     5   that -- shuttling back and forth.
  6   out and look at it.                                        6           MALE VOICE: That would be nice, wouldn't it?
  7          But it's a cursory examination, and then, you       7           MR. JAGER: Yeah, that would be -- that would
  8   know, then we'll go and take it into a shop, and that      8   be nice.
  9   will cost you -- that's on the buyer. That will cost       9           MALE VOICE: San Clement to Heber is --
 10   you $20,000.                                              10           MR. JAGER: We're going to -- John Wayne
 11          MR. JAGER: Right.                                  11   would be the preferable airport.
 12          MALE VOICE: And if it turns out you don't          12           MALE VOICE: Yeah, we fly there all the time.
 13   want the plane, you're out that 20K. But you're under     13           MR. JAGER: Yeah.
 14   contract so you -- you have to be the one to back out.    14           MALE VOICE: Gosh, that's a
 15   MR. JAGER: Right.                                         15   one-and-a-half-hour flight.
 16   MIKE: Quick thing. So Michelle just texted                16           MR. JAGER: Yeah, it's pretty, pretty easy.
 17   me. They're just leaving Caesar's. How long does that     17   But I would like to have the capability to go further,
 18   take to get to here?                                      18   Cabo or, yeah, that would be great.
 19          MALE VOICE: From Caesar's Palace to here?          19           MALE VOICE: This plane has a 2,000-mile
 20          MIKE: Yeah.                                        20   range. It will go Salt Lake to Cabo non-stop.
 21          MALE VOICE: 20 minutes.                            21           MR. JAGER: Wow.
 22          MIKE: Okay                                         22           MALE VOICE: And then some.
 23          MALE VOICE: So, yeah, we got a few minutes.        23           MR. JAGER: This one here?
 24          So then -- yeah, well then, the plane -- once      24           MALE VOICE: Yeah. It will go Seattle to
 25   the inspection is done -- and sometimes you find a        25   Cabo.



                                                                                  24 (Pages 90 to 93)
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  1         MR. JAGER: Wow.                                      1   I wanted -- I could pick what I wanted to do and so I
  2         MR. JONGEWARD: Got enough seats? I think             2   wanted to pick something that was my passion. And so I
  3   so.                                                        3   want to take this company, and, like, I mean -- I don't
  4          MR. JAGER: Yeah.                                    4   know if this is -- sounds like you're kind of on the
  5          MALE VOICE: Yeah. And I mean, you know, you         5   fence whether that's your goal or not, but I want this
  6   can get bigger than this, but it gets more expensive       6   to be a billion-dollar company and there's no reason to
  7   per hour. This plane has a 14 -- 1,300 per hour            7   think it can't. Net Jets did it.
  8   operating cost, and so at $4,400 an hour on the charter    8          MR. JAGER: Yeah.
  9   market it makes pretty good money.                         9          MALE VOICE: Wheels Up did it. Jet Links did
 10          MR. JAGER: Yeah. Yeah, that's great. I --          10   it. There are a number of companies that --
 11   we flew -- we've flown Jet Suite Ex a few times out of    11          MIKE: (Inaudible) went public and they've
 12   John Wayne.                                               12   been killing it.
 13          MALE VOICE: Yeah, yeah.                            13          MALE VOICE: Yeah.
 14          MR. JAGER: That was not a bad experience,          14          MR. JAGER: And the timing is good too it
 15   but it was kind of last minute, you know.                 15   seems like.
 16          MALE VOICE: Yeah, so Google the Phenom 300         16          MALE VOICE: Yeah. I mean, it has taken four
 17   and you'll see that they're in (inaudible).               17   years to get to this point, but it's fun every day. I
 18          MR. JAGER: Why don't you send me if you            18   like going to work so --
 19   would --                                                  19          MR. JAGER: Cool.
 20          MALE VOICE: Yeah, we just have a -- we just        20          MALE VOICE: Yeah, it's going to be a good
 21   have a one-page spreadsheet that shows you. It's          21   one.
 22   really easy.                                              22          MR. JAGER: Could you hook us all up in an
 23          MR. JONGEWARD: I can share his email with          23   email and --
 24   you.                                                      24          MALE VOICE: Absolutely. Do you have any
 25          MALE VOICE: Yeah, I don't know. Maybe you          25   more questions? I'm sorry I cut you off.


                                                 Page 95                                                         Page 97
  1   guys bring our standard deal and you guys can              1          MR. JAGER: Oh, no, you're good. I --
  2   participate in this. If you bring us an owner, we'll       2          MALE VOICE: So you guys have given us a
  3   give you 10 percent of the first year's profit.            3   pretty good --
  4          MR. JAGER: Oh, okay.                                4          MIKE: Yeah, I feel a lot more comfortable
  5          MALE VOICE: And that doesn't come out of the        5   about this after this, especially putting the faces
  6   owner's pocket, it comes out of what we make so --         6   with the name. And thank you guys for coming and
  7          MR. JAGER: So what you guys would make.             7   meeting us out there.
  8          MALE VOICE: So you don't have to feel bad           8          MALE VOICE: Yeah, yeah.
  9   about bringing a friend in.                                9          MR. JAGER: Well, thanks for having us.
 10          MR. JAGER: As an incentive, yeah.                  10          MR. JONGEWARD: Yeah, I was going to share
 11          MALE VOICE: Yeah.                                  11   with you, you know, you were talking about the
 12          MR. JAGER: How may planes do you have in           12   different investments. One of the things that Shane
 13   your --                                                   13   and I were talking about was Eco is a very unique
 14          MALE VOICE: Five jets.                             14   opportunity because they're only looking for your
 15          MR. JAGER: Five right now?                         15   capital for 12 months.
 16          MALE VOICE: Yeah.                                  16          MIKE: Yeah, that's interesting.
 17          MR. JAGER: Okay.                                   17          MR. JONGEWARD: So what we were -- what I've
 18          MALE VOICE: Yeah.                                  18   done with some of my -- members of my group is I've
 19          MR. JAGER: Cool.                                   19   said, hey, even if you wanted to sell some contracts
 20          MALE VOICE: So this is a -- it's not -- I          20   take that capital, put it into Eco, you get it back in
 21   wouldn't say it's an unproven model, but it's fairly      21   12 months and you can put it right back into legal
 22   new. They're not like you guys with a track record        22   contracts but you qualify for the multiple at the end.
 23   but --                                                    23          MIKE: So the position I'm in, I might be
 24          MR. JAGER: Yeah.                                   24   taking out of my Indonesia position, and I like it
 25          MALE VOICE: -- this has just been -- for me        25   because it's passive income. So I want to find more



                                                                                   25 (Pages 94 to 97)
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                                                Page 98                                                       Page 100
  1   passive income.                                            1   he -- yeah, it might be that he'd want to.
  2           MR. JONGEWARD: Sure.                               2          MIKE: Yeah, he's a lot less gun shy than we
  3           MIKE: Like, I'm already gone 15, 16 days of        3   are.
  4   the month. Like, my family doesn't need that. I want       4          MALE VOICE: Yeah.
  5   to be home more.                                           5          MIKE: Yeah.
  6           So I'm looking more for that. My situation,        6          MR. JAGER: A lot less gun shy.
  7   I'll be out of town for two to three weeks depending on    7          MIKE: So --
  8   how much worse the situation continues to go.              8          MR. JAGER: Well, I think -- I think --
  9           MR. JONGEWARD: Sure.                               9          MIKE: And then again, he killed it on things
 10           MIKE: But after that I'd be really                10   that we, we didn't.
 11   interested. Hopping on a flight down here isn't bad,      11          MALE VOICE: I'm going to let these guys know
 12   especially if we come together.                           12   they can start -- I think we need to have a mechanic
 13           MALE VOICE: Yeah, yeah.                           13   come and look at this ATU before we take off.
 14           MIKE: So --                                       14          MIKE: Okay.
 15           MALE VOICE: I mean, yeah, if the plane -- so      15          MR. JAGER: Hey, guys, we'll walk you in.
 16   this plane was idle today, which is why I was able to     16   Thank you so much.
 17   bring it down here. But I'm not going to give up a,       17          MALE VOICE: No, thank you.
 18   you know, a $25,000 charter to come down here so --       18          MIKE: How did you guys like your food? I
 19           MR. JAGER: Sure.                                  19   thought it was good.
 20           MALE VOICE: If it works out, we can fly down      20          MR. JONGEWARD: I thought it was good, yeah.
 21   private, if not we might fly in McCarren or whatever.     21   Mine was good.
 22           MR. JAGER: Yeah, sure.
                                                                22          MR. JAGER: Yeah, the food was good.
 23           MIKE: Yeah, we'd love to continue. What
                                                                23          MIKE: I thought -- I thought it was all
 24   else would you like to know from us, anything? Like, I
                                                                24   right.
 25   really appreciate that you guys came out and met us.
                                                                25          MALE VOICE: Well, we're having lunch at a


                                                Page 99                                                       Page 101
  1   Like --                                                    1   gas station.
  2            MALE VOICE: Yeah. I mean, I'd like to --          2          MIKE: Yeah, for a gas station it was great.
  3   I'd like to have a face-to-face with Jeff and I'd like     3   Thank you. And guys, thank you so much for meeting
  4   to have a face-to-face with Dr. John. And you              4   with us.
  5   mentioned one other person. Did you -- it sounded like     5          MR. JAGER: Yeah.
  6   there was one other guy that was (inaudible).              6          MIKE: (Inaudible) later.
  7            MR. JONGEWARD: I think Dr. John probably one      7          MALE VOICE: My kids are so good at that.
  8   of the better --                                           8   You leave a (inaudible) anywhere close and it's on the
  9            MR. JAGER: Dr. John, I mean he's probably         9   ceiling somewhere.
 10   the --                                                    10          MR. JAGER: Yeah.
 11            MALE VOICE: I don't need to be face-to-face      11          MR. JONGEWARD: Thank you guys.
 12   with him, but even, even a Zoom meeting would be nice.    12          MR. JAGER: We'll continue to talk and
 13            MIKE: Yeah.                                      13   hopefully we can make each other a lot of money.
 14            MALE VOICE: That's the thing these days.         14          MIKE: Yeah.
 15            MR. JAGER: Yeah.                                 15          MALE VOICE: I like the sound of that.
 16            MIKE: Come down and I think one of our           16          MR. JAGER: I like the idea of helping you --
 17   friends also -- so we co-invest a lot together and        17   having you find me a plane.
 18   it -- it just makes it more fun when you're               18          MALE VOICE: Yeah.
 19   co-investing with your friends.                           19          MR. JAGER: That was my plan in 2022, to get
 20            MR. JAGER: Yeah, absolutely.                     20   one before year end.
 21            MIKE: Graham, he's -- he's looking too, so       21          MALE VOICE: So Google the Phenom 300. This
 22   maybe we could bring him down.                            22   plane right now is our hot item. They're hard to find.
 23            MALE VOICE: Yeah. I mean, this -- I've seen      23          MR. JAGER: Yeah.
 24   him do this kind of thing. By kind of thing what I        24          MALE VOICE: But they are in so much demand
 25   mean is this level of risk/reward. So it might be that    25   and the demand we foresee it, you know, taking place



                                                                                26 (Pages 98 to 101)
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                                               Page 102                                                       Page 104
  1   for years to come.                                         1   my --
  2          MIKE: Do you know what kind of plane Jeff           2            MALE VOICE: Yeah.
  3   has?                                                       3            MR. JONGEWARD: -- preferred route.
  4          MR. JAGER: You know what, I don't know.             4            MALE VOICE: There you go.
  5          MALE VOICE: Let me text you both my business        5            MIKE: Thanks, guys.
  6   card.                                                      6            MALE VOICE: It will catch itself. You can
  7          MR. JAGER: Yeah, I'm not sure what --               7   just push it up.
  8          MALE VOICE: Give me your phone number there.        8            MIKE: I'm going to hit the bathroom.
  9          MR. JAGER: Mine is 702 --                           9            MALE VOICE: So this will be training for
 10          MALE VOICE: I'm sorry, let me just get to a        10   you.
 11   place here. All right, go ahead.                          11            (Chatter.)
 12          MR. JAGER: 702-234-6394.                           12            MIKE: It's pretty fun. Like, I don't love
 13          MALE VOICE: 6394. And -- go ahead.                 13   flying and that one doesn't bother me.
 14          MR. JONGEWARD: Yeah. So it's 509-768-4990.         14            (Chatter.)
 15          MALE VOICE: 509-768-4990. Oops. That went          15            MIKE: Guys, this was great. I feel a little
 16   into the -- okay. Give me that one more time. It went     16   more comfortable with this. I was a little skeptical
 17   into the actual chat.                                     17   before. You've had people accuse of being a Ponzi
 18          MR. JONGEWARD: Yeah. So Jason and it's --          18   scheme?
 19          MALE VOICE: 509.                                   19            MR. JONGEWARD: I've had a few, yeah.
 20          MR. JONGEWARD: 768-4990.                           20            MR. JAGER: Yeah.
 21          MALE VOICE: 768-4990. Okay. And I'll just          21            MR. JONGEWARD: (Inaudible) enough contracts
 22   send you guys --                                          22   if it's a Ponzi scheme to replace the, you know, the
 23          MR. JONGEWARD: Yeah, that would be nice for        23   payout for that week and I've seen north of $5 million
 24   you to be able to catch a flight down because you spend   24   being paid out and only a few contracts new coming in.
 25   a lot of time on the road.                                25   You know, I've seen the influx and just seeing the


                                               Page 103                                                       Page 105
  1          MR. JAGER: Yeah, it would be.                       1   variables too. (Inaudible.)
  2          MR. JONGEWARD: Yeah.                                2           MR. JAGER: But I've seen some actual payouts
  3          MALE VOICE: Oops. And you got your own              3   to the attorneys that are on the contracts. So it's --
  4   phone number in the text chat because I put it in both     4   it's legit.
  5   ways. You can -- you can record that number if you         5           MALE VOICE: Okay.
  6   want.                                                      6           MIKE: Hey, good, thank you.
  7          MIKE: (Inaudible) don't worry about it,             7           MR. JAGER: Yeah, you too.
  8   yeah.                                                      8           MR. JONGEWARD: Thanks for lunch. Appreciate
  9          Hey, guys, thank you.                               9   it. Glad to meet you.
 10          MR. JAGER: Thank you.                              10           MIKE: Great to meet you.
 11          MIKE: So I'm going to be on a 14-hour time         11           MR. JAGER: Nice to meet you too.
 12   difference, so if you email me if I don't respond for a   12           MALE VOICE: (Inaudible.)
 13   few days -- I don't know what the (inaudible) looks       13           MR. JAGER: All right, (inaudible).
 14   like.                                                     14           MR. JONGEWARD: I will, yeah.
 15          MALE VOICE: And I'm also terrible with             15           MR. JAGER: Like I said, we've probably
 16   email. I just -- I've got my people -- I've probably      16   spoken but I don't remember (inaudible).
 17   got -- we've gone from -- is this yours?                  17           MIKE: So how often do you hear that, that
 18          MR. JAGER: Yes, thanks.                            18   people (inaudible).
 19          MALE VOICE: Do you want to finish it off?          19           MR. JONGEWARD: You know, not often, not very
 20   We've got -- we've gone from 8 people to 23 people in     20   often but, you know, especially with some of the new
 21   the last four months so --                                21   investors from time to time, you know. It seemed like
 22          MR. JAGER: Wow.                                    22   it was kind of (inaudible) I would hear, I would hear
 23          MALE VOICE: -- email is kind of like awful         23   it more. But it does -- that's the skeptic looking at
 24   for me.                                                   24   the return thinking no way.
 25          MR. JONGEWARD: I'm with you. Text, text is         25           MIKE: Yeah. I mean, 50 percent is a pretty



                                                                              27 (Pages 102 to 105)
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                                              Page 106                                                            Page 108
  1   crazy return.                                              1            TRANSCRIBER'S CERTIFICATE
  2          MR. JONGEWARD: Yeah. But, you know, when            2
  3   you think -- when you break it down it's -- your           3   I, Cheryl Shifflett, hereby certify that the foregoing
  4   capital is actually funded -- to get to that 50 percent    4   transcript is a complete, true and accurate
  5   you're funding four different plaintiffs over the          5   transcription of all matters contained on the recorded
  6   course of 12 months.                                       6   proceedings in the matter of project name:
  7          MIKE: Yeah.                                         7   2022.02.17 Jager Jongeward In Person.
  8          MR. JONGEWARD: So, you know, when you break         8
  9   it down to that aspect, you know, it doesn't sound as      9
 10   impressive.                                               10
 11          MIKE: Yeah. I'm going to wash my hands real        11
 12   quick. Yeah, if you're breaking it down that -- that      12
 13   makes a lot more sense. I would love to meet the guys     13
 14   who came up with this.                                    14            ______________________________________
 15          MR. JONGEWARD: Yeah, they're -- Jeff and           15            Transcriber
 16   Matt, depending -- like I said, they're not really        16
 17   super (inaudible) capital at this point in the game --    17
 18          MIKE: Yeah.                                        18
 19          MR. JONGEWARD: -- so getting a meeting with        19
 20   them is going to be difficult. But I'm not saying it's    20
 21   impossible, you know. It's doable. I think                21
 22   (inaudible). I would just say, you know (inaudible)       22
 23   first of all.                                             23
 24          MIKE: Okay.                                        24
 25          MR. JONGEWARD: Let's start with (inaudible)        25


                                              Page 107
  1   and then just watch it perform.
  2           MIKE: Cool. We'll check it out. This is
  3   great. Yeah, this was great. This is my favorite
  4   thing.
  5           MR. JONGEWARD: My favorite thing that I do
  6   is (inaudible).
  7           MIKE: I travel too much for my liking so if
  8   I can find a place where to work money I'm interested.
  9           MR. JONGEWARD: I'm all about getting
 10   different horses working for me and the ones that are
 11   performing I'll -- you know, you feed them more.
 12           MIKE: Yeah, you feed the ones that work.
 13           MR. JONGEWARD: And this is one of those
 14   that's worth feeding.
 15           MIKE: Awesome. Anyway, thanks guys.
 16           MR. JAGER: Okay, see you. Take care. Nice
 17   to meet you.
 18           MR. JONGEWARD: Yeah, sounds good.
 19           MIKE: Do you know where (inaudible)?
 20           MALE VOICE: That would in the lounge.
 21           MIKE: Oh, okay.
 22           MALE VOICE: You ready to go, head home?
 23           (End of audio file.)
 24                   *****
 25



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                 Exhibit 14
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                             AFFIDAVIT OF HAL DE BECKER HI

     STATE OF NEVADA              )

                                  ) SS:
     COtlNTY OF CI.ARK            )




          1       I am a private investigator, duly licensed by the state ofNevada, and the
               owner of De Becker Investigations, Inc. My license number is i 155 and my
               business address is 9160 W. Flamingo Rd., Ste.110, Las Vegas, NV 89147,
               Telephone No. (702) 98?-5200.
          つ乙




                   I have personal knowledge of the facts stated herein. Ifcalled as a w,itness
               in this proceeding, I could and would testifu truthfully and competently as to
               the matters stated herein.

10
          ﹁●




                   On February 9th,2A22, my firm was relained by Igor Ostrovsky and
               instructed to install a covert video/audio camera on a private piane at the
               Henderson Executive Airport in Henderson, Nevada.


          4        On February 171h, 2022. at approximately 9:30 a.m., I arrived at the
               Henderson Executive Airport, located at 3500 Executive Terminal Dr.
               Henderson, NV 89052. I was greeted by Igor Ostrovsky and was introduced to
               his clients. At this time, I u'as escorted to a Phenom 300 Private Jet, located
               on the airport's tarmac. I proceeded with my assessment of the plane's cabin.
               At this time, I was advised that the client would be on the plane with the
               subjects ofthe investigation and party to the conversation.
17

18
          5        At approximately i 0:45 a.m., I exited the plane and was instructed to
19
               retum to the plane and install my camera equipment at 1 1:30 a.m.


          6        At 1l:30 a.m., I reentered the Phenom 300 Private Jer, synced my modified
21              1080P HD video/audio covert camera's date and time stamp to the date and
               time on my iPhone, installed the camera, and activated the camera,s recording
22             application. At approxinrately 1 1 :40 a.m.. I exited the plane and returned to
               the airport's lobby.


          7       At approximately 2:00 p.n., I   rvas escorted back to the phenom 300
               Private Jet and was instnrcted to retrieve the carnera. 'fhe camera was
2う
               retrieved and at approxintately 2:30 p.m., I departed the airport and retumed
               to my office, where at approximately 4:00 p.m.. I transferred the video/audio
               footage from the camera to my computer.
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 1                On Febnla理 /23rd,2022,I emailed lgor Ostrovsky and Natc Andcrson a
               copy ofthe video flle through our Citrix Sharc■ lc account
 2
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                                     ARACEL DELEON
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15                                  STATE OF NEVADA
                                     Appt. No 20-3756-01
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                 Exhibit 15
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                                                                  Page 1
       UNITED STATES SECURITIES AND EXCHANGE COMMISSION



       In the Matter of:                      )

                                              )   File No. SL-02855-A

       J&J CONSULTING                         )   AMENDED 4-6-2022



       SUBJECT:     2022.02.24 Jeff Judd call

       PAGES:       1 through 23




                              AUDIO TRANSCRIPTION




                  Diversified Reporting Services, Inc.

                                (202) 467-9200
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                                                        Page 2                                                       Page 4
 1                PROCEEDINGS                                       1         MR. JUDD: She was close to Nicky Patterson
 2           WB: Hello.                                             2   and I was friends with Vicky.
 3           MR. JAGER: Hey, Mark. It's Shane.                      3         WB: Okay. Okay. Well --
 4           WB: Shane, good to hear from you, man.                 4         MR. JUDD: Yeah.
 5           MR. JAGER: You too. You too. I'll bring                5         WB: What are you guys -- what have you been
 6    Jeff in. I've got him on the other line.                      6   doing since then? Like did you -- did you go to
 7           WB: Okay. Okay. Great.                                 7   college or did you stay in Vegas or what happened with
 8           MR. JAGER: Okay. Jeff, are you there?                  8   you after high school?
 9           MR. JUDD: Yeah.                                        9         MR. JUDD: Oh, yeah. I went -- I went to
10           MR. JAGER: Okay. Mark, are you there?                 10   Chile for a mission.
11           WB: Yeah.                                             11         WB: Oh, nice. I went on a mission to
12           MR. JAGER: Okay. I'll give you one                    12   Portugal.
13    disclaimer, Mark. Jeff lives high up on the mountain,        13        MR. JUDD: Oh, yes, you and Christiano
14    and sometimes cell service isn't great. So hopefully         14   Reynaldo.
15    we can retain the call and get through it without            15         WB: Oh, yeah.
16    having to call back, but --                                  16         (Laughter.)
17           WB: Well, I'm at your --                              17         MR. JUDD: He didn't go on a mission though.
18           MR. JAGER: -- we'll play that one by ear.             18         WB: Yeah, yeah, right.
19           WB: Yeah, I'm at your disposal right now.             19         (Laughter.)
20    So if anything happens, then I'll -- I'll just wait for      20         MR. JUDD: No, but I -- no, from there I just
21    you to call me back.                                         21   stayed in Vegas because I had to pay for my own school.
22           MR. JAGER: Yup, yup. No problem.                      22   So I went to UNLV and I worked as a valet parking
23           WB: All right. Awesome. Okay. This is the             23   attendant while I was going to school.
24    Jeff Judd, huh?                                              24         WB: Oh, awesome.
25           MR. JUDD: (Laughter.) It's Jeff Judd from a           25         MR. JUDD: And then from there I took a job


                                                        Page 3                                                       Page 5
 1   long time ago.                                                 1   with Big Pharma out of college as a rep, and then just
 2          WB: Yeah. So I -- I mean, I -- when I first             2   did different jobs from there. I did -- you know,
 3   heard your name I thought that -- that sounds familiar.        3   after that, they changed the pay scale and all that. So
 4   So I looked you up on Facebook, and I saw that we have         4   then I went into mortgages during the boom in the early
 5   like -- I don't know -- 40-something friends in common, and    5   2000s.
 6   one of them is like one of my best friends, Eric               6           I did that for a while. Then I went into -- I
 7   Sorenson.                                                      7   owned some specialty pharmacies with two other guys,
 8          And so then I was like, looking at your                 8   compounding stuff. So we did that, and that's actually
 9   profile, and it was like we went to high school                9   how I came across this, what I'm doing now,
10   together.                                                     10   is that we had to sue one of our -- our CFO
11          MR. JUDD: Yeah, I knew --                              11   because he was stealing a bunch of money
12          WB: So anyway, then I --                               12   from us, and so we sued him, and then I started
13          MR. JUDD: I talked to Eric live. I talked              13   talking to my attorney who's Matt Beasley (phonetic)
14   to Brad Nayna when he was here --                             14   who I do this with, and that's how we started this
15          WB: Yeah.                                              15   business. It was just by -- from that lawsuit. So.
16          MR. JUDD: -- but --                                    16           WB: Wow.
17          WB: Yeah, two of my best friends. Anyway,              17           MR. JUDD: But I have four kids. One of them
18   so that -- then I realized you're just one year ahead         18   plays soccer in LA Galaxy. He's trying to get to the
19   of me. So I'm pretty sure that we've -- we've met, but        19   first team now.
20   --                                                            20           And then I have an older son that's 26 that
21          MR. JUDD: Oh, yeah, and I knew your sister,            21   works for me; a daughter that's 21 that's about to get
22   too.                                                          22   married. She lives in Utah.
23          WB: Yeah, Rebecca?                                     23           WB: Holy smoke. Cool.
24          MR. JUDD: Yeah.                                        24           MR. JUDD: And then I've got a 13-year-old
25          WB: Anyway so what -- what -- what --                  25   daughter. So I've got a little straggler.



2 (Pages 2 to 5)
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                                                         Page 6                                                                Page 8
  1          (Laughter.)                                               1           So that's how we started this, and then we
  2          WB: Well, I -- I got started a little bit                 2   just started out branching out to guys like Shane. So
  3   late. My son is a year old, and --                               3   the whole business is done off of referrals. There's
  4          MR. JUDD: Oh, geez.                                       4   no direct to consumer marketing, nothing like that. It's
  5          WB: And this is a little bit of a secret,                 5   just a referral-based business.
  6   but I've got another one on the way.                             6           WB: So, yeah. It sounds like, you know, I
  7          MR. JUDD: Oh.                                             7   thought I was doing pretty well for -- for people from
  8          MR. JAGER: Oh.                                            8   our high school, but you're just crushing it, it looks
  9          WB: So I haven't --                                       9   like.
 10          MR. JAGER: Cool.                                         10           MR. JUDD: I'm sure you're doing well. Shane
 11          MR. JUDD: You definitely started late.                   11   told me you sold a business that was good. So.
 12   That's good though.                                             12           WB: Yeah, I mean, I was in Web hosting, and
 13          WB: Yeah, yeah. You're -- you're going to                13   now I'm into aviation, but I'm -- I'm just -- I'm just
 14   have grandkids my kids' age very soon.                          14   wondering how many -- so these guys have given me some
 15          MR. JUDD: (Laughter.) Yeah. I'm surprised                15   indication, but do you know how much -- how -- how much
 16   I don't have them already, but I don't. So.                     16   money you have under management?
 17          WB: Yeah, yeah. I -- anyway, I'm familiar                17           MR. JUDD: About $475 million.
 18   with compounding pharmacies because we've -- we've been         18           WB: And so how many contracts is that or how
 19   doing fertility treatments for a while, and, anyway,            19   many have you done to date roughly?
 20   we've had to make use of them.                                  20           MR. JUDD: Oh, I've done over 16,000.
 21          MR. JUDD: Oh, yeah. There's -- that's                    21           WB: Really?
 22   expensive, too. So.                                             22           MR. JUDD: It's like right now I'm getting
 23          WB: So you -- you discovered this                        23   about 450 contracts a week.
 24   opportunity through your work in the --                         24           WB: Wow. And so how many law firms does
 25          MR. JUDD: No. So what happened is because I              25   that take to stick up with?


                                                         Page 7                                                                Page 9
  1   started talking to Maraday (phonetic) about the                  1           MR. JUDD: About 15 --
  2   lawsuit, he said to me, he goes, "Jeff," he goes,                2           WB: Or keep up with it?
  3   "every single time my clients agree to settle, they              3           MR. JUDD: -- law firms roughly. We don't do
  4   want their money the next day." He said, I've got a              4   anything in Vegas because Vegas just tried to implement
  5   lady that helps me do this sometimes, but I think you            5   some stupid laws, and our stuff really doesn't hone to that.
  6   and I could make a -- a business out of this."                   6   It's not anything that we would have to do, but we
  7        So I said okay. So I did it for about eight                 7   just took our business out of here just because that
  8   months on my own. I had my own capital, and I did it             8   reason, and we didn't want people knowing what we did
  9   for him, and then I said, "Well, okay. Well, this is             9   in our backyard.
 10   -- you know, it seems like it's good."                          10           WB: Right, right.
 11        And the way we structured it was good because              11           MR. JUDD: So it was just a smarter decision
 12   we do it in 90-day terms. We don't have the money               12   to not even do anything here.
 13   sitting out for long periods of time.                           13           WB: So that I mean how hard would it be for
 14          WB: Yeah.                                                14   somebody -- not that I want to do this. Look. I'm not
 15        MR. JUDD: And so what we do is we step in                  15   I'm not interested in taking your business away, but
 16   when they agree to settle, not when they sign the               16   how hard would it be for somebody to copy what you're
 17   settlement documents because they wouldn't need us.             17   doing?
 18   It's 30 days from that time.                                    18           MR. JUDD: It's not. I'm sure there's other
 19          WB: I see.                                               19   people that do it. It's just you have to find the
 20          MR. JUDD: When we know the amount, that's                20   right niche of attorneys, and you have to have the
 21   when we step in, and we'll buy the $100,000 of -- you           21   right attorney to do it.
 22   know, the settlement is usually around 300,000. If              22           Now, I don't talk to the attorneys. So
 23   it's like 250 or less, we'll only buy 80 of it, and then they   23   that's where my attorney -- my attorney is just my
 24   have to pay us back 25 or 20,000 plus the 5,000 admin           24   attorney. He is not my business partner. I mean, he
 25   fee.                                                            25   is, you could say, but on paper we didn't have a contract



                                                                                                      3 (Pages 6 to 9)
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                                                     Page 10                                                            Page 12
 1   and he takes care of the attorneys because all of the       1    different places.
 2   attorneys want to be arm's length from me. They don't       2            WB: Wow.
 3   want to know me.                                            3            MR. JUDD: So, yeah, I purchased my plane for
 4           WB: Okay.                                           4    the tax benefit, and then I put it in a company called
 5           MR. JUDD: Which is smart because then that way      5    Sirius AV, and they manage it for me. So
 6   they can't accuse them of steering or anything like         6    they lease it out when I'm not using it.
 7   that.                                                       7            WB: Yeah, that's what we do.
 8           WB: Yeah, yeah. So I mean, do they get              8            MR. JUDD: The best investment I've made.
 9   incentivized to work with you guys?                         9            WB: Yeah, nice. What -- what kind of plane
10           MR. JUDD: Oh, they -- they split half the          10    are you flying?
11   admin fee, which is perfectly fine. My attorney takes      11            MR. JUDD: It's a Hawker 900.
12   care of all that.                                          12            WB: Okay, yeah. Sounds like you got some
13           WB: I see. Okay.                                   13    good advice. I -- that's the very thing that we do.
14           MR. JUDD: Yeah, there's got to be something        14            MR. JUDD: Yeah, that's -- yes, Mark, that's
15   or they're not going to send all this                      15     Mark -- Mark, that's right up his new business, is
16   stuff. I mean, some of them would because it's so          16    they -- they do the same thing that Serus AB is doing
17   easy. We make it really easy for them, but, yeah, they     17    for you.
18   split half the admin fee with the attorney.                18            MR. JAGER: Yeah.
19           WB: So how -- how big is your team? I mean,        19            MR. JUDD: My attorney wants to buy a plane.
20   I guess would you include the attorney's team in your      20    It's so hard to find planes right now. Like my plane
21   team or do they have -- how big is the team overall?       21    is a million dollars more than I bought it for last
22           MR. JUDD: Well, I've got guys like Shane           22    year.
23   that do this with me, but basically, I manage the whole    23            WB: Yeah. I mean that's -- that's rare in
24   thing with my son. He's just 26 and does a lot of the      24    the aviation industry, right, to see an appreciation
25   paperwork. So we -- about three or four months ago we --   25    like that, but --


                                                     Page 11                                                            Page 13
 1   I took it to this big attorney group out of Dallas.        1          MR. JUDD: I know. It's just the times we
 2   We didn't used to have all of this in place, and we put    2    live in. I guess COVID made it so people don't want to
 3   together a private money placement.                        3    go to the airport, and people start doing these --
 4           I registered the company with the SEC Section      4    these companies like you, which is brilliant, because
 5   D, and so now we have all that in place with the           5    if I didn't have that company, I probably wouldn't own
 6   private money and the subscription agreement and all       6    the plane.
 7   that.                                                      7          WB: Yeah.
 8           WB: Oh, very nice. So your -- your daughter        8          MR. JUDD: It's too much overhead to have it,
 9   is in Utah? She's --                                       9    you know.
10           MR. JUDD: She's an (inaudible) there.              10         WB: And I think, you know, I wouldn't get
11           WB: Okay.                                          11   rid of it. I think you'll see that the value will hold
12           MR. JUDD: Or -- or she's in -- she lives in        12   pretty steady for maybe another year or more.
13   Lehigh.                                                    13         MR. JUDD: Well, I'm not worried about that.
14           WB: Okay. I live in Sandy.                         14   I make money off the plane anyways because they -- they
15           MR. JUDD: Oh, okay, yes. She's close.              15   lease it out. They have contracts with like the Wynn
16   Shane and I have a house in Heber City.                    16   (phonetic) and --
17           WB: Oh, really? Yeah, nice area. Shane             17         WB: Oh, cool.
18   tells me -- so Shane tells me you got a private plane.     18         MR. JUDD: -- Core World (phonetic) and all that. So
19   Is that where you fly into?                                19   that plane, when I'm not using it, I sometimes I have
20           MR. JUDD: When I can. Because my son -- I          20   to bump people off of it to use it myself.
21   go to all of his games. So between him and my little       21         WB: Yeah, yeah. So --
22   daughter, she does like -- she's in plays and stuff.       22         MR. JUDD: I try not to do that, but I -- I
23   She was just in a production in downtown Las Vegas, and    23   have vacations.
24   they might take it to New York.                            24         WB: Yeah, sure. Have you ever seen anything
25           So between them they keep me going all             25   like defaults, late payments --



4 (Pages 10 to 13)
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                                                     Page 14                                                        Page 16
  1         MR. JUDD: (Giggle.) That's --                          1   everything. We just have never had a -- we've never --
  2         WB: -- collections?                                    2   I mean, we have a padding that the attorney and I have
  3         MR. JUDD: -- thing that we never had one               3   in case some do go bad because we don't want anybody
  4   over 16,000 in six-plus years go bad.                        4   else's money. We'll take care of it, but we just have
  5         WB: Um, that's pretty amazing, and so --               5   never had to use it. We've never had one go bad.
  6         MR. JUDD: It is. That's what the attorney              6         WB: I see. So is that -- is that Beasley?
  7   group -- they are. You've never had one of these go          7           MR. JUDD: Yeah, Matt Beasley is my attorney.
  8   bad, and -- and I think a lot of it is attributed to         8           WB: Okay. So what -- what role does he
  9   the -- the business structure because it's 90 days, and      9   play?
 10   realistically if these companies weren't going to -- if     10           MR. JUDD: He -- he finds the other
 11   insurance companies or, you know, the big business,         11   attorneys, and he writes the contracts.
 12   whatever, didn't have the money, they wouldn't extend it.   12         WB: Okay. Well, look. This sounds amazing.
 13   They wouldn't settle. So.                                   13   Sorry. I'm catching my son's cold. He went to church
 14        WB: Okay.                                              14   on Sunday and came home with a stuffy nose, and I had
 15          MR. JUDD: I think it is because we have              15   to stay home from work today.
 16   short terms. Like I know people that do this kind of        16          MR. JUDD: Well, that happens.
 17   thing, but they'll do it like before this thing even        17           WB: Yeah, yeah.
 18   goes to trial.                                              18           MR. JUDD: Do you -- do you run your -- just
 19         Now, we don't do anything. If something's             19   out of curiosity, do you run your plane service company
 20   going to go to trial, we won't take it. We just want        20   out of Utah?
 21   all the insurance stuff.                                    21           WB: Yeah, we're at the Salt Lake Airport.
 22          WB: Right. So if they're going to settle             22           MR. JUDD: Okay.
 23   outside of court.                                           23           WB: And yeah.
 24         MR. JUDD: What's that? Sorry.                         24           MR. JUDD: I've flown out of ACI there
 25         MR. JAGER: If -- if --                                25   before.


                                                     Page 15                                                        Page 17
  1           WB: So if they're going to settle outside of         1          WB: AC -- ACI in --
  2   court, that's when you would take it.                        2          MR. JUDD: Yeah, in Salt Lake.
  3           MR. JUDD: I lost you. What did you say?              3          WB: I haven't -- do you mean TAC-Air?
  4           WB: I said so if they're going to settle             4          MR. JUDD: I think it -- you know what? It's
  5   outside of court, that's when you would take it.             5   ACI here. I think you're right. I think it is
  6           MR. JUDD: Yeah, so none of our -- so none of         6   TAC-Air. That is -- that is the one there.
  7   -- the attorneys know that we don't want anything            7          WB: There is an ACI, yeah, that I'm aware of
  8   that's going to be filed in court.                           8   in Las Vegas, and there's one down in Orange County.
  9           WB: Yeah, yeah.                                      9   Anyway, they're different, different FPOs, and then
 10           MR. JUDD: So our -- is pure reimburse --            10   there's OK-3 in Heber. So that that's some of the most
 11   that's why we go after that $300,000 range because          11   expensive --
 12   that's just all insurance reimbursement.                    12          MR. JUDD: Yeah, that's the one that I go to, if
 13           WB: So what risks do you see, if any?               13   I can get in there, but if the weather is too bad, I
 14           MR. JUDD: Insurance default? Let's say              14   have to fly into Salt Lake.
 15   insurances did -- were insolvent and they didn't pay.       15          WB: Yeah. That's some of the most expensive
 16   But if that happened, we'd have big problems, struggle      16   fuel. I think they're over seven bucks a gallon in
 17   the whole --                                                17   Heber.
 18           WB: Yeah, yeah.                                     18          MR. JUDD: Yeah, but my house is like five
 19           MR. JUDD: -- system.                                19   minutes from there because it's in Red Ledges.
 20           WB: So I'm just -- in my mind I'm trying to         20          WB: Yeah, it's worth it.
 21   figure out which bucket of my portfolio that I would        21          MR. JUDD: -- if I'm going there,
 22   put this in. You know, I've been putting it in the          22   that's where I want to go.
 23   high-risk bucket.                                           23          WB: Yeah.
 24           So anyway, I want to get a feel for that.           24          MR. JUDD: So.
 25           MR. JUDD: Yeah. Of course, there's a risk in        25          WB: Well, so it's good to see you've got the


                                                                                        5 (Pages 14 to 17)
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                                                        Page 18                                                               Page 20
 1   support of members of the church on this. Sounds like           1           How long would it take you to get those
 2   you've -- a number of people are being helped out that          2    actually earning?
 3   way. Like sounds like --                                        3           MR. JUDD: Oh, it's going to take 90 days
 4          MR. JUDD: It's changed a lot of                          4    from whenever you buy them. So --
 5   people's lives. I wasn't greedy when I did that. I mean we      5           WB: No, but I'm saying how long does it take
 6   pay at a high percentage. So my thought process was             6    you to have --
 7   it's not my money. I'm going to make my money on each           7           MR. JUDD: To put it in?
 8   deal. Then why wouldn't I pay out a high percentage?            8           WB: Yeah. Yeah, to have those contracts
 9   So that's the way we set it up.                                 9    purchased.
10          WB: Cool. What percentage would you say is               10          MR. JUDD: If Shane or whoever is fine with
11   members of the Church or -- I don't know -- I guess             11   it, you can do it within three -- I can place them
12   "people from Utah" wouldn't really apply, but is it -- is       12   all within three weeks.
13   it mostly word of mouth between them and that's how             13          WB: Okay. Okay. And how many law firms you
14   people get into it?                                             14   guys work with?
15          MR. JUDD: Yeah, it's all just referral                   15          MR. JUDD: Sixty-two, I think, throughout the
16   based. I would say that probably -- probably 50 -- at           16   -- we're in 39 different states.
17   least 50 percent of our investors are LDS.                      17          WB: Wow. Okay. Let me talk to my
18          MR. JAGER: Yeah, that rings true with me,                18   accountant and see what I can work up and -- and maybe
19   too.                                                            19   -- anyway, so moving forward is it -- is it Shane that
20          WB: Yeah. I'm just trying to think of any                20   I talk to?
21   other questions. Are there any other questions that             21          MR. JUDD: It's whoever. Shane?
22   people generally ask that I'm not thinking of?                  22          MR. JAGER: Mark, it'll be Jason that you
23          MR. JUDD: No, I mean, you've asked them.                 23   talk to, but if -- if you need a little -- I know
24   I mean, it's hard to believe that one has never gone            24   Jason's list is pretty long. So, you know, if we're
25   bad, but I just think it's because of the business model        25   going to pull some strings to get you in a little


                                                        Page 19                                                               Page 21
 1   in general. I mean why do these people -- why can't              1   quicker, then I might need to come in on that to help
 2   they wait 90 more days? I don't know. They've been               2   facilitate that.
 3   waiting two years already, 18 months, and you know,              3            WB: So if -- if I -- if I were to talk to my
 4   they don't pay income tax on this stuff. So maybe they're        4   business partners, my investment partners and bring
 5   thinking am I ever going to get this money?                      5   them in, Shane was mentioning that -- that there might
 6          We're the ones take a lot of risk because                 6   be some way that I could see a -- a higher spike in my
 7   there's no -- there's nothing we can do about it if              7   return because of bringing other people in, especially
 8   they don't. You know, we're not going to go after                8   if they're large amounts.
 9   them. So.                                                        9            MR. JAGER: I was talking to Jason about
10          WB: Yeah, well --                                        10   that, Mark, and I -- we have to look -- take a closer
11          MR. JUDD: I don't know if -- the pay's good, but it's    11   look at that, but the -- the referral that was on his,
12   not like people like you and I. Of course, we'd wait 90 days,   12   it's not -- it's -- there's not much there. So I don't
13   but it's people that probably just need the money.              13   know that that -- that would be feasible.
14          WB: Yeah. Well, it sounds like you're                    14            WB: Okay.
15   helping people both on the -- on the define -- or               15            MR. JAGER: But we can talk more about that.
16   plaintiff end and on the investor end.                          16            WB: Okay.
17          MR. JUDD: We just filling the need, it looks             17            MR. JUDD: I don't -- I don't want to cut --
18   like. So.                                                       18   you're coming in through Jason. I don't want to cut
19          WB: Yeah, okay. Look. I've got to look at                19   him out, you know.
20   some -- how I'm going to shuffle this around, but               20            WB: Okay.
21   originally Jason had said and Shane -- Shane kind of            21            MR. JUDD: So I've got to be careful there.
22   addressed this yesterday. He'd given us a -- my friend          22            WB: Fair enough. Okay. Let me look at
23   Mike and I, he'd given us a -- a figure for how long it         23   what I can do, and I don't know. Let's circle back.
24   takes to get things working, but I'm contemplating a            24   I'll circle back with Jason next week. He's got me
25   first run of -- of let's say two million bucks.                 25   scheduled to talk to two other investors tomorrow. So


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                                                Page 22
  1   I'll have that conversation, and then -- and then let's
  2   -- I'll circle back with him. I guess you guys will be
  3   hearing from him.
  4            MR. JUDD: Sounds great.
  5            WB: All right, Jeff. I appreciate your
  6   time. I'm sure you're busy.
  7            WB: And thanks for your time. I appreciate
  8   it.
  9            MR. JAGER: Yeah, thanks, Jeff.
 10            WB: And you, too, Shane.
 11   Appreciate you.
 12            MR. JAGER: Oh, you got it. You got it,
 13   Mark. We'll talk soon.
 14            WB: Okay. Take care.
 15            MR. JAGER: Okay. Thanks.
 16            WB: Bye-bye.
 17            (End of audio file.)
 18                    *****
 19
 20
 21
 22
 23
 24
 25


                                                Page 23
  1            TRANSCRIBER'S CERTIFICATE
  2
  3   I, Mary Jo Mitchell, hereby certify that the foregoing
  4   transcript is a complete, true and accurate
  5   transcription of all matters contained on the recorded
  6   proceedings in the matter of:
  7   2022.02.24 Jeff Judd call.
  8
  9                   ____________________________
 10                   Transcriber
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                 Exhibit 16
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                                                                  Page 1
       UNITED STATES SECURITIES AND EXCHANGE COMMISSION


       In the Matter of:                      )
                                              )   File No. SL-02855-A
       J&J CONSULTING                         )


       SUBJECT:     2022.01.25 Jason Jongeward call (Utah)
       PAGES:       1 through 53




                              AUDIO TRANSCRIPTION




                  Diversified Reporting Services, Inc.
                                (202) 467-9200
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                                                   Page 2                                                          Page 4
  1               PROCEEDINGS                                    1          MIKE: Are you a builder?
  2   2022.01.25 Jason Jongeward call (Utah)                     2          MR. JONGEWARD: I am -- I was a builder. I
  3           MR. JONGEWARD: Mike, are you there?                3   was a builder developer. Now I'm really more of a
  4           MIKE: Yeah. Hi, is this Jason? How is it           4   venture capitalist. You know, I manage, help manage
  5   going?                                                     5   this particular investment and then I raise a lot of
  6           MR. JONGEWARD: It is Jason, yeah.                  6   private capital for different individuals as well.
  7           MIKE: Hey, thank you for returning my call         7   So --
  8   so quickly. I really appreciate it.                        8          MIKE: Oh, all right. Well, I -- I'd love to
  9           MR. JONGEWARD: Oh, yeah, no problem. I --          9   chat with you. Can I ask a couple of, like, off topic
 10   this investment -- we have a few investments actually     10   questions actually?
 11   that we're managing but it sounds like the one you're     11          MR. JONGEWARD: Oh, for sure, of course.
 12   talking about is the legal investment.                    12          MIKE: How long have you been in St. George?
 13           MIKE: Yeah. I heard briefly about it from         13          MR. JONGEWARD: I've been in St. George
 14   my friend Ty, and he has a friend named Jeremy I          14   permanently for about six weeks.
 15   believe.                                                  15          MIKE: Oh, okay. What -- so -- but you've
 16           MR. JONGEWARD: Is it Jeremey Magee                16   been there off and on before?
 17   (phonetic)?                                               17          MR. JONGEWARD: Yeah. I moved my family down
 18           MIKE: That could be it.                           18   here in June.
 19           MR. JONGEWARD: Okay. He's a (inaudible)           19          MIKE: Okay.
 20   owner in Spokane Valley.                                  20          MR. JONGEWARD: We owned property here in
 21           MIKE: That -- that could be it.                   21   probably 2000 to 2005, and then we -- you know, like I
 22           MR. JONGEWARD: Okay.                              22   say, we were in Las Vegas for about eight years and
 23           MIKE: I personally don't know him.
                                                                23   then we've been in Spokane for -- until this last year
 24           MR. JONGEWARD: Sure.
                                                                24   for about 16 years.
 25           MIKE: Are you in Spokane or where are you
                                                                25          MIKE: Okay.


                                                   Page 3                                                          Page 5
  1   at?                                                        1          MR. JONGEWARD: Yeah, so we -- we knew we
  2          MR. JONGEWARD: So I used to live in Spokane,        2   wanted to kind of end up here, and so we've been able o
  3   and we just relocated just this year down to Southern      3   do that just this year. So we're excited to be in the
  4   Utah.                                                      4   sunshine.
  5          MIKE: Oh, I'm located in Utah as well. What         5          MIKE: We -- that's awesome. We actually are
  6   part of Utah?                                              6   looking at a couple places in Ivins, so when I heard --
  7          MR. JONGEWARD: Oh, really. So we're just in         7          MR. JONGEWARD: Oh, right, right. Santa
  8   St. George.                                                8   Clara, Ivins, yeah.
  9          MIKE: Oh, that's awesome. I'm in Park City.         9          MIKE: Yeah. And, like, I've been in Park
 10          MR. JONGEWARD: Oh, awesome. Yeah, Park City        10   City for more than a decade and sometimes you just --
 11   is great.                                                 11   winter is long and --
 12          MIKE: What part of St. George are you in?          12          MR. JONGEWARD: Yeah, it's nice to get out of
 13          MR. JONGEWARD: So we're just kind in the           13   there a couple times through the winter, right?
 14   Washington Fields area.                                   14          MIKE: Yeah. And it's different in Park
 15          MIKE: Okay.                                        15   City. I have no idea what your background is but,
 16          MR. JONGEWARD: Yeah. We're -- we owned             16   like, for Utah --
 17   property here a number of years ago and ended up          17          MR. JONGEWARD: It's mostly, yeah, building
 18   selling it in 2006. We moved up to Spokane, liquidated    18   and developing --
 19   a lot of our stuff trying to kind of get out of the way   19          MIKE: Oh, okay.
 20   of the recession and ended up, you know, purchasing a     20          MR. JONGEWARD: -- is really what I've done
 21   large portion of property and building a custom, you      21   for the last 30 years. But, yeah, that's pretty much
 22   know, a high-end customer subdivision there for           22   where I've been is in the construction and development
 23   residential --                                            23   side of things.
 24          MIKE: Oh, okay.                                    24          MIKE: Well, you got out at the right time
 25          MR. JONGEWARD: -- there.                           25   before everything skyrocketed and the margins got



                                                                                          2 (Pages 2 to 5)
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                                                   Page 6                                                          Page 8
  1   thinner.                                                   1           MR. JONGEWARD: -- because traditionally
  2           MR. JONGEWARD: Well, yeah, yeah.                   2   they're waiting 90 days to get their -- to get to wait
  3   Everything, everything has changed quite a bit. So         3   for their settlement to come from the insurance
  4   it's -- we've been -- we feel very fortunate to be in a    4   company. So basically place a lien through a purchase
  5   really -- a number of great investments that really are    5   agreement --
  6   performing, so we're excited about that.                   6           MIKE: Okay.
  7           MIKE: That's exciting, yeah. And, yeah, we         7           MR. JONGEWARD: -- with the attorney and
  8   love the idea of, like, getting out. Park City is a        8   their plaintiff. And so after 90 days they give us
  9   little different. We -- we're a minority up here.          9   that 80 or $100,000 back to us through the terms of the
 10   We're LDS and it's been a little different with,          10   contract with interest and then we rotate that 100 or
 11   especially after Covid, we had a bunch more people move   11   $80,000 into another contract. So as an investor you
 12   in and it's been -- so we've kind of just been, like,     12   get an 80 or 100,000, whichever one you choose, and we
 13   maybe Park City has gotten a little more liberal than     13   rotate that through four, four claims or four contracts
 14   what we were looking for --                               14   and they pay out 12-1/2 percent every 90 days for a
 15           MR. JONGEWARD: Sure, sure.                        15   total of 50 percent return.
 16           MIKE: Another place we kind of wanted to          16           So if an individual put in 100,000, they
 17   look at was St. George or particularly Ivins just         17   would receive 50,000 over four incremental payments
 18   because there's --                                        18   every 90 days.
 19           MR. JONGEWARD: We felt the same way, exactly      19           MIKE: Wow. And these people are getting
 20   the same way. We were in Washington State. Very, very     20   settlement for -- for what (inaudible)?
 21   blue, very different than Utah, and/or Idaho for sure.    21           MR. JONGEWARD: Most the amounts -- yeah,
 22   So we're originally from -- both my wife and I are        22   it's a slip and fall, personal injury.
 23   originally from Southern California.                      23           MIKE: Oh, okay. So it's like -- I know a
 24           MIKE: Oh, okay.                                   24   lot of guys at Pick, Freed and Jensen (phonetic), so
 25           MR. JONGEWARD: And so Long Beach area and         25   it's like -- it could be a client of theirs who has --


                                                   Page 7                                                          Page 9
  1   then Oceanside.                                            1          MR. JONGEWARD: Yeah. So --
  2           MIKE: Yeah, I'm familiar with both of them.        2          MIKE: -- a personal injury?
  3   My brother served and LDS mission in the Carlsbad          3          MR. JONGEWARD: Right. So the owner of this
  4   mission.                                                   4   business his name is Jeff Judd. He lives in Las Vegas.
  5           MR. JONGEWARD: Oh, yeah, excellent.                5   I came to this investment through one of my very good
  6           MIKE: So --                                        6   lifelong friends. His name is Shane. And Shane and
  7           MR. JONGEWARD: We're LDS as well.                  7   Jeff actually got to know each other in '98 and they've
  8           MIKE: Oh, awesome. I had no idea. Well,            8   become very good friend since then.
  9   can you tell me a little bit more about, like, your        9          So Shane, you know, reached out to me a
 10   fund, the legal investment?                               10   couple of years ago and shared it with me, and so I
 11           MR. JONGEWARD: Yeah. Well, currently we're        11   just kind of jumped in. So now I kind of manage 150
 12   doing -- we have two investments. The legal investment    12   plus people, about $52 million worth of capital --
 13   is a -- the -- just the basic structure is that we        13          MIKE: Oh, my gosh.
 14   raise private capital. We use that capital to fund a      14          MR. JONGEWARD: -- amongst, amongst those
 15   contract that we sell to an attorney and their            15   individuals. The overall total group is -- let's see
 16   plaintiff once they've reached a settlement with their    16   when I got -- when I got started in the end of 2019,
 17   insurance company.                                        17   November, I put my first contract in. We had about
 18           MIKE: Okay.                                       18   125,000 -- 125 million, excuse me, of operating capital
 19           MR. JONGEWARD: And so that means that we          19   within the investment. They have closed --
 20   would give them an 80 or $100,000 amount, which is        20          MIKE: Oh, my gosh.
 21   usually a third or a quarter of their, of their           21          MR. JONGEWARD: -- about 4,500 contracts to
 22   settlement amount, and we would offer that to them in     22   that -- to that point, and 26 months later since I've
 23   72 hours. We ask 25 percent interest on that 80 or 100    23   been involved, we're now up over 400 million and we've
 24   for that 90-day period --                                 24   closed over 20,000 contracts with zero defaults.
 25           MIKE: Okay.                                       25          MIKE: Your fund has $400 million in it?



                                                                                          3 (Pages 6 to 9)
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  1           MR. JONGEWARD: Yes, over 400 now, uh huh.           1   we got involved with these investments here it's been
  2           MIKE: Oh, my goodness. And, I'm sorry, let          2   really difficult for us and has been. Other than
  3   me -- and then you haven't had defaults on any of your      3   purchasing property and being the developer and the
  4   contracts?                                                  4   builder, right, it's --
  5           MR. JONGEWARD: Yeah, the group -- the group         5          MIKE: Yeah.
  6   took pretty much all personal injury claims including       6          MR. JONGEWARD: -- been tough. But with the
  7   Medicare and Medicaid, they had -- they had three of        7   cost per square foot being so high even for new
  8   those contracts that closed slowly, where they didn't       8   construction, even me giving some of my good friends
  9   get their interest -- excuse me, they didn't get their      9   there in Spokane, I'll call it a deal at a 12 plus --
 10   settlements in that 90-day period. They closed after       10   at 12 percent cost plus scenario, it's still we're well
 11   90 days, so they stopped taking those.                     11   over $350 a square foot, which, you know, it wasn't too
 12           Because the premise of this is really we get       12   long ago, six, seven years ago we were building for 175
 13   you capital really quickly, and then 90 days later         13   bucks a foot.
 14   we're able to get that capital and interest payment,       14          MIKE: Yeah.
 15   and then we rotate it in. So we -- by staying on time      15          MR. JONGEWARD: So -- and I'm talking a nice
 16   it really, really affects the bottom line for what         16   custom home on ten acres. So this is -- it's been
 17   investors are able to capture.                             17   really difficult.
 18           So in a one-year period to be able to capture      18          But, you know, I have another investment also
 19   12-1/2 percent by that capital, you know, participating    19   that I'm participating in that I might be even more
 20   with four claims in that 12 month period is really the     20   excited about than the legal contracts. Do you have a
 21    -- that's really the formula that's been working          21   second I can share that with you?
 22   really well.                                               22          MIKE: Yeah, I'd love to hear about both of
 23           MIKE: Okay. Can I tell you a little bit            23   them, yeah.
 24   about my situation and just kind of --                     24          MR. JONGEWARD: So you have -- you have kind
 25           MR. JONGEWARD: Sure.                               25   of an idea on the legal, the legal settlement or the


                                                  Page 11                                                        Page 13
  1            MIKE: So --                                        1   contract investment. We call it the contract
  2            MR. JONGEWARD: It sounds like you have a           2   investment or the legal contract investment, whichever
  3    1031.                                                      3   that you want to call it.
  4           MIKE: I have a 1031 and right now -- I mean,        4          So that one there gives you 50 percent. It
  5    I think everything is super overinflated --                5   does provide cashflow, right, every 90 days.
  6           MR. JONGEWARD: Oh, yeah.                            6          MIKE: Yes, that's (inaudible). That's huge.
  7           MIKE: -- in value.                                  7          MR. JONGEWARD: Right. Within -- within two
  8           MR. JONGEWARD: Yeah.                                8   years you're able to get your entire investment back,
  9           MIKE: I need to place 1.2 million and I need        9   which is unheard of.
 10    to identify or just take a loss and take a hit on it.     10          MIKE: Yes.
 11           MR. JONGEWARD: But doesn't it need to be           11          MR. JONGEWARD: I've been doing this now for
 12    like for like on -- from real estate to estate; isn't     12   two years. Personally we started to do it for our own
 13    that right?                                               13   retirement, for my wife and I, and it's just really
 14           MIKE: I'm thinking about liquidating.              14   exploded over the last, you know, year-and-a-half
 15           MR. JONGEWARD: I see, okay.                        15   specifically.
 16           MIKE: Yeah. So penalty-wise -- I just              16          So it's a full-time job for me to manage this
 17    don't think, like, there's -- I've been on the look for   17   one. So my good friend Shane, who lives in Las Vegas,
 18    about two months trying to find, like, a triple net       18   he found through his daughter a company who is based
 19    lease or something that I could get into --               19   here in St. George. They're called Eco Battery. They
 20           MR. JONGEWARD: Sure.                               20   are in the midst of exploding onto the lithium-ion
 21           MIKE: -- with it and everything is so              21   smart battery scene.
 22    hyperinflated. I've looked at car washes and -- to see    22          MIKE: Okay.
 23    what I can do. I'm at this point --                       23          MR. JONGEWARD: Specifically for golfers.
 24           MR. JONGEWARD: It's very difficult. It's           24   They've -- the owner's name is Casey Shirts and he's
 25    very, very difficult out there. You know, we -- before    25   been working on this business for about three years.



                                                                                      4 (Pages 10 to 13)
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  1   But they finally started manufacturing batteries, and      1   special part of this is that they're imagining -- Casey
  2   putting their own tech, and they've got their own, you     2   Shirts is the owner. He just sold, and you'll see in
  3   know, IP and they have a battery management system that    3   the investment deck, he just sold a business for $45
  4   they've invented and patented --                           4   million last year.
  5          MIKE: Yeah.                                         5          MIKE: His name is familiar. What was he
  6          MR. JONGEWARD: -- along with two other              6   working on?
  7   patents as well where you're able to control the           7          MR. JONGEWARD: It was -- it was some type of
  8   battery from their cellphone.                              8   a microchip business.
  9          MIKE: Wow.                                          9          MIKE: Okay.
 10          MR. JONGEWARD: And so they did -- they just        10          MR. JONGEWARD: And so he's the -- he's the
 11   started last year, in March, and they did $5 million      11   owner of this business here. He's got a couple of --
 12   worth of battery sales. They have 75 million worth of     12   two brothers in there, Ryan and Skylar Schone. They're
 13   POs to fill this year, and they expect to double that     13   from the Salt Lake area I believe. And they -- Eco
 14   and be at 150 million in '23.                             14   Battery is willing to give a 2 percent equity stake
 15          MIKE: Okay.                                        15   with -- for every 5 million.
 16          MR. JONGEWARD: What they're doing is they're       16          So at 10 million they'll give 4 percent, 15
 17   in need of cash to be able to fill these POs that they    17   million they'll give 6 percent and so on. But they're
 18   have.                                                     18   going to cap it off at 30 million because after 30
 19          MIKE: Okay.                                        19   million they feel like they'll have enough material and
 20          MR. JONGEWARD: So they were looking for            20   cashflow where they won't need any additional money at
 21   about 30 million of capital. They were trying to do       21   that point.
 22   that within five, or six, or seven investors there, so    22          MIKE: Oh, yeah. And they don't want to give
 23   a 4 or $5 million type of investor.                       23   away any other equity.
 24          MIKE: Yeah.                                        24          MR. JONGEWARD: Yeah. They would -- they
 25          MR. JONGEWARD: And so Shane, you know, the         25   would prefer not to give too much of their equity away.


                                                 Page 15                                                         Page 17
  1   individual that I work with this investment he saw that    1   So as I've spoken with Shane -- I've known Shane for 25
  2   opportunity and jumped in. And so he's got 4-1/2           2   years now. His wife and my wife were, were best
  3   million into this as of the last two weeks ago. I          3   friends as kids growing up in Oceanside.
  4   think he -- I think he put his last million dollars in     4          MIKE: Okay.
  5   there --                                                   5          MR. JONGEWARD: That's how I ended up meeting
  6           MIKE: Okay.                                        6   Shane.
  7           MR. JONGEWARD: -- to capture a portion of          7          MIKE: And what's Shane's last name?
  8   equity as stake. So he has reached out to me, and they     8          MR. JONGEWARD: Jager, J-a-g-e-r.
  9   finally inked their deal a couple of weeks ago. Well,      9          MIKE: Okay.
 10   last week he sent me an investment deck for Eco Battery   10          MR. JONGEWARD: If you Google Shane Jager
 11   and said, Jason, I have an idea. I know you have a lot    11   you'll see he sold a house a few years ago. It's a
 12   of investors within the legal contract. Why don't you     12   pretty nice home, about $6 million.
 13   put together a group LLC and use the contracts that you   13          MIKE: Okay.
 14   have through just the legal investment and if you can     14          MR. JONGEWARD: And he's -- and he's just
 15   get up to 5 million you can, you can present yourself     15   kind of on YouTube. Most of these guys are pretty
 16   as a single entity and be able to participate.            16   quiet guys. They try not to get -- gain too much
 17           Because really, it's a $5 million minimum is      17   attention but --
 18   kind of the way --                                        18          MIKE: Oh, yeah.
 19           MIKE: Okay.                                       19          MR. JONGEWARD: -- you'll be able to see
 20           MR. JONGEWARD: -- they've got it set up. So       20   Shane Jager there. But anyway, he -- he encouraged me
 21   that's -- that's what I'm in the process of doing this    21   to put together a group of people and accomplish that 5
 22   week. I just sent an email out to my people yesterday     22   percent because -- or 5 million, and then we can have
 23   to clarify. I'd be happy to forward that email to you.    23   a -- we'd be able to have some equity.
 24           MIKE: Yeah.                                       24          So the way I see it just in layman's terms,
 25           MR. JONGEWARD: But -- but I think the             25   if an individual put in 100,000, they would be able to



                                                                                     5 (Pages 14 to 17)
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  1   see a $400,000 return or a 4X multiple. And the way        1           MIKE: That is something. So I can't
  2   that that would work is they're looking for -- Eco         2   remember the guy's last name, he runs Lion Energy, they
  3   Battery is looking for a 12-month line of credit to get    3   create batteries out of Salt Lake.
  4   them through this first year to fill the POs. They         4           MR. JONGEWARD: Right.
  5   will give that money back after 12 months to the           5           MIKE: I -- I don't know if you're familiar
  6   investors with 8 percent interest for that year of         6   with them. I think --
  7   having that capital, and then when they sell, which is     7           MR. JONGEWARD: I'm not.
  8   they're, you know, proposing that's going to happen in     8           MIKE: So their biggest distributor I believe
  9   three to five years, I'm just saying five years --         9   is Jim Baker --
 10          MIKE: Yeah.                                        10           MR. JONGEWARD: Okay.
 11          MR. JONGEWARD: -- by the end of 2027, they         11           MIKE: -- the ex-televangelist or I think he
 12   expect to see a $1 billion exit valuation.                12   is a televangelist again. He went to prison.
 13          So 2 percent of 1 billion would be 20              13           MR. JONGEWARD: Oh, Baker, yeah. Uh-huh.
 14   million, divided by 50 people at 100 -- 100,000 each      14           MIKE: Yeah. And he's -- he's killing it.
 15   would be 400,000. So at 1 billion you would see a 4X      15   I -- a group of investors that I've worked with in the
 16   multiple on your capital --                               16   past we -- we looked at it and it -- if we could have
 17          MIKE: Okay.                                        17   got in 12 months sooner it would have been better, but
 18          MR. JONGEWARD: -- regardless of how much you       18    --
 19   put in, right. If we -- that's only if we get to the 5    19           MR. JONGEWARD: Yeah.
 20   million because they only want to participate with        20           MIKE: -- I'm sure I could give him a call
 21   people at 5 million or more.                              21   and see where he's at now. I could be -- I could be
 22          MIKE: Okay.                                        22   interested in that. I also think the legal -- the
 23          MR. JONGEWARD: If we get to 10 million it          23   settlement funding would be something I could be
 24   would still be the same 4X, but they would give -- they   24   interested in too just from the passive income of that.
 25   would give 4 percent of equity. And if they -- they're    25           MR. JONGEWARD: Yeah. Well, and that's what


                                                Page 19                                                          Page 21
  1   also branching out into the houseboat and RV arena for     1   so attractive is it creates the cashflow, right.
  2   these, for these lithium-ion batteries.                    2           MIKE: Yeah, like, a passive income is, like
  3           MIKE: Yeah.                                        3    -- is fantastic.
  4           MR. JONGEWARD: And also getting into the           4           MR. JONGEWARD: So some, some of my investors
  5   residential, the power wall solar industry as well.        5   are considering -- some of my investors are considering
  6           MIKE: Yeah.                                        6   taking some -- selling some of their contracts.
  7           MR. JONGEWARD: So Shane feels if they play         7   Because with the contract investment if you want out
  8   their cards right, which he feels pretty confident they    8   you just give me two weeks' notice and I can return
  9   are in that process of doing, that they'll do a $2         9   your capital prior to the maturity date. So two weeks
 10   billion exit, which would equate in an 8X multiple for    10   prior to it maturing --
 11   us. So then 100,000 would equate then to 800,000 of       11           MIKE: Okay.
 12   return for every 100,000.                                 12           MR. JONGEWARD: -- let me know and I can, I
 13           So you put your 100,000 in, you get it back       13   can, you know, return your capital with the associated
 14   in 12 months with 8 percent. You wait for them to exit    14   interest.
 15   and see what the multiple is, and that could be in five   15           MIKE: Okay.
 16   years. So for the potential to have a 4X on the           16           MR. JONGEWARD: So -- so that --
 17   conservative side, let's say that they don't do well      17           MIKE: I would love to see a deck on that
 18   with the other side of things, with the -- with the       18   battery, and if you still have time I'd like to hear
 19   solar, residential solar and RV and houseboat, which I    19   more about -- like, if this is an actual 50 percent
 20   think they'll do really well in, but let's say that       20   return.
 21   they -- not including that side conservative is a $1      21           MR. JONGEWARD: I'm doing -- I'm -- yeah, the
 22   billion valuation.                                        22   legal investment?
 23           So for me to put up -- for me to put 300,000      23           MIKE: Yeah. Like, that -- that's --
 24   in and have an opportunity to have 1.2 with only having   24           MR. JONGEWARD: It is.
 25   that money out of pocket for 12 months is considerable.   25           MIKE: That's insane.



                                                                                     6 (Pages 18 to 21)
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                                                  Page 22                                                       Page 24
  1          MR. JONGEWARD: -- it's a 50 percent return,         1   agreement together and he said, hey, you know, I'd
  2   uh-huh.                                                    2   like -- I'd like you to manage your people and let's
  3          MIKE: Okay. Then I could be interested in           3   put an agreement together.
  4   that. I also -- one of my -- there's a group of us up      4           So we did, and essentially that's what I do
  5   here and we all kind of co-invest together.                5   full-time for this legal investment is I manage, you
  6          MR. JONGEWARD: Sure.                                6   know, over 150 people and their capital. So I take
  7          MIKE: One of my friends is going through a          7   care of all of that. So it happened organically
  8   process right now. Are you familiar with that?             8   originally and now it's kind of -- you know, that's
  9          MR. JONGEWARD: A process?                           9   what I do full-time. I'm not even sure to be honest
 10          MIKE: Yeah, a private equity fund.                 10   what to call myself.
 11          MR. JONGEWARD: Okay.                               11           MIKE: Yeah.
 12          MIKE: They're evaluating and then they're          12           MR. JONGEWARD: As these -- as I'm seeing
 13   buying over 50 percent of this company. It's a --         13   that a lot of these individuals -- it's all about
 14          MR. JONGEWARD: Okay.                               14   access to these investments. It's all who you know, it
 15          MIKE: Yeah, it's -- he's -- it's an oil and        15   really is all who you know. So --
 16   gas he'll, he'll walk out with --                         16           MIKE: Yeah.
 17          MR. JONGEWARD: Sure.                               17           MR. JONGEWARD: -- this investment that we're
 18          MIKE: -- nine figures out of the deal.             18   talking about, the name of the company is J&J
 19          MR. JONGEWARD: Yeah, that sounds pretty,           19   Purchasing, LLC.
 20   pretty impressive                                         20           MIKE: Okay.
 21          MIKE: Yeah, I wish I was in. We're always          21           MR. JONGEWARD: And, you know, there's not
 22   out looking for stuff and I know he's about to have his   22   that many people that know about it because they --
 23   liquidity event in the next month.                        23   it's all word of mouth. It's such a great investment
 24          MR. JONGEWARD: Wow, that's exciting for him.       24   that you don't need to do any advertising.
 25   Congratulations for him.                                  25           MIKE: If you're doing a 50 percent return


                                                  Page 23                                                       Page 25
  1           MIKE: Yeah. He'll -- yeah, I might be a            1   with zero defaults, yeah, word of mouth is going to do
  2   little green with envy but that's okay. But, like, so      2   awesome.
  3   he's someone I would like to -- I'd love to see your       3          MR. JONGEWARD: It's going to take off,
  4   battery. When you can get in -- I've had a few             4   right, exactly. And there's other people that do
  5   companies that I kind of got in on ground floor on --      5   something similar to this. J.G. Wentworth gets
  6           MR. JONGEWARD: Right.                              6   involved with the client right at the very beginning,
  7           MIKE: -- helped and when they make it, it          7   you know, even before even an attorney. They're
  8   makes up for when two or three don't. So I could be        8   shopping for those clients. They go through that whole
  9   highly interested in that. But from a passive income       9   period of time with them.
 10   stance of a 50 percent return that's impressive.          10          And so that is -- that is something that, you
 11           MR. JONGEWARD: It is incredible. It's --          11   know, they can't really control the timeframe. I
 12   it's changed our lives over the last two years for sure   12   think -- I think one of the really important components
 13   and --                                                    13   to the success of this investment is that it's
 14           MIKE: Did you put in -- did you join the          14   post-settlement. We don't get involved until after the
 15   fund as, like, a manager or did you --                    15   settlement has been agreed upon and we can, you know,
 16           MR. JONGEWARD: No, originally it was just as      16   stay within that 90-day period. So it's become
 17   an investor through my good friend, Shane, and I was --   17   extremely popular with, with plaintiffs as well, where
 18           MIKE: Okay.                                       18   they know they're going to receive the lion's share of
 19           MR. JONGEWARD: -- I got pretty excited about      19   that investment after they -- you know, once they get
 20   it and shared it with some family and some friends, as    20   their settlement to they've essentially used an 80 or
 21   most everyone does --                                     21   $100,000 of that settlement and they know that they're
 22           MIKE: Yeah.                                       22   getting anywhere from 225 to 3500,000 in, you know, the
 23           MR. JONGEWARD: -- when they see that. And         23   next 90 days they'll give up -- they'll give up 80,000
 24   before I knew it I had quite a few people that were       24   or, sorry, they'll give up 20,000 to have 80 early with
 25   interested in it. And Shane -- Shane and I put an         25   25 percent interest.



                                                                                     7 (Pages 22 to 25)
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                                                  Page 26                                                        Page 28
  1          MIKE: So -- okay. So they've already gone           1   initially to raise capital. Because in this investment
  2   through a process with, like, an insurance company.        2   there's two things you need, you need people that want
  3   They have some representing them.                          3   to want capital, right, that have a settlement and you
  4          MR. JONGEWARD: Yeah.                                4   need, you need capital to be able to fund the
  5          MIKE: Is it a law firm, like --                     5   contracts.
  6          MR. JONGEWARD: Yeah, so we have an attorney         6           So he reached out to Shane to help raise
  7   that represents us --                                      7   capital, as a capital raiser. So -- and then Shane
  8          MIKE: Okay.                                         8   ended up, you know, connecting with me probably three
  9          MR. JONGEWARD: -- and so we use his IOLTA           9   years later, three years after he was involved with
 10   account, his lawyer's trust account, and that lawyer's    10   this.
 11   trust account is a state bar regulated account. If        11           So we left Las Vegas in 2006, we were there
 12   you're not familiar with those it's --                    12   from '98 to 2006, and moved up to Spokane and started a
 13          MIKE: Yeah.                                        13   big development up there. So we -- you know, I would
 14          MR. JONGEWARD: Yeah. It's very similar to          14   talk to Shane maybe once a year, twice a year that way.
 15   an escrow account for real estate.                        15   The relationship was really between his wife and my
 16          MIKE: And what's the attorney's name?              16   wife there, but we've known each other for some time
 17          MR. JONGEWARD: His name is Matt Beasley,           17   and our kids all kind of grew up together.
 18   B-e-a-s-l-e-y, Beasley Law Group.                         18           So -- but, yeah, that's essentially who Shane
 19          MIKE: Okay.                                        19   is, and he got into this through his good friend Jeff
 20          MR. JONGEWARD: They're in Las Vegas, uh-huh.       20   when he moved to Vegas. And so that's -- that's how
 21   So Jeff Judd and Matt Beasley have been friends for       21   it's, how it's kind of worked out. It's
 22   some time and, you know, they were having lunch one day   22   five-and-a-half years old currently.
 23   and Jeff noticed that every single time that he would     23           MIKE: That was my next question was how long
 24   finish a settlement the client would be, like, how        24   have you guys been around.
 25   quickly can I get my money.                               25           MR. JONGEWARD: Yeah, about 2016 I think is


                                                  Page 27                                                        Page 29
  1          So he saw that opportunity, did a first             1   when Jeff Judd and Matt Beasley started this. So Matt
  2   contract, and it's been, you know, reached directly out    2   Beasley is a good friend of Jeff's and Jeff really just
  3   to Shane afterwards and said, hey, what do you think.      3   kind of uses Matt strictly for this. They've kind of
  4   Shane actually was a little bit nervous about it. He's     4   shut their, you know, brick and mortar down -- brick
  5   not really a guy that wants to, you know, take risks.      5   and mortar type of locations down and Jeff works from
  6   He's definitely not a stock market guy.                    6   his home, Matt works form his home, Shane works from
  7          MIKE: I looked -- I looked him up since             7   his home, and so do I know.
  8   we've been talking. He did pest control.                   8           MIKE: That's not a bad way to do it.
  9          MR. JONGEWARD: Yes. So Shane Jager and I            9           MR. JONGEWARD: No, we all just -- it's a
 10   met each other in Utah, there in Provo going to school    10   whole different mindset these days. So, I mean, you
 11   in '96. We both moved to Vegas in '98. He went there      11   know, you don't have to have a location anymore. It's
 12   to start Elite Pest Control and he also did real estate   12    -- things are just done differently than they used to
 13   up in Utah as 20-year-old, one of those guys.             13   be.
 14          MIKE: Okay, yeah.                                  14           So -- but, yeah, this is all that Matt does.
 15          MR. JONGEWARD: So that's -- that's                 15   He puts all the purchase agreements together. He's --
 16   essentially how, how he kind of got started with          16   he's the -- he works for Jeff, and we use his IOLTA
 17   things. But he -- he's kind of -- he's definitely an      17   account to pass money back and forth. Then when
 18   entrepreneur that way.                                    18   capital comes in Matt, Matt forwards it to Shane and
 19          MIKE: That's who you want running the fund.        19   then Shane forwards it to me.
 20          MR. JONGEWARD: Yeah, yeah. And so he -- he         20           So when I reconcile every week -- for example
 21   takes care of a lot of people. I think -- and so Shane    21   this week -- I'll give you a little look here. This
 22   is my manager I guess you would call him. He's who        22   week I have 51 contracts replacing and we placed about
 23   receives payment for all of my people.                    23   680,000 of new contracts as well. So I'll have a total
 24          So the way it's built is that Shane is one of      24   of $553,750 that is going to -- that's going to be paid
 25   four people as I understand it that Jeff reached out to   25   by me today, and I'll do that through the Wells Fargo



                                                                                     8 (Pages 26 to 29)
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  1   direct pay system, kind of a wire system --                1            MIKE: Okay.
  2            MIKE: Okay.                                       2            MR. JONGEWARD: And so we call that a live
  3            MR. JONGEWARD: -- that lets you verify            3   buyout. So if an individual is interested and wants to
  4   individuals, and you have those multiple, you know, or     4   get in and is willing to do that then we have that
  5   duplicating deposits. It's really easy to use that         5   investor wire that capital directly to that other
  6   system. They only charge me a couple hundred dollars       6   investor. So -- and he'll be taking over the capital
  7   to have it. But I'll do -- I'll do 160 to 180 wires        7   that's already in the investment. We just haven't
  8   every month, you know. I probably average 60, 50 --        8   received the payment or that capital back.
  9   well, I guess it's a little more than that now, isn't      9            And so that's kind of how we, how we do that.
 10   it? I guess I'm over 200 if I'm at 50. Yeah, I'm --       10   It's a --
 11   and, you know, every 90 days for that same is going, is   11            MIKE: How many people are pulling out with a
 12   going to add because we add new capital each week as      12   50 percent passive income?
 13   well.                                                     13            MR. JONGEWARD: Let's see. So at the end of
 14            MIKE: Okay.                                      14   the year I think we see that quite a bit more. We see
 15            MR. JONGEWARD: So it just kind of just grow      15   a lot more buyouts in November and December and in
 16    -- it's this growing monster.                            16   January than we do traditionally through the rest of
 17            MIKE: How many new investors do you add per      17   the year. Some people start to recognize what their
 18   week?                                                     18   tax consequences and so they'll sell some contracts.
 19            MR. JONGEWARD: You know, a lot of investors
                                                                19            MIKE: Okay.
 20   are existing, some are new. But currently I have about
                                                                20            MR. JONGEWARD: But, you know, it's kind of
                                                                21   like a commodity where people will put money in and
 21   $12 million on my waiting list of people interested in
                                                                22   they love the return, but then they'll pull it back out
 22   getting in.
                                                                23   to do a couple other things. Then they try to get some
 23            MIKE: Okay.
                                                                24   other stuff, other staff back in.
 24            MR. JONGEWARD: And I would say I probably
                                                                25            MIKE: And you guys allow people just to
 25   have 30 investors that are on the list that are not,


                                                  Page 31                                                      Page 33
  1   not yet in. So I would consider them new. This week I      1   mingle like that?
  2   have one new investor -- two new investors. So --          2          MR. JONGEWARD: Well, I try to let people
  3           MIKE: Okay.                                        3   know, like, hey, if you -- if you're only wanting to
  4           MR. JONGEWARD: Yeah, a lot of people will          4   put it in for one contract cycle maybe this isn't the
  5   continue to add. I have some people that have one          5   right, the right spot for you because it's a lot of
  6   contract, an 80. I have others that have 50 contracts      6   work to pull people out and redo that.
  7   in.                                                        7          MIKE: Yeah.
  8           MIKE: Okay. Well, so with this, with the           8          MR. JONGEWARD: And there's a lot of
  9   length of your investment, I heard you say that with       9   documentation. We traditionally don't see people do
 10   two weeks before you go into another contract you can     10   that. I've only had to sell one contract of one of my
 11   have your --                                              11   investors in two years.
 12           MR. JONGEWARD: Yeah. Just let me know that,       12          MIKE: Okay.
 13   hey -- if you have, like, you know, a contract or         13          MR. JONGEWARD: Most of these other buyouts
 14   multiple contracts you just need to let me know so I      14   are coming from other, other people, maybe on Shane's
 15   can have other investors take that position in that       15   side or someone else's side.
 16   contract cycle.                                           16          MIKE: I guess I'm in a place now if I'm
 17           MIKE: Okay.                                       17   placing money and I'm getting my return --
 18           MR. JONGEWARD: Because we try not to -- we        18          MR. JONGEWARD: Right.
 19   try not to break the cycle if we can, and a lot of        19          MIKE: -- like, that's passive income.
 20   times when we do a live buyout -- let's say that --       20          MR. JONGEWARD: Right.
 21   let's say that you wanted to exit, and I don't really     21          MIKE: And that's the thing, like, that
 22   tell any of my investors that they can do this but I      22   improves my lifestyle.
 23   think Shane allows some of his to, he'll -- he'll allow   23          MR. JONGEWARD: Right.
 24   an individual to get out of their contract somewhere in   24          MIKE: Okay.
 25   the duration of that 90 day period.                       25          MR. JONGEWARD: Yeah, it's a game -- this is



                                                                                     9 (Pages 30 to 33)
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                                                   Page 34                                                     Page 36
  1   a game changer for everyone.                               1          MIKE: Okay. And sorry, if I'm seem a little
  2           MIKE: Yeah.                                        2   scattered, Jeff is the name of the founder?
  3           MR. JONGEWARD: I traditionally do not see          3          MR. JONGEWARD: Yeah, Jeff Judd, J-u-d-d,
  4   people pull out. I've had one person that was buying a     4   uh-huh.
  5   home that needed to sell an 80K contract, and it was       5          MIKE: And what was --
  6   very easy for me to just use one of my guys, the next      6          MR. JONGEWARD: You'll find him -- it's J&J
  7   on the list, my chronological waiting list, and I was      7   Consulting Services, LLC.
  8   able to take care of that in house pretty easy.            8          MIKE: Okay.
  9   And I just called Shane and said, hey, you                 9          MR. JONGEWARD: You'll find him there. He
 10   need to change, change this entity name for this          10   just created a new entity this year because he's now
 11   particular contract, and then that's what he does on      11   licensed with the SEC. This has really expanded and
 12   his reconciliation sheet, and changed the buyer's         12   grown.
 13   agreement. So it's pretty, pretty simple.                 13          MIKE: Okay.
 14           MIKE: So -- and I just want to make sure I        14          MR. JONGEWARD: So he did a business review
 15   understand this. But, like, if you're getting a 50        15   with two attorneys out of Texas. They both previously
 16   percent return this is in a post settlement so there is   16   worked for the SEC.
 17   (inaudible).                                              17          MIKE: Okay.
 18           MR. JONGEWARD: It's already post settlement,      18          MR. JONGEWARD: And so they put together a
 19   correct.                                                  19   whole different program of documents. I was able to
 20           MIKE: Now it's going into an IOLTA account,       20   raise $49 million worth with a -- with a three page
 21   so attorneys are moving money, right?                     21   confidentiality agreement and a two page buyer's
 22           MR. JONGEWARD: That's right.                      22   agreement.
 23           MIKE: Where is the risk for 50 percent?           23          MIKE: Okay.
 24           MR. JONGEWARD: Well -- well, we don't -- we       24          MR. JONGEWARD: So that -- the paperwork was
 25   just -- we don't really see it. You know, if an           25   really anemic and didn't really match the investment.


                                                   Page 35                                                     Page 37
  1   insurance was not going to -- if an attorney -- an         1   Now we have --
  2   insurance company, excuse me, was not going to pay an      2          MIKE: So is it a registered fund then?
  3   already agreed upon settlement, you know, they're in       3          MR. JONGEWARD: So it's not registered. I
  4   super hot water. You know, there's rules and               4   don't believe it's -- I know that Jeff, he registered
  5   regulations against that of course.                        5   the company with the SEC but, you know, myself and
  6           MIKE: Yeah. It would be a default on a --          6   Shane and the rest of us are not licensed SEC
  7           MR. JONGEWARD: Yeah, they're not going to          7   representatives that way where we -- we're not a REIT
  8   default on a $300,000 claim and go through all that hot    8   or anything like that. So we're not allowed to give
  9   water. We don't see an attorney ever not paying an 80      9   any financial advice, and you'll notice when I -- I'll
 10   or 100,000, the amount of hot water they'd be -- you      10   send you two emails. I'll send you the investor packet
 11   know, not disregarding that we're already in a purchase   11   for J&J Purchasing.
 12   agreement, which is essentially a 14 page lien on the,    12          So Jeff changed or he created a new company
 13   on the settlement when it comes.                          13   called J&J Purchasing. Obviously, J&J Consulting does
 14           MIKE: Yeah.                                       14   not give the right impression to the SEC that you're
 15           MR. JONGEWARD: So there's no -- there's no        15   not getting any financial advice, right.
 16   potential for them to win, it's just problems. And        16          MIKE: Yeah.
 17   maybe that's why we've been so successful is because      17          MR. JONGEWARD: So he changed the name to J&J
 18   it's pretty -- it's pretty ironclad really. We don't      18   Purchasing. His wife's name is Jennifer. Jeff and
 19   see that ever happening really. The hardest part for      19   Jennifer Judd, you can find them on Facebook and, you
 20   us is really just making sure people get their wires in   20   know, a few other places.
 21   on time that want contracts. That's -- that's probably    21          And so we have an 111 page PPM, a private
 22   where I see the most headache at times.                   22   placement memorandum now.
 23           MIKE: Okay. And --                                23          MIKE: I'm familiar with that.
 24           MR. JONGEWARD: Because you're just kind of        24          MR. JONGEWARD: Yeah. It has -- you're
 25   dealing with, you know, the general public that way.      25   familiar with that. So we finally have a PPM. We've



                                                                                  10 (Pages 34 to 37)
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  1   got a really nice subscription agreement that we use,      1   three months and I've only got $52 million for the last
  2   and then when people add we use an addendum to create      2   year-and-a-half. So it's really --
  3   and capture a total invested amount on a legal             3           MIKE: Are you doing that yourself or do you
  4   document. And then we have a few confidentiality and       4   have people --
  5   NDA, non-solicit type of agreements.                       5           MR. JONGEWARD: No, no, just me, all by
  6           So really, like, four, four documents now          6   myself, yeah.
  7   that really substantiate the investment. So we're --       7           MIKE: Okay.
  8   we're really grateful he's done that, and we feel          8           MR. JONGEWARD: Yeah. So --
  9   pretty ironclad now. A lot of people had issues with       9           MIKE: So how many fund managers are there
 10   the documents before and they still couldn't stay away    10   for this?
 11   because it's just such a great --                         11           MR. JONGEWARD: So I would say there's -- I
 12           MIKE: 50 percent.                                 12   know there's three other individuals similar to Shane
 13           MR. JONGEWARD: It is.                             13   directly there with Jeff with that he reached out to.
 14           MIKE: Right?                                      14   And I think that Shane has four people. I'm one of
 15           MR. JONGEWARD: Uh-huh.                            15   those four, but really only two of us are really
 16           MIKE: It starts and stops kind of what --         16   active. Another gentleman named Roland, he's a 70 year
 17   this is -- like, I'm a little blown away by that.         17   old New York Stock Exchange guy, used to trade on the
 18           MR. JONGEWARD: Well, a lot of people -- a         18   floor, very, a very affluent to have some really
 19   lot of people, you know, are really nervous about it.     19   affluent circles there. I think between Shane and
 20   They feel there's no way it could be true and possible.   20   Roland and I, the three of us actually represent over
 21   But when you understand the structure that it, you        21   200 of that 400.
 22   know, you're -- you're capital is going -- is working     22           MIKE: Wow.
 23   with four different claims in a one year period it's      23           MR. JONGEWARD: So that's --
 24   easy to see how you're able to do that.                   24           MIKE: And you're incentivized stay, like --
 25           So essentially the 25 percent comes back          25   like --


                                                 Page 39                                                       Page 41
  1   to -- to Jeff and Matt, and they divide that, they cut     1           MR. JONGEWARD: Yeah. So my agreement is
  2   that in half and they share 12-1/2 percent with the        2   make -- you know, I make a small percentage on each
  3   investor and they keep the other 12-1/2 percent. So        3   contract. So --
  4   what you have is you got the owner of a company that's     4           MIKE: That makes sense.
  5   willing to split the profits with the investor. That       5           MR. JONGEWARD: -- I don't have a -- I do not
  6   never happens.                                             6   have an understanding with Jeff, it's with Shane.
  7           So that's part of the other, the other part        7           So we send 1099s out. We're just in the
  8   of this that makes it so, so unique is that you've got     8   process of doing that this week because we have to have
  9   an individual that realizes when you give a really nice    9   this out by the 31st.
 10   return it gets around and people are -- it just really    10           MIKE: Yeah.
 11   is the proper way to help your business grow.             11           MR. JONGEWARD: It's very, very transparent.
 12           MIKE: Okay. And I'm assuming you're going         12   1099s, there's -- you know, we have a much better
 13   to have a lot of demand from people if they're getting    13   document rollout now, which is really great. And,
 14   a 250 to $350,000 settlement they've been hurt, and       14   yeah, it's pretty simple and easy. I make myself
 15   that means they haven't been working. So --               15   available for every one of my investors if they have
 16           MR. JONGEWARD: That's right, uh-huh.              16   any questions and just kind of walk them through the
 17           MIKE: -- you're going to find clients who         17   process. It's pretty -- it's pretty straightforward.
 18   need (inaudible) quickly.                                 18   It's a great group of guys that I work with.
 19           MR. JONGEWARD: Yeah, we have -- sorry to          19           MIKE: That sounds -- yeah, sorry, I don't
 20   interrupt you there, but yes. What we saw is this last    20   know if I have any questions. I'm just sitting here
 21   year in November such an increase of contracts over,      21   going like this kind of seems bulletproof because I
 22   like, September, October, November that we all ran out    22   don't -- you're going to -- an attorney is going to
 23   of capital on our waiting list. I placed $15 million      23   lose their license if they --
 24   in about three months and raised $10 million during       24           MR. JONGEWARD: And insurance companies and
 25   that three month period. So I've raised $25 million in    25   attorneys would -- they don't want any -- not that



                                                                                  11 (Pages 38 to 41)
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  1   insurance companies need to do that, right. Insurance      1           MIKE: Okay.
  2   companies do very well, and attorneys do the same.         2           MR. JONGEWARD: So that's -- and there's a
  3           MIKE: Yeah.                                        3   sample purchase agreement in that PPM. It's got the
  4           MR. JONGEWARD: So the attorneys, they're           4   personal information redacted of course but you can see
  5   benefitting from it as well.                               5   the structure of it, you can review that and see
  6           MIKE: Okay.                                        6   what -- see where that is on the other side, right. We
  7           MR. JONGEWARD: Yeah. And everyone is               7   don't -- we don't see the purchase agreement but
  8   benefitting.                                               8   there's a purchase agreement on the other side between
  9           MIKE: Does the attorney get a piece of             9   Jeff and the plaintiff, and then of course there's
 10   (inaudible)?                                              10   places in there for both attorneys to help and to sign
 11           MR. JONGEWARD: There's an administration fee      11   and do that. So --
 12   on top of that. I think it's $5,000.                      12           MIKE: Okay.
 13           MIKE: Okay.                                       13           MR. JONGEWARD: But, yeah, it's all, it's all
 14           MR. JONGEWARD: So if an attorney does ten of      14   in that PPM. You can kind of review that and see it.
 15   these contracts in a month, you know, that's -- that's    15   There's corporate documents to let you know who Jeff
 16   $50,000. Pretty easy to calculate that. So there's        16   is. It's actually got his home address on there.
 17   definitely incentive for these attorneys to do that as    17           MIKE: Okay.
 18   well. So --                                               18           MR. JONGEWARD: There's -- you know, pretty,
 19           MIKE: And can you out raise the demand of --      19   pretty transparent, pretty bulletproof.
 20   like --                                                   20           MIKE: And are most of the people in the
 21           MR. JONGEWARD: Yeah, so what we did in            21   fund, are they mostly, like, members of the church
 22   December is we sent out an email to the -- to our group   22   or --
 23   and we said, hey, we are seeing such a large request      23           MR. JONGEWARD: You know, it's interesting.
 24   for contracts from plaintiffs that we're -- we imagine    24   My wife and I were just talking about that, how we kind
 25   that we're going to run out of capital if we -- if we     25   of feel like we're building a church financially.


                                                 Page 43                                                         Page 45
  1   don't raise some additional capital.                       1           MIKE: Yeah. (Inaudible.)
  2          So what Jeff ended up doing was he paused 7         2           MR. JONGEWARD: Not that big but, yeah. But
  3   of the 66 firms that he works with through Matt, paused    3   just for individuals that are able to kind of capture
  4   7 of those, and then we, you know, we raised some          4   some of their time and maybe retire a little bit
  5   additional capital. And so I -- it took me about, I        5   earlier and keep the cashflow coming where -- I mean,
  6   don't know, six or eight months to raise $15 million.      6   my wife and I we'd love to serve a mission in the next
  7          MIKE: Okay.                                         7   five years if it works out like that.
  8          MR. JONGEWARD: I raised -- I raised 12              8           This has become -- raising capital takes
  9   million in, like, six weeks, just this last six weeks      9   about three days a week. The other two days a week are
 10   from (inaudible) quickly.                                 10   really more administrative. Tuesday is the day I'm
 11          MIKE: Previous investors mostly?                   11   receiving all my new contract names for replacements
 12          MR. JONGEWARD: Some previous and some new.         12   and sending out emails, and all the DocuSigns, and all
 13   Continued sharing of the investment with friends, and     13   of that as well. So Tuesdays are usually a little bit
 14   family, and things like that. So, yeah, it's -- it's      14   busier for me.
 15   kind of -- it's a ripple.                                 15           But if I'm not raising then, you know, it
 16          MIKE: Okay. Yeah, that's -- okay. And              16   really is a two day a week (inaudible). But -- two or
 17   what -- and I am so sorry I didn't write down the name    17   three days a week. I know I get my contracts -- I get
 18   of the attorney. And he's the --                          18   my contract assignments on Saturday afternoon because
 19          MR. JONGEWARD: Yeah, Beasley, Matt Beasley.        19   all of those contract requests come in on Friday. So
 20          MIKE: Matt Beasley. And he -- is the one           20   Shane will let me know, hey, I've got, you know, six
 21   reviewing all your contracts?                             21   80s and five 100s for you this week. Who is going to
 22          MR. JONGEWARD: Yes. Matt Beasley is the one        22   take them?
 23   that takes care of all the purchase agreements. That's    23           So then I reach out to my investors, my
 24   between Jeff and the participating attorney and the       24   people on my waiting list and say, hey, I've got an 80
 25   plaintiff.                                                25   for you. Are you -- are you still interested, are you



                                                                                   12 (Pages 42 to 45)
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  1   prepared and ready, and they'll give me the thumbs up      1   got to become close over that period of time.
  2   and then I'll be able to put them on there.                2          MIKE: That's awesome.
  3          So we try to -- we try to -- I gave that            3          MR. JONGEWARD: Yeah.
  4   information back to them on Saturday, and then Shane       4          MIKE: I have a 1:00. I got to go hop in my
  5   and Matt and Jeff work through that, and then they send    5   car.
  6   me the new contract names for those replacements.          6          MR. JONGEWARD: Sure, sure.
  7          MIKE: And do I, like -- as a high net worth         7          MIKE: But can I give you my email and can
  8   individual what do you need to see? Like, how do you       8   you --
  9   qualify your investors?                                    9          MR. JONGEWARD: Yeah, I'm going to send you
 10          MR. JONGEWARD: Yeah. So there's an                 10   over two items.
 11   accredited investor questionnaire at the end of that      11          MIKE: Yeah. Can we keep in contact?
 12   PPM.                                                      12          MR. JONGEWARD: One is -- yeah, the battery
 13          MIKE: Uh-huh.                                      13   and then I'll -- go ahead, I'm ready for you.
 14          MR. JONGEWARD: It's just, you know, if you         14          MIKE: It's mike.lund, l-u-n-d 985@gmail.
 15   make $200,000 or more. The SEC requires Jeff Judd to      15   That's my private one so --
 16   ask that question through his documentation, but --       16          MR. JONGEWARD: So mike --
 17          MIKE: Yeah.                                        17   mike.lund985@gmail.com.
 18          MR. JONGEWARD: -- he's not required to             18          MIKE: Yeah. And --
 19   verify it actually, which is -- seems kind of strange,    19          MR. JONGEWARD: Okay.
 20   but the SEC just really wants to make sure that the       20          MIKE: -- do I -- is there an NDA or could I
 21   general public is aware that this is a high risk          21   talk to my friends about this process?
 22   investment, and that you do have the potential to lose
                                                                22          MR. JONGEWARD: Yeah, I think -- I think it's
 23   your capital, and they just don't want to see anybody
                                                                23   really about personal information. We don't want
 24   out on the streets and homeless, you know, or have an
                                                                24   anybody taking our documents and trying to create
 25   issue. So they --
                                                                25   another company for competition.


                                                Page 47                                                         Page 49
  1          MIKE: Are Jeff and Shane members of the             1          MIKE: Yeah.
  2   church?                                                    2          MR. JONGEWARD: So I don't know that anybody
  3          MR. JONGEWARD: Let's see. Jeff and Shane            3   is interested in doing that. It's a ton of work to get
  4   are, Matt is not.                                          4   something like this off the ground and it takes quite a
  5          MIKE: Okay.                                         5   bit of capital.
  6          MR. JONGEWARD: And actually -- I actually           6          MIKE: Yeah, that's true.
  7   don't mind that. I don't mind a little diversity.          7          MR. JONGEWARD: But, yeah, you're welcome to,
  8          MIKE: Yeah, that's not bad. Like, you never         8   to share it with some of your friends. I'm going to be
  9   want an echo chamber but, like, it's kind of good to       9   flying back up to Spokane on Thursday. I've got a
 10   know that -- like, kind of knowing morals of the people   10   number of investor appointments with this new Eco
 11   involved and --                                           11   Battery opportunity.
 12          MR. JONGEWARD: Yeah, yeah.                         12          MIKE: Okay.
 13          MIKE: -- how they're going to treat your           13          MR. JONGEWARD: I -- because it's such a cash
 14   money.                                                    14   hungry investment right away, up front, I told Shane
 15          MR. JONGEWARD: Yeah, I hadn't met Jeff             15   that I would know if we're able to reach that $5
 16   before. My wife had met Jeff's wife and kids when she     16   million mark by Sunday. So if you are interested in
 17   went over to see Shane's wife one time because they       17   the Eco Battery I'm happy to speak with you more about
 18   were -- you know, Jeff and Shane had been neighbors I     18   that once you've had a moment to review that deck as
 19   think in two or three different subdivisions so --        19   well.
 20          MIKE: That's awesome.                              20          MIKE: Yeah. And where are they located?
 21          MR. JONGEWARD: When my wife went over to see       21          MR. JONGEWARD: They're here in St. George.
 22   Shane's wife and, you know, our kids kind of played       22          MIKE: Oh, okay. Yeah, let me --
 23   together, then she got to meet actually Jennifer, but I   23          MR. JONGEWARD: I'm doing a -- I'm going to
 24   had never met Jeff before. So -- but, yeah, they've       24   meet Casey Shirts tomorrow for the first time and walk
 25   been in (inaudible) some stuff together and got to be,    25   through his facility.



                                                                                  13 (Pages 46 to 49)
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  1          MIKE: Okay. Can we -- if today is Tuesday            1        MIKE: Mike.
  2   can we speak Thursday, and I will --                        2        MR. JONGEWARD: Mike. Mike Lund I'm going to
  3          MR. JONGEWARD: I'm flying up Thursday --             3   assume?
  4          MIKE: Okay.                                          4        MIKE: Yeah.
  5          MR. JONGEWARD: -- back up to Spokane. So I           5        MR. JONGEWARD: Okay. All right. Hey, it's
  6   think I've got a 2:00 -- let's see. I think I'm flying      6   been my pleasure to speak with you, Mike, and I'll look
  7   out of Vegas actually at 2:00 or 3:00, so I'll be on        7   forward to speaking with you at 10:00 on Thursday.
  8   the road in the morning. But, yeah, we can, we can          8        MIKE: Thank you so much.
  9   definitely connect --                                       9        MR. JONGEWARD: All right, take care.
 10          MIKE: All that you have to have --                  10        MIKE: Bye.
 11          MR. JONGEWARD: -- on Thursday at 10:00.             11        (End of audio file.)
 12          MIKE: -- (inaudible) and I'll commit to             12                 *****
 13   going through the contracts before then so that if I       13
 14   have more questions.                                       14
 15          MR. JONGEWARD: Yeah. I'll fire those off            15
 16   now just so I don't get -- don't, you know, get -- put     16
 17   that on the back burner here. But I'll fire two emails     17
 18   off to you with both decks, or actually with one deck      18
 19   and then one investor packet --                            19
 20          MIKE: Okay.                                         20
 21          MR. JONGEWARD: -- for -- for the J&J legal          21
 22   investment. And then we'd love to have you participate     22
 23   in one or both or whatever you feel comfortable with.      23
 24   But, yeah, it's pretty exciting.                           24
 25          MIKE: Yeah, I'm very excited to look at             25


                                                 Page 51                                                             Page 53
  1    these docs.                                                1            TRANSCRIBER'S CERTIFICATE
  2            MR. JONGEWARD: Yeah.                               2
  3            MIKE: Hey, sometimes the hand of providence        3   I, Cheryl Shifflett, hereby certify that the foregoing
  4    on investments like these, these can turn into --          4   transcript is a complete, true and accurate
  5            MR. JONGEWARD: Well, we --                         5   transcription of all matters contained on the recorded
  6            MIKE: -- capital quick.                            6   proceedings in the matter of project name:
  7            MR. JONGEWARD: -- we feel like the Eco             7   2022.01.25 Jason Jongeward call (Utah).
  8    Battery is maybe even a better investment than the         8
  9    legal, the legal investment is because it has the          9
 10    potential give a 4 or 8X in a 12-month period. So --      10
 11    so that -- we would be waiting an exit in five years,     11
 12    but they're only looking for a short-term line of         12
 13    credit. So if you -- if you give your capital in a        13
 14    short-term line of credit for 12 months you get back it   14            ______________________________________
 15    with 8 percent and then you're in -- you know, you're,    15            Transcriber
 16    you're going to be able to participate in their exit,     16
 17    which is pretty exciting.                                 17
 18            MIKE: That -- yeah, I'm excited to look at        18
 19    these decks. I --                                         19
 20            MR. JONGEWARD: Yeah.                              20
 21            MIKE: -- I kind of just thought this was a        21
 22    Hail Mary, but I'm seriously interested. I'll give you    22
 23    a call Thursday at 10:00.                                 23
 24            MR. JONGEWARD: Yeah, sounds real good.            24
 25    Appreciate it. And what was your -- was it Mike?          25



                                                                                     14 (Pages 50 to 53)
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       UNITED STATES SECURITIES AND EXCHANGE COMMISSION


       In the Matter of:                      )
                                              )   File No. SL-02855-A
       J&J CONSULTING                         )


       SUBJECT:     2022_01_26 WB2 and Jongeward
       PAGES:       1 through 28




                              AUDIO TRANSCRIPTION




                  Diversified Reporting Services, Inc.
                                (202) 467-9200
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  1               PROCEEDINGS                                    1   that have ever sold a contract in the two years I've
  2   2022_01_26 WB2 and Jongeward                               2   been doing this. But I do get a few contracts that
  3          MIKE: Hey, how are you?                             3   people from other groups, whether that be Shane's, or
  4          MR. JONGEWARD: Hey, doing just fine. How            4   Roland, or whoever that those come through, probably
  5   are you doing?                                             5   Shane's group that are looking to sell contracts here
  6          MIKE: I'm doing all right. Thank you for            6   and there. So --
  7   taking my call again today.                                7          MIKE: Okay. And as investors do we get
  8          MR. JONGEWARD: Oh, no, that's okay. I am            8   copies of the contracts we invest it?
  9   happy to answer some questions. I know sometimes it's      9          MR. JONGEWARD: Yeah. So the way that we do
 10   a lot to digest.                                          10   it now, you used to get what was called a buyer's
 11          MIKE: Yeah.                                        11   agreement and each buyer's agreement represented each
 12          MR. JONGEWARD: And pretty exciting.                12   contract. So it would if you had -- if you had a
 13          MIKE: It is exciting for sure. I'm -- I            13   40,000 portion of an 80K contract then you would get a
 14   can't believe the opportunity. Could I -- could I ask     14   contract -- a buyer's agreement that would state the
 15   you a couple of just quick follow ups?                    15   name of the contract, your -- your portion of the
 16          MR. JONGEWARD: Yeah, of course. Uh-huh.            16   interest of that 80K contract, when it started, when it
 17          MIKE: How many -- I know you said yesterday        17   will complete, the payouts for it. That was called a
 18   that you manage around 150 investors. How many            18   buyer's agreement.
 19   investors total are there?                                19          The end of this year they changed that. They
 20          MR. JONGEWARD: Let's see. We got an email          20   went to a traditional subscription agreement, and in
 21   out for an Echo Battery, I think we had about 186.        21   that subscription agreement, I don't know if you've had
 22          MIKE: Oh, and that's your, your -- I mean,         22   the time since yesterday to review that just yet.
 23   on the whole fund?                                        23          MIKE: I've perused it, yeah.
 24          MR. JONGEWARD: There's over a thousand, we         24          MR. JONGEWARD: Okay. But what -- the way
 25   have over a thousand I think in our group at this         25   that they're doing it now is they have a subscription


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  1   point.                                                     1   agreement. They have the 14-page confidentiality
  2           MIKE: Oh, okay. Wow.                               2   subscription agreement, and I'm -- for people that are
  3           MR. JONGEWARD: Yeah. Uh-huh.                       3   filling those out right now I'm having them just put
  4           MIKE: And has -- have people who, like, put        4   zero on page 2, paragraph 1, or underneath subscription
  5   in, I think you said it's like five or six years that      5   number one, paragraph 8, it talks about how much that
  6   people have been putting in capital. Is that capital       6   you have in total, current invested amount.
  7   from the beginning mostly still there because of the       7            And so we usually just have our new investors
  8   rate of the return or what is that like?                   8   put zero there, and then the way that we're moving
  9           MR. JONGEWARD: Yeah. I mean, I think so. I         9   forward with adding or removing capital is we -- we
 10   think we -- so we get a lot of buy outs as well.          10   adjust the subscription agreement addendum. So you
 11   There's a lot of people moving money in and out. As       11   have your base subscription agreement and then we use
 12   some people have things that they want to accomplish,     12   the addendums to capture any new or reduced capital
 13   whether it be buy a house, or a piece of property, or     13   that way.
 14   something like that for their business we'll see people   14            So every subscription agreement that you
 15   that will keep capital here within the contract           15   receive if you add will have a new -- a different
 16   investment and then they'll exit at the end of the year   16   total, including the amount that you're adding, if that
 17   or just before the end of the year to capture some of     17   makes sense.
 18   that capital.                                             18            MIKE: Okay. So, yeah.
 19           But they like keeping their capital in the        19            MR. JONGEWARD: Yeah, it's kind of -- it's a
 20   investment because it gathers a great rate of return.     20   little bit different that way we didn't have that -- we
 21   So they kind of --                                        21   didn't have that before with a total invested amount on
 22           MIKE: Yeah.                                       22   a legal document. We had it from our spreadsheets, but
 23           MR. JONGEWARD: -- use it like it's a bank         23   we just -- you know, we didn't have it in the
 24   sometimes. Some people are little more active than        24   contracts.
 25   others. I've only had one individual of my 150 people     25   So I prefer this better because the



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  1   subscription agreement essentially says you're             1          MR. JONGEWARD: Yeah. So as I spoke to Shane
  2   receiving 12-1/2 percent across the board on whatever      2   about that about a month ago, he said that we're
  3   your overall total amount is. It doesn't get into how      3   participating with over 66 law firms across the United
  4   many contracts that you have and, you know, if you have    4   States, give or take, depending on some -- you know,
  5   a split contract or anything that way. So it just          5   they add -- they add some as they need to. As our
  6   operates off of just your total invested amount and it     6   capital grows and we get more and more capital, I'm
  7   keeps things, you know, simple.                            7   currently about 10 -- as I just looked at it this
  8          MIKE: Okay. So it -- so basically ---               8   morning, just between 10 and 10.5 on my list. I
  9          MR. JONGEWARD: You do have a subscription           9   actually just received a couple buyouts this morning.
 10   agreement for the total invested amount.                  10   I'm in the process of placing those.
 11          MIKE: Okay. And -- but do we get copies of         11          So we're somewhere in the neighborhood of
 12   the contracts that we are funding at that time?           12   about 10 million. So, you know, it just depends on how
 13          MR. JONGEWARD: No. So those are called             13   long it takes to place those, and if we get a lot of
 14   purchase agreements and in the PPM they -- they show      14   capital then sometimes we'll reach out and we'll --
 15   you what the purchase agreement is and how it's built.    15   we'll entertain bringing another firm or two or three
 16   But because it has personal information of the            16   on.
 17   plaintiffs and the attorney, we do not share those.       17          MIKE: Okay.
 18          MIKE: Okay.                                        18          MR. JONGEWARD: That's all handled by Jeff
 19          MR. JONGEWARD: We used to share those at the       19   and Matt Beasley, the attorney.
 20   very beginning, Mike, but they had a problem with some    20          MIKE: Okay. But you feel you have enough
 21   of that information getting out, and so they just shut    21   law firms for the amount of capital you guys have
 22   that down and stopped doing that.                         22   currently?
 23          MIKE: Oh, okay.                                    23          MR. JONGEWARD: Well, so what happened in
 24          MR. JONGEWARD: Yeah.                               24   November is we placed -- I was placing quite a bit of
 25          MIKE: And how many total contracts have you        25   capital just for my group because the contract volumes


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  1   guys done?                                                 1   were increasing substantially over September, October,
  2          MR. JONGEWARD: The group has done over              2   and November. And so we sent an email out to the group
  3   20,000 contracts now. I asked Shane a couple weeks ago     3   the beginning of December saying, hey, we're -- we're
  4   if he had kind of an idea what our overall current         4   looking for some additional capital because our
  5   total contract amount was and he thought we were           5   contract volume is increasing.
  6   over -- over 400 million, over 20,000 contracts, and       6           I think as we were finishing up November that
  7   over 1,000 investors currently.                            7   we -- we had about 65 extra contracts per week that
  8          MIKE: Okay.                                         8   would all be attributed to new capital on the waiting
  9          MR. JONGEWARD: And so that will change to           9   list. And so I would -- you know, I'd be able to place
 10   week to week. That's -- that's an old number. I don't     10   1-1/2 million to 2 million each week and, you know, the
 11   have the specific. That might be a challenge to           11   other individuals were able to.
 12   capture all that information and it would only be good    12   But Jeff was having to contribute, you know,
 13   for a week.                                               13   some of his personal capital, about 2 million per week.
 14          MIKE: Okay. That makes sense.                      14   So I think he got tired of that, and he paused seven of
 15          MR. JONGEWARD: But he was just kind of             15   the attorney firms to try to slow the contracts, slow
 16   triangulating, and I think that Shane, he's -- he's one   16   down.
 17   of four individuals as I understand it that Jeff          17           So, yeah, I don't think contract volume is a
 18   reached out to, and Shane is probably one of the -- he    18   problem. If anything I think it's making sure we have
 19   raises the most of those four, I would think. He and      19   enough capital to handle the contracts.
 20   Roland and I are all probably responsible for over 200    20           MIKE: Okay. Yeah. One thing, when I was
 21   of the 400 that are in there.                             21   looking at just the first 14-page disclosure I saw
 22          MIKE: That's incredible.                           22   just, like, how it mentioned this is not an SEC
 23          MR. JONGEWARD: So --                               23   registered investment --
 24          MIKE: And how many law firms do you guys           24           MR. JONGEWARD: Right.
 25   work with?                                                25           MIKE: -- and due to its high risk. Can you



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  1   kind of walk me through the risk? I felt like we spoke     1   money grab through some new tax I imagine that will
  2   about that briefly yesterday --                            2   happen soon. Each year we see new things coming and
  3          MR. JONGEWARD: Yeah.                                3   hear about increased short term capital gain percentage
  4          MIKE: -- but, like, step me through the risk        4   and things of that nature.
  5   process here.                                              5           We -- you know, possibly we might have a
  6          MR. JONGEWARD: Well, as I spoke to Shane, he        6   reduced percentage of return due to some additional
  7   mentioned that I believe Jeff is in the process of         7   taxation that's incurred, but we just -- if -- if an
  8   trying to be registered with the SEC himself               8   insurance company or an attorney firm were to not
  9   personally. I don't -- I'll have to identify exactly       9   fulfill their responsibility then that really is kind
 10   what that means.                                          10   of the end of their business there. It doesn't really
 11   A lot of the reason why we have the new                   11   make sense for them to do that.
 12   Documents is because Jeff was doing a business review     12           MIKE: And, like, if there's, like, a late
 13   towards the end of this last year and hired two           13   payment what would that look like?
 14   attorneys out of Texas that used to work for the SEC.     14           MR. JONGEWARD: Yeah. So if there's a late
 15   So you'll -- as you read down through the PPM, you'll     15   payment previously in the buyer's agreement, they would
 16   notice a lot of the verbiage in there and they do --      16   make sure that the investor was receiving an additional
 17   they do discuss and cite some of the SEC regulations      17   interest amount for that capital. And in the -- in the
 18   and rules there specifically to make sure that we're      18   subscription agreement now I will need to read through
 19   not in violation of any of those.                         19   that again and verify if they're -- if they're
 20          So as I understand it as I spoke to Shane, he      20   warrantying or -- not warrantying is not the right
 21   said that, you know, he was licensing himself with the    21   word, but if they're -- if they're promising, you know,
 22   SEC. I think some of those documents as they were put     22   a late fee payment. I'll have to look at that and see.
 23   together it states that they're not, but they're in the   23           I know previously in the buyer's agreement it
 24   process of doing that and I expect that to be done this   24   had that they would -- they would pay an additional,
 25   year.                                                     25   you know, $3,000 per -- if it ran over the 90 day


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  1          MIKE: Okay.                                         1   period, which essentially would give you, you know, the
  2          MR. JONGEWARD: So we'll see where that goes.        2   same amount of interest as if your capital were in a
  3   But as of right now we're making sure everyone is aware    3   new contract so that the investor doesn't lose any
  4   that we don't give any financial advice. We're not         4   steam.
  5   trying to be a financial consultant or advisor, simply,    5          MIKE: Okay. So that's more between the fund
  6   simply raising private, private capital and, you know,     6   and the insurance and the attorneys? So, like --
  7   having a business.                                         7          MR. JONGEWARD: Yeah, we just -- yeah,
  8          So that's kind of where that's at with the          8   exactly.
  9   SEC as I understand it. If that changes, I'm sure I'll     9          MIKE: Okay.
 10   get an email from the group and let us know kind of       10          MR. JONGEWARD: We don't -- we don't see that
 11   what's, what's happening. It takes a little time to do    11   happening. We had that happen early on with Medicare
 12   that I understand so --                                   12   and Medicaid and they stopped entertaining those types
 13          As far as the risk, Mike, we just -- we just       13   of claims. So since they've stopped with Medicare and
 14   don't see any, any insurance company or attorney firm     14   Medicaid, they haven't had any -- any close slow. I
 15   going back on their contract. It doesn't make any         15   think that was all identified and adjusted in that
 16   sense for them to do that.                                16   first year.
 17          We really -- really struggled to see the           17   So in years two, three, four, five, and coming
 18   risk. I think that's probably why the performance has     18   into six now they haven't had any, any late payments.
 19   been, I'll call it immaculate. It's a -- we haven't       19   As a matter of fact if anything we would see earlies.
 20   had any, any contract default, not one. So for me it's    20   An early payment would be if an investor has a contract
 21   really about, you know, the performance. You know,        21   that's due to close next week, but it comes early. And
 22   history on an investment is really the true indicator     22   I'll have one to two or three earlies each week.
 23   of what it's doing.                                       23          MIKE: Just where it processes through the
 24          So if -- if bureaucrats were to get involved       24   insurance quicker and --
 25   with additional taxation or, you know, some type of a     25          MR. JONGEWARD: Yeah, that's right. Each



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  1   insurance company will -- may be on a different -- I       1   uh-huh. You know, Mike, I -- so we -- we didn't -- we
  2   don't know exactly the variables that attribute to that    2   did split contracts and then we stopped because we had
  3   early payment. As I understand it from Shane, I think      3   so much capital. We were really just trying to reduce
  4   they have a grace period in there of 75 to 80 days. So     4   the amount of back-office work for us. Because if you
  5   we added ten days to that and made it into a 90-day        5   do a split, it's twice the work for one contract. So
  6   period. So I think that it's just slightly shorter         6   we didn't do splits then.
  7   than 90 days, but we wanted to give ourselves -- Jeff      7            As of December looking for some additional
  8   wanted to give himself and the rest of the group just a    8   capital, we opened it up to half contracts of 40 and
  9   little bit of leeway. We didn't want to, you know,         9   50. So that's how we're doing some of the newer
 10   screw ourselves down to the table so to speak --          10   contracts here. But with buyouts and things I see -- I
 11           MIKE: Yeah.                                       11   see all types of sizes of these contracts.
 12           MR. JONGEWARD: -- and just be, you know,          12            So if you wanted to do -- if you wanted to
 13   under, under pressure there if we didn't need to be.      13   just wait for new contracts to come then you would be
 14           MIKE: And all of your principal investors,        14   on the bottom side of about 10 million, just over --
 15   are they -- like Shane and Jeff, are they pretty          15            MIKE: Okay.
 16   heavily invested in their own fund?                       16            MR. JONGEWARD: -- on the waiting list. I
 17           MR. JONGEWARD: Yeah. I don't know how much        17   have one individual that I just saw 470,000 worth of
 18   Jeff has in the investment himself. I know for three      18   buyouts across four entities, and they all have
 19   or four weeks he was putting $2 million a week in just
                                                                19   different amounts there as well. So it's a little bit
 20   in those three weeks, and I don't know if he's, you
                                                                20    -- it's a little bit more -- a little more detail
                                                                21   involved in some of the buyouts when you're capturing a
 21   know, sold those out to other investors in his group.
                                                                22   20 from -- of an 80 from one person and another, you
 22   I'm not sure how he's done that.
                                                                23   know, a 60 of 100 from another person. It's not quite
 23           But Shane is about -- I think he's $3-1/2 in,
                                                                24   as clean if you're just doing straight 100s.
 24   and he has a number of other investors that he operates
                                                                25            But I may have shared this with you before,
 25   or investments that he operates in. He -- he and I


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  1   kind of work together on a lot of these other smaller      1   in regard to the contracts I see more than twice as
  2   IPOs, people that he knows and I kind of try to support    2   many 80s as I do 100s.
  3   him and some of those individuals that way as well.        3           MIKE: Okay.
  4   But he's -- we're doing an Echo Battery                    4           MR. JONGEWARD: So if -- if an individual was
  5   investment. I'm actually doing a walkthrough over at       5   trying to do 400 then it's really easy for me to do 5
  6   their facility here in St. George, in my backyard          6   80s and I can, you know, not leave any of their capital
  7   actually today, and looking to raise about $30 million     7   on the table so to speak. So --
  8   for it as we see a young company that has huge promise     8           MIKE: So 1.2 would go right into that.
  9   and a ton of -- a ton of purchase orders for this year     9           MR. JONGEWARD: Yeah, yeah. I mean, we
 10   and they're struggling to get capital to fill those.      10   could -- we could -- you could do all 80s even, right.
 11   So we're able to capture a little equity stake in that    11   Sometimes -- I had $1 million worth of buyouts three
 12   company.                                                  12   weeks ago, so we could have, you know, placed a good
 13           MIKE: Yeah, you were telling me about that        13   portion of that all in one week as well. So just --
 14   yesterday. That -- and I --                               14   just kind of depends what our contract flow is for new
 15           MR. JONGEWARD: Oh, that's right, yeah.            15   contracts and then combined with or buyouts.
 16           MIKE: -- I briefly looked at it and it looks      16           MIKE: And what kind of reporting do you do
 17   interesting. For me I kind of told you my situation       17   or is it just, like, contracts are so short that there
 18   and -- where I'm looking to place around 1.2.             18   really isn't much?
 19           MR. JONGEWARD: Right.                             19           MR. JONGEWARD: As far as reporting, we all
 20           MIKE: So if I was to place that with you          20   keep a very straightforward spreadsheet. We're just in
 21   guys how many --                                          21   the process of finishing up our 1099s here today and be
 22           MR. JONGEWARD: We (inaudible).                    22   sending that out. So we send all of our investors a
 23           MIKE: The passive income is very attractive       23   1099.
 24   in this.                                                  24   And then, you know, you've seen the document
 25           MR. JONGEWARD: Yeah. Oh, absolutely, yeah,        25   package. So between the document package and if you --



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  1   if you were looking for a copy of my spreadsheet for       1   to put a group of individuals together where all of us
  2   your, your portion of our spreadsheet then I'm happy to    2   are able to participate and share in some of that
  3   send that over to you and, you know, email you an          3   equity. I can't --
  4   updated copy that way. Just -- I -- I track every          4           MIKE: Yeah, you said that yesterday.
  5   contract for every individual since I've been involved     5           MR. JONGEWARD: Yeah.
  6   26 months ago.                                             6           MIKE: Yeah, the 2 percent for 5 and, like,
  7          MIKE: Okay.                                         7   that -- that sounds interesting with the exit they
  8          MR. JONGEWARD: And so it's very easy for me         8   have, and I could -- I wanted to call around on that --
  9   to go back through. But some people -- most people         9           MR. JONGEWARD: Yeah.
 10   will keep track of their own, own spreadsheets, but I     10           MIKE: -- to kind of hear about that. But
 11   do have a handful that, hey, can you send me an updated   11   with the passive income that's such a game changer --
 12   spreadsheet. I need to, you know, see where I'm at.       12           MR. JONGEWARD: Yeah.
 13          MIKE: Okay. And with -- do you see a lot of        13           MIKE: -- that I -- I wanted to understand
 14   your -- well, I kind of asked this a little earlier       14   what risks there are and --
 15   but, like, your original investors, are they still,       15           MR. JONGEWARD: Yeah, (inaudible) performance
 16   like -- I'm assuming if you got 400 million that          16   helps you, helps you really see the risk there, which
 17   quickly --                                                17   there's always the risk of losing capital. We just
 18          MR. JONGEWARD: Yes.                                18   don't see the risk of -- unless an insurance company
 19          MIKE: -- you've had a lot of the same happy        19   goes out of business for whatever reason or an attorney
 20   customers.                                                20   company -- an attorney firm goes out of business we
 21          MR. JONGEWARD: Yeah, yeah. And I can really        21   just -- we just don't see that, that happening.
 22   only speak for my group. Like I say I've got about 150    22           Even, you know, going out of business still
 23   that are invested. I have another 30 that are on the      23   they'd need to fulfill their promises. I mean, they're
 24   waiting list ready to get in. So we're around 180 of      24   not -- if you look at in the -- in the PTM if you look
 25   invested and ready to invest investors, and I've only     25   at that purchase agreement that's between Jeff Judd and


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  1   had one individual that sold a contract one time.          1   the client and his attorney. It's -- it's a half page
  2           MIKE: Okay. Yeah, that sounds -- this all          2   of who we are and then the other 13 pages are what --
  3   sounds great. I am -- I'm going to do more perusing        3   how we're going to make sure we receive our capital
  4   through the documents over the next couple of days --      4   essentially.
  5           MR. JONGEWARD: Yeah.                               5          MIKE: Yeah.
  6           MIKE: -- but I am enjoying what I'm hearing        6          MR. JONGEWARD: So it's -- it's basically a
  7   here, and in the future, I'd like to hear more about       7   lien on a future settlement. So there's really no
  8   this battery. But if I have any other questions --         8   place for the attorney, a firm to go if they did want
  9           MR. JONGEWARD: Yeah.                               9   to try to default on that. It just doesn't make any
 10           MIKE: -- did you say you were taking off to       10   sense financially for them.
 11   Spokane?                                                  11          MIKE: Yeah. Like, I look at this and I --
 12           MR. JONGEWARD: I am. I'm flying -- I'll be        12   like, have you had investors who have, like, taken out,
 13   driving tomorrow. I'll be leaving here at 11:00           13   like, second mortgages or HELOCs because this return --
 14   Mountain Time in Utah, headed down to Vegas to catch a    14          MR. JONGEWARD: Oh, yeah. No, no. I -- I
 15   flight.                                                   15   took a HELOC myself personally. It's easy to pay 5
 16           MIKE: Okay.                                       16   percent on a HELOC and still gain 45 percent.
 17           MR. JONGEWARD: And then I'll be up in             17          MIKE: Yeah. And do you see other investors
 18   Spokane with some individuals interested in the battery   18   doing that?
 19   investment Friday. I'll fly up tomorrow, so Friday,       19          MR. JONGEWARD: Yeah. I mean, I don't -- I
 20   Saturday, and then I'll be back on Sunday.                20   don't encourage anybody to go deeper into debt unless
 21           And for the battery I'm trying to capture as      21   it makes sense for them, but for me trying to identify
 22   many individuals that have interest or more than          22   how to capture my equity without selling a home, and
 23   interest, you know, that are wanting to participate by    23   paying taxes, and, you know, uprooting my family, the
 24   Sunday. So because that's kind of a $5 million minimum    24   HELOC was a, was a really easy decision for me.
 25   type of access for that one then, you know, I'm trying    25          I've got some business lines of credit that I



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  1   pay, you know, 5, 6 percent on. Those are really easy.     1   fallen into that and made the adjustment. So let's
  2   A lot of people that are dissatisfied with the stock       2   see. Who did you -- do you have a friend named Ty, is
  3   market having -- losing money in some places, they've      3   that right, who knew Jeremy Magee (phonetic)?
  4   pulled their money right out of the stock market and       4          MIKE: Yeah.
  5   pushed it into the contract investment.                    5          MR. JONGEWARD: Why don't we do this, why
  6            So I think people as they hear about it and       6   don't we -- if you want to reach out to Ty and then
  7   start calculating, like, hey, I need to be a little        7   maybe you could connect with Jeremy Magee. He's
  8   smarter with what I'm doing. Just because I have money     8   probably one of the best to speak of it. He's -- he's
  9   in the stock market doesn't mean I'm doing well.           9   one of my very good friends. I shared this with him,
 10   They'll pull their money out of the stock market.         10   and he has shared it with quite a few people. He does
 11            So -- and some people like to stay               11   a lot of different investments. He stays very
 12   diversified.                                              12   diversified. He's a very sound business individual.
 13            MIKE: (Inaudible.)                               13          MIKE: Okay.
 14            MR. JONGEWARD: It is. It's -- this is a          14          MR. JONGEWARD: I would think that would
 15   very, very unique time. I'm 50, so I'm fairly young.      15   probably be the easiest way to talk with someone who's
 16   I've seen, you know, kind of -- I heard about the 80s a   16   been in there, and it would be still a non-biased
 17   little bit, but definitely was here in 2006, '07, and     17   opinion, but it would be through someone that you know,
 18   '08 and what that meant for us. So we -- we've seen       18   which I think maybe has even more validation.
 19   the top of two cycles just in, you know, our later        19          MIKE: I think you could be right on that.
 20   years here.                                               20   So -- okay. I'm going to -- all -- I'm going to go
 21            MIKE: Yeah.                                      21   through the paperwork over the weekend --
 22            MR. JONGEWARD: And so we're -- we're -- we
                                                                22          MR. JONGEWARD: Yeah.
 23   know that the economy will have to adjust because
                                                                23          MIKE: -- and really make sure I understand
 24   inflation is so high that, you know, pretty soon people
                                                                24   everything, and then maybe Monday if I have any other
 25   won't be able to survive. So we'll see that correct at
                                                                25   follow up questions I can give you a call, and feel


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  1   some point, but it will be very interesting to see what    1   free to text, email, anything like that.
  2   that means for -- for the stock market and everything      2           MR. JONGEWARD: Oh, yeah, yeah. Yeah,
  3   else that's, that's relative to the interest rate.         3   perfect. What is your timeframe, Mike, on your 1031
  4           This is the only investment I know of, and         4   exchange?
  5   not that I know a lot of them, but I -- we see that        5           MIKE: Three weeks before I have to identify
  6   this investment actually gets stronger when the            6   and --
  7   economy -- the economy starts to correct and recede a      7           MR. JONGEWARD: Okay.
  8   little bit.                                                8           MIKE: -- then I just get penalized, and
  9           MIKE: That all sounds great. And then if I         9   that's about 1.2 after penalty.
 10   wanted to or with my wife could we speak to any other,    10           MR. JONGEWARD: Will -- will they be able to
 11   like, people who have been in the fund? Do you guys do    11   allow you to 1031 into, into an investment like this do
 12   that? How does that normally work or, like --             12   you know?
 13           MR. JONGEWARD: Yeah.                              13           MIKE: It would be a heavy penalty, but --
 14           MIKE: -- even Shane?                              14           MR. JONGEWARD: I see, right.
 15           MR. JONGEWARD: Yeah. So, you know, we used        15           MIKE: -- (inaudible). Yeah.
 16   to do phone calls as I was kind of in training a couple   16           MR. JONGEWARD: Yes, so I see. I understand.
 17   years ago with Shane, but he does -- he doesn't do that   17           MIKE: Yeah. So I'll keep you in the loop on
 18   anymore. And I had an opportunity to meet Jeff two        18   that and -- but, yeah, this -- this has definitely got
 19   years ago and I think that might have been just because   19   my interest piqued and --
 20   of the relationship I had with Shane. He was -- he was    20           MR. JONGEWARD: Yeah, the penalties --
 21   nice enough to put that, you know, 45-minute lunch        21           MIKE: -- Jason thank you so much.
 22   together with us and we got to meet him and ask him a     22           MR. JONGEWARD: Oh, yeah. The penalty is a
 23   few questions.                                            23   little easier to swallow when you see the return,
 24           But, you know, I really have no intention of      24   right, when you can make your investment back in two
 25   making this a career for myself. We've just kind of       25   years.



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  1          MIKE: Yeah.                                         1            TRANSCRIBER'S CERTIFICATE
  2          MR. JONGEWARD: That's a pretty easy equation        2
  3   to identify and make a decision with so --                 3   I, Cheryl Shifflett, hereby certify that the foregoing
  4          MIKE: Well, and it's an oversaturated market        4   transcript is a complete, true and accurate
  5   right now, so I don't know if I want to, like -- I         5   transcription of all matters contained on the recorded
  6   mean, kind of from what you're telling me 50 percent,      6   proceedings in the matter of project name:
  7   like, I feel like this is just kind of fallen in my lap    7   2022_01_26 WB2 and Jongeward.
  8   at the right time.                                         8
  9          MR. JONGEWARD: Yeah.                                9
 10          MIKE: And it's worth the penalty.                  10
 11          MR. JONGEWARD: A lot of people -- yeah, it's       11
 12   changed all of our lives, it really has. So for           12
 13   individuals like Shane, I was just texting Shane and      13
 14   Jeff last night on a couple of our subscription           14            ______________________________________
 15   agreements and I don't really get an opportunity to       15            Transcriber
 16   text Jeff very often. We really try to stay in our        16
 17   lane just because I know they're all so busy. It just     17
 18   takes, you know, a handful of people to take up your      18
 19   whole day on things. But the nature of --                 19
 20          MIKE: So you're silo-ing it?                       20
 21          MR. JONGEWARD: Yeah. We really just -- my          21
 22   main contact is Shane, and if I have a question, if       22
 23   Jeff hasn't signed a DocuSign, then I'll just send        23
 24   Shane a quick text and say, hey, I just resent the        24
 25   DocuSigns. I need to get those signed so my people can    25


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  1   get their wires out. Can you -- can you -- would you
  2   nudge Jeff and have him just check his email and see if
  3   he can get those signed for me.
  4          And then I let -- I let Shane handle all that
  5   communication with Jeff. That's not -- I'm just trying
  6   to stay in, stay in my own lane and not take up a bunch
  7   of time that way so --
  8          MIKE: Well, thank you so much. I really
  9   appreciate it and I will -- I'll be in contact with
 10   you.
 11          MR. JONGEWARD: Yeah, sounds great, Mike.
 12   Enjoy your day today.
 13          MIKE: Thanks, you as well.
 14          MR. JONGEWARD: All right, take care.
 15          (End of audio file.)
 16                    *****
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                 Exhibit 18
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                                                                  Page 1
       UNITED STATES SECURITIES AND EXCHANGE COMMISSION


       In the Matter of:              )
                                      )   File No. SL-02855-A
       J&J CONSULTING                 )


       SUBJECT:     2022_02_01 WB 2 and Jongeward
       PAGES:       1 through 19




                              AUDIO TRANSCRIPTION




                  Diversified Reporting Services, Inc.
                                (202) 467-9200
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                                                  Page 2                                                          Page 4
  1                PROCEEDINGS                                  1   a time you could meet if that's possible, and then this
  2   2022_02_01 WB 2 and Jongeward                             2   is kind of out there, but I told you about my friend
  3           MIKE: Hello.                                      3   who's doing this process. We chatted over the weekend
  4           MR. JONGEWARD: Mike, can you hear me?             4   and decided that we were going to head down to the
  5           MIKE: Yeah. How you doing?                        5   Super Bowl.
  6           MR. JONGEWARD: How you doing?                     6          MR. JONGEWARD: Yeah.
  7           MIKE: I'm doing all right. How is the             7          MIKE: And -- yeah. So it should be good.
  8   weather down in St. George?                               8   And we are stopping in Vegas on the second trip, and
  9           MR. JONGEWARD: Well, I was in Spokane for         9   I've kind of told him -- or on the way back to do some
 10   the weekend finishing up some business and it's much     10   shopping. We're chartering a jet. So we were thinking
 11   better than Spokane.                                     11   about coming. Would you be available to meet there or
 12           MIKE: Okay. So you're back now?                  12   anywhere in Vegas, to be able to come and meet us if we
 13           MR. JONGEWARD: Yeah, I'm back now, yes. I        13   were there for a day?
 14   just -- I just got back Sunday night, late. So it's a    14          MR. JONGEWARD: Yeah, absolutely.
 15   little cooler, probably about 45, 50 degrees. It just    15          MIKE: Okay. Yeah, because my friend, I told
 16   got underneath 30 degrees for the low there, so a        16   him about it and I don't know -- am I allowed to -- I
 17   little cooler than what it has been. But it has been,    17   haven't signed NDA, but would I be allowed to show him
 18   you know, beautiful. It's been 60, 65 degrees with       18   just the PPM? I didn't want to share that before doing
 19   sunshine.                                                19   that
 20           MIKE: That's awesome.                            20          MR. JONGEWARD: Yeah. No. Yeah, you know,
 21           MR. JONGEWARD: It's awesome. Let's talk in       21   some people get a little bit hesitant to share the
 22   July or August and see awesome things are.               22   investment. We -- we encourage you to share it with --
 23           MIKE: I went on my mission, my mission to a      23   you know, you're welcome to share the investment. I
 24   pretty hot place.                                        24   think the NDA is really individuals that want to take
 25           MR. JONGEWARD: Oh, did you. Where did you        25   our paperwork and try to create their own business with


                                                  Page 3                                                          Page 5
  1   go?                                                       1   it. I think that's part, part of what that is. You
  2          MIKE: I went to India.                             2   know, the NDA is really or a non-compete is only two
  3          MR. JONGEWARD: Oh, you went to India?              3   years so, you know, we welcome you to share the
  4          MIKE: Yeah.                                        4   investment with others that you anticipate may want to
  5          MR. JONGEWARD: Wow. What language do you           5   participate with us.
  6   speak there?                                              6           MIKE: Yeah. And I can't commit obviously if
  7          MIKE: It was English.                              7   he would want to do that, but when I was telling him
  8          MR. JONGEWARD: Oh.                                 8   about it, how the -- what's his name, Jeff, correct,
  9          MIKE: Yeah, it's -- there's I think 24             9   the main principal --
 10   languages that 80 million speakers each. So, yeah, hot   10           MR. JONGEWARD: Yeah, Jeff Judd.
 11   and humid so --                                          11           MIKE: -- he's like, well -- he's, like,
 12          MR. JONGEWARD: And India -- and India is a        12   well, we could -- we're going to be stopping there just
 13   large, large country, isn't it?                          13   probably -- I'm not sure if we're going to fly into
 14          MIKE: Yeah. So I -- I mean, I've been back        14   North Las Vegas or where we're going to fly into.
 15   for 17 years, so I did all one mission at that time,     15           MR. JONGEWARD: Uh-huh.
 16   now it's split into two, and now there's a temple        16           MIKE: But I don't know if they would ever be
 17   there.                                                   17   up for a meeting for a pretty heavy potential investor
 18          MR. JONGEWARD: Oh, man, that's amazing.           18   who's looking to place capital.
 19          MIKE: Yeah. Well, I actually had a couple         19           MR. JONGEWARD: Yeah. So what I'll do is
 20   of things that I wanted to run past you.                 20   I'll reach out to Shane. I know -- you know, I've met
 21          MR. JONGEWARD: Yes, of course.                    21   Jeff one time --
 22          MIKE: I might be in Ivins in the next week        22           MIKE: Yeah.
 23   or two to look at a home in the Palisades.               23           MR. JONGEWARD: -- back in 2019, and I think
 24          MR. JONGEWARD: Yes, uh-huh.                       24   that Shane was kind of doing that as a favor for me
 25          MIKE: But -- so I was wondering if there was      25   just because we've known each other for so long. And



                                                                                         2 (Pages 2 to 5)
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                                                 Page 6                                                         Page 8
  1   I'm really the point of contact with most of the          1   is pretty, pretty great.
  2   individuals in our group here.                            2           MR. JONGEWARD: Yeah. It's -- most -- I hear
  3           MIKE: Yeah.                                       3   this quite a bit as I'm sharing the investment with new
  4           MR. JONGEWARD: But I could surely check in        4   investors is they just don't know where to invest
  5   with Shane and see if he were up to meeting possibly      5   currently because the stock market is pretty scary and
  6   for lunch. I don't know if we're going to be able to      6   volatile. Some people are losing money currently and
  7   grab Jeff Judd or not depending. What dates were you,     7   they, you know, have pulled money out of the stock
  8   were you imaging being in town?                           8   market to be in a little better, more secure, positive
  9           MIKE: So I think we're going to do it on the      9   scenario. So -- and have invested with us.
 10   way back from the Super Bowl.                            10           So, yeah, I'd be happy to talk with, talk
 11           MR. JONGEWARD: And that's in LA, isn't it?       11   with Mark, you know, previously and just kind of
 12           MIKE: Yeah. It's in Englewood.                   12   discuss and share some information with him.
 13           MR. JONGEWARD: Yeah. Let's see. So that          13           And then any idea what you're talking about
 14   would be --                                              14   for numbers for you and Mark there?
 15           MIKE: I think we were going to hang out          15           MIKE: I have my 1.2 that I'm looking to
 16   there for a couple of days just because --               16   place.
 17           MR. JONGEWARD: Okay.                             17           MR. JONGEWARD: Right.
 18           MIKE: -- when you're chartering, I think         18           MIKE: I have some other outside capital
 19   it's going to be kind of a pain to get out. So --        19   that -- that I could pull in and place, but for me
 20           MR. JONGEWARD: Right, uh-huh.                    20   doing that. For him, he's going through a process, and
 21           MIKE: -- we decided we might as well just        21   this isn't done for sure yet, but he got a pretty good
 22   make a little vacation out of it.                        22   evaluation on his company so I'm not sure -- I think
 23           MR. JONGEWARD: Yeah. So that will be -- is       23   he's going to be able to place around 50 to 75. I
 24   it the 13th is when the Super Bowl is?                   24   can't say. I can't speak for him so --
 25           MIKE: Yeah.                                      25           MR. JONGEWARD: I see.


                                                 Page 7                                                         Page 9
  1           MR. JONGEWARD: Okay. So the 13th, and then        1          MIKE: But that's kind of what he's looking
  2   you guys may -- may kind of hang out for a couple of      2   for. And I don't -- is that even possible to put that
  3   days. So you're thinking maybe like Wednesday, the        3   kind of money in the fund?
  4   16th?                                                     4          MR. JONGEWARD: Yeah. Yeah, so we have --
  5           MIKE: Yeah, probably Wednesday, possibly          5   we've had a couple of individuals that have come at us
  6   Thursday.                                                 6   in the $50 million mark. And, you know, I'll have to
  7           MR. JONGEWARD: So Wednesday or Thursday. So       7   reach out to Shane and see kind of where we currently
  8   Thursdays are typically -- well, I mean, Wednesdays or    8   are. I know --
  9   Thursdays are pretty good. I know a lot of individuals    9          MIKE: Okay.
 10   are wiring their capital in on Wednesday, so it's just   10          MR. JONGEWARD: -- we had -- we had a surplus
 11   a little bit of some homework. But Thursday may even     11   of contracts towards the end of -- and I may have
 12   be better, but I could surely reach out to Shane --      12   shared this with you. We have a surplus of contracts
 13           MIKE: Okay.                                      13   for -- a surplus of contracts towards that first and
 14           MR. JONGEWARD: -- and, you know, Wednesday,      14   second week of December, and they actually paused six
 15   Thursday. Who is your friend's name, Mike, just so       15   or seven of these attorney firms to kind of slow the
 16   I -- just taking some notes here.                        16   contracts down.
 17           MIKE: Oh, his name is Mark.                      17          Jeff was having to put in 2 to 3 million a
 18           MR. JONGEWARD: Mark.                             18   week there just to satisfy the current contracts that
 19           MIKE: Yeah. And I could -- I could send on       19   we had.
 20   his profile. I'll ask him to do that.                    20          MIKE: Yeah.
 21           MR. JONGEWARD: Sure.                             21          MR. JONGEWARD: So we -- we sent an email out
 22           MIKE: So that way you guys can have that.        22   to our existing group at that time and said, hey,
 23   We're just -- we're looking, and we've done a few        23   we're -- you know, we're wanting to raise some
 24   investments together, and just trying to figure out      24   additional capital. Any of you who would like to add
 25   what exactly we want to do. I mean, 50 percent return    25   some additional capital or share it with some of your



                                                                                        3 (Pages 6 to 9)
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                                                  Page 10                                                     Page 12
  1   friends so we can get in more of a positive waiting        1   things in. But, yeah, he just said this sounds like a
  2   list. I think I've got about 10 million currently on       2   great investment and I just want to meet the guys. So
  3   my waiting list.                                           3   I said I can make a phone cal.
  4           And then, you know, wit large capital like         4          MR. JONGEWARD: No, I -- I totally
  5   that it might take us a little bit to get in, into the     5   understand.
  6   system, just because, you know, it all -- it's all on      6          MIKE: Yeah.
  7   80 or 100K contract amounts, right.                        7          MR. JONGEWARD: 100 percent. Well,
  8           MIKE: Yeah.                                        8   definitely for a larger guy like this I'm sure that
  9           MR. JONGEWARD: So it would be ten contracts        9   might pique their interest, right, because that has a
 10   just to get 1 million in. So you're talking the better    10   tendency to kind of change things for the immediate
 11   part of, what is that, 500 contracts.                     11   future.
 12           MIKE: The capital, I guess you wouldn't take      12          And, you know, we're also doing an Eco
 13   all the capital at once, it would be in tranches for      13   Battery piece.
 14   contracts.                                                14          MIKE: Yeah.
 15           MR. JONGEWARD: Yeah, that's right. So, you        15          MR. JONGEWARD: We spoke about that just
 16   know, you and Mark would be able to hold your capital     16   briefly.
 17   in your possession, and then as I would have contracts    17          MIKE: Yeah. So that one -- that one also
 18   for you I would simply -- simply confirm with you that,   18   sounds interesting because that could give him
 19   hey, I've got, you know, 3 or 400 this week, and then     19   multiple -- I didn't really -- I mean, that sounds
 20   we would just, you know, slowly start instituting it
                                                                20   great.
 21   that way.
                                                                21          MR. JONGEWARD: He could diversify a little
 22           MIKE: Yeah, that makes a little bit more
                                                                22   bit, uh-huh.
                                                                23          MIKE: Diversify. But the 50 percent return
 23   sense. Okay.
                                                                24   year one is unheard of.
 24           MR. JONGEWARD: Yeah. And so it takes us a
                                                                25          MR. JONGEWARD: Yeah. Yeah, it is. It's a
 25   little while. I know that we've got some 5 and $10


                                                  Page 11                                                     Page 13
  1   million people in there. 50 is -- 50 to 75 is quite a      1   pretty special investment. We've been -- we've had
  2   bit. Let me -- let me reach out to Shane and find --       2   some larger investors come at us and I know that Jeff
  3   identify what that is.                                     3   was, you know, wanting to make sure he didn't disrupt
  4           Any -- is there any idea when he might be --       4   the current environment that we have within the
  5   because I should be able to handle your 1.2 pretty,        5   investment. If we -- if we brought a $50 million guy
  6   pretty easily.                                             6   in then that might, you know, that might remove a
  7           MIKE: He's probably -- I mean, the process         7   number of contracts from most everybody else in the
  8   if it all goes correctly, I think he's -- he'll exit in    8   investment.
  9   about six to eight weeks. Those are always shaky           9            MIKE: Yeah.
 10   timeframes when you have --                               10            MR. JONGEWARD: So I think that probably the
 11           MR. JONGEWARD: Sure.                              11   way to do that if Mark is okay with, you know, being
 12           MIKE: -- a PD group buying you out. Those --      12   patient is for us to just kind of slowly start
 13   I always want to make sure I'm (inaudible).               13   bringing, you know, a number of contracts in each week
 14           MR. JONGEWARD: He could be two -- he could        14   and kind of building our way that way.
 15   be two months, two months or a little bit longer,         15            MIKE: Okay. Yeah, and I -- I mean, I'll be
 16   somewhere in there, between two and three months,         16   blunt with that. You cannot take all of that capital
 17   something like that.                                      17   at once (inaudible)? Yeah, that's -- it gets everyone
 18           MIKE: Well -- and this would give him an          18   a little bit more comfortable with it and --
 19   opportunity -- because of us could move quicker, but if   19            MR. JONGEWARD: Sure. Yeah, we can only
 20   he starts to see a return with the capital he already     20   handle so much capital just because -- but once you're
 21   has, like, he's also -- I know he's looking to place      21   in and, you know, you start -- you start placing it
 22   around 3 million in another investment right now.         22   each week, and it may take us a little while to get
 23           MR. JONGEWARD: Sure, uh-huh.                      23   that in. I haven't placed anyone in the $50 million
 24           MIKE: But that being said I guess one way to      24   mark. Most of my guys are in the 7 to 8, maybe 10
 25   do this is -- would be to start out putting a few         25   million --



                                                                                    4 (Pages 10 to 13)
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                                                  Page 14                                                        Page 16
  1          MIKE: Okay.                                         1   pretty well. I enjoy that space.
  2          MR. JONGEWARD: -- are some of my largest            2          MIKE: Yeah. So we're looking at staying
  3   investors. And so it took us a little while depending.     3   there. Both of us -- both of our families have
  4          MIKE: Yeah. And I obviously can't commit            4   nannies, so it would be our chance. We both have other
  5   what he would put where but --                             5   family in Utah, so it would be a fun way to do it, and
  6          MR. JONGEWARD: Oh, for sure.                        6   if we could fit this in, we would love to do it.
  7          MIKE: Yeah. So he'd be -- I mean, it piqued         7          MR. JONGEWARD: Yeah. No, that sounds great,
  8   his interest and we're -- yeah. And then next week I       8   Mike. I think -- I think definitely the odds are it
  9   might be down in there.                                    9   might just be Shane and myself.
 10          MR. JONGEWARD: Oh, yeah, I'd love to, love         10          MIKE: Okay.
 11   to see you, love to connect with you. We sold our home    11          MR. JONGEWARD: But we'll try to -- we'll
 12   this last week finally, so we kind of tied the bow on     12   reach out to Jeff and see if he's available. I know
 13   that project there. So we're -- we're here in St.         13   he's processing contracts on Mondays and Tuesdays, and
 14   George for good moving forward. So we're -- I plan on     14   then Matt and Jeff go over all the incoming wires on
 15   being here next week.                                     15   Wednesday morning.
 16          MIKE: Okay. Let me see how everything              16          MIKE: Okay.
 17   shakes out but, yeah. And what do you think of the        17          MR. JONGEWARD: So, you know, the Thursday,
 18   Palisades down there in Ivins?                            18   the 17th might be, might be free for him, but we'll
 19          MR. JONGEWARD: You know, is that a                 19   have -- at least in regard to the contract investment.
 20   development, the Palisades?                               20          MIKE: Okay.
 21          MIKE: It is. It's like right on the                21          MR. JONGEWARD: But I'll have to kind of see
 22   mountain.                                                 22   what he's got going on personally and I'll let -- I'll
 23          MR. JONGEWARD: Okay. I have not been up to         23   let Shane kind of handle that and we'll -- we'll kind
 24   or taken a look at Ivins, but I'll probably go over and   24   of get back to you when would work for us, and then if
 25   take a look now that you I know you guys are              25   that works for you guys it would be great to meet you


                                                  Page 15                                                        Page 17
  1   considering possibly a place there. Is that right, you     1   and your friend Mark, and we can kind of go from
  2   guys are looking to buy a spot there?                      2   there.
  3           MIKE: Yeah. We're looking at a few places.         3           What's Mark's last name, just so I have -- I
  4   So, yeah, I just -- it's February 1st and winter is        4   can speak intelligently?
  5   still going strong so figured --                           5           MIKE: I'll send -- let me make sure he's
  6           MR. JONGEWARD: Yeah, right. Might as well.         6   good with that just because --
  7           MIKE: Great, yeah. If you could let Shane          7           MR. JONGEWARD: Oh, sure.
  8   know and then feel free to text, email, let me know,       8           MIKE: But I can send you his, like, his kind
  9   and --                                                     9   of list. I just want to make sure I don't --
 10           MR. JONGEWARD: Yeah.                              10           MR. JONGEWARD: Oh, yeah. Is he --
 11           MIKE: -- when I have a better schedule, idea      11           MIKE: Yeah, he's had -- he's already had a
 12   of what the schedule looks like I can get back with you   12   couple of exits, so I want to make sure that I don't
 13   as well.                                                  13   break his trust, you know, talking.
 14           MR. JONGEWARD: Yeah. No, that would be            14           MR. JONGEWARD: Oh, yeah.
 15   great. I appreciate it, Mike. I will -- I'll let him      15           MIKE: I -- I've seen him (inaudible).
 16   know. Just to confirm with you that we're talking         16           MR. JONGEWARD: He knows -- he knows we're
 17   somewhere maybe the 16th or 17th of February.             17   speaking, right?
 18           MIKE: Yeah, somewhere right around in there.      18           MIKE: Yeah, he knows we're speaking. I just
 19           MR. JONGEWARD: Okay.                              19   (inaudible) solicited multiple times. So -- and I've
 20           MIKE: Yeah, because kind of the plan is go        20   been solicited a bunch as well, so I'm always careful
 21   in -- we might go to Newport for a few days, just         21   with that kind of stuff.
 22   celebrate Valentine's Day.                                22           MR. JONGEWARD: Yeah.
 23           MR. JONGEWARD: Newport Beach?                     23           MIKE: But let's, let's keep up and I'm going
 24           MIKE: Yeah.                                       24   to just ask him if he's okay with it and then I'll send
 25           MR. JONGEWARD: Yeah. I know Newport Beach         25   over his stuff to you by email.



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  1           MR. JONGEWARD: Yeah, that sounds great. And
  2   I wouldn't -- I would not be trying to reach out to
  3   Mark directly. I would just be, you know, letting you
  4   kind of handle how that communication is going to
  5   happen.
  6           MIKE: Okay, cool. And thanks, and I
  7   appreciate that. A lot of people get a little
  8   irritated.
  9           MR. JONGEWARD: Oh, no problem. I
 10   understand.
 11           MIKE: All right, sounds great.
 12           MR. JONGEWARD: I'll talk with you in the
 13   next couple of days.
 14           MIKE: Thank you.
 15           MR. JONGEWARD: Hey, appreciate it. Nice
 16   talking with you, Mike.
 17           MIKE: You as well. Bye.
 18           MR. JONGEWARD: All right. Take care.
 19           (End of audio file.)
 20                   *****
 21
 22
 23
 24
 25


                                                     Page 19
  1            TRANSCRIBER'S CERTIFICATE
  2
  3   I, Cheryl Shifflett, hereby certify that the foregoing
  4   transcript is a complete, true and accurate
  5   transcription of all matters contained on the recorded
  6   proceedings in the matter of project name:
  7   2022_02_01 WB 2 and Jongeward.
  8
  9
 10
 11
 12
 13
 14            ______________________________________
 15            Transcriber
 16
 17
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                                                               6 (Pages 18 to 19)
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